Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 1 of 221 Page ID #:346




                               EXHIBIT 8
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 2 of 221 Page ID #:347




                          CONTRACT SUMMARY SHEET

   TO:    THE OFFICE OF THE CITY CLERK,                              February 1 2017
          COUNCIL/PUBLIC SERVICES DIVISION                   DATE:          y ’
          ROOM 395, CITY HALL

                {PLEASE DO NOT STAPLE THE CONTRACT FOR THE CLERK’S FILE)

                                       FORM MUST BE TYPEWRITTEN


   FROM (DEPARTMENT): Public W°rks 1 Bureau °f Sanitation (LASAN)


   CONTACT PERSON:
                         Dan Meyers, Division Manager         PHONE'    (213)485-3774

   CONTRACT NO.:                                        COUNCIL FILE NO.:    0“1797-S17

                              December 9, 2016                     NEW CONTRACT
   ADOPTED BY COUNCIL:___________                                  AMENDED AND RESTATED
                                DATE                               ADDENDUM NO.___
   APPROVED BY BPW:      September 26, 2016                        SUPPLEMENTAL NO.___
                                DATE                               CHANGE ORDER NO.___
                                                                   AMENDMENT
                          NASA Services, Inc.
   CONTRACTOR NAME:

                           10 Years                              2027
   TERM OF CONTRACT:                                THROUGH:

                     $185,000,000
  TOTAL AMOUNT:


   PURPOSE OF CONTRACT:


   For the City of Los Angeles Zero Waste Exclusive Franchise System for commercial and
   multifamily solid waste collection and handling with NASA Services, Inc.




          NOTE: CONTRACTS ARE PUBLIC RECORDS - SCANNED AND UPLOADED TO THE INTERNET




                                                                                          Exhibit 8
                                                                                               8-1
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 3 of 221 Page ID #:348




                                                        CONTRACT NO. C- \OJ%eb'\£>




                             PERSONAL SERVICES CONTRACT
                                        BETWEEN
                                THE CITY OF LOS ANGELES
                                           AND

                                  NASA SERVICES, INC.
                                           FOR
        EXCLUSIVE FRANCHISE TO PROVIDE COLLECTION, TRANSFER, PROCESSING, AND

        DISPOSAL SERVICES FOR SOLID RESOURCES TO COMMERCIAL ESTABLISHMENTS

                    AND APPLICABLE MULTIFAMILY ESTABLISHMENTS

                                         IN THE

                                   DOWNTOWN ZONE

                                  City of Los Angeies
                               Department of Public Works


                                      LA Sanitation
                      Solid Resources Commercial Franchise Division




                                                                                Exhibit 8
                                                                                     8-2
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 4 of 221 Page ID #:349




                                                   Table of Contents
       Article 1:     Section Headings and Construction of Provisions and Titles Herein
                      ........ ....... ...... ............................................. ....... ................ ....................9
       Article 2:     Definitions........... ...... ...................................................... ................ . 11
       Article 3:     Service Plan......... ................................................................                         16
         3.1          Collection Services...............................................                                              16
         3.1.1        State Of California Mandatory Commercial and Organics Recycling...... ..16
         3.1.2       Blue Bin Requirements........ ............................... ................................... ........16
         3.1.3       Material Exceptions........................................................................................ 16
        3.1.4        Customer Exceptions.................. ............................................... ................... 17
        3.1.5        Minimum Service Level.................... ............................................................. 17
        3.1.6        Service Criteria............ .............                                                                      17
        3.2          Container Placement......................                                                                       18
        3.3          Contractor Ownership of SolidResources....... ........... ..................................19
        3.4          No Mixing Loads of Materials............... .......................................... ..........               19
        3.5          Contaminated and Overfilled Containers.....................................                               .....19
        3.6          Container Non-Collection...............................................                                         20
        3.7          Missed Collections....................... ................................................................... 21
        3.8         Routes and Schedules............................................. ....................................... 22
        3.9         Hours and Days of Collection Service...........................                                                 22
        3.10        Protection of Private and Public Property ...................................                                   23
        3.11        Staffing................................................                                                        23
        3.12        Staff Identification.................................                                                           23
        3.13        Spillage and Litter............. .................                                                              24
        3.14        Safety and Training Program................................... ........... ................ .........24
        3.14.1      Health and Safety Program............................................................                           24
        3.14.2      Training Program............. ..............                                                                    26
        3.15        Labor Peace Agreement...... .............................................................................26
       3.16         Special Services............. ...................                                                               26
       3.16.1       Valet Service Requirements forMultifamily Establishments........... ..............26
       3.16.2       Studio Service....... ........                                                                                  27
       3.16.3       Hospitals.......... .........                                                                                  27
       3.16.4       Pilot Studies.....................                                                                             30
       3.17         Emergency Services and ResponseRequirements...............................                                     30




         Page 1


                                                                                                                                  Exhibit 8
                                                                                                                                       8-3
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 5 of 221 Page ID #:350




          3.17.1     Emergency Services...................................                                                                  30
          3.17.2     Vehicular Accidents............. ...................                                                                   30
          3.17.3     Contingency Plan Service Requirements.................................                                                 31
          3.17.4     Backup for Other Franchise Zones...........................................                                            32
          3.18       AB 939 Compliance Permit........................................................                                       32
          3.19       Vehicles......................                                                                                         32
          3.19.1     Clean Fuel Vehicle Requirement..................                                                                       33
          3.19.2     On-Board Software and Hardware...................................                                                      33
          3.19.3      Reserve Vehicles and Equipment...............................                                                         33
          3.19.4     Vehicle Maintenance and Condition.....................................                                                 34
          3.19.5      Compliance with the Law........................................................                                       34
          3.19.6      City's Right to Inspect Vehicles...... ......................                                                         34
          3.19.7      Storage and Repair.................................                                                                   35
          3.20        Containers........................................                                                                    35
          3.20.1      Container Sizes.....................                                                                                  36
          3.20.2      Container Specifications................. ........................................                                    36
          3.20.3      Container Requirements...........................................................                                     37
          3.20.4      Ownership of Containers...............                                                                                38
          3.20.5      Container Maintenance................                                                                                 38
          3.20.6      Lid Lockable Containers..........................................................                                     40
          3.20.7      Horse Manure Containers................................                                                               40
          3.21        Funding of Community Benefits within Awarded Zone(s)........................... 40
          3.22        Responsibilities of and Services to be Performed by the Contractor....... 40
        Article 4: Customer Service......................                                                                                  42
          4.1         Contractor Call Center...............                                                                                 42
          4.1.1      Telephony..................................                                                                        ...44
          4.1.2       Customer Service Call Center Performance Standards,.............................. 45
          4.2         Customer Service Center....... .......................................                                                45
          4.3         Customer inquiries and complaints...............................                                                      46
          4.3.1       Customer Dispute Resolution...................................................                                        46
          4.4         Agreements for Collection Services........................................                                            46
          4.5         Billing............... .................... •..........................................................................47
          4.5.1       Billing Frequency..........................                                                                           47
          4.5.2       Bill Format..........................                                                                               .47
          4.5.3       Payment Options...............................                                                                        47




           Page 2


                                                                                                                                      Exhibit 8
                                                                                                                                           8-4
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 6 of 221 Page ID #:351




         4.5.4        Change in Service Levels..............................................................................48
         4.5.5        Customer Contract Termination ........................................................ ..........48
         4.5.6        Refunds for Inaccurate Billings.....................................................................48
         4.5.7        Delinquent Accounts.................. ............................                                   48
         4.5.8        Late Payment Notice and Service Suspension............................................. 49
         4.5.9        Suspended Service..............................                                                      50
         4.5.10       Reinstatement of Service..................                                                           50
        4.5.11        Continued Collection During Disputes...........................................                      50
       Article 5:     Diversion and Outreach..............                                                                52
        5.1          City Directed Outreach Program....... ..................................                              52
        5.2           Waste Assessments Required Prior to Service............................................. 52
        5.2.1        Outreach and Education First Customer Visit......................... .................... 52
        5.2.2        Mandatory Organics Recycling (AB 1826) Assessment............................... 53
        5.3          Ongoing Waste Assessments Required.................. ............ ....................... 53
        5.4          Quarterly Outreach and Education.....................................                                53
        5.5          Organics Diversion program Offered to Customers...............                                       53
        5.5.1        Organics Alternative Daily Cover Prohibited..........................................                54
        5.6          Contractor Mandatory Commercial Recycling Requirement...................... 54
        5.7          Utilization and Funding of Reuse Organizations............. ........................... 54
        5.8          Cooperation with Food Rescue................................ ............. ....................... 54
        5.9          Source-Separated Manure Shall be Recycled................. ....................                      55
        5.10         Solid Waste Reduction Required............. ........                                                 55
        5.10.1       Measurement of Disposal Targets and Projections...................................... 55
        5.10.2       Baseline Disposal..................                                                                  56
        5.10.3       Consideration of Disposal Target Adjustment...............................................56
        5.10.4      Contractor Responsible for Disposal..............                                                    56
        5.10.5       Disposal Target Liquidated Damages............                                                      57
       5.11         Monthly Meetings and Periodic Training....... ................................................57
       5.12         Materials Reporting ....................                                                             58
       5.12.1       Tonnage Reports............ ...................                                                      58
       5.12.2       Waste Characterization Requirements..,......................................                         58
       5.12.3       Reuse Reports Required ........................................                                      58
      Article 6:    Facilities and Facility Development......................                                           59
       6.1          Use of Primary and Secondary Certified Facilities...................                                 59
       6.2          Facility Certification............                                                                   59




         Page 3
                                                                                                                                    %




                                                                                                                        Exhibit 8
                                                                                                                             8-5
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 7 of 221 Page ID #:352




          6.3         Contractor-Initiated Change In Certified Facility......................................... 59
          6.4         Direct Recyclables to Local Markets...............................................................59
          6.5         Utilization of CLARTS...... ...................                                                      60
          6.6         Disposal of Commingled Recyclables Prohibited...........................................60
        Article 7:    Rates and Fees ..............                                                                       63
          7.1         False Claims Act....................................                                                 63
          7.2         Rates Charged to Customer for Service......................................                          63
          7.2.1       Base Rate ........................................                                                   63
          7.3         Annual Rate Compensation Adjustment........................................................64
          7.3.1       Adjustments for Change in Law.........................                                               66
          7.3.2       Adjustments for Blue Bin Costs........ ...............................................               66
          7.3.3       Adjustments for Implementing Organics Collection.................................... 66
          7.3.4       Rates Look Back.......................                                                               66
          7.4         Extra Services............................                                                           67
          7.5         Recycling Not Provided (RNP) Fee.................                                                    69
          7.6         Franchise Fee..............................................                                          70
          7.6.1       Studio Services Franchise Fee............                                                            71
          7.7         AB 939 Compliance Fee...............................                                                 71
         Article 8:   Transition....... ............................                                                       72
          8.1         Initial Customer Contact................................................................             72
          8.2         Transition Milestones and Deadlines...............                                                   72
          8.3         Master Transition Schedule........................................................................... 74
          8.4         Transition Staffing and Metrics....................................................................... 75
          8.5         Abandoned Accounts....................                                                               75
          8.6         Continued Service of Existing Customers.......................................................76
          8.6.1       Transitioning Accounts to Other Franchisees.................................                         76
          8.7         Requirements Prior to Agreement Expiration................................................76
         Article 9:   Record Keeping and Reporting ..........                                                              79
          9.1         General Record Keeping and Reporting Requirements..............................79
          9.2         Records Retention...............................                                                     79
          9.3         Reports..................                                                                            79
         Article 10: Technology Requirements........................                                                       81
          10.1         Functional Requirements....................                                                         81
           10.1.1      Interfacing Requirements......................... ............................. ................... . 81
           10.2       Security.........................................                                               .....85




            Page 4


                                                                                                                      Exhibit 8
                                                                                                                           8-6
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 8 of 221 Page ID #:353




       10.3            Management of Information Systems and Contingency Planning......                                     85
       10.3.1          Data Protection............                                                                          86
       10.4            Information Technology Staff Support and Collaboration..........................86
    Article 11: Performance Standards.,.....................                                                               87
       11.1            Performance Standards and Liquidated Damages........................                                 87
       11.2            Procedure for Assessing and Appealing Liquidated Damages........ ........... 89
      11.3             Notice and Opportunity to Cure................                                                       90
    Article 12: Key Contractor Personnel............................................................ 92
    Article 13: Responsibilities of and Tasks to Be Performed by City ...............                                      93
   Article 14: Term             of Agreement and Time of                     Effectiveness..,,,........,.............. ..,.94
   Article 15: Termination......................................................                                                                   95
   Article 16: Subcontract Approval ...........................................                                                               97
   Article 17: Amendments, Changes,                           or   Modifications..................................               98
   Article 18: Indemnification and Insurance................................................                                       99
      18.1            Indemnification.........................................................                                                     99
      18.2            Insurance............................................................................                                  99
      18.3            Bonds.......................................................................                                                  99
   Article 19: Warranty and Responsibility of Contractor..................                                              101
   Article 20: Intellectual Property Indemnification.......... 102
   Article 21: Intellectual Property Warranty................................. 103
   Article 22: Ownership and License............................................ ............... .                      104
  Article 23: Successors and Assigns ....................... ..................... ............... .                    106
  Article 24: Contact Persons - Proper Addresses - Notification                                               ........... 107
  Article 25: Force Maieure.................................... .......................... ...............              108
  Article 26: Severability................... ................ .............. ............... .....................109
  Article 27: Disputes............ ...................................................... ....... .................. 110
  Article 28: Entire Agreement......................................................................... .               Ill
  Article 29: Applicable Law, Interpretation, And Enforcement............. ....... . 112
  Article 30: Current Los Angeles City Business Tax Registration Certificate
              Required............................ ........ ........ ............................................ . 113
  Article 31; Waiver..,....,,.............................................. .............. .                           114
  Article 32: Prohibition Against Assignment or Delegation................ ........ . 115
  Article 33; Permits............................ ..................................................... ....... .      116
  Article 34: Discounts ........................ ........................................................ ............117
  Article 35: Claims for Labor and Materials............ ........................................ 118




      Page 5


                                                                                                                                 Exhibit 8
                                                                                                                                      8-7
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 9 of 221 Page ID #:354




        Article 36; Breach......... ................................... ...... ......... ....... ................... .        119
        Article 37: Non-Discrimination .................................. ........ ...... ...... ....... .                    120
        Article 38: Equal Employment Practices............................ ................... ...... .                       121
        Article 39: Affirmative Action Program................................. .......................... 124
        Article 40: Child Support Assignment Orders..........................                                                 129
        Article 41: Living Wage Ordinance and Service Contractor Worker Retention
                    Ordinance....................................... ............... .................... ....... ...... 130
        Article 42: Americans with Disabilities Act.................................................... 132
        Article 43: Contractor Responsibility Ordinance.............. .................. ......... 133
        Article 44: Los Angeles Business Inclusion Program .......................... .                                       134
         Article 45: Equal Benefits Ordinance................... ....... ........................... ........ 135
         Article 46: Slavery Disclosure Ordinance................................... ...........                              136
        Article 47: Contractor Performance Evaluation Ordinance...................... . 137
         Article 48: Municipal Lobbying Ordinance.................... ..............................                          138
         Article 49: First Source Hiring Ordinance............... ...... ...... ...... ...... .                               139
         Article 50: Compliance with Los Angeles City Charter Section 470(c)(12) for
                     Measure H/Contractor Contributtons/Fundraising........... .  140
         Article 51: Iran Contracting Act of 2010............... ...... .......................... .                          141
         Appendix A: Diversion Plan.......... ................ ................... ....... .............                      144
         Appendix B; Facility Utilization Plan .................. .......................... .....................149
         Appendix C: Rates............... ....... ........................................................................    151
         Appendix D: Zone Description and Map................. ........ ......................................157
         Appendix E: MultiFamily Customers Receiving Valet Services................ .                                         158
         Exhibits: City Contracting Requirements...................... ........ .................. .                          159




              Page 6

                                                                                                                             Exhibit 8
                                                                                                                                  8-8
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 10 of 221 Page ID #:355




       Table of Tables
       Table 2-1: Definitions and Abbreviations,,.,,.,..,................ ........................ ....................... 11
       Table 3-1: Container Types and Sizes.................. .......................................................          36
       Table 3-2: Container Specifications..................................................................... ............ . 36
       Table 4-1; Customer Service Call Center Performance Standards........ ................. .........45
       Table 5-1: Disposal Targets and Adjustment Schedule...............................................                      57
       Table 7-1: End of First Year Adjustment (Example)................................................... .                  65
       Table 7-2: End of Second Year Adjustment (Example)......................... ........................... 65
       Table 7-3: Extra Collection Services and Associated Fees............................................. . 67
       Table 8-1: Transition Milestones and Deadlines....................... ....................... ................. 73
       Table 8-2: End of Agreement Term Transition Requirements..........................................78
       Table 10-1: Data and Reporting Requirements.............. ............................ ......................82
       Table 11-1: Performance Standards and Liquidated Damages.........................................87




         Page 7


                                                                                                                          Exhibit 8
                                                                                                                               8-9
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 11 of 221 Page ID #:356




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                                                                      Exhibit 8
                                                                          8-10
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 12 of 221 Page ID #:357




           ARTICLE 1: SECTION HEADINGS AND CONSTRUCTION OF PROVISIONS
             AND TITLES HEREIN______________________________________________
          All titles, subtitles, and/or section headings appearing herein have been inserted for
          convenience and shall not be deemed to govern, limit, modify or in any manner
          affect the scope, meaning, intent or construction of any of the terms or provisions
          hereof. The language of this CONTRACT shall be construed according to its fair
          meaning and not strictly for or against the CITY or the CONTRACTOR. The singular
          shall include the plural; use of the feminine, masculine, or neuter genders shall be
          deemed to include the genders not used. The terms "include" and "including" do not
          exclude items not enumerated that are in the same general class.




         Page 9


                                                                                          Exhibit 8
                                                                                              8-11
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 13 of 221 Page ID #:358




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                                                                      Exhibit 8
                                                                          8-12
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 14 of 221 Page ID #:359




                 ARTICLE 2:         DEFINITIONS
                It is understood that the following words and phrases are used herein; each shall
                have the meaning set forth opposite the same:

         Table 2-1: Definitions and Abbreviations
                Terms and Abbreviations                                             Definition

        1-800-773-CITY, LASAN's
       CUSTOMER CARE CENTER, CITY'S         The 1-800-773-CITY, is LASAN's Customer Care Center accepting calls on a variety of LASAN
       CUSTOMER CARE CENTER, CITY CALL      related services.
       CENTER, or CITY CRM

                                           AB 939 COMPLIANCE FEE of 10 percent of the SOLID WASTE component of GROSS
       AB 939 COMPLIANCE FEE               RECEIPTS, in accordance with die CITY'S Private Solid Waste Hauler AB 939 Compliance Fee
                                           Ordinance 181519.

                                           A permit issued to PERMITTED HAULERS under the provisions of subsection (a) of L.A.M.C.
       AB 939 COMPLIANCE PERMIT
                                           Section 66.32.1.

                                           The individual or entity that is responsible for paying for services provided, and whose name
                                           appears on the service agreement with the CONTRACTOR (i.e., premise owner or
       ACCOUNT HOLDER
                                           management company) or a party designated by the owner to make changes to the account
                                           (i.e., building manager, sustainability consultant, regional manager, etc.).

                                           This contractual agreement between the CITY and CONTRACTOR for the collection,
       AGREEMENT/CONTRACT                  transportation, processing and disposal of SOLID RESOURCES generated by CUSTOMERS
                                           within the awarded FRANCHISE ZONE(S).

                                           Rate charged for the service level based on SOLID WASTE (SLACK BIN) with COMMINGLED
       BASE RATE
                                           RECYCLABLES (BLUE BIN) collected at the same frequency, as defined in Section 7.2.1.

                                           The City of Los Angeles, Bureau of Contract Administration; for more information go to
      BCA
                                           http://bca.lacity.org/index.cfm

                                           Statement of charges for Solid Resources Collection Services provided under this
      BILL
                                           AGREEMENT.            '

      BLACK BIN                            Black CONTAINERS of any size used for the collection of SOLID WASTE.


      BLUE BIN                            Blue CONTAINERS of any size used for the collection of COMMINGLED RECYCLABLES.


      BOARD                               The Board of Public Works of the City of Los Angeles

      BROWN BIN                           Brown CONTAINERS of any size used for the collection of horse manure.

                                          Materials which are too large to be placed in the BLACK BIN (e.g., furniture), dearly marked
                                          as BULK WASTE and placed by the CUSTOMER for collection by the CONTRACTOR. BULK
      BULKY ITEM/BULKY WASTE
                                          WASTE shall not include bulky items from CUSTOMERS that pay the MULTTFAMILY Bulky
                                          Item Fee, in accordance with L.A.M.C. Section 66.41.

                                          Each day beginning at 12:01 AM and ending twenty-four (24) hours thereafter at 12:00 AM
      CALENDAR DAY/days
                                          midnight. Unless otherwise noted all days are considered CALENDAR DAYS.

                                          California State Occupational Safety and Health Administration; for more information, go to
      CalOSHA
                                          http://www.dir.ca.gov/dosh/

                                          The Department of Resources Recycling and Recovery of the State of California, CaiRECYCLE
      CaiRECYCLE
                                          is the State's regulatory agency on solid waste management.

      CEC                                 City Ethics Commission of the City of Los Angeles




             Page 11


                                                                                                                               Exhibit 8
                                                                                                                                   8-13
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 15 of 221 Page ID #:360




              Terms and Abbreviations                                            Definition

                                        A facility that receives an annual certification from LASAN to receive SOLID RESOURCES
        CERTIFIED FACILITY
                                        managed under the terms of this AGREEMENT.

                                        The City of Los Angeles, Board of Public Works or its subordinate Bureaus. Depending on
                                        the context in which it is used, the term City may also refer to the geographic area known as
        oty                             the City of Los Angeles, the City Council, other Departments of the City of Los Angeles, or
                                        any person employed by the City of Los Angeles who is authorized to represent the Oty of
                                        Los Angeles in manners concerning this document

        CITY COUNCIL                    Los Angeles City Council

                                        The time of initial notification by the CITY to CUSTOMERS announcing the coming program,
        CITY NOTIFICATION
                                        and the CONTRACTOR awarded their FRANCHISE ZONE.

        CITY PROJECT MANAGER            The CITY'S designated representative for ail issues related to this AGREEMENT.

         CLARTS                         Centra! Los Angeles Recycling and Transfer Station

                                        A landfill used for the disposal of nonhazardous solid waste. In accordance with Title 27
                                        California Code of Regulations Section 20310, CLASS III LANDFILL shall have containment
        CLASS III LANDFILL
                                        structures which are capable of preventing degradation of waters of the state as a result of
                                        waste discharges to the landfills if site characteristics are inadequate.

                                        Alternative-fuel solid resources heavy-duty collection vehicle as defined by the South Coast
        CLEAN FUEL VEHICLE
                                        Air Quality Management District (SCAQMD) Rule 1193(c)(1).

                                        A truck specially designed to collect SOLID RESOURCES and haul the collected material to a
                                        CERTIFIED FACILITY, Other common names for this type of truck include a trash truck, a
                                        refuse truck, a waste collection vehicle, or a refuse collection vehicle. This may apply to
        COLLECTION VEHICLE
                                        vehicles collecting CONTAINERS by side-loading carts, front- or rear-loading bins, hauling
                                        ROLL OFFS, or any other collection of SOLID RESOURCES or BULKY ITEMS, under the terms
                                        of this AGREEMENT.

                                        All industrial, retail, wholesale, services, restaurant, hotel, motel, institutional and other
                                        premises, which are subject to the existing City of Los Angeles AB 939 COMPLIANCE PERMIT
        COMMERCIAL/ COMMERCIAL
                                        and FRANCHISE SYSTEM regulating the collection and management of SOLID RESOURCES,
        ESTABLISHMENT
                                        COMMERCIAL ESTABLISHMENTS shall not include customers that receive SOLID
                                        RESOURCES services from the CITY.

                                        Material that has been kept separate from any other waste stream at the point of
                                        generation, for the purpose of additional sorting or processing of the material before
        COMMINGLED RECYCLABLES          recycling or reuse, which enables the return of the material to the economic mainstream in
                                        the form of raw material for new, reused, or reconstituted products that meet the quality
                                        standards necessary to be used in the marketplace.

                                        A large sealed CONTAINER that allows for compaction of SOLID RESOURCES that can then
        COMPACTOR
                                        be loaded onto a COLLECTION VEHICLE.

                                        The material stream that results directly from construction, remodeling, repair, demolition,
        CONSTRUCTION AND DEMOLITION     or deconstruction of buildings and other structures, does not contain HAZARDOUS WASTE,
        (C&D) DEBRIS                    and contains no more than one percent putrescible wastes by volume, calculated on a
                                        monthly basis.

                                        30 to 120 gallon carts, 1 to 8 cubic yard bins, COMPACTOR, ROLL OFF, or other approved
                                        vessel used for collection of SOLID RESOURCES from the CUSTOMERS' premises into a
        CONTAINER
                                        COLLECTION VEHICLE during collection, and meeting the requirements under this
                                        AGREEMENT.

        CONTRACT                        (See AGREEMENT/CONTRACT)

                                        Upon approval of BOARD, CITY COUNCIL, and MAYOR, the date that the City Clerk attests
        CONTRACT EXECUTION
                                        to this AGREEMENT.

        CONTRACTOR                      NASA Services, Inc.




              Page 12


                                                                                                                          Exhibit 8
                                                                                                                              8-14
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 16 of 221 Page ID #:361




              Terms and Abbreviations                                                Definition

                                           The CONTRACTOR shall not contact CUSTOMERS about the FRANCHISE SYSTEM prior to 30
        CONTRACTOR NOTIFICATION
                                           CALENDAR DAYS after the CITY NOTIFICATION.

       CONTRACTOR PROJECT MANAGER         The CONTRACTOR'S, designated representative for all issues related to this AGREEMENT,

       CRM                                Customer Relationship Management System

                                          Any COMMERCIAL ESTABLISHMENT and/or MULTIFAMILY ESTABLISHMENT provided With
                                          collection services by the CONTRACTOR under this AGREEMENT. This includes citizens,
       CUSTOMER
                                          residents, and tenants of these premises; those that are effected by the services provided
                                          under this AGREEMENT.

                                          A physical office with staff located in each awarded FRANCHISE ZONE, operated by the
       CUSTOMER SERVICE CENTER
                                          CONTRACTOR.

                                          The period between CONTRACTOR NOTIFICATION, July 1, 2017, and START OF SERVICE
       CUSTOMER TRANSITION                DATE, January 1, 2018, in which all known and abandoned accounts shall be provided
                                          services under the FRANCHISE SYSTEM.

       ELECTRONIC WASTE
                                          As defined in SB 10, the California Electronic Waste Recycling Act of 2003.
       (E-waste)

                                         Services provided, that are not included in the BASE RATE, such as lid lockable CONTAINERS
       EXTRA SERVICES
                                         and Contamination Fees, listed in Table 7-3: Extra Collection Services and Associated Fees.

       FEMA                              Federal Emergency Management Agency

                                         Negotiated CONTRACTOR fee, paid to CITY determined as a percentage of GROSS
       FRANCHISE FEE
                                         RECEIPTS associated with providing services under this AGREEMENT.

                                         The program as described in this document, for a CITY-wide exclusive franchise system for
      FRANCHISE SYSTEM                   the collection and handling of SOLID RESOURCES, as approved by CITY Ordinance No.
                                         182986, known as ZERO WASTE LA.

                                        The Downtown Zone, as defined in Appendix D, in which the CONTRACTOR shall provide
      FRANCHISE ZONE
                                        service under this AGREEMENT.

                                         A PERMITTED HAULER awarded an agreement under the FRANCHISE SYSTEM to provide
      FRANCHISEE
                                         services to one or more FRANCHISE ZONE(s) other than the CONTRACTOR.

      GHG                                Greenhouse Gas

      GPS                                Global Positioning System

                                         Green CONTAINERS of any size used for the collection of ORGANICS, which includes YARD
      GREEN BIN
                                         TRIMMINGS and FOOD WASTE.

                                        Those receipts defined under Gross Receipts in L.A.M.C. Section 21.00(a) as generated by
      GROSS RECEIPTS                    the collection of SOLID RESOURCES including, but not limited to collection service,
                                        CONTAINER rental, EXTRA SERVICES, disposal, and processing charges.

                                        Any waste material which is toxic, corrosive, flammable, an irritant, a strong sensitizer or
                                        which generates pressure through decomposition, heat, or other means, if such a waste
      HAZARDOUS WASTE
                                        may cause substantial injury, serious illness or harm to humans, domestic livestock or
                                        wildlife, as defined in the California Code of regualtlons, Title 22,Section 66261.20.

                                        New Year's Day, Labor Day, Independence Day, Thanksgiving, Christmas Day and other
      HOLIDAYS
                                        holidays officially designated and observed as such by the CITY.

                                         General acute care hospital (HOSPITAL) means a hospital, licensed by the California State
                                         Department of Health Services, having a duly constituted governing body with overall
                                        .administrative and professional responsibility and an organized medical staff which provides
      HOSPITAL                           24-hour inpatient care, including the following basic services: medicai, nursing, surgical,
                                         anesthesia, laboratory, radiology, pharmacy, and dietary services, A general acute care
                                        hospital shall not include separate buildings which are used exclusively to house personnel
                                        or provide activities not related to hospital patients.




            Page 13


                                                                                                                                Exhibit 8
                                                                                                                                    8-15
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 17 of 221 Page ID #:362




                 Terms and Abbreviations                                             Definition

        I1PP                               Injury and Illness Prevention Program

        IT                                 Information Technology

        L.A.M.C.                           Los Angeies Municipal Code

        LASAN                              Bureau of Sanitation, Department of Public Works, City of Los Angeles

        LASAN DIRECTOR                     Director of the Bureau of Sanitation or his/her designated representative.

                                           State of California adopted legislation, which, among other actions, requires commercial
        MANDATORY COMMERCIAL RECYCLING
                                           businesses to subscribe to a recycling service; including but not limited to Assembly Biil 341
        (MCR)
                                           (Chapter 476, Statutes of 2011).

                                           State of California adopted legislation, which, among other actions, requires commercial
        MANDATORY ORGANICS RECYCLING       businesses to subscribe to a recycling service; including but not limited to Assembly Bill 1826
                                           (Chapter 727, Statutes of 2014).

                                           The CONTRACTOR'S detailed schedule for the implementation of the FRANCHISE SYSTEM,
        MASTER TRANSITION SCHEDULE
                                           as described in Section 8.3.

        M BE/WBE/5BE/EBE/DVBE/OBE          Minority/Women/Small/Emerging/Disabled Veterans/Other Business Enterprises

                                           Biohazards waste or sharps waste that has been generated during the diagnosis, treatment
                                           or immunization of human beings or animals, in research pertaining thereto, in the
        MEDICAL/BIOMEDICAL WASTE           production or testing of biologicals, or which may contain infectious agents, those organisms
                                           classified as Biosafety Level II, III, or IV by the Federal Centers for Disease Control and
                                           Prevention and may pose a substantial threat to health.

                                           Any single property, building or structure that contains multiple residential dwelling units
        MULTIFAMILY/ MULTIFAMILY           referred to/defined as "Multifamily Dwelling" in Ordinance No. 182986. MULTIFAMILY
        ESTABLISHMENT                      ESTABLISHMENTS shall not include customers that receive SOLID RESOURCES services from
                                           the CITY.

        NOISE ORDINANCE                    LA.M.C. Section 113.01 of Chapter XI

        OCC                                The City of Los Angeles' Bureau of Contract Administration, Office of Contract Compliance

                                           The compostable materiais that are separated from other waste streams and placed in a
                                           CONTAINER for collection. ORGANICS may include, but are not limited to, grass, leaves, tree
        ORGANICS
                                           branches, clean wood free of any paint, nails or any treatment, food scraps, food soiled
                                           boxes and paper.

                                           Occupational Safety and Health Administration; for more information, go to
        OSHA
                                           https://www.osha. gov/

                                           Any person or entity engaged in the business of providing, or who is responsible for the
        PERMITTED HAULER                   collection, removal, or transportation of SOLID RESOURCES generated within the CITY, with
                                           a CITY permit to do so.

                                           Any and ail persons, natural or artificial, including any individual, firm, partnership, joint
                                           venture, or other association, however organized; any municipal or private corporation
        Person
                                           organized or existing under the laws of the State of California or any other state; any county
                                           or municipality; and any governmental agency of any state or the federal government.

                                           Prescription and over-the-counter drugs, except al! drugs that fail within the definition of
        PHARMACEUTICAL WASTE               HAZARDOUS WASTE by the Resource Conservation and Recovery Act (RCRA) or the
                                           California Radiation Control Law (RCL),

                                           A facility used to receive, sort, process, bale, store, and otherwise recover material for
        Processing Facility                reuse, or prepare commingled SOLID WASTE and SOURCE-SEPARATED recyclable materiais,
                                           including ORGANICS, for sale to other processors or manufacturers.

        RADIOACTIVE WASTE                  Any waste containing radioactive material.




                Page 14


                                                                                                                               Exhibit 8
                                                                                                                                   8-16
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 18 of 221 Page ID #:363




                Terms and Abbreviations                                               Definition

                                            The time in which the customer service information is transmitted, by updating, via push-
        REAL TIME                           puil, at a minimum of every five (5) minutes via the interface between the CITY'S CRM and
                                            the CONTRACTOR'S CRM.

        RFP                                 Request for Proposals

        RNP                                 Recycling Not Provided, described in Section 7.5

                                            A large, portable, open-top metal CONTAINER for the collection of SOLID RESOURCES,
        ROLL OFF
                                            typically 10 cubic yards or larger

                                            Rule 1193 of the South Coast Air Quality Management District (SCAQMD), which regulates
        Rule 1193                           refuse collection vehicles within the SCAQMD jurisdictional area. For more information, go to
                                            http://www.aqmd.gov/home/regulations/fleet-rules/refuse-collectlon-vehicles.

                                            South Coast Air Quality Management District; for more information, go to
        SCAQMD
                                            http://www.aqmd.gov/home.

                                           The materials generated from CUSTOMERS, which includes COMMINGLED RECYCLABLES
                                           (BLUE BIN), ORGANICS (GREEN BIN), and SOLID WASTE (BLACK BIN) materials, Horse
       SOLID RESOURCES
                                           Manure (BROWN BIN) as wel! as other SOURCE-SEPARATED material, in the City of Los
                                           Angeles.

                                           Residual waste that the Department of Resources Recycling and Recovery (CaiRECYCLE) has
                                           deemed acceptable for disposal at a CLASS III LANDFILL. For purposes of this AGREEMENT,
       SOLID WASTE
                                           residual SOLID WASTE does not include CONSTRUCTION AND DEMOLITION DEBRIS or
                                           other Exempt Materials as described in Section 3,1.3.

                                           Materiais that are segregated by individual components of SOLID RESOURCES into separate
       SOURCE-SEPARATED
                                           containers for the purposes of recycling such components.

                                           The date by which all known CUSTOMERS are provided SOLID RESOURCES services under
       START OF SERVICE DATE
                                           this AGREEMENT.

                                           A studio as defined in L.A.M.C. Section 66.31.1(8). STUDIOS within the CITY are 20th
       STUDIO                              Century Fox, Paramount Studios, Sunset Gower Studios, Sunset Bronson Studios, and
                                           Raleigh Studios Hollywood.

                                           An individual or company having an agreement with CONTRACTOR to provide services,
       SUBCONTRACTOR
                                           equipment, or materials to CONTRACTOR

                                          The weight of an empty COLLECTION VEHICLE, or CONTAINER; TARE WEIGHT is deducted
      TARE WEIGHT                         from gross weight to obtain the net weight or gross tons of the delivered SOLID
                                          RESOURCES.

                                          A facility which receives, handles, separates, converts, or otherwise processes SOLID
                                          RESOURCES, whose activities are governed by the Registration Permit tier or Full Solid
                                          Waste Facility Permit requirements. Such facilities typically transfer SOLID RESOURCES
      Transfer Station
                                          directly from one container to another, from one vehicle to another for transport, or
                                          temporarily store SOLID RESOURCES prior to being taken to a processing facility, or for final
                                          disposal at a CalRECYCLE-permitted landfills or transformation facility.

                                          The period of transitioning customers receiving collection services from the existing open
      TRANSITION PERIOD                   market permitted collection system to the Exclusive Franchise Program services provided
                                          under this AGREEMENT. This begins with the execution of this AGREEMENT.

      VMT                                 Vehicle Miles Traveled

                                          Solid Waste materiais comprised of discarded major appliances of any color. These items are
      White Goods                         often enamel-coated. Examples include but are not limited to washing machines, clothes
                                          dryers, hot water heaters, stoves, and refrigerators.

                                          Material generated through landscaping activities, which may include, but is not limited to,
      Yard Trimmings
                                          grass, leaves, and tree branches. This is included in ORGANICS.

      Zero Waste                          90% or higher Diversion of SOLID RESOURCES from CLASS III LANDFILLS




            Page 15


                                                                                                                                 Exhibit 8
                                                                                                                                     8-17
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 19 of 221 Page ID #:364




            ARTICLE 3:      SERVICE PLAN

         3.1 COLLECTION SERVICES
           CITY grants CONTRACTOR an exclusive franchise to provide collection, transfer,
           processing, and disposal services for SOLID RESOURCES as well as EXTRA
           SERVICES to each COMMERCIAL ESTABLISHMENT and applicable MULTIFAMILY
           ESTABLISHMENT in the FRANCHISE ZONE (s) consistent with L.A.M.C. Section
           66.33.2, except as otherwise provided herein. Appendix D includes the description
           and definition of this FRANCHISE ZONE(S) and its boundaries. The CITY shall
           resolve at its sole discretion any disputes regarding FRANCHISE ZONE boundaries.

               3.1.1 STATE OF CALIFORNIA MANDATORY COMMERCIAL AND ORGANICS
                     RECYCLING
           The CONTRACTOR shall use all reasonable efforts to assist the CITY be in
           compliance with all laws, including but not limited to regulations and permit
           conditions, that pertain to the services provided in accordance with this
           AGREEMENT.

           At the CITY'S request and in the format requested, the CONTRACTOR shall be
           responsible for providing all required information and documentation to support that
           the mandates are being addressed. Failure to provide this documentation as
           requested will be subject to the reporting requirement performance standards listed
           in Table 1M.

               3.1.2 BLUE BIN REQUIREMENTS
           It is the intent of the CITY to provide uniform Outreach and Education regarding the
           placement of materials in the BLUE BINS. CONTRACTOR shall collect the same
           materiais in BLUE BINS as the CITY in its curbside operations.

               3.1.3 MATERIAL EXCEPTIONS
           The following types of materials are not subject to this AGREEMENT and shall be
           designated as Exempt Materials. These Exempt Materials may be collected and
           taken to a licensed disposal site or recycling facility by the owner or occupant of the
           premises, or their agent, at the owner's or occupant's expense, in accordance with
           CITY policy and Municipal Code requirements, with the exception of
           CONSTRUCTION AND DEMOLITION DEBRIS (C&D), which must be handled by a
           PERMITTED HAULER. Exempt Materials include:

           •   MEDICAL WASTE
           •   HAZARDOUS WASTE
           •   ELECTRONIC WASTE
           .   RADIOACTIVE WASTE




           Page 16


                                                                                           Exhibit 8
                                                                                               8-18
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 20 of 221 Page ID #:365




           •    PHARMACEUTICAL WASTE
           •   CONSTRUCTION AND DEMOLITION DEBRIS (C&D)
           •    Recyclable materials that are SOURCE-SEPARATED from SOLID WASTE at the
               premises by the owner and/or operator of the premises from which the SOLID
               WASTE was generated, whereby the generator of the material sells or is
               otherwise compensated by a collector of the recyclable materials in a manner
               resulting in a net payment to the owner and/or operator. Discounted cost or
               transport or other services shall not be considered as a net payment to the
               owner/operator.
          •    Recyclable materials that are SOURCE-SEPARATED from SOLID WASTE at the
               premises by the owner and/or operator of the premises and donated.
          •    Other specialty waste as designated by the CITY as Exempt Materials (e.g.,
               biosolids, fats, oils, and grease, universal waste, etc,).

                34.4 CUSTOMER EXCEPTIONS
          State of California and County of Los Angeles customers may choose to receive
          SOLID RESOURCES collection, disposal and processing services under non­
          FRANCHISE SYSTEM arrangements or through the FRANCHISE SYSTEM. However,
          collection, processing and disposal shall be performed in compliance with CITY,
          State and Federal law.

          The CITY reserves the right to adjust certain MULTIFAMILY ESTABLISHMENTS such
          that these properties, buildings or structures shall no longer qualify as MULTIFAMILY
          ESTABLISHMENTS and will receive SOLID RESOURCES services from the CITY, On a
          case by case basis, LASAN DIRECTOR shall make the determination of service
          provision.

         The CONTRACTOR shall not perform collection service for dwelling units that receive
         SOLID RESOURCES services from the CITY regardless of dwelling type (i.e., "Single
         Family Dwelling" or "Multiple Dwelling" as defined in L.A.M.C. Section 66.40).

               3.1.5 MINIMUM SERVICE LEVEL
         All CUSTOMERS shall receive a base package of services that includes SOLID WASTE
         (BLACK BIN) collection and COMMINGLED RECYCLABLES (BLUE BIN) collection. The
         rate structure for this service is detailed in Section 7.2.1 and in Appendix C. The
         minimum service level for CUSTOMERS shall be a 96 gallon BLACK BIN and a 96
         gallon BLUE BIN collected once per week.

               3.1.6 SERVICE CRITERIA
         All CUSTOMERS shall receive at least one (1) collection per week for SOLID WASTE,
         COMMINGLED RECYCLABLES, and ORGANICS. If the CUSTOMER receives
         ORGANICS service, Monday through Saturday, the CUSTOMERS shall pay at no
         more than the rates established under this AGREEMENT. CUSTOMERS may request




         Page 17


                                                                                          Exhibit 8
                                                                                              8-19
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 21 of 221 Page ID #:366




            and receive Sunday collection services for an additional cost as listed in Table 7-3:
            Extra Collection Services and Associated Fees.

           Collection of SOLID RESOURCES shall conform to the CUSTOMER'S service needs.
           The CONTRACTOR shall work with each CUSTOMER to provide the appropriate
           number and size of CONTAINERS for the minimum service level and collection
           frequency to meet the CUSTOMER'S service needs, including CONTAINER space
           constraints.                -

           The BASE RATE assumption is that the collection of COMMINGLED RECYCLABLES
           shall be at the service level and collection frequency of SOLID WASTE. However, if a
           CUSTOMER wants BLUE BIN collection at a frequency higher than their BLACK BIN,
           the CUSTOMER will be charged no more than the established rate for additional
           CONTAINER collection service, in accordance with the BASE RATE, EXTRA SERVICE
           FEES, and all terms of Article 7 and Appendix C.

           The CONTRACTOR shall ensure continuity of ORGANICS service to all CUSTOMERS
           currently subscribing to this service, at rates provided under this AGREEMENT. New
           requests for ORGANICS collection service must be available and provided to all
           CUSTOMERS upon request.

           The CONTRACTOR shall empty CONTAINERS by tipping and return them in an
           upright position to the mutually agreed upon CONTAINER placement location. All
           CONTAINERS shall be returned to the premise or location from which they were
           collected.

           The CONTRACTOR shall handle CONTAINERS carefully and in a manner to prevent
           damage.

            The CONTRACTOR shall provide collection services with as little noise and
            disturbance as possible, and in compliance with the NOISE ORDINANCE.

         3.2 CONTAINER PLACEMENT
            All CONTAINERS shall be placed in locations that allow easy access and convenient
            use by CUSTOMERS, and are safely accessible to the CONTRACTOR. CONTAINERS
            shall be placed on a paved or hard dirt level surface whenever possible.

            In the event that the CUSTOMER and the CONTRACTOR cannot agree upon an
            appropriate location for a collection CONTAINER, the CITY may mediate the dispute
            and designate the point of collection.

           When necessary to carry out the purpose and intent of this AGREEMENT, the CITY
           may authorize the placement of a CONTAINER off the premises. Public rights-of-way
           may be used only in circumstances where the placement of the CONTAINER shall
           not interfere with or obstruct the primary purpose of the right-of-way and consistent
           with applicable law, as approved by the CITY.




            Page 18


                                                                                           Exhibit 8
                                                                                               8-20
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 22 of 221 Page ID #:367




          Whenever possible, signage in accordance with the Outreach and Education Plan,
          including signage to facilitate the proper use of all CONTAINERS will be displayed in
          the CONTAINER storage area or enclosure.

        3.3 CONTRACTOR OWNERSHIP OF SOLID RESOURCES
          The CONTRACTOR shall be responsible for all costs associated with marketing and
          selling recyclable materials collected by the CONTRACTOR under the terms of this
          AGREEMENT.

       3.4 NO MIXING LOADS OF MATERIALS
          The CONTRACTOR shall not combine loads of COMMINGLED RECYCLABLES,
          ORGANICS, or other SOURCE-SEPARATED materials collected with loads of SOLID
          WASTE or other materials collected within or outside of the AGREEMENT. All
          material collected shall be kept segregated from the point of collection to the
          appropriate CERTIFIED FACILITY destination. Contaminated CONTAINERS shall be
          addressed in accordance with the process described in Section 3.5. Combining loads
          of COMMINGLED RECYCLABLES, ORGANICS, or other SOURCE-SEPARATED
          materials collected with loads of SOLID WASTE will be subject to Liquidated
          Damages listed in Table 11-1 of this AGREEMENT.                 .

       3.5 CONTAMINATED AND OVERFILLED CONTAINERS
         The CONTRACTOR is responsible for visually inspecting each CUSTOMER'S
         CONTAINERS as necessary to determine whether they contain contaminated
         COMMINGLED RECYCLABLES or ORGANICS. The CONTAINER shall be considered
         contaminated if it contains more than 10% SOLID WASTE or 10% ORGANICS,
         individually or combined, in the BLUE BIN, and more than 10% non-ORGANIC
         materials in the GREEN BIN. For the first and second instances at a CUSTOMER
         location, determination of eligible contamination is by CITY, after consultation with
         CONTRACTOR and such determination will be provided in writing to CONTRACTOR
         PROJECT MANAGER. For the third instance at a CUSTOMER location, photographic
         evidence of contamination of the BLUE BIN will be promptly provided by
         CONTRACTOR PROJECT MANAGER to CITY PROJECT MANAGER.

         A CONTAINER may be considered overfilled when materials project above its rim in
         a manner that impedes the complete closure of its lid and/or when materials are
         placed outside the CONTAINER and/or allowed to accumulate making access to the
         CONTAINER unsafe for collection.

         For overfilled and overweight CONTAINERS, CONTRACTOR shall complete actions as
         needed to complete the collection, which may include collecting materiais placed
         outside the CONTAINERS, placing materiais in another CONTAINER, or making a
         second collection. CONTRACTOR may charge CUSTOMER no more than the Overfill
         charge or Overweight charge set forth in Table 7-3.




         Page 19

                                                                                          Exhibit 8
                                                                                              8-21
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 23 of 221 Page ID #:368




            The CONTRACTOR shall follow the procedures listed below for addressing
            excessively contaminated COMMINGLED RECYCLABLES or ORGANICS CONTAINERS
            as well as providing written documentation prior to assessing any fees to the
            CUSTOMERS, The CONTRACTOR shall be responsible for a missed collection if these
            procedures are not followed:

            •   1st Instance: The CONTRACTOR shall take and save photographs of the Non­
                Conforming CONTAINER contents, collect the material from the CONTAINER, and
                leave a written courtesy notice that explains why the material collected was Non­
                Conforming. The written notice shall also explain the policy for Non-Conforming
                Materials, recommend corrective action, explain the consequences for repeated
                instances, and identify how the CUSTOMER can find more information on the
                subject. The CITY PROJECT MANAGER shall approve all language for the written
                notice.
            •   2nd Instance: The CONTRACTOR shall take photograph(s) of the Non­
                Conforming CONTAINER contents, collect the material from the CONTAINER and
                leave a written courtesy notice. The notice shall explain the special collection
                needs of the non-conforming material and inform the CUSTOMER that they will
                be charged a CONTAMINATION FEE, as listed in Table 7-3. The written notice
                shall also explain the policy for Non-Conforming Materials, as stated in this
                section. The CITY PROJECT MANAGER shall approve all language for the written
                notice.
            »   3rd and Subsequent Instances: The CONTRACTOR shall have the option of
                charging a CONTAMINATION FEE, or to follow the Non-Collection Procedure in
                Section 3.6.

            Each written notification shall be transmitted and digitally documented within 2
            hours of the observation so that the record can be shown to the CUSTOMER to
            validate why each further action is taken.

            The second or third instances, shall be counted as such if they occur within twelve
            (12) calendar months of the initial instance of each Non-Conforming type. If twelve
            (12) calendar months have elapsed since any CONTAINER was tagged for the same
            reason, the next instance shall be deemed the initial instance. If the CUSTOMER has
            changed, and the account is new, with different occupants, the written notification
            shall be considered the initial instance.

         3.6 CONTAINER NON-COLLECTION
            For instances where the CONTAINERS are determined to contain Exempt Materials,
            non-program recyclables, contaminated recyclables, are overfilled or overweight to
            the extent that the CONTAINER cannot be safely lifted, where CONTAINER contents
            will not empty after tipping, and/or are blocked or inaccessible, the CONTRACTOR
            shall follow the CONTAINER Non-Collection Procedure contained in this Article 3.6,
            All reasons for not performing collection services shall be documented or shall be




            Page 20

                                                                                          Exhibit 8
                                                                                              8-22
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 24 of 221 Page ID #:369




          treated as a missed collection and will be subject to the associated Liquidated
          Damages in Table 11-1.

          The CONTRACTOR shall leave a written Non-Collection Notice when leaving the
          uncollected CONTAINER. If access to CONTAINERS is impeded, then the
          CONTRACTOR shall attempt to contact the CUSTOMER to gain access within 10
          minutes. The CONTRACTOR shall generate an electronic service request that
          updates the CITY'S CRM in REAL TIME. This notification to the CITY shall include a
          description of the problem and a link to any pictures or other documentation if
          appropriate.

          The design and content of the written Non-Collection Notice(s) used by the
          CONTRACTOR shall be subject to the approval of the CITY. At a minimum, Non­
          Collection Notices shall provide the following information: the CONTRACTOR'S
          reason for not providing collection service; information that will allow the
          CUSTOMER to correct the problem; and a CITY telephone number for any further
          questions. Notification to the CITY shall include a description of the problem and a
          picture if appropriate.

         The CONTRACTOR may refuse to collect SOLID WASTE from a CUSTOMER if the
         CONTRACTOR documents that the SOLID WASTE contains HAZARDOUS,
         RADIOACTIVE, MEDICAL WASTE, or E-Waste. If the CONTRACTOR believes a
         CUSTOMER is depositing such waste for collection, CONTRACTOR shall place a
         written Non-Collection Notice on the CONTAINER, take photographs of the improper
         waste (if possible), and immediately notify the CITY PROJECT MANAGER. If the
         generator of such waste is unknown, the CONTRACTOR shall work with the CITY to
         identify the generator of such waste.                                     .

       3.7 MISSED COLLECTIONS
         All missed collection requests that are the fault of the CONTRACTOR and
         transmitted before 2:00 PM shall be collected by 6:00 PM on the same day. All
         missed collection requests made after 2:00 PM shall be collected by 10:00 AM on
         the next day. If a missed collection is to be resolved on a Sunday, no additional fees
         shall be charged for this collection. When a missed collection service request is
         documented or is received by the CONTRACTOR, the information for when the
         collection is scheduled to be made up will be updated through the CONTRACTOR'S
         CRM and updated to the CITY'S CRM.

         The CONTRACTOR shall provide a collection window to the CUSTOMER. The
         CONTRACTOR shall update the associated electronic service request to indicate
         when the pick-up will happen and updated the electronic service request when the
         pickup is complete, so that the CITY'S CUSTOMER CARE CENTER will know this issue
         is being addressed, and pick-up has occurred. Documentation regarding completion
         of the collection must be provided.




         Page 21

                                                                                           Exhibit 8
                                                                                               8-23
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 25 of 221 Page ID #:370




           The CONTRACTOR shall collect on-call CONTAINERS within twenty-four (24) hours
           of the request. Failure to collect the CONTAINERS within 24 hours of the requested
           collection time will be deemed a missed collection.

           Missed collections shall be subject to Liquidated Damages in accordance with Table
           11-1. The CONTRACTOR may not charge fees for an Overfilled CONTAINER for
           material that has accumulated after the CONTAINER'S scheduled collection day due
           to a missed pick-up.

         3.8 ROUTES AND SCHEDULES
           The CONTRACTOR shall establish collection routes and schedules in a manner that
           satisfies the collection service requirements of this AGREEMENT as well as the terms
           of collection service agreements with CUSTOMERS and maximizes the efficiency of
           the CONTRACTOR'S operation. The CONTRACTOR shall submit its initial collection
           routes and schedules to the CITY for approval as part of the CONTRACTOR'S
           MASTER TRANSITION SCHEDULE.

           The CONTRACTOR shall continuously evaluate routes and schedules to ensure the
           highest level of public safety, meeting CUSTOMERS' needs, and the minimized
           VMTs. The CITY maintains the right to review the efficiency of the CONTRACTOR'S
           routing, scheduling, and operational efficiencies at any time.

           After the START OF SERVICE DATE, the CONTRACTOR shall notify all affected
           CUSTOMERS in writing regarding any permanent changes in the CONTRACTOR'S
           schedule or method of providing collection service. The notice shall be delivered at
           least two (2) weeks prior to such change, this written CUSTOMER notification shall
           be documented and made available to the CITY'S CRM.

         3.9 HOURS AND DAYS OF COLLECTION SERVICE
           The CONTRACTOR shall provide collection service for SOLID WASTE, COMMINGLED
           RECYCLABLES, and ORGANICS at regular collection rates Monday through Saturday,
           52 weeks per year, excluding certain HOLIDAYS. CUSTOMERS may request
           collection on Sunday or HOLIDAYS at an EXTRA SERVICE rate, listed in Table 7-3.

           The following are CITY HOLIDAYS:

           ®   New Year's Day
           •   Independence Day
           •   Labor Day
           •   Thanksgiving Day
           •   Christmas Day

           When a CUSTOMER'S scheduled collection day falls on a HOLIDAY, the
           CONTRACTOR shall provide collection service to the CUSTOMER on the day before
           the HOLIDAY, if such service is requested by the CUSTOMER, or the CONTRACTOR




           Page 22

                                                                                        Exhibit 8
                                                                                            8-24
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 26 of 221 Page ID #:371




          shall provide collection service to the CUSTOMER on the next collection service day
          following the HOLIDAY (not Sunday). The CONTRACTOR shall attempt to perform
          the collection within one day of the scheduled collection. The CONTRACTOR shall
          notify the CUSTOMER in writing of the change in collection day in advance.

        3.10 PROTECTION OF PRIVATE AND PUBLIC PROPERTY
          The CONTRACTOR shall, to the greatest extent possible, prevent damage to public
          and private roadways and property, including flowers, shrubs, and other plantings.

           The CONTRACTOR shall be responsible for all costs associated with the repair or
           replacement of property that has been damaged by the CONTRACTOR'S equipment,
          employees or agents, excluding damage from normal wear and tear. The
          CONTRACTOR shall promptly investigate and respond to any claim concerning
          property damage. If the CITY notifies the CONTRACTOR concerning any such
          damage, the CONTRACTOR shall investigate and respond to the CITY within three
          (3) business days. The CONTRACTOR shall promptly repair any damage determined
          to be the fault of the CONTRACTOR, at its sole expense.

       3.11 STAFFING
          The CONTRACTOR shall provide sufficient staffing to meet and execute all
          requirements of this AGREEMENT. At minimum, for the duration of this
          AGREEMENT, the CONTRACTOR shall provide two (2) full time equivalent (FTE) staff
          per 1,000 accounts serviced under this AGREEMENT, responsible for outreach,
          education, CUSTOMER training, and waste assessments. Number of staff may be
          rounded up or down per 500 customers. The values of FTEs will include the primary
         CONTRACTOR'S staff and SUBCONTRACTOR'S staff, as noted, as well as full-time
         and part-time employees; one FTE is equivalent to 2000 hours per year. The
         CONTRACTOR shall provide additional staffing as necessary to meet and execute the
         requirements of this AGREEMENT. The CONTRACTOR shall provide additional
         personnel resources during the TRANSITION PERIOD, as described in Section 8.4.
         Additional staff is required at minimum, for account set up, CUSTOMER outreach,
         CONTAINER delivery, customer service, collections and technology implementation.
         The CONTRACTOR shall have written policies and procedures in place to guide
         recruiting and retaining the best human resources available.

      3.12 STAFF IDENTIFICATION
         CONTRACTOR and SUBCONTRACTOR staff will clearly identify themselves as
         working for the CONTRACTOR or SUBCONTRACTOR for a CITY program.
         CONTRACTOR and SUBCONTRACTOR staff shall not identify themselves as CITY
         staff or as CITY representatives. CONTRACTOR and SUBCONTRACTOR staff shall
         not wear the CITY seal or other CITY logos while working. CONTRACTOR and
         SUBCONTRACTOR owned equipment shall not bear the CITY seal unless authorized
         in writing by the CITY PROJECT MANAGER.




         Page 23


                                                                                       Exhibit 8
                                                                                           8-25
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 27 of 221 Page ID #:372




           Whenever applicable, CONTRACTOR staff interacting with the public shall adhere to
           uniform or dress code requirements. CONTRACTOR staff shall wear a badge with a
           photograph of themselves when interacting with the public. In no way shall the
           dress, badge, or the staff identify themselves as an employee or representative of
           the CITY.

         3.13 SPILLAGE AND LITTER
           The CONTRACTOR shall not cause or allow any SOLID WASTE or other material to
           be spilled, released, or otherwise dispersed in the CITY as a result of the
           CONTRACTOR’S activities under this AGREEMENT. When hauling or transporting any
           material over public roads in the CITY, the CONTRACTOR shall use a covered or
           enclosed vehicle or other device that prevents the material from falling, blowing,
           leaking or otherwise escaping from the vehicle. Failure to properly cover material
           during transportation will be subject to the associated Liquidated Damages listed in
           Table 11-1 of this AGREEMENT.

           If any other material escapes from or is littered by CONTRACTOR'S vehicle or spilled
           from CONTAINERS for any reason, CONTRACTOR shall respond and pick up such
           material, as it is safe to do so, as soon as practicable and consistent with applicable
           environmental laws, or be subject to the associated Liquidated Damages listed in
           Table 11-1 of this AGREEMENT.

           Overfilled or material placed outside CONTAINERS shall not be considered spillage
           by the CONTRACTOR.

           The CONTRACTOR shall immediately clean up any oil, hydraulic, or other fluid that
           leaks or spills from CONTRACTOR’S vehicles. Upon notification of any leaks or spills
           the CONTRACTOR shall initiate its clean-up activities within two (2) hours and shall
           complete its clean up before the end of the day and consistent with applicable
           environmental laws. The CONTRACTOR shall assume all costs associated with clean­
           up activities.

         3.14 SAFETY AND TRAINING PROGRAM
               3.14.1 HEALTH AND SAFETY PROGRAM
           The CONTRACTOR shall develop, implement and maintain a written Injury and
           Illness Prevention Program (IIPP) plan for all of its operations under this
           AGREEMENT, as required by OSHA and other applicable laws. A written copy and an
           electronic copy of the IIPP plan shall be provided to the CITY. The CONTRACTOR
           shall comply with its IIPP plan at all times. Any changes to the IIPP plan must be
           provided to the CITY.

           The CONTRACTOR shall be responsible for providing workers and the public
           protection from safety hazards arising from CONTRACTOR'S operations through its
           health and safety programs. The CONTRACTOR shall conduct regular safety
           inspections of the workplace, maintain a weli-trained staff, and enforce safety



            Page 24

                                                                                           Exhibit 8
                                                                                               8-26
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 28 of 221 Page ID #:373




            programs and policies. The CONTRACTOR shall ensure that it has the proper written
            workplace safety compliance program in place for all of its operations; such
            programs shall also be applicable to all of its SUBCONTRACTORS and contracted
            employees.

           The CONTRACTOR shall be responsible for abiding by applicable laws regarding
           workplace health and safety. Any incident involving the CONTRACTOR that results in
           a fatality, major injury, or collision involving a private citizen's vehicle, major
           property damage, or major spill must be immediately reported to the appropriate
           authorities and the CITY PROJECT MANAGER as stipulated in the Accidents,
           Incidents or Collisions section of Table 10-1: Data and Reporting Requirements.

           Upon the CITY'S request, the CONTRACTOR shall provide the CITY printed and
           electronic records of such health and safety programs and records, including but not
           limited to the following:

            •     General Safety
            •     Alcohol and Drug Free Workplace
           •      Confined Space Program
           •      Contingency Plan
           •     Controlled Substance Use
           •      Emergency Action
           •      Fall Protection
           •      Fire Safety and Prevention
           •     Hazard Communication
           •     Hazardous Energy Control (Lock Out Tag Out)
           •     Hazardous Material Handling
          •      Heat Illness and Prevention
          •      Illness and Injury Prevention Program (IIPP)
          •     Material Safety Data Sheets (MSDS) / Product Safety Data Sheets (PSDS)
          •     Protection from Blood-borne Pathogens
          •     Personal Protection Equipment (PPE)
          •     Eye and Face Protection
          •     Footwear Protection
          ®     Head Protection
          •     Hearing Conservation
         •      Respiratory Protection
         •      Seatbelt Policy
         •      Driver Training
         •      Vehicle Pre and Post Inspections
         •      Driver Safety, Vehicle Operations, and Accident Prevention
         •      Collection Safety
         ®      Post Collection and Facility Training
         •      Forklift Operation
         •      Reporting and Record Keeping Policy




         Page 25


                                                                                          Exhibit 8
                                                                                              8-27
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 29 of 221 Page ID #:374




            •   Unsafe Condition Reporting
            •   Work Area and Traffic Control Safety
            •   Workplace Sexual Harassment
            ®   Workplace Violence

                 3.14.2TRAINING PROGRAM
           The CONTRACTOR shall provide safety training to its employees specific to their
           roles in compliance with CaiOSHA and all applicable laws. The CONTRACTOR shall
           provide refresher courses and supplemental trainings as needed. New staff shall
           attend multi-week training programs specific to their roles with a focus on customer
           service; CONTRACTOR systems, policies, and procedures; and the unique needs of
           the FRANCHISE ZONE(S). Documentation of the CONTRACTOR'S training programs,
           training schedules and successful training of each employee shall be maintained on
           file and shall be provided to the CITY upon request.

           The CONTRACTOR shall develop and submit a written annual Safety and Training
           Plan to the CITY. The CITY maintains the right to audit training programs, training
           materials, training records, and to make recommendations to the training programs
           for all staff. This plan shall include standard operating procedures (SOP's) for the
           safety of field staff, including a driver training program, and for those working at the
           CONTRACTOR'S facilities utilized for activities pertaining to this AGREEMENT. The
           CONTRACTOR shall demonstrate that its Safety and Training Plan, and the plans of
           its SUBCONTRACTORS are in full compliance with local, State, and Federal laws.

           The CONTRACTOR'S Safety and Training Plan shall also include training for Call
           Center staff, drivers, field response staff, and subcontracted employees.

           The CONTRACTOR shall also provide administrative training to staff with a focus on
           customer service, including but not limited to CONTRACTOR systems, policies, and
           procedures, and the how to properly meet both standard and unique needs of the
           FRANCHISE ZONE(S).

         3.15 LABOR PEACE AGREEMENT
            CONTRACTOR shall provide, and maintain for the term of the AGREEMENT,
            satisfactory evidence that it complies with L.A.M.C. Section 66.33.6(c).

         3.16 SPECIAL SERVICES
                 3.16.1 VALET SERVICE REQUIREMENTS FOR MULTIFAMILY ESTABLISHMENTS
           The CITY currently provides a valet recycling service for MULTEFAMILY
           ESTABLISHMENTS. The CONTRACTOR shall continue to provide this valet service to
           all MULTIFAMILY ESTABLISHMENTS that receive this service as of the CONTRACTOR
           NOTIFICATION date. The cost of providing this service shall be included in the BASE
           RATE as specified in Article 7. Valet service requires the CONTRACTOR remove and
           replace collection carts used for COMMINGLED RECYCLABLES from within a building




            Page 26

                                                                                            Exhibit 8
                                                                                                8-28
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 30 of 221 Page ID #:375




           or an enclosure. This may require the CONTRACTOR to retrieve carts from multiple
           areas of a premise or complex and replace them once emptied.

                  3.16.2 STUDIO SERVICE
          Pursuant to CITY Ordinance No. 182986, any franchise CONTRACTOR may contract
          with any STUDIO for collection services under the FRANCHISE SYSTEM, regardless
          of the FRANCHISE ZONE in which the STUDIO is located. This applies to studios as
          defined in L.A.M.C. Section 66.33.1.

          All services and materia! collection, transfer, processing, and disposal services shall
          be provided in accordance with all applicable laws, and the terms and conditions of
          this AGREEMENT, including AB 939 COMPLIANCE FEES and FRANCHISE FEES. All
          SOLID RESOURCES collected from the STUDIOS shall be delivered to CERTIFIED
          FACILITIES for processing and/or disposal.

              3.16.3 HOSPITALS
       3.16.3.1       Hospitals Operations and Certification Requirements
         The CONTRACTOR and/or SUBCONTRACTOR shall comply with ail requirements of
         the Health Insurance Portability and Accountability Act of 1996 (HIPAA) and the
         Health Information Technology for Economic and Clinical Health Act (HITECH),
         enacted as part of the American Recovery and Reinvestment Act of 2009, California
         Confidentiality of Medical Records Information Act (CCMIA) and any other applicable
         federal or state privacy rules and regulations. In accordance to HIPAA regulations,
         the CONTRACTOR agrees not to sell, share, discuss, assign, transfer or otherwise
         disclose any confidential information. Notwithstanding any provision in the
         AGREEMENT to the contrary, nothing herein requires CONTRACTOR to receive or
         handle documents subject to or protected by the above laws.

         Throughout the term of this AGREEMENT and for a period of four (4) years after the
         termination hereof, or pursuant to applicable law, CONTRACTOR agrees that the
         Department of Health and Human Services and the Comptroller General of the
         United States shall have the right of access to all books, documents, and records of
         the CONTRACTOR, which are necessary to verify the costs of the services provided.

         The CONTRACTOR shall reasonably comply with each HOSPITAL'S Code of Conduct,
         which references among other items compliance with many applicable laws and
         regulations incumbent upon HOSPITALS.

         All equipment, CONTAINERS, or items furnished by CONTRACTOR under this
         program will comply with all applicable requirements of agencies having jurisdiction
         over the HOSPITAL. These include but are not limited to federal, state and health
         oversight agencies, Centers for Medicare & Medicaid Services (CMS), JTC, and
         OSHA. The CONTRACTOR further agrees that as these agencies modify their
         standards and requirements the CONTRACTOR will promptly exchange and replace
         any such equipment, CONTAINERS, or items as necessary.




         Page 27


                                                                                           Exhibit 8
                                                                                               8-29
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 31 of 221 Page ID #:376




            Subject to the provisions in the first paragraph of this Section 3.16.3.1, the
            CONTRACTOR shall assure that the integrity of the SOLID RESOURCES collected
            from HOSPITALS from pick up to ultimate disposal is uncompromised, and that
            Protected Health Information (PHI) is not improperly used or disclosed under any
            circumstance.

            The CONTRACTOR attests that the CONTRACTOR has never been listed on any
            government database [including but not limited to the List of Excluded
            Individuals/Entities (LEIE) and Excluded Parties List System (EPLS)] excluding them
            from government contracts, participation in federally funded health care programs,
            nor the Department of the Treasury's list of Specially Designated Nationals. The
            CONTRACTOR, its workforce members, and/or its affiliates may not be excluded
            from participation under any federal health care program. The CONTRACTOR shall
            notify the CITY in writting if it or any of its workforce and/or its affiliate's members
            become excluded.

            All CONTRACTOR and SUBCONTRACTOR staff assigned to HOSPITALS must comply
            with the HOSPITAL'S medical screening and testing requirements, if applicable.

            CONTRACTOR employees assigned to a HOSPITAL will have undergone a criminal
            background check for felony convictions and selected misdemeanors according to
            HOSPITAL'S policy, if applicable. The CONTRACTOR will ensure such background
            checks are completed within the six-month period preceding the assignment, or for
            the period defined by the HOSPITAL and will disclose to the HOSPITAL in writing of
            any felony conviction to allow for review and a determination as to the acceptability
            of the CONTRACTOR employee. The CONTRACTOR will maintain documentation of
            criminal background checks and will make that documentation available to the
            HOSPITAL upon request. The CONTRACTOR will also be responsible for completing
            other background checks, as may be required by the HOSPITAL.

            The CONTRACTOR shall provide validated competency training for all technical
            support/education personnel, engaged in on-site training, per The Joint Commission
            standards (TJC) at no cost to the HOSPITAL.

         3.16.3.2     Hospital Service Provision Requirements
            The CONTRACTOR shall provide a dedicated point of contact to HOSPITALS who will
            be available by cell phone and/or landline 24 hours per day. The actual required
            response time may vary from HOSPITAL to HOSPITAL, and by the urgency of the
            issue.

            The CONTRACTOR shall prioritize collection for HOSPITALS in the event of any
            interruption in operations of the CONTRACTOR, for any reason, including but not
            limited to business failure, or natural disaster.




            Page 28

                                                                                             Exhibit 8
                                                                                                 8-30
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 32 of 221 Page ID #:377




             The CONTRACTOR shall maintain response procedures for emergency situations
             (such as HAZARDOUS WASTE or other contaminants commingled with any material
             to be collected under this AGREEMENT).

             The CONTRACTOR shall develop a driver-training program that fully addresses the
             unique needs of each HOSPITAL.

             The CONTRACTOR shall ensure that no significant workflow changes will be
             necessary to maintain HIPAA compliance, examples include, but are not limited to
             Personal Health Information (PHI), labeling intravenous (IV) bags, and medication
             bottles.

             The CONTRACTOR shall monitor and stay abreast of changes in Federal, State or
             local rules and regulations and be able to implement those changes throughout the
             duration of this AGREEMENT.

          The CONTRACTOR shall perform a Waste Assessment at no cost to the HOSPITAL
           prior to the commencement of service under the FRANCHISE SYSTEM. This Waste
          Assessment shall include all aspects of Waste Assessments as described in Section
          5.1, but also include a report identifying the impact of waste handling and
          collections on the workflow of HOSPITAL staff on floors, clinical areas, and the
          loading dock and receiving yard. The CONTRACTOR shall provide semi-annual audits
          to identify trends of HOSPITAL waste volume, recycling quantities by type, etc. at no
          cost to the HOSPITAL.

         The CONTRACTOR shall take any steps necessary to ensure that the current
         diversion and recycling efforts, including type and quantity of recyclables and any
         allocated resources shall be maintained or improved. The CONTRACTOR shall work
         with the HOSPITAL to explore opportunities to increase the recycling and diversion
         efforts.

         The CONTRACTOR shall submit, to the CITY, a copy of its service agreement and
         operations plan for each of the HOSPITALS it serves.

         The CONTRACTOR shall meet each HOSPITAL'S unique service needs including at
         minimum, the following:

         •    Response times required to address each HOSPITAL'S complaints, changes in
              volume or emergency collection needs
         •    Unique requirements related to specific collection windows (often HOSPITALS
              need waste picked up within a predetermined window)
         •    Specialized recycling requirements

      3.16.3.3       Hospital Service Commitments
         In the event the CONTRACTOR is unable to provide a discrete and specific
         operational request or requirement of a HOSPITAL for services provided in




         Page 29


                                                                                            Exhibit 8
                                                                                                8-31
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 33 of 221 Page ID #:378




            accordance with this AGREEMENT, the CONTRACTOR shall utilize a CITY-approved
            SUBCONTRACTOR to provide those specific services. The CITY will consult with the
            HOSPITAL in the assignment of the SUBCONTRACTOR.

            In the event that the CONTRACTOR commits a material breach of the AGREEMENT
            as it relates to the service of a HOSPITAL, the CITY may provide those services
            temporarily until the CONTRACTOR is able to meet the service requirements or a
            new FRANCHISEE assumes exclusive responsibility for collection and processing in
            that FRANCHISE ZONE. The CITY shall act as sole arbiter in determining
            CONTRACTOR failure or the material breach. In the event the CITY assumes
            temporary responsibility for servicing a HOSPITAL, the CONTRACTOR shall
            reimburse the CITY for all costs incurred by the CITY and the HOSPITAL for the
            CONTRACTOR'S failure to provide any services. The CONTRACTOR shall reimburse
            the CITY within thirty (30) days of invoice from the CITY. The CITY may consult
            with the HOSPITAL in the assignment of the SUBCONTRACTOR.

                3.16.4 PILOT STUDIES
            During the term of this AGREEMENT, the CITY may request pilot studies to evaluate
            strategies that may increase recycling, waste reduction, collection efficiency, or
            other benefits. The CONTRACTOR shall cooperate with the CITY in conducting such
            pilot studies, and shall enter into good faith negotiations with the CITY if additional
            services are necessary from the CONTRACTOR to carry out the pilot studies.

         3.17 EMERGENCY SERVICES AND RESPONSE REQUIREMENTS
                3.17.1 EMERGENCY SERVICES
            The CONTRACTOR shall designate an emergency contact available 24 hours per day,
            7 days per week. The CONTRACTOR shall respond to emergency services and
            escalated issues at all times. The CONTRACTOR shall follow its written Contingency
            Plan as specified in Section 3.17.3, and shall notify the CITY PROJECT MANAGER in
            writing of any changes in their Contingency Plan. The Contingency Plan shall
            include, but not be limited to, a list of critical facilities (such as HOSPITALS) within
            the service area, a prioritized collection schedule according to CUSTOMER type and
            material type, a communication plan, and contact lists for designated first
            responders.

            The CONTRACTOR shall provide the CITY with an escalation procedure for resolving
            emergencies, accidents, HOSPITAL service requests, and any other exigent
            circumstances deemed an emergency by the CITY.

                3.17.2 VEHICULAR ACCIDENTS
            In the event of an accident involving a vehicle used in fulfillment of services
            pertaining to this AGREEMENT and any other vehicle, cyclist, or pedestrian, at any
            location, the CONTRACTOR PROJECT MANAGER shall notify the CITY PROJECT
            MANAGER immediately, within a reasonable timeframe. Failure to report vehicular




            Page 30

                                                                                             Exhibit 8
                                                                                                 8-32
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 34 of 221 Page ID #:379




           accidents shall be subject to Liquidated Damages in accordance with the
           Performance Standards associated with Reporting Requirements listed in Table 11-1.

                 3.17.3 CONTINGENCY PLAN SERVICE REQUIREMENTS
          The CONTRACTOR shall have a written Contingency Plan that describes how the
          CONTRACTOR will provide uninterrupted services as described in this AGREEMENT,
          to the greatest practical extent, during an emergency event that may impact service
          delivery. Such events may include, but are not limited to:

           •    Business failure
           •    Loss of insurance
           •   Severe storm
           •   High wind
           •   Earthquake
          •    Flood
          •    Tsunami
          •    Hazardous material release
          •    Transportation system interruption
          •    Loss of any utility service
          •    Fire
          •    Civil unrest
          •    Terrorist activity
          •    Strike, lockout or labor unrest
          •    Any combination of the above

         The Contingency Plan shall describe the CONTRACTOR'S response protocol in the
         event that an emergency or other situation renders its operations yard or equipment
         unusable. The Contingency Plan shall describe the steps that the CONTRACTOR will
         take to avoid interruptions in collection, disposal and processing services.

         Contingency Plans shall be updated, at a minimum, annually, provided to the CITY,
         and all CONTRACTOR and subcontracted personnel shall receive annual training on
         processes and procedures contained in the plan.

         The Federal Emergency Management Agency (FEMA) provides guidance on the
         preparation of All Hazards Contingency Plans. FEMA's Comprehensive Preparedness
         Guide (CPG) 201, Second Edition provides communities additional guidance for
         conducting a Threat and Hazard Identification and Risk Assessment (THIRA). The
         CONTRACTOR and SUBCONTRACTORS shall update emergency preparedness
         standards, as new standards are developed throughout the term of this
         AGREEMENT.

      3.17.3.1       City Backup
         In the event that the CONTRACTOR is unable to provide services in whole or in part
         under this Agreement due to a work stoppage, the CITY may temporarily provide




         Page 31


                                                                                       Exhibit 8
                                                                                           8-33
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 35 of 221 Page ID #:380




           those services not provided by the CONTRACTOR until the CONTRACTOR is able to
           meet all the service requirements of this AGREEMENT. In the alternative to the CITY .
           temporarily providing those services not provided by the CONTRACTOR, a
           FRANCHISEE may assume temporary responsibility for collection and processing in
           that FRANCHISE ZONE. The CITY shall determine CONTRACTOR failure to provide
           service. In the event the CITY assumes temporary responsibility for service, the
           CONTRACTOR shall reimburse the CITY for all costs incurred by CITY for the
           CONTRACTOR'S failure to provide any services. The CONTRACTOR shall reimburse
           the CITY within thirty (30) days of invoice from the CITY.

               3.17.4 BACKUP FOR OTHER FRANCHISE ZONES
           In the event of a service interruption that impacts SOLID RESOURCES collection
           services in one or more FRANCHISE ZONES, the CONTRACTOR shall be the backup
           for other FRANCHISEES in other FRANCHISE ZONES at the discretion of the CITY.
           Under these provisions, in order to ensure continuity of service, the CITY will have
           the authority to direct available CONTRACTOR resources to any FRANCHISE ZONE
           where the service interruption has occurred. Compensation will be agreed upon
           between the CONTRACTOR and CITY.

         3.18 AB 939 COMPLIANCE PERMIT
           The CONTRACTOR shall maintain an AB 939 COMPLIANCE PERMIT with the CITY at
           all times during the term of this AGREEMENT.

         3.19 VEHICLES
           The CONTRACTOR shall purchase and/or lease, and maintain and repair, ail vehicles
           and equipment necessary to maintain its collection services and schedules and to
           comply with all requirements of this AGREEMENT promptly and efficiently. The
           CONTRACTOR'S vehicles and equipment shall be appropriate for, and compatible (in
           size, weight, and service capability) with, the area(s) where they may be utilized.

           COLLECTION VEHICLES shall not leak from the power train or the body of the truck,
           per Los Angeles Regional Water Quality Control Board regulations, nor shall they
           leak from the collection vessel. Ail COLLECTION VEHICLES shall have waterproof
           seals and shall be watertight to a depth sufficient to prevent the discharge or
           leaking of accumulated water during loading and transport operations. The
           COLLECTION VEHICLES shall have solid metal sides and a fully enclosable metal top.

           CONTRACTOR’S vehicles used to collect ROLL OFF CONTAINERS shall be equipped
           with a tarpaulin or a net cover with mesh openings not greater than one and one-
           half (IV2) inches in size. The cover shall be kept in good mechanical order, without
           holes. The cover shall fully enclose the CONTRACTOR'S load at all times.

           Prior to use, a TARE WEIGHT shall be established for all of the CONTRACTOR'S
           COLLECTION VEHICLES. At the CITY'S discretion, the TARE WEIGHT of any




           Page 32

                                                                                         Exhibit 8
                                                                                             8-34
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 36 of 221 Page ID #:381




           COLLECTION VEHICLE may be checked at any time, by the CITY PROJECT
           MANAGER.

          Except for extraordinary circumstances, as determined by the CITY, ail COLLECTION
          VEHICLES and equipment shall be empty and devoid of all SOLID RESOURCES prior
          to the commencement of daily collection service.

               3.19.1 CLEAN FUEL VEHICLE REQUIREMENT
          All COLLECTION VEHICLES, including tractor trailers that carry ROLL OFF
          CONTAINERS, shall be eight (8) model years old or newer at the commencement of
          service under this AGREEMENT, and no more than ten (10) years throughout the
          term of the AGREEMENT, and shall be a CLEAN FUEL VEHICLE, in compliance with
          the SCAQMD Rule 1193 definition for Alternative-Fuel Heavy-Duty Vehicle [Rule
          1193(c)(1)]. Within thirty (30) days from the CONTRACT EXECUTION date,
          CONTRACTOR shall initiate permitting, design and construction of a CNG fueling
          station, as necessary, and to place orders for CLEAN FUEL VEHICLES, with the goal
          of having the CNG fueling station, as necessary, and CLEAN FUEL VEHICLES in place
          by the START OF SERVICE date. However, the parties recognize that factors
          outside of CONTRACTOR'S control could affect the timing of its ability to meet the
          CLEAN FUEL VEHICLE requirement. As a result, and notwithstanding any provision
          herein to the contrary, the CITY PROJECT MANAGER may extend the applicable date
          of the CLEAN FUEL VEHICLES to account for delays, however shall not be extended
          more than 15 months after the CONTRACT EXECUTION date.

              3.19.2 ON-BOARD SOFTWARE AND HARDWARE
         All COLLECTION VEHICLES shall be equipped with on-board technology (software
         and hardware) capable of monitoring and recording data from GPS devices, vehicle
         dynamics monitoring, photo and video, and engine performance monitoring
         systems, and shall meet all requirements and capabilities described in this
         AGREEMENT, including proof of provision of service. This data will be communicated
         from the truck in REAL TIME and shall be maintained by the hauler either directly or
         through a third party service. The data must also be accessible in REAL TIME to the
         CITY'S CRM. The CONTRACTOR shall be responsible for all cost associated with
         preparing the data in a format acceptable by the CITY. Should the CONTRACTOR
         record or maintain recordings of video footage, the CONTRACTOR does so at its
         discretion. Those records are not owned, used, created, or retained by the CITY.

             3.19.3 RESERVE VEHICLES AND EQUIPMENT
         The CONTRACTOR shall have sufficient reserve vehicles and equipment available to
         complete daily collection routes according to the schedules and hours of collection
         established in this AGREEMENT. The use of reserve vehicles and equipment shall
         include, but not be limited to, occasions when front line vehicles and equipment are
         out of service, or delays prevent front line vehicles and equipment from completing
         their daily collection route(s) within the established hours of collection.




         Page 33


                                                                                         Exhibit 8
                                                                                             8-35
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 37 of 221 Page ID #:382




           The reserve vehicles and equipment shall be readily available for service within two
           (2) hours of any breakdown, The reserve vehicles and equipment shall be similar in
           size and capacity to the vehicles and equipment they are replacing.

                3.19.4 VEHICLE MAINTENANCE AND CONDITION
           At a minimum, all of the CONTRACTOR'S COLLECTION VEHICLES and equipment
           shall be operated and maintained in compliance with the manufacturer's
           specifications, and all applicable laws and regulations.

           The CONTRACTOR'S COLLECTION VEHICLES and equipment shall be kept in good
           repair and appearance, and in a sanitary, clean condition, at all times. Vehicles shall
           be washed thoroughly on the outside, and sanitized with a suitable disinfectant and
           deodorant, a minimum of once-per-week (or more frequently if necessary or as
           requested by the CITY).

           The CONTRACTOR shall monitor, maintain and repair its COLLECTION VEHICLES
           and equipment to prevent fuel and lubricant spills. The CONTRACTOR shall keep its
           COLLECTION VEHICLES and equipment in good repair and condition to prevent
           leaks from oil and hydraulic systems, as well as waterproof seals and enclosures.

            All COLLECTION VEHICLES used within the FRANCHISE ZONE shall identify as a
            valid PERMITTED HAULER for the CITY and bear signage as a CITY FRANCHISEE,
            and any other CITY messaging required. The CITY will provide the content, form
            and format of the vehicle identification, signage, and messaging. The COLLECTION
            VEHICLE shall not display any vehicle identification, signage or messaging other
            than that approved by the CITY.

            Vehicle serial numbers shall be displayed at all times, in letters at least four (4)
            inches high, on all four (4) sides of all COLLECTION VEHICLES.

                3.19.5 COMPLIANCE WITH THE LAW
            At all times, the CONTRACTOR and its employees shall operate and maintain all
            vehicles and equipment in compliance with all applicable laws.

            At all times, the CONTRACTOR shall maintain all necessary licenses and
            registrations, and shall timely pay ail fees and taxes, on all vehicles and equipment,
            as required under applicable laws.

                3.19.6 CITY'S RIGHT TO INSPECT VEHICLES
           The CITY may inspect the CONTRACTOR'S vehicles, equipment, licenses,
           registrations, and CONTRACTOR fleet records at any time at its own discretion.

            The CITY reserves the authority to require the CONTRACTOR to immediately remove
            any COLLECTION VEHICLE or equipment from service, for reasons deemed by the
            CITY including but not limited to, leaking or spilling of fluids and escaping of SOLID
            RESOURCES. The CITY also may require any COLLECTION VEHICLE or equipment to




            Page 34

                                                                                           Exhibit 8
                                                                                               8-36
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 38 of 221 Page ID #:383




           be washed within one (1) business day of a CITY request. In such cases, the
           CONTRACTOR shall immediately notify the CITY PROJECT MANAGER of the remedial
           action that will be taken to correct the problem, and document in writing that the
           corrective action was taken.

          When the CITY conducts any inspection, CONTRACTOR staff shall fully cooperate
          with CITY staff. The CONTRACTOR shall state names and titles of all CONTRACTOR
          staff present. At the end of the inspection, CONTRACTOR staff shall sign an
          inspection report stating that they were present.

              3.19.7STORAGE AND REPAIR
          The CONTRACTOR shall provide a garage and maintenance facility for its vehicles
          and equipment that enables all weather, year-round maintenance operations. The
          CONTRACTOR shall not use CITY property to store, house, or repair any vehicle or
          equipment without the written consent of the CITY PROJECT MANAGER. The
          CONTRACTOR shall not store, house, or repair any vehicle or equipment in the
          public right-of-way.

       3.20 CONTAINERS
          The CONTRACTOR shall provide CONTAINERS that meet the CITY'S specifications
          for the collection of SOLID RESOURCES to all CUSTOMERS. The CONTRACTOR shall
          provide CONTAINERS of sufficient size and number to ensure that all of the SOLID
          RESOURCES generated by the CUSTOMERS are properly stored and contained until
          they are removed for disposal or processing.

          The CONTRACTOR shall provide new or replacement of damaged CONTAINERS
          within two (2) business days after notification from the CITY or CUSTOMER request
          (phone, email or written, or other, as allowed by CITY PROJECT MANAGER).

         CUSTOMERS may elect to own or secure CONTAINERS from sources other than the
         CONTRACTOR, and shall not be subject to discrimination by the CONTRACTOR in
         collection services on that account. However, CUSTOMERS' CONTAINERS shall be
         inspected and approved by the CONTRACTOR to ensure that they can be serviced
         by the CONTRACTOR'S COLLECTION VEHICLES. In the event of disagreement
         between the CONTRACTOR and the CUSTOMER, the CUSTOMER or CONTRACTOR
         may appeal to the CITY in writing; the CITY PROJECT MANAGER'S decision on this
         appeal after consultation with both parties shall be final.

         The CONTRACTOR shall investigate the possibility of refurbishing their existing
         inventory of CONTAINERS for use under the FRANCHISE SYSTEM, as long as they
         meet the needs of the CUSTOMERS and are within CITY specifications, as described
         in Table 3-2.




         Page 35


                                                                                       Exhibit 8
                                                                                           8-37
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 39 of 221 Page ID #:384




                   3.20.1 CONTAINER SIZES
             The CONTRACTOR shall offer, at a minimum, the CONTAINER size choices to all
             CUSTOMERS in their FRANCHISE ZONE(S) listed in Table 3-1.

         Table 3-1: Container Types and Sizes
                                CONTAINER Type                                             CONTAINER Size Choices

         SOLID WASTE and COMMINGLED RECYCLABLES CONTAINERS              32 gallon carts, 64 gallon carts, 96 gallon carts, 1-8 cubic yard
                                                                        detachable bins, or COMPACTOR CONTAINERS, as required by
                                                                        the CUSTOMER

         ROLL OFF CONTAINERS (SOLID WASTE, COMMINGLED                    10 cubic yard, 20 cubic yard, 30 cubic yard, 40 cubic yard
         RECYCLABLES, ORGANICS)

         ORGANICS and Horse Manure CONTAINERS                           32 gallon carts, 64 gallon carts, 96 gallon carts, 1-3 cubic yard
                                                                        detachable bins, or ROLL OFFS, as required by the CUSTOMER
                                                                        The CONTRACTOR may limit the CONTAINERS' volumes as
                                                                        necessary to account for weight limitations




                   3.20.2 CONTAINER SPECIFICATIONS
             CONTAINERS provided by the CONTRACTOR, or owned by the CUSTOMER, shall
             meet the specifications listed in Table 3-2.

         Table 3-2: Container Specifications
                  CONTAINER Type                                                   Specifications

          Applicable to All CONTAINERS      *    Prominently display:
                                                      o     CONTRACTOR provided serial number and/or identifying !ogo(s).
                                                      o    CITY 1-800-773-CITY CUSTOMER CARE CENTER contact information and
                                                           LASAN website address
                                            •    Leak proof
                                            •    No jagged edges or boles
                                            •    Compliant with CITY Fire Code
                                            •    Color to match the material stream collected, as defined in Table 2-1, and in
                                                 accordance with the CITY-wide color coding
                                            #    All plastic CONTAINERS shall consist of a minimum of 30% recycled content
          30-120 gallon carts               •    Lightweight durable plastic
                                            *    At least two (2) wheels
                                            *    Tight fitting lid with handles as designed by the manufacturer
                                            *    At least one handle to facilitate transport across pavement
                                            •    Labels, signaqe and messaging, as approved by the CTTY
          1-8 yard bins and smaller         •    Lightweight durable plastic or metal
          COMPACTORS                        *    At least four (4) wheels, if applicable
                                            •    Solid, durable bottom
                                            •    Lid with handle
                                            •    Labels, siqnaqe and messaqinq, as approved by the CITY




             Page 36

                                                                                                                                 Exhibit 8
                                                                                                                                     8-38
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 40 of 221 Page ID #:385




                CONTAINER Type                                             Specifications

         ROLL OFFS for SOLID WASTE,   *   Lightweight durable plastic or metal
         COMMINGLED RECYCLABIES, or
                                      *   At least four (4) wheels and/or track
         ORGANICS
                                      •   Solid, durable bottom
                                      •   Shall be equipped with a heavy-duty removable plug, as applicable for the purpose
                                          of clean out.
                                      *   Tight fitting, impermeable screen lid, or covered by tarp during transport, or sealed
                                          to prevent leaking or material escaping
                                      •   COMPACTORS shall be sealed sufficiently to prevent any leaking In the loading and
                                          transportation of the CONTAINER__________________________________________




           The CONTRACTOR shall provide the CITY with the manufacturer's specification
           sheets for the CONTRACTOR’S CONTAINERS, At a minimum, the specification sheets
           shall address the following items, if applicable:

          •    Company of manufacture
          •    Material of manufacture, including pre-consumer and post-consumer recycled                                         .
               content; a minimum of 30% recycled content for plastic CONTAINERS
          •    Molding technology
          •   Standards of design (e.g,, American National Standards Institute)
          •   UV stabilization certification   :
          •   Load rating
          •   Design standards for lid, handles, lifting, bottom, wheels, axle, and fasteners
          •   Interior and exterior finish surfaces
          •   Color
          •   Volumetric capacity
          •   Identification and marking
          •   Manufacturer's warranty

          The CONTRACTOR shall replace the labels on CONTAINERS on an as-needed basis,
          at the CONTRACTOR'S sole expense, at the request of the CITY and subject to the
          CITY'S approval.

               3.20.3 CONTAINER REQUIREMENTS
         CONTAINER design requirements shall meet, at a minimum, the technical
         specifications in ANSI standard Z245.30-2008 for container labels and Z245.60-2008
         for container design.

         The CONTRACTOR shall submit color samples and material swatches to the CITY
         PROJECT MANAGER for approval prior to the production and purchase of
         CONTAINERS. All CONTAINERS are to follow the CITY'S color protocol: Blue for
         COMMINGLED RECYCLABLES, Black for SOLID WASTE, Green for ORGANICS and
         Brown for horse manure.




         Page 37


                                                                                                                          Exhibit 8
                                                                                                                              8-39
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 41 of 221 Page ID #:386




            The CONTRACTOR shall comply with the CITY requirements on markings, signage
            and messaging to be affixed to the CONTAINERS, These may include, but are not
            limited to its company name, manufacturing date and serial number, CITY program
            logo, and LASAN's CUSTOMER CARE CENTER'S telephone number on each
            CONTAINER, Such markings, signage and messaging may be specified to be
            molded, hot stamped, etched, or adhered to the CONTAINER, In all cases, the
            CONTRACTOR shall submit drafts and final proofs for review and approval prior to
            production. The CITY shall have a minimum of two (2) weeks to approve the proofs
            before production.

                3.20.4 OWNERSHIP OF CONTAINERS
            CUSTOMER-owned CONTAINERS shall remain the sole property of the CUSTOMER.

            The CONTRACTOR shall retain ownership of CONTAINERS provided by the
            CONTRACTOR. CONTAINERS provided by the CITY shall remain the sole property of
            the CITY.

            Recycling CONTAINERS already placed for the CITY'S MultiFamily Residential
            Recycling Program remain CITY property, and shall remain in use at those
            MULTIFAMILY ESTABLISHMENTS at the CITY'S prerogative unless otherwise
            stipulated in the MASTER TRANSITION SCHEDULE, or approved by the CITY
            PROJECT MANAGER. If any CITY recycling CONTAINERS are no longer usable,
            CONTRACTOR shall notify the CITY, return them to the CITY, and shall be
            responsible for purchasing, delivering and servicing replacement CONTAINERS. The
            CONTRACTOR shall be responsible for maintaining the condition, including required
            removal of graffiti for CITY-owned MultiFamily Residential Recycling Bins, in
            accordance with Section 3.20.5.1, at the CONTRACTOR'S sole cost. The
            CONTRACTOR shall also be responsible for purchasing, delivering and servicing all
            additional CONTAINERS to meet the service requirements of the CUSTOMER.

                3.20.5 CONTAINER MAINTENANCE
            All CONTAINERS shall be in good condition and free from graffiti, or other markings,
            except those required and approved by the CITY. The CITY reserves the right to
            direct the CONTRACTOR to paint, replace, repair or clean a CONTAINER based on its
            condition.

            The CONTRACTOR shall promptly investigate and respond to any claim concerning
            CONTAINER maintenance, repair or replacement. The CONTRACTOR shall promptly
            repair or replace any damage, at its sole expense, within two (2) business days or
            be subject to the associated Liquidated Damages listed in Table 11-1.

         3.20.5.1      Graffiti Removal Required
            The CONTRACTOR is responsible for removing graffiti from their CONTAINERS upon
            request, up to three (3) times per a twelve (12) month period. The CONTRACTOR
            shall remove any graffiti reported within five (5) business days of notification. The




            Page 38

                                                                                          Exhibit 8
                                                                                              8-40
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 42 of 221 Page ID #:387




           CONTRACTOR shall provide the CUSTOMER with paint to cover graffiti at
           CUSTOMER'S request, without charge, The CONTRACTOR may choose to provide
          CONTAINERS with graffiti resistant paint or coating for premises with persistent
          instances of graffiti occurrences. CUSTOMERS shall be responsible for maintaining all
          CUSTOMER-owned CONTAINERS. The CONTRACTOR may maintain graffiti removal
          for the CUSTOMER-owned CONTAINERS for an additional fee. Failure to maintain
          CONTRACTOR-owned CONTAINERS in accordance with the performance standard
          described in this section shall be subject to the associated Liquidated Damages listed
          in Table ll-l.

       3.20.5.2     Container Cleanings
          CUSTOMERS are entitled to one free steam cleaning in each twelve (12) month
          period per CONTAINER upon request. Any cleaning requests beyond the required
          one (1) cleaning per year will be at the CUSTOMER'S expense as established in
          Table 7-3. Any disputes concerning the CONTRACTOR’S obligation for cleaning
          CONTAINERS shall be resolved by the CITY. The CITY'S decision on the issue shall
          be final.

       3.20.5.3    Repair and Replacement of Containers
          Repair or replacement required as a result of normal wear and tear, or damage
         resulting from CONTRACTOR actions shall be at the expense of the CONTRACTOR.
         Repair or replacement of CUSTOMER owned CONTAINERS shall be at the expense
         of the CUSTOMER except when caused by CONTRACTOR actions, as listed in Table
         7-3. In the event of disagreement between the CONTRACTOR and the CUSTOMER,
         the CUSTOMER may appeal to the CITY in writing. The CITY'S decision shall be final.

         At its option, the CONTRACTOR may require a CUSTOMER to exchange its old
         collection CONTAINER when the CUSTOMER receives a new collection CONTAINER
         from the CONTRACTOR. If a collection CONTAINER requires replacement because of
         the CUSTOMER'S negligence, the CUSTOMER shall pay for the cost of the repair(s)
         to the CONTAINER to the CONTRACTOR, as set forth in Table 7-3.

         If the CONTRACTOR damages or destroys any CUSTOMER-owned collection
         CONTAINER, the CONTRACTOR shall repair or replace said CONTAINER, at the
         CONTRACTOR'S expense, within two (2) business days after receiving notice from
         the CITY or CUSTOMER, unless such CONTAINERS are custom sized, in which case
         the CONTRACTOR shall provide new or replacement CONTAINERS within seven (7)
         business days of such notification. Any replacement CONTAINER shall be in equal or
         better condition than the CONTAINER that was damaged or destroyed by the
         CONTRACTOR.

         The CONTRACTOR shall not be responsible for unintentional damage to CUSTOMER-
         owned CONTAINERS that are caused by the CUSTOMER'S failure to comply with the
         set out instructions in their service agreement with the CONTRACTOR.




         Page 39


                                                                                          Exhibit 8
                                                                                              8-41
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 43 of 221 Page ID #:388




               3.20.6 LID LOCKABLE CONTAINERS
           The CONTRACTOR shall install requested lock(s) within five (5) business days of a
           CUSTOMER'S request for a CONTAINER lid lock for one or more detachable
           CONTAINERS. A locking mechanism may be:

           •   A gravity lock; or
           •   Lock bar mechanism.

           For a lock bar system, the CONTRACTOR shall provide at least fifty (50) different
           key or lock combinations for CUSTOMERS, with one master key or combination for
           use by the CONTRACTOR'S collection workers.

           The only authorized lid locking mechanisms on CONTRACTOR-owned CONTAINERS
           are those installed by the CONTRACTOR. The CONTRACTOR shall have no obligation
           to render CUSTOMER-supplied CONTAINERS compatible with the CONTRACTOR'S
           padlocks, or to supply padlocks for use with such CONTAINERS.

           The CONTRACTOR may decline to make collections of CONTAINERS fitted by others
           with locking mechanisms, whether or not such CONTAINERS are locked on the date
           of scheduled service, if the locking mechanisms are of a configuration that prevents
           collection with the CONTRACTOR'S equipment or poses a threat to the health and
           safety of collection workers, others, or equipment. In the event that the
           CONTRACTOR refuses collection under these circumstances, the CONTRACTOR shall
           follow the CONTAINER Non-Collection procedure in Section 3.6.

               3.20.7 HORSE MANURE CONTAINERS
           The CONTRACTOR shall provide Horse Manure collection in brown CONTAINERS, or
           BROWN BINS that are the same shade of brown as the CITY'S BROWN BINS. This
           material shall be recovered for beneficial use, either with the collected ORGANICS
           materials, in another system that the CONTRACTOR selects, as stated in Section 5.9,
           or with CITY PROJECT MANAGER approval.

         3.21 FUNDING OF COMMUNITY BENEFITS WITHIN AWARDED ZONE(S)
           The CONTRACTOR shall provide the CITY annual funding for community benefits
           such as support of environmental community events. The CONTRACTOR shall remit
           to the CITY, on July 1st of every year for the term of the CONTRACT, $1,000 per 100
           accounts provided service under this AGREEMENT. The CITY shall be responsible for
           allocating and dispersing funding for community benefits.

         3.22 RESPONSIBILITIES OF AND SERVICES TO BE PERFORMED BY THE
              CONTRACTOR
           Services shall include, but not be limited to the following:




           Page 40

                                                                                         Exhibit 8
                                                                                             8-42
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 44 of 221 Page ID #:389




           3.22.1    CONTRACTOR shall perform the services described in this AGREEMENT.
              CONTRACTOR shall perform such work with a degree of skill and diligence
              normally employed by professional analysts or contractors performing the same
              or similar services.

          3.22.2    CONTRACTOR warrants that the services will be performed consistent
             with generally accepted industry standards.

          3.22.3     MAINTENANCE OF RECORDS

           CONTRACTOR shall maintain all records, in their original form, pertaining to the
           performance of this CONTRACT, including records of financial transactions. These
           records shall be retained for a period of no less than four (4) years following final
           payment made to the CITY hereunder or the expiration date of this CONTRACT,
          whichever occurs last. Said records shall be subject to examination and audit by
          authorized CITY personnel or by the CITY'S representative at any time during the
          term of this CONTRACT and within the four (4) years following final payment made
          to the CITY hereunder or the expiration date of this CONTRACT, whichever occurs
          last. CONTRACTOR shall provide any reports requested by the CITY regarding
          performance of this CONTRACT within thirty (30) business days of the request by
          the CITY. Any subcontract entered into by CONTRACTOR, as authorized under the
          terms of this CONTRACT, shall include a like provision for work to be performed
          under this CONTRACT.




         Page 41


                                                                                          Exhibit 8
                                                                                              8-43
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 45 of 221 Page ID #:390




            ARTICLE 4:     CUSTOMER SERVICE

         4.1 CONTRACTOR CALL CENTER
           The CONTRACTOR shall be capable of handling customer inquiries and initiating
           service requests 24 hours per day, 7 days per week. Proper staffing levels must be
           appropriately assigned to meet peak and after hours operations.

           The CITY will be the first point of CUSTOMER contact initiating service requests,
           complaints, and inquiries through phone, internet/website, or mobile/smart-phone
           application except for billing inquiries, which may go directly to the CONTRACTOR'S
           billing department.

           In the event that the CONTRACTOR is contacted by the CUSTOMER, (i.e., a walk-in
           CUSTOMER, or one already on a billing related call) the CONTRACTOR'S call center
           and CUSTOMER SERVICE CENTER shall have the capability of documenting the
           CUSTOMER request in their CRM and updating the CITY CRM in REAL TIME. The
           CONTRACTOR shall be responsible for following service request workflows and
           procedures for updating and closing service requests that will meet the customer
           service performance standards, the reporting requirements, and updating the CITY's
           CRM in compliance with all terms of this AGREEMENT. Any service requests initiated
           from the CUSTOMER through direct contact with the CONTRACTOR, such as during
           billing inquiries, Waste Assessments, at the CUSTOMER SERVICE CENTER, with
           collection staff, or any other means of communication not otherwise specified (e.g.,
           via new and/or innovative methods of contact) shall be documented and made
           available through the CONTRACTOR'S CRM and the CITY's CRM in REAL TIME. The
           status of resolution processes and documentation of issues impeding the
           CONTRACTOR'S ability to provide services (i.e., CONTAINER obstruction,
           contamination, etc.) shall be reported to the CITY's CRM in REAL TIME. The
           CONTRACTOR shall properly train their customer support staff on these processes.

           The CONTRACTOR'S customer support performance will be monitored and the
           CONTRACTOR must have sufficient technology in place to support the performance
           metrics specified in Table 4-1. The CONTRACTOR shall comply with the following
           requirements for the website, call center, account information, payment, fleet
           tracking, and materials tracking.

           The CONTRACTOR'S call center must have the capabilities to handle multilingual
           customer inquiries. The CONTRACTOR shall maintain staff or third party translating
           services to address inquiries from multilingual CUSTOMERS.

           The abandon rate after 60 seconds for direct calls from LASAN's CUSTOMER CARE
           CENTER staff shall be zero (0).

            1. Website




           Page 42

                                                                                        Exhibit 8
                                                                                            8-44
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 46 of 221 Page ID #:391




             The CONTRACTOR shall link CUSTOMERS to the CITY's website and customer
             portal, which shall serve as the web entry point for all CUSTOMER service matters,
             including, but not limited to, registering complaints, making service changes, and
             obtaining program information, The CONTRACTOR'S website and mobile applications
             as well as printed material should direct CUSTOMERS to the CITY's website. The
             CONTRACTOR'S website shall be developed to function on a mobile platform.

             Data validation shall be utilized in ail fields where necessary to provide a resolution
             of a request.

             2. ADA Compliance

             Customer service shall be ADA compliant. The CONTRACTOR'S web site, mobile
             application(s), CUSTOMER SERVICE CENTER, and Call Center shall be ADA
             compliant.

             3. The following CUSTOMER transactions shall be supported both by automation
                (computer interaction) and by a live CSR, depending on customer preference.
                These transactions include, but are not limited to the following types:

             •
            Creating a new account including billing, service level, collection schedule
            options, and validation of account and authorized account user
         • Closing an account including a request for a final bill and collection; The
            CUSTOMER should also be notified of the related CONTAINER removal services
           that will take place as a result of the closure of their account
         • Requesting modification to service levels, i.e., increase or reduce services,
           change pick-up day or frequency, etc.
         • Submitting billing information and inquiries
         « Viewing service level information for their currently assigned and pending
           CONTAINERS; this may include photographic and geocoded location information
         • Identifying the next service date, this is especially important when the collection
           date is impacted by a Holiday or other schedule change

         4. The CUSTOMER shall have the ability to view their most recent bill and payment
            information along with the next billing date. The CUSTOMER shall be able to see
            the details of past bills. The billing information displayed should include, but is
            not limited to:

         •       BASE RATE, for service level
         •       Monthly service fee (total charge)
         •       Per CONTAINER Charges
         •       EXTRA SERVICES

         5. The CUSTOMER shall have the ability to view and make account payments. The
            payment and account information displayed should include, but is not limited to:

         •       Amount due/outstanding balance




         Page 43


                                                                                               Exhibit 8
                                                                                                   8-45
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 47 of 221 Page ID #:392




            •   All items billed for including any BASE RATE, late fees, or EXTRA SERVICES in an
                itemized list, in the format provided by the CITY
            •   Payment options and methods
            •   Account status (i.e,, current, delinquent)
            ®   Notifications transmitted during the billing period, (i.e., Contamination,
                Overweight CONTAINER, Overflow of material, inability to access, etc.) as
                defined in Section3,5, including the time of notification

            6. CUSTOMER Notifications shall be offered via voice, email, text and other
               technologies as they become available and as feasible to CONTRACTOR.
               Notifications shall be made to the CUSTOMER using their preferred method(s).
               Notifications to be sent from the CONTRACTOR to the CUSTOMER include, but
               are not limited to the following capabilities:

            •   Notification of Contamination, Overweight, or Overflowing CONTAINERS, any
                fees to be assessed (if appropriate) and the expected corrective action
            •   Non-Collection Notice, as defined in Section 3.6, within two (2) hours that the
                CONTRACTOR was unable to make a scheduled collection (i.e., locked
                mechanism, obstructed access, Non-Conforming Materials, etc.)
            •   Notification of route change
            •   Notification of significant recyclable content in BLACK BIN, with options for next
                steps to improve diversion
            •   Notification of any item which may require additional fees to be assessed
            •   Notification of any claim of a damaged CONTAINER resulting from CUSTOMER
                negligence or destruction. The notification shall inform the CUSTOMER of any
                fees to be assessed and the expected corrective action
            •   Notification of any corrective action required for any additional issue

            7. CUSTOMER privacy shall be respected, CUSTOMER information shall not be sold
               or otherwise given out, except to meet the requirements of this AGREEMENT.

                4,1.1 TELEPHONY
            The CONTRACTOR shall utilize telephony hardware, software, and other appropriate
            technologies to meet the CITY's functional requirements and reporting requirements
            for customer service, as detailed in this AGREEMENT. The CONTRACTOR'S
            telephony system shall be automated to provide reporting, at minimum on the
            following:

            •   Percentage of calls answered within specified period of time (after the call is
                transferred from the CITY's CUSTOMER CARE CENTER to CONTRACTOR'S call
                center)
            •   Percentage of calls directed to CONTRACTOR'S call center staff where the
                customer disconnects before being responded to, including peak and off-peak
                hours




            Page 44

                                                                                             Exhibit 8
                                                                                                 8-46
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 48 of 221 Page ID #:393




            •    Amount of time it takes the CONTRACTOR'S call center staff to complete a
                 customer support call/session, including all documentation
            •    Average amount of time required to pick up a call
            •    Average amount of time callers spend in agent-induced hold
            •    Percent of logged in time spent in a "work" state (for calls, a work state is
                 generally talk and after call work time)
            ®    Total number of contacts received for processing per day
            •    Abandoned call rate, including peak and off-peak hours

                  4.1.2 CUSTOMER SERVICE CALL CENTER PERFORMANCE STANDARDS
           The CONTRACTOR'S customer support performance will be monitored and sufficient
           technology shall be in place to support the performance metrics specified in Table
           4-1 and Table 11-1.

       Table 4-1: Customer Service Call Center Performance Standards
                        Operation Efficiency Performance Standard Description                               Expected Performance

         Percentage of calls answered within specified period of time (after the call is transferred   95% within 60 seconds
         from the CITY's Call Center to CONTRACTOR'S Cali Center)

         Percentage of calls directed to call center staff where the customer disconnects before being 5%
         responded to (abandoned call rate)                                          '

         Average amount of time required for a live person to pick up a call                           30 seconds

         Average amount of time it takes to respond to a CUSTOMER inquiry made via the web,            30 minutes during regular
         email, mobile device application, etc.                                                        business hours




       4.2 CUSTOMER SERVICE CENTER
          The CONTRACTOR shall establish a CUSTOMER SERVICE CENTER in each awarded
          FRANCHISE ZONE. The CONTRACTOR shall have personnel available for the
          purposes of billing inquiries, service requests, complaint resolution, and other
          matters, at least between the hours of 8:00 AM and 5:00 PM, Monday through
         Friday, and on Saturdays from 8:00 AM until 12:00 PM. The office shall have the
         ability to provide translation services for walk-in customers. The office shall be
         equipped with a communication system that can be used to contact the CITY and
         the CONTRACTOR'S operational managers. Ail service requests generated at the
         CUSTOMER SERVICE CENTER shall be captured in the CONTRACTOR'S request
         fulfillment information technology, as well as in the CITY'S CRM in REAL TIME.

         The CUSTOMER SERVICE CENTER shall also maintain a supply of outreach and
         educational material, and supplies.

         The CITY shall approve the location of the CUSTOMER SERVICE CENTER. Access
         shall be ADA compliant and located so that it is reasonably accessible to
         CUSTOMERS in the FRANCHISE ZONE.




         Page 45


                                                                                                                                   Exhibit 8
                                                                                                                                       8-47
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 49 of 221 Page ID #:394




         4.3 CUSTOMER INQUIRIES AND COMPLAINTS
           Each CUSTOMER'S complaint affecting the CONTRACTOR'S Performance Standards is
           presumed to be a legitimate complaint and may trigger Liquidated Damages in
           accordance with this AGREEMENT. Such complaints include but are not limited to:

           •   Missed collections
           •   Failure to comply with collection services required under this AGREEMENT
           •   Failure to provide CONTAINERS in a timely manner
           •   Failure to repair, remove graffiti, or clean bins as required
           •   Failure to provide the annual CONTAINER cleaning
           .   Mishandling of SOLID RESOURCES or CONTAINERS
           •   Mixing SOLID WASTE/COMMINGLED RECYCLABLES, or ORGANICS in a load
           •   Damage to public or private property, excluding normal wear and tear
           •   Accidents involving collection service vehicles
           •   Failure to obey traffic regulations
           •   Discourteous treatment of CUSTOMERS

           The CONTRACTOR shall be responsible for providing sufficient documentation, to
           the CITY's satisfaction, to rebut the presumption that a complaint is legitimate.

               4.3.1 CUSTOMER DISPUTE RESOLUTION
           The CITY may, at its sole discretion, investigate all unresolved disputes between the
           CONTRACTOR and a CUSTOMER, including but not limited to disputes concerning
           the proper interpretation and implementation of this AGREEMENT and Article 6 of
           Chapter VI of the L.A.M.C. At the end of the investigation, the CITY will determine
           the resolution of such disputes. CITY shall notify CONTRACTOR of the initiation of
           an investigation and request their input. At its sole discretion, the CITY may notify
           the CONTRACTOR and the CUSTOMER in writing of the CITY's determination about
           the disputed issues, including any deficiencies in their respective performance.

         4.4 AGREEMENTS FOR COLLECTION SERVICES
           The CONTRACTOR shall prepare the standard form, approved and customized with
           the service levels and specific needs of each CUSTOMER, for setting up account
           contracts with each CUSTOMER. The CITY will provide a list of standard provisions
           that shall be included in all CUSTOMER service agreements.

           The CUSTOMER service agreements for services provided under the FRANCHISE
           SYSTEM shall identify all of the services that the CONTRACTOR will provide to the
           CUSTOMER and all of the associated costs. No fees or charges may be collected
           from a CUSTOMER unless such fees and charges are disclosed in the CUSTOMER
           service agreement and are consistent with Article 7: Rates and Fees.         Any
           subsequent changes to the CUSTOMER service agreement shall be reported to the
           CITY in writing.




            Page 46

                                                                                         Exhibit 8
                                                                                             8-48
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 50 of 221 Page ID #:395




        4.5 BILLING
          The CONTRACTOR shall bill all CUSTOMERS at rates in accordance with and not to
          exceed Article 7: Rates and Fees. The CONTRACTOR shall be solely responsible for
          collecting payments from CUSTOMERS. Billing shall be performed on the basis of
          services rendered. The CONTRACTOR shall not list separate charges for AB 939
          COMPLIANCE FEES or FRANCHISE FEES on CUSTOMER BILLS.

              4.5.1 BILLING FREQUENCY
          The CONTRACTOR shall bilf CUSTOMERS monthly, in advance of provision of
          service, with the exception of EXTRA SERVICES occurring during the month, which
          shall be billed monthly in arrears. The billing in advance shall include the BASE
          RATE, any additional planned services (i.e,, distance charge, reoccurring EXTRA
          SERVICES, additional collections, etc.) these shall be included in the CUSTOMER'S
          collection service agreement. The CONTRACTOR may require CUSTOMERS to
          provide a deposit prior to provision of service of a temporary CONTAINER, as
          defined in Appendix C.

          Any EXTRA SERVICES provided that are not regularly scheduled (i.e., blocked
          access, supplemental CONTAINER cleaning, contamination charge, etc.) shall be
          billed on the following invoice with the date and time at which the service was
          provided and any additional information to document the need for the service or
          fee.

         Prior to the first month of billing under this AGREEMENT, the CITY PROJECT
         MANAGER shall determine the dates of billing throughout the month to minimize call
         center volumes.

             4.5.2 BILL FORMAT
         The format of billing statements shall be presented to the CITY for review and
         approved by the CITY prior to the CONTRACTOR'S issuance to CUSTOMERS.
         Significant changes to billing statements shall also be approved by the CITY
         PROJECT MANAGER prior to the issuance to CUSTOMERS.

             4.5.3 PAYMENT OPTIONS
         The CONTRACTOR shall allow CUSTOMERS to pay their BILL by mail, online, mobile
         application, phone, in person at the CONTRACTOR'S CUSTOMER SERVICE CENTER,
         or by other new technologies, as approved in writing by the CITY PROJECT
         MANAGER. Payments at the CUSTOMER SERVICE CENTER shall allow multiple
         payment options including payment by cash, check, electronic check, money order,
         credit card, Automated Clearing House (ACH), and other methods and/or technology
         as they become available, as instructed in writing by the CITY PROJECT MANAGER.
         The CONTRACTOR'S website shall provide CUSTOMERS with multiple payment
         options including payment by electronic check, credit card, or auto-payment on a




         Page 47

                                                                                      Exhibit 8
                                                                                          8-49
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 51 of 221 Page ID #:396




           recurring basis. The CONTRACTOR shall also provide CUSTOMERS a method to
           submit billing questions by email and/or online.

           A receipt shall be provided for all financial transactions. CUSTOMERS shall receive
           their receipt by their choice of paper, electronic, or both methods for all
           transactions. Receipts shall be compliant with applicable law, including the Fair and
           Accurate Credit Transactions Act, 15 U.S.C. §1681c.

               4.5.4 CHANGE IN SERVICE LEVELS                                    ;
           If a CUSTOMER requests a change in service level that results in a lower rate, the
           CONTRACTOR shall adjust CUSTOMER'S billing amount within seven (7) days of the
           date CUSTOMER requested the change regardless of whether or not the
           CONTRACTOR delivers the appropriate CONTAINERS or modifies the service level
           within that timeframe. However, if a CUSTOMER requests a change in service level
           that results in a higher rate, the CONTRACTOR shall adjust the CUSTOMER'S billing
           amount within seven (7) days of the date the change in service level occurred, and
           the new services rendered.

           All billing shall be prorated to reflect changes in service levels.

               4.5.5 CUSTOMER CONTRACT TERMINATION
           The CONTRACTOR shall submit to the CITY as part of its monthly report, a list of
           service terminated CUSTOMERS including but not limited to, CUSTOMER names,
           CUSTOMER addresses, CUSTOMER account numbers, and date of service
           termination.

               4.5.6 REFUNDS FOR INACCURATE BILLINGS
           In the event the CONTRACTOR bills any CUSTOMER an amount higher than
           appropriate for the service type or service level that the CUSTOMER is receiving or
           an amount higher than the appropriate rate, at any time during the term of this
           AGREEMENT, for any reason, the CONTRACTOR shall promptly credit the
           CUSTOMER account for the full amount that was overbilled, retroactive to the date
           the overbilling began to the date the overbiiling was corrected.

           Any instance of a CUSTOMER overpaying for any reason, the refund may be in the
           form of check or account credit, at the CUSTOMER'S choice.

               4.5.7 DELINQUENT ACCOUNTS
           The CONTRACTOR shall be responsible for the collection of payment from
           CUSTOMERS with delinquent accounts. The CONTRACTOR shall make reasonable
           efforts to obtain payment from delinquent accounts through issuance of late
           payment notices, telephone requests for payments, and assistance from collection
           agencies. If a CUSTOMER goes out of business, the CONTRACTOR shall be solely
           responsible for collecting that debt. The CONTRACTOR shall not assess new




           Page 48

                                                                                          Exhibit 8
                                                                                              8-50
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 52 of 221 Page ID #:397




           CUSTOMERS for debt from a previous CUSTOMER. The CONTRACTOR shall not
           charge existing CUSTOMERS in full or in part for debts of other CUSTOMERS.

               4.5.8 LATE PAYMENT NOTICE AND SERVICE SUSPENSION
          The CONTRACTOR shall bill the ACCOUNT HOLDER monthly, payable upon receipt,
          with a payment due date of 15 days after receipt. Account balances that are not
          paid by the due date shall be deemed delinquent and subject to service suspension
          and late fees. All late fees, reinstatement of service fees, fees associated with
          CONTAINER removal or replacement, etc. shall be clearly expressed in the
          CUSTOMER BILL and in each notice issued to the ACCOUNT HOLDER and shall
          reflect the fees, as defined in Table 7-3.

          Upon thirty (30) days after the BILL was issued, if there is no payment, the account
          balance shall be considered past due. The CONTRACTOR shall notify the ACCOUNT
          HOLDER in writing that the account is past due and non-payment may result in
          service suspension. This notification shall include a statement of the legal
          requirements for all COMMERCIAL ESTABLISHMENTS to have Solid Waste services
          per L.A.M.C., Section 66.03.

          Upon sixty (60) days after the BILL was issued, if there is no payment, the account
          shall be considered delinquent. The CONTRACTOR shall notify the ACCOUNT
          HOLDER in writing and by phone call that the account is delinquent and non­
          payment may result in service suspension. This notification shall include a statement
          of the legal requirements for all COMMERCIAL ESTABLISHMENTS to have Solid
          Waste services per L.A.M.C., Section 66.03 This notification shall include that the
          account is 45 days delinquent, that the service may be suspended, and the legal
          requirement for service but not the past due amount.

         No later than seventy-five (75) days after the BILL was issued, the CONTRACTOR
         may visit the site to identify any potential reasons for non-payment, and identify
         potential solutions to the issue.

          Upon ninety (90) days after the BILL was issued, if there is no payment, the account
         shall be considered 75 days delinquent. The CONTRACTOR shall notify the
         ACCOUNT HOLDER in writing that service has been suspended and that
         CONTAINERS shall be removed from the property unless payment is received within
         seven (7) days. Regular charges for services provided shall continue to be incurred
         throughout the period.

         After ninety (90) and no later than ninety-seven (97) days after the BILL was issued,
         the CONTRACTOR may remove any CONTRACTOR-owned equipment from the
         premise of the delinquent account.

         On a monthly basis, the CONTRACTOR shall report to the CITY the status of all
         delinquent accounts, CONTAINERS removed, suspended service, and reinstated




         Page 49

                                                                                          Exhibit 8
                                                                                              8-51
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 53 of 221 Page ID #:398




           services, including the documentation of the late payment notification process that
           took place.

           If a CUSTOMER'S service is suspended, the CONTRACTOR shall provide written
           notification to the CITY within twenty-four (24) hours and shall include in this
           notification the CUSTOMER name and address, original date of billing, date of
           seventy-five (75) day delinquency notice, amount due, and any unresolved
           CUSTOMER complaints.

           The CITY may require the CONTRACTOR to continue collection services if the CITY
           determines that there is an unresolved dispute or authorization to take other action
           has been given by the CITY in writing.

               4.5.9 SUSPENDED SERVICE
           The CUSTOMER shall continue to incur the regular monthly service fee while service
           is suspended. This fee shall continue until the time that the CONTAINERS are not at
           the premises, having been removed due to non-payment.

           If service is not reinstated before the next scheduled service date the CUSTOMER is
           subject to citation for non-compliance with L.A.M.C. Section 66.03, as revised by
           CITY Ordinance No. 182986.

           All fees associated with stopping service due to delinquency and reinstatement are
           listed in Table 7-3.

               4.5.10 REINSTATEMENT OF SERVICE
           The CONTRACTOR shall reinstate a discontinued service within forty-eight (48)
           hours of receipt of the amount past due, commencement of a payment plan, or
           other corrective action reasonably satisfactory to the CONTRACTOR. The
           CONTRACTOR may charge a CUSTOMER a fee to reinstate a delinquent account and
           redeliver CONTAINERS in accordance with Table 7-3.

               4.5.11 CONTINUED COLLECTION DURING DISPUTES
           The CONTRACTOR shall continue collection services to CUSTOMERS that are
           delinquent as a result of unresolved legitimate complaints, or are in the process of
           resolving other disputes with the CONTRACTOR. In the event of a billing dispute,
           the CONTRACTOR shall inform the CUSTOMER in writing, and document that they
           are responsible to pay all undisputed fees for services provided, but may withhold
           payment for disputed items if they constitute a legitimate complaint. If a dispute is
           resolved and the CUSTOMER is found responsible for payment, the CONTRACTOR
           may include the fee, identified as a past occurrence in the next billing cycle. If the
           ACCOUNT HOLDER maintains refusal of payment, it may be considered late for
           whatever portion of the BILL it is.




            Page 50

                                                                                          Exhibit 8
                                                                                              8-52
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 54 of 221 Page ID #:399




          A billing dispute under which service shall be continued is defined as occurring when
          the ACCOUNT HOLDER has paid the undisputed amount, but refuses to pay a partial
          amount, such as an EXTRA SERVICE charge for which the CUSTOMER disputes
          legitimacy. This shall be resolved by the CITY based upon the documentation
          provided by each party.

          A dispute over property damage shall not constitute a billing dispute.            :




         Page 51


                                                                                         Exhibit 8
                                                                                             8-53
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 55 of 221 Page ID #:400




            ARTICLE 5:       DIVERSION AND OUTREACH

         5.1 CITY DIRECTED OUTREACH PROGRAM
           The CONTRACTOR shall deliver outreach to the CUSTOMER as directed by the CITY.
           It is the responsibility of the CONTRACTOR to procure all outreach and educational
           materials. Any materials developed by the CONTRACTOR shall be reviewed and
           approved by the CITY PROJECT MANAGER, and shall conform to the messaging and
           outreach plan developed by the CITY.

           The CONTRACTOR shall provide multilingual outreach and educational materials to
           reach affected CITY residents and CUSTOMERS. All CONTRACTOR collateral
           materials and premiums, at a minimum, shall use recycled paper and/or be made of
           recycled material. The CONTRACTOR will use 100% post-consumer paper, and
           procure collateral materials from local businesses.

         5.2 WASTE ASSESSMENTS REQUIRED PRIOR TO SERVICE
           All CUSTOMERS shall receive an on-site Waste Assessment, by the CONTRACTOR,
           prior to delivery and service of CONTAINERS under this AGREEMENT.

           The purpose of the Waste Assessment is to capture the materials generated at the
           CUSTOMER location, identify means of increasing waste diversion, and setting goals
           for future diversion practices. Each onsite Waste Assessment shall include, but is not
           limited to:

            •   Pictures of material in all CONTAINERS
            •   Characteristics of establishment type
            ®   Written recommendations for future Diversion Programs
            •   Provide outreach and education materials appropriate to the establishment type
            •   Determination of signage placement
            •   Determination of any ongoing training needs
            •   Determination of any access needs
            •   Documentation of any special service needs, (i.e., seasonal, automated on-call
                compactor, etc.)

           The CITY shall determine any additional information to be captured, and shall
           authorize the format for required information.

                5.2.1 OUTREACH AND EDUCATION FIRST CUSTOMER VISIT
            In initial contact with CUSTOMERS, the CONTRACTOR shall provide a welcome
            packet that includes, but is not limited by, the following items:

            ®   Rate schedules, including EXTRA SERVICES
            ®   CITY contact information for service requests




            Page 52


                                                                                          Exhibit 8
                                                                                              8-54
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 56 of 221 Page ID #:401




          •   Description of the Zero Waste LA Franchise system, including zone,
              CONTRACTOR name, contact information for billing inquiries, location of
              CUSTOMER SERVICE CENTER
          •   Customer Rights and Responsibilities
          •   Identification of MANDATORY COMMERCIAL RECYCLING and MANDATORY
              ORGANICS RECYCLING programs, as well as any other waste diversion
              requirements of state law
          •   Training schedule for CUSTOMER staff on the CITY'S COMMINGLED
              RECYCLABLES and ORGANICS recycling programs
          •   Food Rescue program information, if appropriate

          These materials will be developed by the CITY and delivered by the CONTRACTOR
          at the CONTRACTOR'S expense.

              5.2.2 MANDATORY ORGANICS RECYCLING (AB 1826) ASSESSMENT
         When conducting initial CUSTOMER outreach and account setup, the CONTRACTOR
         shall include an AB 1826 assessment. The assessment shall identify regulated
         CUSTOMERS under AB 1826 based on the volume of material generated (i.e., 8
         cubic yards or more of ORGANICS, 4 cubic yards or more of ORGANICS, 4 cubic
         yards or more of SOLID WASTE). All existing ORGANICS diversion programs shall be
         noted and quantified in the Waste Assessment. The CITY will provide AB 1826
         assessment questions that shall be included in all initial and new account setup.

       5.3 ONGOING WASTE ASSESSMENTS REQUIRED
         The CONTRACTOR, at its own expense, is required to provide follow up Waste
         Assessments at a CUSTOMER'S request or on a biennial basis, whichever is more
         frequent, but not to exceed two visits every 12 months.

       5.4 QUARTERLY OUTREACH AND EDUCATION
         Each quarter, the CONTRACTOR, at its own expense, will disseminate information to
         all CUSTOMERS that encourages SOURCE-SEPARATION of COMMINGLED
         RECYCLABLES and ORGANICS, as well as reminders of the CUSTOMER SERVICE
         CENTER location, and CITY'S CUSTOMER CARE CENTER phone number and website.
         This communication should be given both electronically and in printed form, and it
         may be in the form of a newsletter, subject to the review and approval of the CITY
         PROJECT MANAGER.

      5.5 ORGANICS DIVERSION PROGRAM OFFERED TO CUSTOMERS
         SOURCE-SEPARATED ORGANICS collection shall be offered to all CUSTOMERS. The
         CONTRACTOR shall provide continued ORGANICS collection services to all
         restaurants that have or currently are participating in the CITY'S Restaurant Food
         Waste Recycling Program at the time of the execution of this AGREEMENT pursuant
         to the rates provided, for so long as the restaurant chooses to participate.




         Page 53


                                                                                        Exhibit 8
                                                                                            8-55
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 57 of 221 Page ID #:402




                5.5.1 ORGANICS ALTERNATIVE DAILY COVER PROHIBITED
            Processed, SOURCE-SEPARATED ORGANICS shall not be used as alternative daily
            cover material at a landfill, except as approved in writing by the CITY PROJECT
            MANAGER.

         5.6 CONTRACTOR MANDATORY COMMERCIAL RECYCLING REQUIREMENT
           The CONTRACTOR shall make good faith efforts to aid the CITY'S compliance with
           all state recycling regulations throughout the term of the AGREEMENT, as it relates
           to the services provided under this AGREEMENT.

           The CONTRACTOR shall ensure and monitor AB 341 Compliance.

           The CONTRACTOR shall ensure and monitor the implementation of AB 1826.

         5.7 UTILIZATION AND FUNDING OF REUSE ORGANIZATIONS
           The CONTRACTOR shall invest in reuse organizations to increase activities in this
           sector, through direct funding and in-kind services. Funding shall be provided that is
           equal to at least $1,000 per 100 CUSTOMER accounts annually. Reuse organizations
           may include food rescue, as applicable.

           Funding shall be provided to non-profit and/or charitable organizations that provide
           these services. CONTRACTOR shall provide a list of organizations to the CITY
           PROJECT MANAGER for review and approval before funding is provided. The
           CONTRACTOR shall promote reuse programs to CUSTOMERS through its outreach
           and educational campaigns.

            Acceptable materials include reusable goods and materials, which may be either new
            or used. Reusable materials include manufacturing overages, discontinued or surplus
            items, or other gently used items.

           The CONTRACTOR shall submit to the CITY an annual report of financial support
           including receipts, tonnage estimates, and other documentation of in-kind services
           and/or cash donations.

         5.8 COOPERATION WITH FOOD RESCUE
           The CITY believes that the highest and best use for edible food is to feed people.
           The CONTRACTOR shall not impede the implementation or expansion of edible food
           placement networks in the City of Los Angeles.

           The CONTRACTOR shall partner with an appropriate local non-profit for the
           redistribution of edible food "Before the Bin." Collection services for foods that are
           safe for human consumption shall be offered to all CUSTOMERS in coordination with
           a CITY directed food rescue program. Tonnage estimates from this material stream
           shall be reported in the CONTRACTOR'S monthly diversion report.




            Page 54

                                                                                          Exhibit 8
                                                                                              8-56
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 58 of 221 Page ID #:403




        5.9   SOURCE-SEPARATED MANURE SHALL BE RECYCLED
          The CONTRACTOR shall offer horse manure collection in BROWN CONTAINERS that
          are the same shade of brown as the CITY'S collection CONTAINERS. This material
          shall be processed and not disposed. The tonnage from this SOLID RESOURCE
          stream shall be reported in the CONTRACTOR'S monthly diversion report. Recycling
          can include but is not limited to:

          •   Anaerobic Digestion
          •   Composting
          •   Organic Worm Farms

       5.10 SOLID WASTE REDUCTION REQUIRED
          The CONTRACTOR shall reduce the tonnage of SOLID WASTE disposal in
          accordance with the Disposal Targets listed in Appendix A. The CITY shall determine
          the CONTRACTOR'S annual disposal based on information provided in accordance
          with this AGREEMENT through the reporting required in the CITY'S program.
          Disposal reduction shall meet the requirements of this AGREEMENT, as described in
          Appendix A, or shall be subject to Liquidated Damages associated with failure to
          meet Disposal Targets in the manner described in Section 5.10.5. Any
          misrepresentation of the materials collected or any provision of setvices in
          accordance with this AGREEMENT shall be subject to the Liquidated Damages
          associated with misreporting data, as described in Table 11-1.

         It is the CITY'S intent to maximize Disposal Reduction, as detailed in Appendix A,
         through source reduction, reuse, food rescue, and processing of BLUE BIN and
         GREEN BIN materials. As detailed in Article 6 of this AGREEMENT, all facilities
         utilized under this AGREEMENT shall be certified by the CITY. Through the Facility
         Certification program, the CITY will require processes that ensure safe working
         conditions for all SOLID RESOURCE workers. In addition, facilities certified to
         process SOLID WASTE will be required to process SOLID WASTE through primarily
         automated processes, "hand sorting" by SOLID RESOURCE workers will not be
         allowed, except as required for quality control. The CITY PROJECT MANAGER will
         approve any additional processes, after consultation with the CONTRACTOR.

              5.10.1 MEASUREMENT OF DISPOSAL TARGETS AND PROJECTIONS
         All tonnage reporting shall comply with the template and IT requirements provided
         by the CITY.

         Disposal tonnage reported by the CONTRACTOR will be tracked, evaluated, and
         measured in comparison to the Disposal Targets in the Diversion Plan, included in
         Appendix A.

         Any material disposed of at a permitted or non-permitted landfill may be used in the
         assessment of the Liquidated Damage for failure to meet Disposal Reduction
         Targets.




         Page 55


                                                                                         Exhibit 8
                                                                                             8-57
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 59 of 221 Page ID #:404




           The CONTRACTOR shall also report tonnages associated with COMMINGLED
           RECYCLABLES and ORGANICS on a monthly basis for the purpose of determining
           Baseline Disposal and Adjustment values,

               5.10.2 BASELINE DISPOSAL
           The CITY will adjust the Disposal Targets listed in Appendix A, as detailed in this
           section, based on the actual material collected under the initial twelve (12) months
           Of collection services provided by the CONTRACTOR, commencing on the START OF
           SERVICE DATE.

           Baseline Disposal shall be used to determine Disposal Targets based upon the actual
           tonnage of SOLID RESOURCES collected through the FRANCHISE SYSTEM. The
           Disposal Target is the maximum tonnage to be taken to landfill in each year of the
           AGREEMENT without penalty of Liquidated Damages.

           The Baseline Disposal calculation shall be derived by adding the total SOLID
           RESOURCES tonnage collected during the first twelve (12) months after the START
           OF SERVICE DATE, reduced by the tonnage of COMMINGLED RECYCLABLES
           diverted from the existing MultiFamily Residential Recycling Program during the
           twelve (12) month period prior to the execution of this AGREEMENT. The
           CONTRACTOR shall ensure accurate SOLID RESOURCES tonnage data in accordance
           with materials tracking and reporting requirements established in this AGREEMENT.

               5.10.3 CONSIDERATION OF DISPOSAL TARGET ADJUSTMENT
           In the event that the CONTACTOR fails to meet the Disposal Targets in accordance
           with this AGREEMENT due to significant increase in population or land use, changes
           in the number of new businesses or changes in CUSTOMER types, the
           CONTRACTOR may request adjustment to the Disposal Target values, in writing to
           the CITY PROJECT MANAGER. The CITY will reasonably consider Disposal Target
           adjustment calculations in accordance with the intervals specified in Table 5-1.

           The CONTRACTOR shall submit a Disposal Target adjustment request with
           supporting documentation and justification such as the tonnage tracking reports,
           number of new businesses, number of businesses with increased service levels, etc.
           to the CITY for consideration. The adjustment calculation shall follow the same
           method as the initial Baseline Disposal calculation using the previous twelve (12)
           months of SOLID RESOURCES tonnage data, or as defined by the CITY.

           The CITY will assess Liquidated Damages at the frequency defined in Table 5-1 in
           the following Section, and as defined in Section 5.10.5.

               5.10.4 CONTRACTOR RESPONSIBLE FOR DISPOSAL
           The CONTRACTOR shall track all materials that are collected, processed, and
           disposed throughout the term of the AGREEMENT. The CONTRACTOR shall be




           Page 56

                                                                                         Exhibit 8
                                                                                             8-58
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 60 of 221 Page ID #:405




            responsible for monitoring the success of their Diversion Programs and the reduction
            of disposal tonnage throughout the term of the AGREEMENT.

            Table 5-1 defines the timeline of monitoring, measuring, and adjustments to the
            Disposal Reduction Targets, necessary to determine the success of the Diversion
            Plan and the progress toward Diversion Targets.

        Table 5-1: Disposal Targets and Adjustment Schedule

        Months From the Start Of
                                 Diversion Plan Period             Action Taken
             Service Date

                                                                   Determine Baseline Disposal to reflect the actual amount of
                  0-12           Baseline Period                   material collected over the initial 12 month period after the START
                                                                   OF SERVICE DATE.

                                                                   Measure Disposal starting 36 months after the START OF SERVICE
                                 Measure Actual Disposal against   DATE and ending 48 months after the START OF SERVICE DATE.
                 36-48
                                 Disposal Targets                  CONTRACTOR may submit additional information to adjust
                                                                   Baseline.

             :    48             Liquidated Damages Assessed       Liquidated Damages Assessed

                                                                   Measure disposal starting72 months after the START OF SERVICE
                                 Measure Actual Disposal against   DATE and ending 84 months after the START OF SERVICE DATE.
                 72-84
                                 Disposal Targets                  CONTRACTOR may submit additional information to adjust
                                                                   Baseline.

                  84             Liquidated Damages Assessed       Liquidated Damages Assessed

                                Determine Disposal Targets for     Determine Disposal Targets for each Zone in the case of renewal
                  108
                                Potential Contract Renewal         of the AGREEMENT.




                 5.10.5 DISPOSAL TARGET LIQUIDATED DAMAGES
           Prior to the proposed assessment of Liquidated Damages, CONTRACTOR shall have
          the option to request in writing, and the CITY shall reasonable consider, an
          adjustment in disposal baseline as described in Section 5.10.3. Liquidated Damages
          associated with actual disposal tonnage exceeding the adjusted Disposal Targets
          shall be assessed in 100 ton increments, beginning at 1,000 tons disposed above the
          disposal targets. Failure to meet the adjusted Disposal Targets shall result in
          Liquidated Damages of $100,000 for the first 1,000 tons, and $10,000 for every 100
          tons thereafter. Each additional 100 tons shall be considered, with amounts less
          than 100 tons rounded down, i.e,, 4,103 tons counted for 4,100 tons, 1,395 tons
          considered 1,300 tons, 2,255 tons considered 2,200 tons, etc. CONTRACTOR shall
          have the right to appeal per Section 11.2.

       5.11 MONTHLY MEETINGS AND PERIODIC TRAINING
          Outreach and messaging for the services provided under this AGREEMENT must be
          consistent throughout the CITY. The CONTRACTOR shall attend monthly meetings
          with the CITY to review customer site visit data, and will make field staff available
          for training at the CITY PROJECT MANAGER'S request.




          Page 57


                                                                                                                              Exhibit 8
                                                                                                                                  8-59
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 61 of 221 Page ID #:406




         5.12 MATERIALS REPORTING
                5.12.1 TONNAGE REPORTS
           The CONTRACTOR shall provide a written report on the tonnage of all material
           generated in the CITY that is collected on a monthly basis, including the location of
           the collections. This reporting shall comply with the formats and templates provided
           by the CITY. Failure to submit tonnage reports shall be subject to Liquidated
           Damages as listed in Table 11-1.

                5.12.2 WASTE CHARACTERIZATION REQUIREMENTS
           At an interval defined by the CITY, the CONTRACTOR shall provide a Waste
           Characterization of representative samples of BLACK BIN, BLUE BIN, and GREEN
           BIN material collected in each FRANCHISE ZONE serviced. Each characterization
           shall include samples from materials taken from at least four (4) CUSTOMER types
           (i.e,, malls, retail, restaurants, office spaces, HOSPITALS, large venues,
           manufacturers, industrial, residential, mixed-use, etc.). Samples shall be taken from
           different areas in each FRANCHISE ZONE and conducted on no less than one half of
           one percent (0.5%) of the weekly tonnage collected in the FRANCHISE ZONE.
           CONTRACTOR will present the sampling plan in writing for the CITY PROJECT
           MANAGER review and approval, and allow CITY staff to be present for the sampling
           and characterization process.

           The results of the Waste Characterizations shall conform to the forms and templates
           provided by the CITY and shall include the volume and weight of each material type
           present as well as sample photographs.

                5.12.3 REUSE REPORTS REQUIRED
            On a monthly basis, as defined by the CITY, the CONTRACTOR shall submit a
            written report aggregating all available information for the tonnage associated with
            all reuse programs. This report shall conform to the formats and templates provided
            by the CITY and include information for material type, reuse organization, and
            intended use.




            Page 58


                                                                                         Exhibit 8
                                                                                             8-60
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 62 of 221 Page ID #:407




           ARTICLE 6:       FACILITIES AND FACILITY DEVELOPMENT

        6.1 USE OF PRIMARY AND SECONDARY CERTIFIED FACILITIES
          The CONTRACTOR shall deliver all SOLID RESOURCES collected under this
          AGREEMENT to the CERTIFIED FACILITIES listed in Appendix B; Facility Utilization
          Plan, or as approved by the CITY for all material streams collected under this
          AGREEMENT, including SOLID WASTE, SOURCE-SEPARATED RECYCLABLES,
          COMMINGLED RECYCLABLES, ORGANIC WASTE, or any combination thereof. The
          written Facility Utilization Plan shall include secondary or alternate facilities to be
          utilized in the event a facility is unable to accept material. Failure to deliver SOLID
          RESOURCES to a CERTIFIED FACILITY will result in Liquidated Damages in
          accordance with Table 11-1.

          The CONTRACTOR shall pay all costs associated with the transfer, transportation,
          processing, composting, disposal, and marketing of SOLID RESOURCES collected
          under this AGREEMENT.

       6.2 FACILITY CERTIFICATION
         All facilities used for the transfer, processing, and disposal of SOLID RESOURCES
         shall meet the CITY'S Facility Certification Program requirements and maintain the
         certification in good standing while they are utilized under this AGREEMENT.

         The CITY shall determine the diversion rate for each commodity stream: BLACK BIN,
         BLUE BIN, GREEN BIN, BROWN BIN, at each CERTIFIED FACILITY. The CITY will
         use the determined diversion rates to calculate disposal and disposal reduction.
         CONTRACTOR will include in its facility contracts the ability for CITY-directed waste
         characterizations. These characterizations will be at a frequency and method
         determined by the CITY after consultation with CONTRACTOR.

       6.3 CONTRACTOR-INITIATED CHANGE IN CERTIFIED FACILITY
         The CONTRACTOR shall not change its selection of Facilities, listed in Appendix B,
         without the written approval of the CITY PROJECT MANAGER. If the CONTRACTOR
         elects to use a CERTIFIED FACILITY that is different from the CERTIFIED
         FACILITIES listed in Appendix B, the CONTRACTOR shall request written approval
         from the CITY PROJECT MANAGER prior to its use. The CONTRACTOR shall bear any
         increased costs associated with a CONTRACTOR-initiated change as listed in this
         AGREEMENT. A request to change an approved facility caused by CITY
         decertification or failure of the facility to attain CITY certification shall be deemed as
         a CONTRACTOR-initiated change.

      6.4 DIRECT RECYCLABLES TO LOCAL MARKETS
         The CITY has the right to direct post-processing recyclables collected under this
         AGREEMENT from a PROCESSING FACILITY to local businesses at fair market prices.




         Page 59


                                                                                               Exhibit 8
                                                                                                   8-61
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 63 of 221 Page ID #:408




            The determination of fair market prices shall be based on CONTRACTOR'S existing
            arrangements for marketing of recyclables. Local markets shall include businesses
            operating within the boundary of the CITY that use recyclable materials (i.e., paper,
            plastic, metals, and glass) for community, environmental, and economic benefits.
            The CONTRACTOR shall work directly with local businesses in terms of pricing and
            transportation arrangement. The CONTRACTOR shall include this provision in their
            agreements with CERTIFIED FACILITIES.

         6.5 UTILIZATION OF CLARTS
            The CONTRACTOR shall deliver all SOLID WASTE collected under this AGREEMENT
            to the CITY'S Central Los Angeles Recycling and Transfer Station (CLARTS). In the
            event CLARTS is unable to accept SOLID WASTE the CONTRACTOR shall utilize the
            backup SOLID WASTE disposal and transfer CERTIFIED FACILITIES. The CITY
            PROJECT MANAGER may approve the use of other CERTIFIED FACILITIES for the
            transfer and disposal of SOLID WASTE, as determined necessary by the CITY
            PROJECT MANAGER to ensure the efficient collection, transportation and disposal of
            SOLID WASTE..

            The per ton charge (Tip Fee) at CLARTS shall be set at a maximum amount of $60
            for transfer and disposal, and $11 for transloading, beginning in fiscal year 2017­
            2018. These fees shall be increased annually according to the terms of Section 7.3.
            If, at any time during the term of this AGREEMENT, private hauler customers at
            CLARTS are charged a lower Tip Fee rate than calculated under this Section, the
            CONTRACTOR shall be entitled to the lower rate. The CONTRACTOR shall ensure
            that SOLID RESOURCES, delivered to CLARTS for transloading, are collected from
            CLARTS within two hours of CITY notification. SOLID RESOURCES not collected
            within two hours of CITY notification will charged the per ton tip fee for transfer and
            disposal.

            It is the CITY'S intent to process ORGANICS collected under this AGREEMENT at
            CURTS. The CITY shall notify the CONTRACTOR in writing when CURTS is able to
            accept and process ORGANICS. The CONTRACTOR must begin delivery of all
            ORGANICS collected to CURTS within 90 days of the CITY'S notification. The Tip
            Fee at CURTS may not exceed the Tip Fee being charged at the CONTRACTOR'S
            primary ORGANICS facility, including CONTRACTOR'S transfer cost as applicable, as
            of the date of first delivery to CURTS, or the CONTRACTOR may continue to utilize
            their primary ORGANICS facility. The Tip Fee rate at CURTS shall be increased
            annually according to the terms of Section 7.3.

         6.6 DISPOSAL OF COMMINGLED RECYCLABLES PROHIBITED
            Except as expressly authorized herein, the CONTRACTOR shall not dispose of any
            COMMINGLED RECYCUBLES or SOURCE-SEPARATED RECYCUBLES that have been
            collected in the CITY. Such materials shall be sold or otherwise used for a beneficial
            purpose.




            Page 60

                                                                                            Exhibit 8
                                                                                                8-62
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 64 of 221 Page ID #:409




          Rejects and Residue shall be beneficially reused or delivered to a CERTIFIED
          FACILITY for disposal.




        Page 61

                                                                                 Exhibit 8
                                                                                     8-63
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 65 of 221 Page ID #:410




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                                                                      Exhibit 8
                                                                          8-64
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 66 of 221 Page ID #:411




             ARTICLE 7:     RATES AN D FEES

        7.1 FALSE CLAIMS ACT
          CONTRACTOR acknowledges that it is aware of liabilities resulting from submitting a
          false claim for payment to or by the CITY under the California False Claims Act (Cal.
          Gov. Code Section 12650 et. seq.), including treble damages, costs of legal actions
          to recover payments and civil penalties of up to $10,000 per false claim,

       7.2 RATES CHARGED TO CUSTOMER FOR SERVICE
          The CONTRACTOR shall bill all CUSTOMERS at Rates not to exceed those specified
          in Appendix C and Table 7-3. The CONTRACTOR shall be solely responsible for
          collecting BILL payments from CUSTOMERS. Billing shall be performed on the basis
          of services rendered, including the BASE RATE, ORGANICS rates and EXTRA
          SERVICES, as applicable.

               7.2.1 BASE RATE
         The minimum service level for CUSTOMERS shall be a 96 gallon BLACK BIN and a 96
         gallon BLUE BIN collected once per week. Additional service days and additional
         capacity BLACK BINS shall be charged according to the Rate Schedule in Appendix
         C.
         For example, if a CUSTOMER has two (2>3 yard BLACK BINS collected once per
         week, this BLUE BIN service level is assumed to be at least two (2)-3 yard BLUE
         BINS collected once per week or equivalent volume. Scenarios for variations of this
         example include:

         •  Additional Frequency for BLUE BINS:         If either or both of the BLUE BINS are to
            be collected at a greater frequency, the additional collections are subject to an
            additional collection fee, as identified in Appendix C.
         • Additional Frequency for BLACK BINS: If either or both of the BLACK BINS are to
           be collected at a greater frequency, the additional collections constitute an
           increase in the BASE RATE, and thereby include an equal increase in the service
           level.
         ® Additional Volume of BLUE BINS: If either or both of the CONTAINERS for
           COMMINGLED RECYCLABLES are to be a greater volume than the BUCK BIN,
           the additional volume is to be provided at no additional charge and at no change
           to the BASE RATE.
         • Additional Volume of BUCK BINS: If either or both of the BUCK BINS are to be
           a greater volume, the additional volume constitutes an increase in the BASE
           RATE, and thereby include an equal increase in the service level, as identified in
           Appendix C.




         Page 63

                                                                                             Exhibit 8
                                                                                                 8-65
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 67 of 221 Page ID #:412




         7.3 ANNUAL RATE COMPENSATION ADJUSTMENT
           Annual rate adjustments shall be based on the total unit costs for each service level
           upon CONTRACT EXECUTION, adjusted each year using a weighted price index. The
           weighted index shall also be used to adjust EXTRA SERVICES charges. The first
           annual rate adjustment shall be effective January 1, 2018.

           The weighted index is as follows;

           1+ ((0.48 x %change in ECI-TTU) + (0.40 x %change in PPI-SW) + (0.12 x
           %change in PPI-T))
           where "% change" is the percentage change in the index from the previous year.
           ECI-TTU, PPI-SW, and PPI-T are price indices computed and published by the U.S.
           Department of Labor, Bureau of Labor Statistics and the Saint Louis Federal
           Reserve. They are officially defined as follows:

           •   ECI-TTU is the Employment Cost Index for Total Compensation by Occupational
               Group and Industry for Private Industry Worker, Service Producing Industries,
               Trade, Transportation, and Utilities, seasonally adjusted, (Dec. 2005=100) as
               published by the U.S. Department of Labor, Bureau of Labor Statistics. This index
               captures year over year changes in the cost of labor and general operating costs
               in industries such as solid waste collection.

           •   PPI-SW is the Producer Price Index for Solid Waste Collection
               (PCU562111562111), U.S. City Average, as published by the Saint Louis Federal
               Reserve. This index captures year over year changes in the cost of goods and
               services purchased by consumers. For the purposes of the weighted index, it is
               used as a proxy for year over year changes to disposal and processing costs.

           •   PPI-T is the Producer Price Index for Transportation Industries
               (PCUATRANSATRANS) as published by the Saint Louis Federal Reserve. This
               index captures year over year changes in the cost of owning, operating, and
               maintaining vehicles such as solid waste collection vehicles.

           The following tables provide example calculations for the adjustment of the BASE
           RATE unit cost for a 3 cubic yard bin collected once per week, denoted as 3-1-1, at
           the end of the first and second years of the FRANCHISE SYSTEM.




           Page 64

                                                                                         Exhibit 8
                                                                                             8-66
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 68 of 221 Page ID #:413




              Table 7-1: End of First Year Adjustment (Example)

                                                   ECI-TTU           PPI-SW              PPI-T

                Beginning of Year Index     100               100                100

                End of Year Index           102               104.5              103

                Percent Change in Index     2,0%              4,5%               3.0%

                Weight                      0,48              0.40               0.12

                Weighted Change in Index    0.96%             1.80%              0.36%



               Weighted index              3.12%              4-Sum of weighted change in indices



               Beginning Year 3-1-1        $ 185.00

               New 3-1-1                   $ 190.74


             Table 7-2: End of Second Year Adjustment (Example)
                                                   ECI-TTU           PPI-SW              PPI-T

               Beginning of Year Index     102               104.5              103

               End of Year Index           107               108                105

               Percent Change in Index     5.0%              3.5%               2.0%

               Weight                      0.48              0.40               0.12

               Weighted Change in Index    2.40%             1.40%              0.24%



              Weighted index               4.04%             4-Sum of weighted change in indices



              Beginning Year 3-1-1         $ 190.77

              New 3-1-1                    $ 198.40




          Except as provided below in this Article 7, the weighted index presented above shall
         be the sole basis for regular adjustments to unit costs and rates. The annual
         adjustment to unit costs (and rates) shall never be less than 0 percent or greater
         than 5 percent. Any percentage amount calculated which is lower or higher than
         these thresholds shall be carried forward and included in future rate adjustments;
         provided, however, that the total amount of any future adjustments remain within
         the above range.

         The PPI-SW and PPI-T are available for October of each year. ECI-TTU is published
         quarterly. The percent changes in the PPT-SW and the PPI-T shall be computed
         using the current and prior year October values for these indices. The percent
         change in the ECI-TTU shall be computed using the current and prior year



         Page 65


                                                                                                    Exhibit 8
                                                                                                        8-67
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 69 of 221 Page ID #:414




           September values for these indices. New rates will be calculated in November of
           each year, and published for the next calendar year in late November.

                7.3.1 ADJUSTMENTS FOR CHANGE IN LAW
           In the event of a change in law, limited to changes in applicable federal, state or
           local laws and regulations subsequent to the START OF SERVICE DATE governing
           CONTRACTOR'S delivery of the SOLID RESOURCES services pursuant to this
           AGREEMENT or the imposition of new or increased government fees or assessments,
           CONTRACTOR shali be entitled to an adjustment of rates. This written request for
           adjustment will be submitted by the CONTRACTOR to the CITY PROJECT MANAGER
           on no more than an annual basis, which will be accompanied by an analysis of the
           impacts on rates. The CITY'S approval shall be subject to negotiation with the
           CONTRACTOR and all FRANCHISEES to ensure continued uniform rates, but will not
           be unreasonably withheld. As used herein, "change in law" does not include changes
           in the federal or state or local minimum wage laws, changes in federal or state
           income tax laws, changes in CONTRACTOR'S fuel costs, changes in market price
           indices for sales of recyclables materials or changes in any labor rates.

                7.3.2 ADJUSTMENTS FOR BLUE BIN COSTS
           The CITY maintains contracts to process BLUE BIN materia! it collects through its
           curbside collection operations. In the event that the CITY'S overall contract revenue
           averages less than $0 per delivered ton for BLUE BIN material, CONTRACTOR shall
           be entitled to an adjustment of rates during the next adjustment period, as
           calculated by the CITY PROJECT MANAGER.

                7.3.3 ADJUSTMENTS FOR IMPLEMENTING ORGANICS COLLECTION
           The CITY recognizes that developing and implementing an ORGANICS collection
           program presents unique challenges and increased cost to the CONTRACTOR. To
           compensate for the challenges and cost of implementing the ORGANICS program,
           the CONTRACTOR shall be entitled to two (2) extra rate compensation adjustments
           in addition to the annual weighted price index adjustment. Effective January 1,
           2019, the rates shall increase by 3 percent, above the calculated weighted price
           index. Effective January 1, 2020, the rates shall increase by an additional 3 percent,
           above the calculated weighted price index. All other rates, charges, and fees payable
           to the CONTRACTOR under the AGREEMENT shall also be increased by 3 percent
           effective January 1, 2019, and January 1, 2020, respectively.

                7.3.4 RATES LOOK BACK
            Sixty (60) months after CONTRACT EXECUTION, and every sixty (60) months
            thereafter, CONTRACTOR may request that the Director of Sanitation review the
            basis for the existing rate structure, and determine the need for a rate adjustment
            due to CONTRACTOR'S overall cost of service under this AGREEMENT, not to exceed
            three (3) percent. This analysis will take into consideration any cost of service
            increase beyond those items and indices in Section 7.3. The CITY'S approval will be



            Page 66

                                                                                          Exhibit 8
                                                                                              8-68
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 70 of 221 Page ID #:415




               subject to negotiation with all FRANCHISEES and the CONTRACTOR to ensure the
               continuation of uniform rates.

         7.4 EXTRA SERVICES
               The CITY has established the following list of EXTRA SERVICES, which the
               CONTRACTOR shall offer their CUSTOMERS at the accompanying rate. Any services
               not listed in Table 7-3 shall be provided at no extra cost to the CUSTOMER, unless
               there is prior written approval from the CITY PROJECT MANAGER. EXTRA SERVICES
               fees shall be increased annually in accordance with the formula specified in Section
               7.3.

        Table 7-3: Extra Collection Services and Associated Fees
                     Extra Service                         Condition Under Which Fee Applies                          Total Fee

       Locks

       Gravity lock installation - per              CUSTOMER request - one-time fee per CONTAINER         $100 for purchase and installation
       CONTAINER

       Lock bar installation - per CONTAINER        CUSTOMER request - one-time fee per CONTAINER         $100 for purchase and installation

       Locks for CONTAINERS - per lock              CUSTOMER request - one-time fee per lock              $10

       Unlocking and locking CONTAINERS -           CUSTOMER request - per CONTAINER per collection       No charge
       per CONTAINER                                event



       Entering Secured Building, unlocking and Per collection event                                     $10
       locking gates

       Distance / Access

      Distance Charge, between 100-200 ft, as Site requirement per CONTAINER per collection event        $25
      measured from the CUSTOMER'S
      property line to the path of travel to the
      BINS' permanent location

      Distance Charge, over 200 ft, as             Site requirement per CONTAINER per collection event   $35
      measured from the CUSTOMER'S
      property line to the path of travel to the
      BINS' permanent location

      Blocked Access - Requiring Return or         Driver observation, document with picture and note    $50
      Delay                                        uploaded to CONTRACTOR'S and the CITY'S CRM in
                                                   REAL TIME and notify the CUSTOMER within two (2)
                                                   hours

      Supplemental Cleaning

      Cart Cleaning (after one free                CUSTOMER request - Fixed Fee Per CONTAINER            $15
      cieaning/year)

      CONTAINER Pressure Wash/Steam                CUSTOMER request - Fixed Fee Per CONTAINER            $30
      Cleaning (after one free cleaning/year)

      Graffiti Removal from CUSTOMER-owned Driver observation or by request for removing graffiti        $25
      CONTAINERS                           from the CUSTOMER-owned CONTAINERS




           Page 67


                                                                                                                                     Exhibit 8
                                                                                                                                         8-69
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 71 of 221 Page ID #:416




                      Extra Service                        Condition Under Which Fee Applies                               Total Fee

         Graffiti Removal from CONTRACTOR-         CUSTOMER request to removing graffiti from the              $25                  .
         owned CONTAINERS                          CONTRACTOR-owned CONTAINERS In excess of three
                                                   times per every 12 months, in accordance with Section
                                                   3.20.5.1.

         COMPACTOR CONTAINER Pressure              CUSTOMER request - Fixed Fee Per CONTAINER                  $150
         Washing/Steam Cleaning (after one free
         deaning/year)

         ROLL OFF CONTAINER Pressure               CUSTOMER request - Fixed Fee Per CONTAINER                  $150
         Washing/Steam Cleaning (after one free
         deaning/year)

         CONTAINER Replacement/Repair                                          .

         Repair or Replacement of CUSTOMER         CUSTOMER request; Time and Materials Fee;               $60 per repair hour plus materials,
         Owned CONTAINER(S)                        CONTRACTOR may direct replacement for safety and/or no charge for pick-up and delivery
                                                   operational reasons; CONTRACTOR shall submit a list of
                                                   replacements and deliver it with the monthly written
                                                   report. The list shall include a description of why the
                                                   CONTAINER was replaced, induding pictures detailing
                                                   the necessity of replacement

         Repair or Replacement of CONTRACTOR       CUSTOMER request or CONTRACTOR decision, with               $60 per repair hour plus materials,
         Owned CONTAINER(S) - CUSTOMER             documentation supporting that the CUSTOMER is               no charge for pick-up and delivery
         Error                                     responsible for the damage to the CONTAINER

         Repair or Replacement of CONTRACTOR       CUSTOMER request or CONTRACTOR decision                     No charge
         Owned CONTAINER(S) - Normal Wear
         and Tear or CUSTOMER Error

         Changing CONTAINERS for an Increase       CONTRACTOR shall submit a written list of                   No charge
         or Decrease in Level of Service           replacements and deliver it with the monthly report.
                                                   The list shall include a description of the service level
                                                   change.

         Overflow of Materials and Contamination

         Overfill Charge                           Driver observation, document with picture and note          $25 per occurrence
                                                   uploaded to the OTY's CRM in REAL TIME, notify
                                                   CUSTOMER within 2 hours, and otherwise follow the
                                                   conditions and procedures described in Section 3.5

         Overweight Charge                         Driver observation, document with picture and note          $100 per occurrence
                                                   uploaded to the CITY'S CRM in REAL TIME, notify
                                                   CUSTOMER within 2 hours, and otherwise follow the
                                                   conditions and procedures described in Section 3.5

         Contamination Fee                         Observation and Documentation, following the                $50 per occurrence
                                                   procedure described in Section 3.S.



         Hazardous, Radioactive, or Biomedical     Driver observation, document with picture and note          $100 per occurrence
         Waste Contamination Charge                uploaded to the CITY's CRM in REAL TIME, and notify
                                                   CUSTOMER within 2 hours


         Other Fees

         Collection of Bulky Waste from            CUSTOMER request - Fixed Fee Per Item                       $30
         COMMERCIAL ESTABLISHMENT not
         subject to CITY Multifamily Bulky Item
         Fee - Per item




               Page 68

                                                                                                                                        Exhibit 8
                                                                                                                                            8-70
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 72 of 221 Page ID #:417




                    Extra Service                      Condition Under Which Fee Applies                               Total Fee

        Idle Time Charge                      If driver has to wait due to a CUSTOMER created delay       $15 per every 15 minutes
                                              in excess of IS minutes (documented using GPS
                                              technology) and with a note uploaded into the CITY'S
                                              CRM in REAL TIME

       Sunday Service                         CUSTOMER Request                                            50% over Monday-Saturday
                                                                                                          Service




       Administrative Fees

       Return Payment Fee                    CUSTOMER remits payment using check rejected due to $25
                                             insufficient funds or remits payment using a credit card
                                             or electronic payment that is declined

       Late Payment Fee (>30 days overdue)   CUSTOMER inaction                                           $5 or l .5% of the debt/month,
                                                                                                         whichever is greater

       CONTAINER Removal Fee                 CONTAINER is removed from service location due to           $5 per CONTAINER
                                             CUSTOMER non-payment

       Re-instatement of Account Fee         CUSTOMER request - Fixed Fee                                $70 per account

       CONTAINER Delivery                    Delivery fee for each CONTAINER brought to the              $25 per CONTAINER
                                             CUSTOMER as part of the reinstatement

      Compactors Less than 8 cubic yards     Additional compensation, above the Base Rate, for the       $8.00 per cubic yard of collection
                                             collection of compactors less than 8 cubic yards in size.




       7.5 RECYCLING NOT PROVIDED (RNP) FEE
           The CONTRACTOR shall bill CUSTOMERS the BASE RATE, based on a CUSTOMER'S
           SOLID WASTE needs. In the event that a CUSTOMER refuses BLUE BIN service,
           BLUE BIN service is not provided, or the service level of the BLUE BIN falls below
           the minimum ratio of 50%, the CONTRACTOR shall remit to the CITY the portion of
           the BASE RATE for RNP, as detailed in Appendix C. The RNP shall not be calculated
           pr remitted before the START OF SERVICE date.

           The minimum service level ratio is that the BLUE BIN service shall be at least fifty
            percent (50%) by volume of BLACK BIN service and shall not be less than 96
           gallons. This ratio is for total service volume associated with the BASE RATE,
           including CONTAINER volume and collection frequency. Failure to provide the
           minimum level of service for COMMINGLED RECYCLABLES shall be considered
           equivalent to not providing COMMINGLED RECYCLING service, and the
           CONTRACTOR shall be liable for the RNP Fee. CONTRACTOR may present evidence
           for exceptions, and the CITY PROJECT MANAGER may consider exceptions to the
           volume requirements for specific customers, but BLUE BIN service must be
           provided.

          The RNP Fee shall be based on the CUSTOMER'S level of service for SOLID WASTE.
          The CONTRACTOR shall remit the RNP Fee in accordance with in Appendix C.




          Page 69


                                                                                                                                     Exhibit 8
                                                                                                                                         8-71
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 73 of 221 Page ID #:418




            For example:

            •   A CUSTOMER receiving 4 yard BLACK BIN service once per week shall receive an
                equivalent of 2 yard BLUE BIN service per week in order to meet the required
                ratio.
            •   A CUSTOMER receiving 4 yard BLACK BIN service once per week receiving a 1
                yard BLUE BIN service, or a 96 gallon CART for COMMINGLED RECYCLABLES
                shall be considered below the required ratio, and the RNP established in
                Appendix C associated with a 4 yard BLUE BIN shall be remitted to the CITY.

            The CONTRACTOR shall remit the RNP FEE quarterly, and payment shall be paid to
            the CITY and is due on or before thirty (30) days following the end of each calendar
            quarter in which the BLUE BIN services were not provided, with the quarterly fee
            payment schedule. This remittance shall be accompanied by a RNP form as
            designated by the CITY. Failure to pay any fees in accordance with this AGREEMENT
            shall be subject to Liquidated Damages as listed in Table 11-1            i

         7.6    FRANCHISE FEE
            The CONTRACTOR shall pay a" quarterly FRANCHISE FEE equal to 4.32 percent of
            the GROSS RECEIPTS, net of Franchise and AB 939 Fees, billed to all CUSTOMERS
            for BASE RATE services provided, and 10 percent of the GROSS RECEIPTS, net of
            Franchise and AB939 Fees, billed to all CUSTOMERS for all other services provided
            under this AGREEMENT. Payment of the FRANCHISE FEE shall commence the
            calendar quarter following the CONTRACT EXECUTION. GROSS RECEIPTS exclude
            any amounts received from the sale of COMMINGLED RECYCLABLES or SOURCE-
            SEPARATED recyclables. The initial payment of the fee shall be based upon the
            GROSS RECEIPTS during the period of time from the CONTRACT EXECUTION to the
            beginning of the next calendar quarter.

            FRANCHISE FEES are payable quarterly and payment is due on or before 30 days
            following the end of each calendar quarter in which the GROSS RECEIPTS are billed.

            The payment of FRANCHISE FEES shall be made to the CITY, and shall be separate
            from and in addition to the AB 939 COMPLIANCE FEE, and any CITY Business Taxes
            or other taxes, fees or charges imposed by applicable law due for the same period.
            Failure to pay any fees in accordance with this AGREEMENT shall be subject to
            Liquidated Damages as listed in Table 11-1

            FRANCHISE FEES not paid on or before the thirtieth (30th) day following the end of
            the calendar quarter shall be deemed delinquent, and an additional charge equal to
            two and one-half percent (2.5%) of the fee owed shall be added to the fee, and the
            additional charge shall become part of the fee owed. An additional two and one-half
            percent (2.5%) shall be added to such fees for each subsequent 30 days that
            payment of the fee owed is not received by the CITY, with a maximum of 50% of
            the initial delinquent amount.




            Page 70

                                                                                         Exhibit 8
                                                                                             8-72
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 74 of 221 Page ID #:419




              7.6.1 STUDIO SERVICES FRANCHISE FEE
          The CONTRACTOR shall pay a quarterly, FRANCHISE FEE equal to ten percent
          (10%) of the GROSS RECEIPTS, net of Franchise Fees and AB 939 Fees, billed to
          Studios for services covered under this AGREEMENT. GROSS RECEIPTS exclude any
          amounts received from the sale of COMMINGLED RECYCLABLES or SOURCE
          SEPAREATED recyclables.

        7.7 AB 939 COMPLIANCE FEE
          The Contractor shall remit to the CITY the AB 939 COMPLIANCE FEE in accordance
          with L.A.M.C. Section 66.32. AB 939 fees are not applicable to the Extra Collection
          Services and Associated Fees shown in Table 7-3. Failure to pay any fees in
          accordance with this AGREEMENT shall be subject to Liquidated Damages as listed
          in Table 11-1.




         Page 71


                                                                                        Exhibit 8
                                                                                            8-73
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 75 of 221 Page ID #:420




            ARTICLE 8:      TRANSITION
           The CITY requires a strategic and holistic service implementation that minimizes
           CUSTOMER impact and provides an excellent foundation upon which to build the
           CITY'S Zero Waste program and support the CITY'S efforts.

           The CONTRACTOR PROJECT MANAGER shall be directly involved in monitoring the
           transition. The TRANSITION PERIOD starts on the date of CONTRACT EXECUTION.
           The CONTRACTOR PROJECT MANAGER shall receive daily updates, attend weekly
           update meetings, coordinate with key transition management and operations staff
           within their organization, other FRANCHISEES, and the CITY and immediately
           address any issues that arise.                                        ;

           The CONTRACTOR PROJECT MANAGER shall attend, at a minimum, weekly
           mandatory transition meetings. The CITY PROJECT MANAGER shall determine the
           frequency and subject manner of all transition meetings. The CONTRACTOR
           PROJECT MANAGER shall attend all transition meetings with CITY staff. The
           CONTRACTORS and the CITY will hold the first transition meetings within seven (7)
           days after the execution of this AGREEMENT. Transition meetings shall occur at a
           minimum of weekly thereafter until six (6) months after the CITY NOTIFICATION,
           unless otherwise approved by the CITY.

         8.1 INITIAL CUSTOMER CONTACT
           The CONTRACTOR, and its SUBCONTRACTORS, shall not contact CUSTOMERS
           regarding the FRANCHISE SYSTEM prior to the CITY NOTIFICATION to
           CUSTOMERS, unless otherwise instructed by the CITY. The CITY NOTIFICATION
           process will be a staged announcement to all known accounts within the CITY
           announcing the FRANCHISE SYSTEM and introducing the FRANCHISEES.

           The only CUSTOMER contact permitted between the date of the CONTRACT
           EXECUTION and the CONTRACTOR NOTIFICATION is to administer existing
           accounts that the CONTRACTOR services within the CITY, and to provide service to
           any accounts abandoned by the incumbent hauler, as detailed in Section 8.5.

           The CONTRACTOR shall not begin billing CUSTOMERS for services provided under
           this AGREEMENT prior to the CONTRACTOR NOTIFICATION date.

         8.2 TRANSITION MILESTONES AND DEADLINES
           The Transition begins upon the CONTRACT EXECUTION. The CONTRACTOR shall
           meet all Transition Milestones and deadlines listed in this Article. The CITY assumes
           a minimum of 150 days between the CONTRACT EXECUTION and the CONTRACTOR
           NOTIFICATION.        The CITY PROJECT MANAGER may modify the CITY
           NOTIFICATION, CONTRACTOR NOTIFICATION, and START OF SERVICE dates to
           account for the actual date of CONTRACT EXECUTION.




           Page 72

                                                                                          Exhibit 8
                                                                                              8-74
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 76 of 221 Page ID #:421




         Table 8-1: Transition Milestones and Deadlines
           Task Category                                        Task Title                                         Milestone/ Deadline
                                                                                                                (Unless otherwise noted
                                                                                                                days are calendar days to
                                                                                                               complete from execution of
                                                                                                                      AGREEMENT)


        Major Milestones      CITY NOTIFICATION (initial notification by the CITY to CUSTOMERS                 6/1/2017
                              announcing the coming program, and the CONTRACTOR awarded the
                              FRANCHISE ZONE)


                             CONTRACTOR NOTIFICATION (First CUSTOMER contact allowed under this                7/1/2017
                             AGREEMENT)


                             START OF SERVICE (The commencement of service to all known                        1/1/2018
                             CUSTOMERS under this AGREEMENT)


       General Transition    Weekly meetings with CITY staff on outreach and outreach material begins.        7 days
       Tasks

                             The CONTRACTOR shall submit to the CITY a written draft Comprehensive            7 days
                             Master Transition Schedule.

                             Provide CITY with Illness and Injury Prevention Program Plan.                    7 days



                             Commencement of weekly Transition Team Meetings                                  7 days


                             CONTRACTOR'S Franchise website complete and ready for field testing              60 days



                             Ail field reporting software and associated hardware is installed and fully       60 days
                             functional. If applicable, tablets are functional and software is ready for field
                             testing.

                            IT interface testing completed.                                                  60 days

                            The CONTRACTOR shall have its mobile application (app) working and          -    90 days      •
                            available for field testing.

                            Customer Service Center/Customer Care Center in each awarded zone open 7/1/2017
                            for business.

                            Billing System in place, tested, and ready for use                               7/1/2017


                            Problem resolution resources, scripts, and procedures in place                   7/1/2017


                            The CONTRACTOR shall have website working and available for all                  7/1/2017
                            CUSTOMERS.

                            Provide the CITY with CONTRACTOR’S written Contingency and Disaster              30 days
                            Recovery Plan.

      Customer Outreach,    Weekly Outreach and Education planning meetings                                 7 days
      Waste Assessments,
      and Agreement
      (Account Set Up)      CONTRACTOR outreach and education begins.                                       7/1/2017




          Page 73


                                                                                                                                 Exhibit 8
                                                                                                                                     8-75
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 77 of 221 Page ID #:422




            Task Category                                          Task Title                                    Mi lestone/ Deadline
                                                                                                              (Unless otherwise noted
                                                                                                              days are calendar days to
                                                                                                             complete from execution of
                                                                                                                     AGREEMENT)


                                 Complete Waste Assessments with all known CUSTOMERS                         1/1/2018



                                 Service Agreements Contracts with all known CUSTOMERS executed.             1/1/2018



         Staffing and Training   Identify staffing to handle Abandoned Accounts for immediate servicing and 7 days
                                 account transition prior to the CONTRACTOR NOTIFICATION date

                                 Recruit and hire management positions.                                      7 days



                                 Recruit and hire Call Center staff and operation plan completed.            5/1/2017



                                 Customer Service Staff training completed.                                  6/1/2017


                                 Hire and train ail staff necessary for education, outreach. Waste           6/1/2017
                                 Assessments, and account setup.


                                 Recruit; hire and train Operations Supervisors                              6/1/2017


                                 Recruit, hire and train collection services staff, including Supervisors,   7/1/2017
                                 Drivers, mechanics, and office support staff, etc.


         Vehicles and Equipment Supplier/Manufacturer Agreement(s) for COLLECTION VEHICLE                    30 days
                                procurement completed.

                                 Agreements with all Equipment and/or Property Leasing Companies             60 days
                                 completed.

                                 Agreements with CONTAINER suppiier(s) completed.                            90 days



                                 All COLLECTION VEHICLES are ready for service.                              7/1/2017



                                 CONTAINER delivery and old container removal completed for known            1/1/2018
                                 customers.




              The CONTACTOR shall meet the Transition Milestones and Deadlines listed in Table
              8-1.

         8.3 MASTER TRANSITION SCHEDULE
              The CONTRACTOR shall prepare a MASTER TRANSITION SCHEDULE for each
              FRANCHISE ZONE, The MASTER TRANSITION SCHEDULE shall be drafted with the
              input of the CITY and shall be subject to the CITY'S approval. The MASTER
              TRANSITION SCHEDULE shall be finalized and submitted to the CITY within 7 days
              of the execution of this AGREEMENT, in the required CITY format. The MASTER



              Page 74


                                                                                                                              Exhibit 8
                                                                                                                                  8-76
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 78 of 221 Page ID #:423




          TRANSITION SCHEDULE shall incorporate all the Transition Milestones and
          Deadlines provided in this Article and shall provide detailed plans and timelines
          associated with the implementation of each aspect of the program. The MASTER
          TRANSITION SCHEDULE shall contain sufficient details to clearly define the
          approach and tasks necessary to meet the requirements of this AGREEMENT, as well
          as task start and completion dates, progress metrics, and the name and phone
          number of CONTRACTOR staff responsible for each task.

          The MASTER TRANSITION SCHEDULE shall include at minimum:

          •   Transition Staffing and Training Plan
          •   Information Technology Plan
          •   Vehicle and Equipment Procurement Plan
          •   Transition Diversion Outreach and Education Plan
          •   Account Set-up Plan
          •   CUSTOMER Transition following the CONTRACTOR NOTIFICATION date
          «   Existing Customer handoff to other FRANCHISEES
          •   CONTAINER Delivery Plan

          In collaboration between the CONTRACTOR, all FRANCHISEES, and the CITY, the
          MASTER TRANSITION SCHEDULE may be modified from time to time in order to
          provide a smooth transition of services. The CONTRACTOR and the CITY shall also
          continually review and assess progress of the implementation of the MASTER
          TRANSITION SCHEDULE as necessary throughout the process.

       8.4 TRANSITION STAFFING AND METRICS
         The CONTRACTOR shall secure the necessary transition staff to meet all the
         requirements of this AGREEMENT, At minimum, for the Transition Period, starting
         July 1, 2017, the CONTRACTOR shall provide four (4) full time equivalent (FTE) staff
         per 1,000 accounts serviced under this AGREEMENT, responsible for outreach,
         education, CUSTOMER training, and waste assessments. The values of FTEs will
         include the primary CONTRACTOR'S staff and SUBCONTRACTOR'S staff, as noted, as
         well as full-time and part-time employees; one FTE is equivalent to 2000 hours per
         year.

       8.5 ABANDONED ACCOUNTS
         In the time between the execution of this AGREEMENT and CONTRACTOR
         NOTIFICATION, FRANCHISEES shall collaborate with the CITY and other
         FRANCHISEES to plan and implement a smooth transition of accounts.

         The CONTRACTOR shall provide SOLID RESOURCES collection services to any
         account within its FRANCHISE ZONE abandoned by the incumbent hauler after the
         execution of a FRANCHISE AGREEMENT or renewal.




         Page 75


                                                                                         Exhibit 8
                                                                                             8-77
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 79 of 221 Page ID #:424




           The CONTRACTOR shall use reasonable business efforts to establish service to the
           account within one (1) business day of being notified by the CITY or CUSTOMER of
           an Abandoned Account, and shall notify the CUSTOMER and the CITY when service
           begins.

           The CONTRACTOR shall begin service to Abandoned Accounts under the same
           service rate and service level that the customer had with the incumbent hauler
           (documented by a written agreement or prior bills with the prior hauler provided by
           the Abandoned Account) until the CONTRACTOR NOTIFICATION DATE. If no such
           prior service agreement is found, the CONTRACTOR shall establish a new service
           agreement with the customer; charging based on the BASE RATE associated with
           the existing SOLID WASTE service level, less the RNP fee, and shall remit the
           associated FRANCHISE FEES to the CITY.

           The CONTRACTOR shall serve notice to any identified incumbent hauler regarding
           the disposal of incumbent property (i.e,, containers, locks, etc.) that is associated
           with the Abandoned Account.

         8.6 CONTINUED SERVICE OF EXISTING CUSTOMERS
           The CONTACTOR shall not stop service to any existing account within the CITY prior
           to the date specified in the MASTER TRANSITION SCHEDULE. The CONTRACTOR
           shall not abandon any account in the CITY, or terminate an account without
           coordination with the FRANCHISEE awarded the account, or shall be subject to
           Liquidated Damages associated with the Implementation of Franchise Services in
           Table 11-1.

               8.6.1 TRANSITIONING ACCOUNTS TO OTHER FRANCHISEES
           The CONTRACTOR shall participate in the smooth and orderly transition of existing
           CONTRACTOR customers in the CITY, not serviced under this AGREEMENT, to other
           FRANCHISEES. All accounts serviced by CONTRACTOR shall follow a coordinated
           transition, as approved by the CITY, and in accordance with the MASTER
           TRANSITION SCHEDULE.

           The CONTRACTOR shall cooperate with the CITY to obtain permission to transfer all
           customers access keys, electronic openers, and access codes for all existing
           accounts within the CITY and not subject to this AGREEMENT to the CITY or the
           new provider. Every key, electronic opener and access code shall be clearly marked
           with the customer's name, address, and access point.

         8.7 REQUIREMENTS PRIOR TO AGREEMENT EXPIRATION
           Should the CITY choose not to exercise the renewal options of this AGREEMENT or
           should no renewal options remain, the CITY anticipates awarding a new agreement
           at least six (6) months prior to the expiration of this AGREEMENT. In the event a
           new agreement has not been awarded within such timeframe, the CONTRACTOR




            Page 76

                                                                                         Exhibit 8
                                                                                             8-78
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 80 of 221 Page ID #:425




          shall continue to provide FRANCHISE SERVICES in accordance with the terms of
          Article 14 of this AGREEMENT.

          The CONTRACTOR shall allow the CITY'S newly selected franchise hauier(s) to
          purchase, or rent for up to ninety (90) days, CONTRACTOR'S CONTAINERS. The
          terms, purchase price and/or rental fee will be negotiated and mutually approved by
          the CONTRACTOR and newly selected FRANCHISEE. The CONTRACTOR shall act in
          accordance with an agreed upon timeline for any future transition of collection
          services of the FRANCHISE ZONE(S) for which they have entered into this
          AGREEMENT.             ^                     ^

          Prior to the expiration of this AGREEMENT, the CITY may develop a plan for the
          purchase of the CONTAINERS provided by the CONTRACTOR under this
          AGREEMENT. The CITY may pay the Fair Market Value for any CONTAINERS that
          the CITY wishes to purchase from the CONTRACTOR, or follow the process
          discussed in Section 15.3

          Prior to the expiration of this AGREEMENT, the CONTRACTOR shall work with the
          CITY and the newly selected FRANCHISEE(S) to ensure a smooth TRANSITION
          PERIOD with no interruption or reduction of service. The CONTRACTOR shall comply
          with the following performance requirements and deadlines:




         Page 77

                                                                                        Exhibit 8
                                                                                            8-79
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 81 of 221 Page ID #:426




           Table 8-2: End of Agreement Term Transition Requirements

                       Deadline                                            Performance Requirements

                                              Provide to the CITY and the selected FRANCHISEE a CONTAINER inventory, in a format
                                              acceptable to the CITY that includes each CONTAINER'S location {street address),
                                              capacity, identification number, collection frequency, CUSTOMER name, CUSTOMER
            180 days prior to expiration of
                                              contact information, and whether the CONTAINER is owned by the CUSTOMER or by
            AGREEMENT
                                              the CONTRACTOR. Thereafter, the CONTRACTOR shali not replace or exchange any
                                              CONTRACTOR-owned CONTAINERS listed in the CONTAINER inventory, without the
                                              CITY'S approval,                      .

                                              Attend a coordination meeting with the selected FRANCHISEE and the CITY. At the
            150 days prior to expiration of
                                              coordination meeting, the CONTRACTOR shall provide a list of CONTRACTOR-owned
            AGREEMENT
                                              CONTAINERS that may be purchased by the selected FRANCHISEE.

                                              Work with the selected FRANCHISEE^) to develop a mutually agreeable schedule for
            120 days prior to expiration of   removal of CONTRACTOR-owned CONTAINERS and placement of the selected
            AGREEMENT                         FRANCHISEE'S containers.
                                              The schedule shall ensure no interruption in collection service.

            30 days prior to expiration of
                                              Implement the schedule for transition with the selected FRANCHISEE.
            AGREEMENT




           Page 78

                                                                                                                            Exhibit 8
                                                                                                                                8-80
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 82 of 221 Page ID #:427




           ARTICLE 9:       RECORD KEEPING AND REPORTING

        9.1 GENERAL RECORD KEEPING AND REPORTING REQUIREMENTS
          The CONTRACTOR shall cooperate with the CITY and provide every reasonable
          opportunity for ascertaining and verifying whether or not the duties and
          responsibilities of the CONTRACTOR are being performed.

          The CONTRACTOR shall provide any information within the requested timeframe, in
          addition to that required explicitly by this AGREEMENT, that the CITY or the
          CONTRACTOR deems relevant under the circumstances.

          The CITY shall have the right to inspect, copy, and audit, at the CITY'S expense, all
          of the CONTRACTOR'S records pertaining to its performance of this CONTRACT, as
          described in Section 3.22.3. Work papers of the CONTRACTOR’S auditor shall be
          made available to the CITY, upon request. The CITY also shall have the right to
          inspect and copy all of the CONTRACTOR’S other books and records, except for
          confidential and proprietary information, concerning the CONTRACTOR’S services
          under this AGREEMENT.

       9.2 RECORDS RETENTION
         Records shall be retained for a period of no less than four (4) years following the
         expiration date of this AGREEMENT. Said records shall be subject to examination
         and audit by authorized CITY personnel or by the CITY'S representative at any time
         during the term of this AGREEMENT and within the four (4) years following final
         payment made to the CITY hereunder or the expiration date of this CONTRACT,
         whichever occurs last. Any subcontract entered into by CONTRACTOR, as authorized
         under the terms of this CONTRACT, shall include a like provision for work to be
         performed under this CONTRACT.

         All of the CONTRACTOR’S reports required and requested by the CITY shall be
         submitted to the CITY in an electronic format approved by the CITY. The form and
         content of all reports are subject to the CITY'S approval. CONTRACTOR shall provide
         hard copies of reports to the CITY upon request at no charge.

       9.3 REPORTS
         CONTRACTOR shall submit certain reports to the CITY. The format and content of
         the reports are subject to the CITY’S approval. At minimum the CONTRACTOR shall
         prepare and submit the data and reporting requirements listed in Table 10-1.
         CONTRACTOR reports must also be compatible with and be able to interface with
         software and technology used by the CITY. Failure to submit reports in accordance
         with the requirements of the AGREEMENT shall be subject to Liquidated Damages as
         listed in Table 11-1.




         Page 79


                                                                                          Exhibit 8
                                                                                              8-81
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 83 of 221 Page ID #:428




           The CITY reserves the right to require additional reporting, or change reporting
           requirements.




           Page 80


                                                                                     Exhibit 8
                                                                                         8-82
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 84 of 221 Page ID #:429




           ARTICLE 10: TECHNOLOGY REQUIREMENTS

        10.1 FUNCTIONAL REQUIREMENTS
          The technology requirements described in this section apply to customer service,
          outreach and education, field operations, SOLID RESOURCES collection, as well as
          all other elements of this AGREEMENT. These requirements shall be implemented in
          accordance with the MASTER TRANSITION SCHEDULE.

          The CONTRACTOR shall utilize the software and hardware to meet all performance
          standards, requirements and capabilities included in this AGREEMENT. The
          CONTRACTOR is responsible for procuring, testing, installing and maintaining all
          required software and hardware. The CONTRACTOR shall ensure the technologies
          utilized meet the requirements of this AGREEMENT. The CONTRACTOR shall ensure
          that the technologies utilized are compatible, and communicate effectively, with
          CITY technologies. All hardware and software shall be up to date; maintenance and
          upgrading scheduling shall be coordinated with the CITY. The CITY PROJECT
          MANAGER shall determine if the technologies are effective and communicate
          effectively. This determination shall not be unreasonably withheld.

          The CITY reserves the right, upon notification and consultation regarding scope and
          costs with CONTRACTOR, to modify the data capturing, technology, and reporting
          requirements during the period of the AGREEMENT, as the technology available
          changes, and the CONTRACTOR must update their technology to meet these
          modifications at the CONTRACTOR'S expense.

              10.1.1 INTERFACING REQUIREMENTS
         The CITY will maintain two key IT systems for administering this AGREEMENT. The
         CITY will use the CITY'S CRM for tracking service requests and customer service
         performance. The CITY will use a separate IT system to track all data reported,
         including performance metrics, service level information, and contract compliance.

         The method for interfacing with the CITY'S CRM application is currently via a web
         service. The CONTRACTOR'S CRM shall be capable of utilizing web service to
         exchange large batches of data via push/pull at intervals of approximately 5
         minutes, in addition to the capability of pulling an individual record by a reference
         number. Web service between the CITY and CONTRACTOR CRMs is utilized in order
         to transfer the service request information to as close to real-time as possible.

         The interface for other reporting to the CITY is currently via FTP for information
         required daily, monthly, or quarterly in Table 10-1. Information to be exchanged via
         FTP shall be capable of a frequency of hourly, as needed in the TRANSITION
         PERIOD and at any time through the term of this AGREEMENT upon request, and
         capable of nightly updates throughout the term of the AGREEMENT.




         Page 81


                                                                                         Exhibit 8
                                                                                             8-83
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 85 of 221 Page ID #:430




              The detail record layout and upload frequency will comply with the format and
              specifications provided by the CITY PROJECT MANAGER.

         Table 10-1: Data and Reporting Requirements
           Required Data                       Associated Elements                                 Format          Transmittal Frequency


         CUSTOMER Inquiry     •   CUSTOMER service request type (e.g., missed               Electronic in the      REALTIME
         and Request Data         collection, change CONTAINER size, damaged                format compatible
                                  CONTAINERS, etc.)                                         with LASAN's
                              •                                                             CUSTOMER CARE
                                  Date and time of inquiry
                                                                                            CENTER'S Web
                              •   Date and time of resolution                               Service
                              •   Name/ID of (CSR) who received call, other CUSTOMER
                                  contact, or source of service request
                              •   Name/ID of Person who resolved problem
                              •   Resolution or Reason Code to identify how the issue
                                  was resolved or why it is pending
                              •   An active link to any supporting documentation, such as
                                  photograph, video, field notes, etc.
         CUSTOMER             ♦   CUSTOMER account number                                   Electronic in the      Intervals ranging from
         Information          •                                                             format compatible      nightly during normal
                                  CUSTOMER service address(es)
                                                                                            with Contract          conditions to every two
                              •   CUSTOMER billing address                                  Compliance             hours in the TRANSITION
                              •   CUSTOMER name                                             Software's FTP         PERIOD, as stipulated by
                                                                                                                   the CITY
                              •   CUSTOMER contact name
                              •   CUSTOMER emai! address
                              •   CUSTOMER phone number
                              •   CUSTOMER account type
                              •   Preferred method of communication
         CUSTOMER             •   CUSTOMER Bitling/coifections                              Data maintained by     Available upon request to
         Billing/collection   •                                                             CONTRACTOR in          CITY
                                  GROSS REVENUE data by:
                                                                                            Electronic format to
                                       o   Total Revenue                                    be Specified by
                                       o    FRANCHISE FEE                                   LASAN
                                                                                                                   Quarterly, within 20 days
                                       o    AB 939 COMPLIANCE FEE
                                                                                                                   of end of the previous
                                       o    BASE RATE revenue                                                      calendar month
                                       o   ORGANICS revenue
                                       o   Compactor and Roll Off Revenue
                                       o    Revenue to the CITY for account not
                                            receiving recycling collection




              Page 82


                                                                                                                                  Exhibit 8
                                                                                                                                      8-84
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 86 of 221 Page ID #:431




           Required Data                           Associated Elements                                Format           Transmittal Frequency

         CUSTOMER Service •          Geocoded location of CONTAINER(s), longitude latitude Data maintained by          Intervals ranging from
         Level (associated           form, as discussed with the CITY                      CONTRACTOR in               nightly during normal
         with each account                                                                 Electronic format to       conditions to every two
                                     Size and number of CONTAINERS for each material
         and location)                                                                     be Specified by            hours in the TRANSITION
                                     type (SOLID WASTE, COMINGLED RECYCLABLES,
                                                                                           LASAN                      PERIOD, as stipulated by
                                     ORGANICS and MANURE)
                                                                                                                      theCTTY
                                     Description of ORGANICS material, for all CUSTOMERS
                                     receiving ORGANICS Collection (i.e., Food Waste, Yard
                                     Trimmings, combined Organics, etc.)
                                     The owner of the CONTAINERS
                                     Frequency of collection for each CONTAINER
                                     Route(s) associated with the account
                                     Collection days
                                     Extra collection service received
                                    Identification if CUSTOMER is receiving recycling
                                    service as part of BASE RATE
                                    Regularly scheduled EXTRA SERVICES not included as
                                    part of the BASE RATE
                                    Link to Waste Assessment History
                                    EXTRA SERVICES and Fees charged
                                    Account standing (i.e., good or number of days past
                                    due)
                                    Service level changes (CUSTOMERS choosing smaller or
                                    larger CONTAINERS or changing service frequency)

        Outreach and           •    Number of Accounts set up                                 Data maintained by      Monthly, within 20 days
        Education              •                                                              CONTRACTOR              of end of the previous
                                    Number of customer site visits (Waste
                                                                                                                      calendar month, and
                                    Assessment/Audit)                                         Electronic in format to
                                                                                              be Specified by         available upon request
                               •    Type and number of outreach material distributed
                                                                                              LASAN                   During Transition:
                               •    Method of outreach material distribution                                          Weekly
                                    Number direct mailers distributed
                                    Number and location of community events held
                                   Updates to web page
                                   Updates to social media________________________
       Customer Service            Total number of calls received                            Data maintained by      Monthly, within 20 days
       Performance                                                                           CONTRACTOR             of end of the previous
                                   Percent of calls answered within the window of time
       (including                                                                            Electronic in format to calendar month
                                   required by the AGREEMENT
       Telephony data)
                                                                                             be Specified by        During Transition:
                                   Average call wait time
                                                                                             LASAN                  Weekly
                                   Abandon rate
                                   Request resolution time______
       Field Operations            GPS tracking of trucks on route                           Data maintained by     Available upon request to
       Data                                                                                  CONTRACTOR             CITY
                                   Stop/idle time at each stop
                                   Provision of Service
                                   Electronic data to support service was provided to each
                                   individual CUSTOMER
                           *       Truck on-board photos/videos - tracked to CUSTOMER        Electronic in the      Available to CITY upon
                                   account for incident/accident recovery, CONTAINER         format compatible      Request
                                   empty verification and/or EXTRA SERVICE charges           LASAN's CUSTOMER
                                                                                             CARE CENTER




           Page 83


                                                                                                                                         Exhibit 8
                                                                                                                                             8-85
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 87 of 221 Page ID #:432




          Required Data                          Associated Elements                                   Format             Transmittal Frequency


                                   Vehicle Miles Traveled                                       Summary Reports           Monthly - tracked and
                                                                                                                          saved on-going and
                                   Safety Factors (collected via Vehicle Dynamics
                                                                                                                          available to CITY upon
         Field Operations          Monitoring)
                                                                                                                          request
         Data (continued)
                                   Vehicle speed
                                   Hard Stops
                                   Daily vehicle inspection
                                   Truck changes (status/changes in maintenance/use of
                                   CLEAN FUEL VEHICLES)       ______________________
         Safety Training and       Trainings held                                               Data maintained by        Annually, within 20 days
         Meetings                                                                               CONTRACTOR                of end of the previous
                                   Safety meetings held
                                                                                                Electronic in format to «lendaryear
                                   Subject of each safety meeting or training
                                                                                          be Specified by
                                   Number of attendees at each safety meeting or training LASAN

         CONTRACTOR            •   Number of staff assigned and dedicated to:                   Data maintained by        Monthly, within 20 days
         Staffing Levels                                                                        CONTRACTOR                of end of the previous
                                        o    Customer Service Representatives (CSR)
                                                                                                                          calendar month
                                                                                                Electronic in format to
                                        o    CSR Supervisors
                                                                                                be Specified by
                                        o    Field Waste Assessment/Auditing staff              LASAN
                                        O    Field Supervisors
                                        O    Collection Drivers
                                        o    Collection Helpers
                                        o    Collection Supervisors
                                        o    Route Managers
                                        o    IT Staff
                                        o    Contract Managers


         SOLID RESOURCES Tonnage of materials delivered to CERTIFIED FACILITIES,                Data maintained by        Monthly, Quarterly,
         Collection      reported by:                                                           CONTRACTOR                within 20 days of end of
                                                                                                                          the previous term
                               .   SOLID WASTE (BLACK BIN)                                      Electronic In format to
                                                                                                be Specified by
                               .   COMMINGLED RECYCLABLES (BLUE BIN)
                                                                                                LASAN
                               .   ORGANICS (GREEN BIN)
                               •   Horse Manure (BROWN BIN)
                               •   Bulky Items
                               •   Food Rescue Programs (estimated by CUSTOMER)
                               •   Reuse Programs (i.e., LA Shares, etc.) (estimated by
                                   CUSTOMER)
         Diversion and         •   Diversion Report                                             Data maintained by        Monthly, Quarterly,
         Outreach                                                                               CONTRACTOR                within 20 days of end of
                                                                                                                          the previous term
                                                                                                Electronic in format to
                                                                                                be Specified by
                                                                                                LASAN

         Fleet Details         •   Provide the CITY with a list of hauling vehicles including                             Prior to the
                                   the make, model year, hauling capacity and fuel type,                                  CONTRACTOR
                                   Operational Fleet and reserve vehicles.                                                NOTIFICATION DATE
                                                                                                                          and Monthly, within 20
                               •   Changes to the fleet will be reported to the CITY on a
                                                                                                                          days of end of the
                                   monthly basis.
                                                                                                                          previous calendar month




              Page 84


                                                                                                                                         Exhibit 8
                                                                                                                                             8-86
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 88 of 221 Page ID #:433




         Required Data                        Associated Elements             Format   Transmittal Frequency


        Injury and Illness   •   Updates tolIPP Plan                                   Within five (5) days
        Prevention           4                                                         whenever any changes
                                 Training Records
        Program Plan                                                                   are made to the IIPP
                                                                                       plan


        10.2 SECURITY
            The CONTRACTOR shall be solely responsible for any security breaches with respect
            to technology created by CONTRACTOR or any SUBCONTRACTOR and public
            accessibility to it. The CONTRACTOR shall be responsible for protecting the
            information of ail CUSTOMERS. The CONTRACTOR and any SUBCONTRACTORS shall
            not sell or transfer CUSTOMER information for any purpose other than fulfilling
            requirements under this AGREEMENT.

           The CONTRACTOR shall be responsible for data validation and verification that any
           access or information provided to a CUSTOMER is within the CUSTOMER'S authority,
           including verification of authority to enter into a service agreement or request any
           services that incur an additional fee, and authority to access information about the
           CUSTOMER.

           The CONTRACTOR shall be responsible for planning contingencies for any digital
           security breach, or emergency that affects the performance of the information
           technology systems required to fulfill all services and reporting described in this
           AGREEMENT.

       10.3 MANAGEMENT                    OF        INFORMATION     SYSTEMS     AND    CONTINGENCY
           PLANNING
          The CONTRACTOR shall be responsible for the successful integration, functionality,
          and security of all technology used in association with this AGREEMENT. The
          CONTRACTOR shall support the successful implementation of all technology required
          to satisfy the provision of services and meet reporting requirements of this
          AGREEMENT, prior to the CONTRACTOR NOTIFICATION DATE, as specified in the
          MASTER TRANSITION SCHEDULE.

         All upgrades, patches, and associated downtime of any software or system
         pertaining to services provided under this AGREEMENT shall be coordinated with,
         and receive pre-approval from the CITY. The CITY shall be notified immediately and
         in writing of any patches or emergency issues that may arise associated with the
         technologies utilized in accordance with this AGREEMENT. Ail planned system
         upgrades, configuration and scheduled maintenance shall be communicated to the
         CITY. The CONTRACTOR shall ensure that their schedule is in alignment with the
         CITY'S scheduling. The CONTRACTOR shall inform CITY in writing of any additional
         scheduled maintenance and updates that may impact the Franchise Program.




         Page 85


                                                                                                      Exhibit 8
                                                                                                          8-87
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 89 of 221 Page ID #:434




               10.3.1 DATA PROTECTION
           The CONTRACTOR shall maintain at least three (3) copies of data; in addition to the
           primary data, the CONTRACTOR shall also maintain at least two (2) more backups
           stored on two (2) different media that are each different from the primary.
           The copies of the data should be stored on at least two (2) different storage types.
           One backup copy shall be stored offsite; the physical separation between the copies
           is necessary to protect from site failures.

         10.4 INFORMATION TECHNOLOGY STAFF SUPPORT AND COLLABORATION
           Information technology collaboration and support will commence with the execution
           of the AGREEMENT, and continue throughout the term of the AGREEMENT and any
           renewal or extension thereof.

           The CONTRACTOR PROJECT MANAGER shall serve as the primary point of contact
           responsible to address any IT issues from the CONTRACTOR'S CRM. These issues
           shall include at a minimum any issues between the CONTRACTOR'S system and the
           CITY'S system, any issues with the function of the interface, or any technical
           interference with the successful delivery of service or reporting. The primary point of
           contact shall be able to address and resolve any IT issue, or provide immediate
           access to the individual qualified and responsible for resolving the issue.




           Page 86


                                                                                           Exhibit 8
                                                                                               8-88
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 90 of 221 Page ID #:435




                 ARTICLE 11: PERFORMANCE STANDARDS

         11.1 PERFORMANCE STANDARDS AND LIQUIDATED DAMAGES
              To achieve a high level of customer service, the CONTRACTOR shall be required to
              meet certain performance standards grouped into the following categories;

             •    Implementation of FRANCHISE SYSTEM
             •    Provision of Services to CUSTOMERS
             •    CONTRACTOR Operations
             •    Segregation and Delivery of Collection Materials
             •    CONTRACTOR Personnel and Property
             •    Diversion Requirements - Landfill Reduction, Recycling and ORGANICS Programs
             •    Payment and Reporting Requirements

             Failure to meet the performance standards, as described throughout this
             AGREEMENT and this Section will result in the CONTRACTOR being assessed the
             associated Liquidated Damages listed in Table 11-1. The assessment and appeal
             processes are defined in Section 11.2.

            The following administrative assessments presented in Table 11-1 shall constitute
            Liquidated Damages, not penalties, for the CONTRACTOR'S failure to provide
            services pursuant to this AGREEMENT. These administrative charges shall be paid by
            the CONTRACTOR within thirty (30) days' written notice from the CITY.

            Due to the complexity of the implementation of the FRANCHISE SYSTEM, the CITY
            shall waive the assessment of Liquidated Damages, with the exception of the
            category of Implementation of FRANCHISE SYSTEM, in the period between the
            CONTRACT EXECUTION and the START OF SERVICE date.

       Table 11-1: Performance Standards and Liquidated Damages
                   Category                Performance Standard and Conditions When                     Administrative Assessment
                                                 Liquidated Damages Will Apply

       Implementation of FRANCHISE   Failure to use reasonable business efforts to service an          $100 per day (including during
       SYSTEM                        Abandoned Account, as stipulated in Section 5                     the TRANSITION PERIOD)

                                     CONTRACTOR abandoning an account, or implementing                 $5,000 per verified occurrence
                                     FRANCHISE service rates prior to CONTRACTOR                       (including during the
                                     NOTIFICATION                                                      TRANSITION PERIOD)

       Provision of Services to      Failure to remove graffiti in accordance with Section 3.20.5.3.   $100 per occurrence
       CUSTOMERS                     (Graffiti)

                                     Failure to deliver CONTAINER(S) to a CUSTOMER within five         $200 per occurrence
                                     (5) business days of the CUSTOMER’S request for service

                                     Failure to repair or replace any bin, cart, CONTAINER, ROLL       $100 per occurrence
                                     OFF, or COMPACTOR (any CONTAINER), in accordance with
                                     Section 3.20,5(Container maintenance) within two (2)
                                     business days of CUSTOMER report, considering availability of
                                     parts or equipment




           Page 87


                                                                                                                                 Exhibit 8
                                                                                                                                     8-89
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 91 of 221 Page ID #:436




                    Category              Performance Standard and Conditions When                       Administrative Assessment
                                                Liquidated Damages Will Apply
         Provision of Services to
                                    Failure to collect a missed collection in accordance with           $100 per occurrence; $200 for
         CUSTOMERS (continued)
                                    Section 3.7, where not arising from or caused by a labor            each day thereafter
                                    dispute.

                                    Repeat missed collections at same CUSTOMER within twelve            $300 per occurrence
                                    (12) months of previous missed collection

                                    Failure to notify a CUSTOMER of improper CONTAINER set              $100 per occurrence
                                    out, obstruction, or other causes for inability to provide a
                                    scheduled collection service within 2 hours

                                    Use of profanity or hate speech by CONTRACTOR staff to              $300 per occurrence, subject to
                                    CUSTOMERS                                                           Section 11.3 below.

                                    Failure to answer 95 percent of all CUSTOMER calls received         $5,000 per month occurred
                                    each month during normal business hours in less than 60
                                    seconds (computed as a monthly average)

                                    Failure to provide service under this AGREEMENT due to Labor The pro rata percentage of CITY
                                    Disputes                                                     estimated daily GROSS
                                                                                                 RECEIPTS under this
                                                                                                 AGREEMENT per day of service
                                                                                                 interruption, based on the
                                                                                                 number of customers not
                                                                                                 serviced, by either the
                                                                                                 CONTRACTOR, its contigency
                                                                                                 team or the CITY, compared
                                                                                                 with the total number of
                                     ■                               .                           customers normally serviced.

         CONTRACTOR Operations      Collect, remove or transport SOLID RESOURCES from any               $500 per verified occurrence
                                    CITY serviced customers

                                    Collect, remove or transport SOLID RESOURCES from any               $500 per verified occurrence,
                                    other FRANCHISE hauler serviced customers                           subject to Section 11.3 below.

                                    Undertake collection operations outside of allowable hours of       $300 per verified complaint
                                    collection

                                    Make changes to routes or route days affecting 5 percent or         $100 per CUSTOMER per day,
                                    more of the CONTRACTOR'S CUSTOMERS without at least 7               subject to Section 11.3 below.
                                    business days' notice to CUSTOMERS             .

                                    Failure to properly cover material in collection or hauling         $300 per occurrence
                                    vehicles

                                    Failure to correct, upon notification by the CITY, leakage of       $100 per occurrence
                                    fluids from a collection or hauling vehicle prior to resuming
                                    use of the vehicle in the CITY

                                    Failure to dean up spillage or litter occurring during collection   $100 per occurrence
                                    at time of collection

                                    Failure to have a vehicle properly licensed, registered and         $100 per vehicle
                                    inspected

                                    Exceeding vehicle weight limits as set forth in the State of        $1,000 per vehicle per
                                    California Vehicle Code                                             occurrence, subject to Section
                                                                                                        11.3 below.

                                    Failure to clean collection and hauling vehicles once per week, $100 per occurrence
                                    or within 1 business day of request from the CITY

                                    Failure to report known vehicle accidents to the CITY, in           $100 per day not notified
                                    accordance with 3.17.2




             Page 88

                                                                                                                                Exhibit 8
                                                                                                                                    8-90
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 92 of 221 Page ID #:437




                   Category                   Performance Standard and Conditions When                     Administrative Assessment
                                                    Liquidated Damages Wifi Apply

                                       Failure to maintain property, facilities and equipment in a        $100 per day, subject to Section
                                       clean, safe and sanitary manner, as determined by the CITY         11.3 beiow.

        Segregation and Delivery of    Commingling of SOLID WASTE, COMMINGLED RECYCLABLES                 $1,000 per occurrence
        Collection Materials           and/or ORGANICS material segregated by the CUSTOMER in
                                       the same truck

                                       Failure to deliver collected SOLID RESOURCES to a CITY            $1,000 per occurrence
                                       CERTIFIED FACILITY

        CONTRACTOR Personnel and      Failure to have a properly licensed vehicle driver operating a     $300 per occurrence per day
        Property                      vehicle

                                      Failure to provide any required training for vehicle operators,    $1,000 per occurrence
                                      including safety training and training related to the operation
                                      of equipment, as required by Federal and State laws

                                      Failure to repair damage to a CUSTOMER'S property or other         $500 per occurrence, subject to
                                      private property, caused by or resulting from the actions of       Section 11.3 beiow.
                                      the CONTRACTOR'S personnel in accordance with 3,10

        Diversion Requirements        Failure to meet Disposal Reduction requirements per Article 5:     See Section 5.10

       Payment and Reporting          Failure to remit fees to the CITY in accordance with Section 7     $5,000 per occurrence in
       Requirements                   (Rates and Fees)                                                   addition to delinquent Franchise
                                                                                                         Fees subject to Section 7.6.

                                      Failure to submit reports to the CITY on time                      $50 per day per report.

                                      Willful submission to the CITY of inaccurate reports or data,      $10,000 per occurrence
                                      including but not limited to diversion reports and data, service
                                      level information and financial information




       11.2 PROCEDURE FOR ASSESSING AND APPEALING LIQUIDATED DAMAGES
           Based upon the CITY'S review of the CONTRACTOR'S compliance with the terms of
           this AGREEMENT, the CITY PROJECT MANAGER shall determine whether Liquidated
           Damages will be assessed. In assessing Liquidated Damages, the CITY shall provide
           written notice to the CONTRACTOR, indicating the CITY'S assessment of Liquidated
           Damages. The CONTRACTOR shall remit to the CITY assessed Liquidated Damages
           within thirty (30) days of when CONTRACTOR was notified.

          Where a CONTRACTOR is issued an assessment of Liquidated Damages, in
          accordance with this AGREEMENT, and the CONTRACTOR believes that the
          assessment was issued in error or that the Liquidated Damages assessed were
          excessive, the CONTRACTOR may appeal the assessment to the LASAN DIRECTOR,
          by filing a written appeal, within thirty (30) days of when the CONTRACTOR was
          notified. Upon review of the appeal the LASAN DIRECTOR will notify the
          CONTRACTOR of an appeal determination based on the information provided.

          Any determination for an appeal of $1,000 or less by the LASAN DIRECTOR shall be
          final.




          Page 89


                                                                                                                                   Exhibit 8
                                                                                                                                       8-91
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 93 of 221 Page ID #:438




            If the CITY does not receive the written appeal to the LASAN DIRECTOR within
            thirty (30) days of when LASAN notified the CONTRACTOR of the assessment of
            Liquidated Damages, the assessment shall be deemed final and no further
            administrative relief can be obtained.

            If the CONTRACTOR timely files a written request for an appeal pursuant to this
            Section, the time in which the Liquidated Damages that are the subject of the
            request are due shall be stayed pending the determination of the LASAN DIRECTOR.

            The CONTRACTOR may further appeal the determination of the LASAN DIRECTOR
            (if greater than $1,000) by filing, within thirty (30) days of when LASAN notified the
            CONTRACTOR of the assessment appeal determination by the LASAN DIRECTOR, a
            written request for a hearing before the BOARD.

            If the BOARD does not receive the written request for a hearing within thirty (30)
            days of when LASAN notified the CONTRACTOR of the assessment appeal
            determination, the assessment shall be deemed final and no further administrative
            relief can be obtained.

            If the CONTRACTOR timely files a written request for a hearing pursuant to this
            Section, the time in which the Liquidated Damages that are the subject of the
            request are due shall be stayed pending a hearing before the BOARD,

            After receipt of a written request for a hearing filed pursuant to and in compliance
            with this Section, the BOARD will set the matter on one of its regular agendas as
            soon thereafter the BOARD deems practical. At the BOARD hearing, the BOARD shall
            hear the testimony of the CONTRACTOR if in attendance, LASAN staff, and other
            testimony it deems relevant. Upon conclusion of the hearing, the BOARD shall issue
            its decision, which may be verbal or written. In its discretion, the BOARD may affirm
            the Liquidated Damages, decrease it, or cancel it. If the BOARD affirms or decreases
            the assessment, the amount affirmed or the decreased amount shall be due thirty
            (30) days after issuance of the BOARD'S decision, unless the BOARD orders
            otherwise. Once the BOARD issues a decision, the matter is final and no further
            administrative relief is provided by the CITY.

         11.3 NOTICE AND OPPORTUNITY TO CURE
         Prior to any assessment of Liquidated Damages for those performance standards and
         LIQUIDATED DAMAGES specifically identified in Table 11-1, CITY shall notify
         CONTRACTOR of the potential for Liquidated Damages, and CONTRACTOR shall have
         ten (10) days to resolve or cure the alleged deficiency. If the issue or matter is resolved
         within 10 days to the CITY PROJECT MANAGER'S satisfaction, no Liquidated Damages
         shall be issued.




            Page 90

                                                                                             Exhibit 8
                                                                                                 8-92
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 94 of 221 Page ID #:439




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                                                                      Exhibit 8
                                                                          8-93
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 95 of 221 Page ID #:440




            ARTICLE 12: KEY CONTRACTOR PERSONNEL
         12.1 CONTRACTOR designates the following person to represent CONTRACTOR in ail
            matters pertaining to this AGREEMENT:

               •   JackTopalian, Genera! Manager
               •   1100 S. Maple Ave., Montebello, CA 90640
               •   TEL: (888) 888-0388/FAX: (888) 888-0398 /Email: Jack@NASAServices.com

           Additional technical specialists shall be assigned subject to the CITY PROJECT
           MANAGER'S written approval.

         12.2 CONTRACTOR agrees that the CONTRACTOR PROJECT MANAGER assigned at
            the commencement of services under this AGREEMENT shall serve in this position as
            long as required by the CONTRACT, and CONTRACTOR shall not change the
            CONTRACTOR PROJECT MANAGER without the prior written consent and approval of
            CITY'S PROJECT MANAGER or designee, whose consent shall not be withheld
            unreasonably. The CONTRACTOR PROJECT MANAGER or designee, noted above
            shall be directly accessible 24 hours per day 7 days a week.

         12.3 Unless otherwise provided or approved by the CITY, CONTRACTOR shall use its
            own employees to perform the services described in this CONTRACT. CONTRACTOR
            agrees to remove personnel from performing work under this CONTRACT if
            requested to do so by the CITY in writing within thirty (30) business days of the
            request by the CITY.

         12.4 CONTRACTOR shall not use subcontractors to assist in performance of this
            CONTRACT without the prior written approval of the CITY. If the CITY permits the
            use of subcontractors, CONTRACTOR shall remain responsible for performing all
            aspects of this CONTRACT. The CITY has the right to approve CONTRACTOR'S
            SUBCONTRACTORS, and the CITY reserves the right to request replacement of
            subcontractors. The CITY does not have any obligation to pay CONTRACTOR'S
            SUBCONTRACTORS, and nothing herein creates any privity of contract between the
            CITY and the subcontractors. The use of SUBCONTRACTORS shall be subject to
            written approval of the CITY, pursuant to the provisions of Article 16.




            Page 92


                                                                                       Exhibit 8
                                                                                           8-94
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 96 of 221 Page ID #:441




           ARTICLE 13: RESPONSIBILITIES OF AND TASKS TO BE PERFORMED BY
             CITY
          CITY designates Daniel K. Meyers, Solid Resources Commercial Franchise Division
          (SRCFD) Division Manager, as its CITY PROJECT MANAGER to represent the CITY in
          all matters within the scope of the AGREEMENT relating to the conduct and approval
          of the work to be performed. Whenever the term "approval of CITY," "consult with
          CITY," "confer with CITY," or similar terms are used, they shall refer to the CITY
          PROJECT MANAGER. The CITY PROJECT MANAGER may designate an assistant to
          act in his/her stead. The CITY may designate another CITY employee to succeed
          Daniel K. Meyers as CITY PROJECT MANAGER. The CONTRACTOR will be notified in
          writing in such event.




        Page 93


                                                                                       Exhibit 8
                                                                                           8-95
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 97 of 221 Page ID #:442




            ARTICLE 14: TERM OF AGREEMENT AND TIME OF EFFECTIVENESS
           The term of this AGREEMENT shall be for ten (10) years with two (2) renewal
           options at five (5) years each to be exercised at the CITY'S sole discretion, from the
           date of full execution unless terminated as provided under Article 15 or extended by
           duly approved amendment to this AGREEMENT and signed by the parties. In
           addition to the two (2) renewal options at five (5) years each, the CITY may elect to
           extend the AGREEMENT on a month-to-month basis for a maximum of six (6)
           months, during which period the CITY and the CONTRACTOR shall continue
           performance under the terms of this AGREEMENT. The CITY may extend the
           AGREEMENT on month-to-month basis prior to the end of either the initial ten (10)
           year term if the CITY elects not to renew, or the end of the five (5) year terms if the
           CITY elected to renew, by providing the CONTRACTOR a written notice at least 90
           days prior to expiration of the AGREEMENT. During the period of extension, the
           CITY may increase the expenditure amount for services performed by the
           CONTRACTOR by a maximum of five (5%) percent of the total contract cost. During
           such period of month-to-month operation, if either party decides to terminate the
           relationship, the CONTRACTOR shall be obligated to continue performance for at
           least sixty (60) days after written notice from the terminating party.

           The date of CONTRACT EXECUTION is deemed to be the date when all the following
           events have occurred:

           •    This AGREEMENT has been signed on behalf of CONTRACTOR by the person or
                persons authorized to bind CONTRACTOR hereto;
            •   This AGREEMENT has been approved by the CITY COUNCIL or by the BOARD,
                officer or employee authorized to give such approval;
            •   The Office of the City Attorney has indicated in writing its approval of this
                AGREEMENT as to form; and
            •   This AGREEMENT has been signed on behalf of the CITY by the person
                designated by the CITY COUNCIL, or by the BOARD, officer or employee
                authorized to enter into this AGREEMENT.




           Page 94


                                                                                           Exhibit 8
                                                                                               8-96
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 98 of 221 Page ID #:443




            ARTICLE 15: TERMINATION
        15.1 This AGREEMENT may be terminated in whole or in part in writing by either
            party in the event of substantial failure by the other party to fulfill its obligations
           under this AGREEMENT through no fault of the terminating party, provided that no
           termination may be effected unless the other party is given (1) not less than sixty
           (60) calendar days' written notice (delivered by certified mail, return receipt
           requested) of intent to terminate, and (2) an opportunity for consultation with the
           terminating party prior to termination.

          The opportunity for consultation will include an opportunity to cure the events
          leading to any substantial failure within thirty (30) calendar days of the terminating
          party's written notice. If additional time is needed to effect a cure, such time may be
          requested in writing from the terminating party subject to the terminating party's
          approval, which will not be unreasonably withheld.

       15.2 This AGREEMENT may be immediately terminated in writing by the CITY if (1) a
          federal or state proceeding for relief of debtors is undertaken by or against
          CONTRACTOR, or if CONTRACTOR makes an assignment for the benefit of creditors
          or (2) CONTRACTOR engages in any dishonest conduct related to the performance
          or administration of this AGREEMENT or (3) CONTRACTOR violates the CITY'S
          lobbying policies or (4) CONTRACTOR default.

          If termination for default is effected by the CITY, an equitable adjustment in the
          price provided for in this AGREEMENT shall be made, but (1) no amount shall be
          allowed for anticipated profit on unperformed services or other work, and (2) any
          payment due the CONTRACTOR at the time of termination may be adjusted to cover
          any additional costs to the CITY because of the CONTRACTOR'S default.

       15.3 Upon receipt of a termination action under Section 15.1 above, the
           CONTRACTOR shall (1) promptly discontinue all affected work (unless the notice
           directs otherwise), and (2) deliver, license or sublicense, or otherwise make
           available to the CITY within thirty (30) business days of said termination action all
          finished or unfinished documents and materials produced or procured under this
          Contract, and as consistent with Article 18, which shall become CITY property upon
          date of such termination in accordance with reasonable terms and conditions,
          including measures required to protect CONTRACTOR with respect to any of its
          licensors.. CONTRACTOR agrees to execute any documents necessary for the CITY
          to perfect, memorialize, or record the CITY'S ownership of rights provided herein
          within thirty (30) business days of said termination.

         In the event of termination for substantial failure in performance of this
         AGREEMENT (Section 15.1) or for default (Section 15.2) by the CONTRACTOR all
         CONTAINERS serviced under this AGREEMENT shall remain in place as requested by
         the CITY for at least ninety (90) days , subject to making acceptable arrangements




         Page 95


                                                                                             Exhibit 8
                                                                                                 8-97
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 99 of 221 Page ID #:444




            for the purchase or rental of CONTRACTOR'S CONTAINERS in accordance with
            Section 8.7.

         15.4 Upon termination under Section 15.1 or 15.2 above, the CITY may take over the
            work and may award another party an AGREEMENT to complete the work under this
            AGREEMENT.

         15.5 The rights and remedies of the CITY provided in this section shall not be
            exclusive and are in addition to any other rights and remedies provided by law or
            under this AGREEMENT.




           Page 96


                                                                                       Exhibit 8
                                                                                           8-98
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 100 of 221 Page ID
                                   #:445




         ARTICLE 16: SUBCONTRACT APPROVAL
        All subcontracts shall require the prior approval of the CITY. A copy of all
         subcontracts shall be submitted to the CITY PROJECT MANAGER showing the
        SUBCONTRACTOR'S name and dollar amount of each subcontract. Wholly-owned
        subsidiaries of the CONTRACTOR shall not be considered subcontractors.
        CONTRACTOR shall not substitute subcontractors listed in this AGREEMENT without
        the prior written approval of the CITY. CONTRACTOR shall not add subcontractors
        to assist in the performance of this AGREEMENT without the prior written approval
        of the CITY. If the CITY permits the use of subcontractors, CONTRACTOR shall
        remain responsible for performing all aspects of this CONTRACT. The CITY has the
        right to approve CONTRACTOR'S SUBCONTRACTORS, and the CITY reserves the
        right to request replacement of SUBCONTRACTORS. The CITY does not have any
        obligation to pay CONTRACTOR'S SUBCONTRACTORS, and nothing herein creates
        any privity of contract between the CITY and the SUBCONTRACTORS.




       Page 97


                                                                                    Exhibit 8
                                                                                        8-99
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 101 of 221 Page ID
                                   #:446




          ARTICLE 17: AMENDMENTS, CHANGES, OR MODIFICATIONS
         Amendments, changes or modifications in the terms of this AGREEMENT may be
         made at any time by mutual written AGREEMENT between the parties hereto and
         shall be signed by the persons authorized to bind the parties thereto.




         Page 98


                                                                              Exhibit 8
                                                                                 8-100
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 102 of 221 Page ID
                                   #:447




         ARTICLE 18: INDEMNIFICATION AND INSURANCE

      18.1 INDEMNIFICATION
          Except for the active negligence or willful misconduct of CITY, or any of its Boards,
         Officers, Agents, Employees, Assigns and Successors in Interest, CONTRACTOR
         undertakes and agrees to defend, indemnify and hold harmless CITY and any of its
         Boards, Officers, Agents, Employees, Assigns and Successors in Interest from and
         against all suits and causes of action, claims, losses, demands and expenses,
         including, but not limited to, attorney's fees (both in house and outside counsel) and
         cost of litigation (including all actual litigation costs incurred by the CITY, including
         but not limited to, costs of experts and consultants), damage or liability of any
        nature whatsoever, for death or injury to any person, including CONTRACTOR'S
        employees and agents or damage or destruction of any property of either party
        hereto or of third parties, arising in any manner by reason to the extent of the
        negligent acts, errors, omissions or willful misconduct incident to the performance of
        this AGREEMENT by the CONTRACTOR or its SUBCONTRACTORS of any tier. Rights
        and remedies available to the CITY under this provision are cumulative of those
        provided for elsewhere in this AGREEMENT and those allowed under the laws of the
        United States, the State of California, and the CITY. The provisions of this paragraph
        shall survive expiration or termination of this AGREEMENT.

     18.2 INSURANCE
        During the term of this CONTRACT and without limiting the CONTRACTOR'S
        indemnification of the CITY, the CONTRACTOR shall provide and maintain at its own
        expense during the term of this CONTRACT a program of insurance having the
        coverage and limits customarily carried and actually arranged by CONTRACTOR but
        not less than the amounts and types listed on the Insurance Requirements Sheet
       (Form Gen 146/IR), in EXHIBIT C hereto, covering its operations hereunder. Such
       insurance shall conform to CITY requirements as established by Charter, ordinance,
       or policy and shall comply with the instructions set forth, in EXHIBIT C, and which
       can     also    be    found    at  the    Board    of    Public   Work's    website:
       http://bpw.lacity.org/InsuranceForms.html, in the form Instructions and Information
       on Complying with CITY Insurance Requirements, rev 05/12, and shall otherwise be
       in a form acceptable to the City Administrative Officer, Risk Management. The
       CONTRACTOR shall comply with all insurance Contractual Requirements shown on
       EXHIBIT C hereto. EXHIBIT C is hereby incorporated by reference and made a part
       of this CONTRACT.

    18.3 BONDS
       All bonds which may be required hereunder shall conform to CITY requirements
       established by Charter, ordinance or policy, and shall be filed with the Office of the
       City Administrative Officer, Risk Management for its review and acceptance in




       Page 99


                                                                                            Exhibit 8
                                                                                               8-101
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 103 of 221 Page ID
                                   #:448




         accordance with Sections 11.47 through 11.56 of the Los Angeles Administrative
         Code.

         CONTRACTOR shall submit proof of a Performance Bond Letter or a letter stating
         that the CONTRACTOR has a performance bond. The bond shall be of a value of
         $1,125,000.

         CONTRACTOR is acting hereunder as an independent contractor and not as an
         agent or employee of the CITY. CONTRACTOR shall not represent or otherwise hold
         out itself or any of its Directors, officers, partners, employees, or agents to be an
         agent or employee of the CITY. CITY shall not represent or otherwise hold itself out
         or any of its Directors, officers, partners, employees or agents to be an agent or
         employee of CONTRACTOR.




         Page 100


                                                                                       Exhibit 8
                                                                                          8-102
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 104 of 221 Page ID
                                   #:449




          ARTICLE 19: WARRANTY AND RESPONSIBILITY OF CONTRACTOR
      19.1 CONTRACTOR warrants that the work performed hereunder shall be completed
         in a manner consistent with professional standards practiced among those firms
         within CONTRACTOR'S profession, doing the same or similar work under the same
         or similar circumstances.

     19.2 CONTRACTOR shall be responsible for the professional quality, technical
        accuracy, timely completion, and the coordination of all designs, drawings,
        specifications, reports, and other services furnished by CONTRACTOR under this
        AGREEMENT. CONTRACTOR shall, at no additional cost to CITY, correct or revise
        any errors, omissions, or other deficiencies in its designs, drawings, specifications,
        reports, calculations, and other services.

     19.3 CONTRACTOR shall exhibit proper professional judgment in the use of
        information furnished by CITY in Article 13, In the event that said information is not
        delivered timely or that it is discovered to be incorrect or misleading, CONTRACTOR
        will notify the CITY in a reasonable manner within three (3) business days after the
        discovery of such tardiness or incorrect or misleading information and promptly
        make a determination of its costs and schedule impact on this AGREEMENT, as well
        as recommendations for the correction of such incorrect or misleading information.

     19.4 CONTRACTOR shall perform such professional services as may be necessary to
        accomplish the work required to be performed under this AGREEMENT in
        accordance with this AGREEMENT.

     19.5 Except as specified in Article 18: and as otherwise provided in this AGREEMENT,
        the CONTRACTOR shall be and shall remain liable, in accordance with applicable
        law, for all damages to CITY caused by CONTRACTOR'S negligent performance of
        any of the services furnished under this AGREEMENT, except for errors, omissions,
        or other deficiencies to the extent attributable to CITY, CITY-furnished data, or any
        third party (excepting any CONTRACTOR or SUBCONTRACTOR of any tier).




       Page 101


                                                                                         Exhibit 8
                                                                                            8-103
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 105 of 221 Page ID
                                   #:450




          ARTICLE 20; INTELLECTUAL PROPERTY INDEMNIFICATION
         The CONTRACTOR, at its own expense, undertakes and agrees to defend,
         indemnify, and hold harmless the CITY, and any of its Boards, Officers, Agents,
         Employees, Assigns, and Successors in Interest from and against all suits and
         causes of action, claims, losses, demands and expenses, including, but not limited
         to, reasonable attorney's fees (both in house and outside counsel but only in the
         event that CONTRACTOR refuses CITY'S tender) and cost of litigation (including all
         actual litigation costs incurred by the CITY, including but not limited to, costs of
         experts and consultants), damages or liability of any nature whatsoever arising out
         of the infringement, actual or alleged, direct or contributory, of any intellectual
         property rights, including, without limitation, patent, copyright, trademark, trade
         secret, right of publicity and proprietary information right (1) on or in any design,
         medium, matter, article, process, method, application, equipment, device,
         instrumentation, software, hardware, or firmware developed, used, or provided by
         CONTRACTOR, or its SUBCONTRACTORS of any tier, in performing the work under
         this CONTRACT; or (2) as a result of the CITY'S actual use of any Work Product
         furnished by CONTRACTOR, or its SUBCONTRACTORS of any tier, under the
         AGREEMENT; provided, however, losses, damages and liabilities shall not include
         special, indirect consequential, or punitive damages, except to the extent actually
         awarded to a third party by a court of competent jurisdiction or as a result of formal
         or informal dispute resolution. Rights and remedies available to the CITY under this
         provision are cumulative of those provided for elsewhere in this CONTRACT and
         those allowed under the laws of the United States, the State of California, and the
         CITY. The provisions of this article shall survive expiration or termination of this
         CONTRACT.




         Page 102


                                                                                        Exhibit 8
                                                                                           8-104
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 106 of 221 Page ID
                                   #:451




         ARTICLE 21: INTELLECTUAL PROPERTY WARRANTY
        The CONTRACTOR represents and warrants that its performance of all obligations
        under this CONTRACT using technology, designs, processes and other materials
        developed by CONTRACTOR or any SUBCONTRACTOR does not infringe in any way,
        directly or contributorily, upon any third party's intellectual property rights,
        including, without limitation, patents, copyrights, trademarks, trade secrets, right of
        publicity and proprietary information.




       Page 103


                                                                                         Exhibit 8
                                                                                            8-105
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 107 of 221 Page ID
                                   #:452




          ARTICLE 22: OWNERSHIP AND LICENSE
         Unless otherwise provided for herein, all Work Products originated and prepared by
         CONTRACTOR or its SUBCONTRACTORS of any tier under this CONTRACT at the
         express request of and delivered to the CITY shall be and remain the exclusive
         property of the CITY for its use in any manner it deems appropriate. Work Products
         are all works, tangible or not, created under this CONTRACT including, without
         limitation, documents, material, data, reports, manuals, specifications, artwork,
         drawings, sketches, computer programs and databases, schematics, photographs,
         video and audiovisual recordings, sound recordings, marks, logos, graphic designs,
         notes, websites, domain names, inventions, processes, formulas matters and
         combinations thereof, and all forms of intellectual property. CONTRACTOR hereby
         assigns, and agrees to assign, all goodwill, copyright, trademark, patent, trade
         secret and ail other intellectual property rights worldwide in any Work Products
         originated and prepared by CONTRACTOR under this CONTRACT at the express
         request of the CITY. CONTRACTOR further agrees to execute any documents
         necessary for the CITY to perfect, memorialize, or record the CITY'S ownership of
         rights provided herein.

         CONTRACTOR grants no rights to any trademark, service mark, trade name, logo,
         business name or goodwill of CONTRACTOR (collectively, "CONTRACTOR Marks")
         except as licensed hereunder. CONTRACTOR will be, and shall at all times remain,
         the exclusive owner of the CONTRACTOR Marks.           Additionally, the CITY
         acknowledges that, in the course of CONTRACTOR'S provision of services
         hereunder, CONTRACTOR may use computer software and related processes, tools,
         instructions, methods, and techniques that have been previously developed by
         CONTRACTOR, and that the same shall remain the sole and exclusive property of
         CONTRACTOR.

         Unless otherwise provided for herein, all intellectual property originated and
         prepared by CONTRACTOR or its SUBCONTRACTORS of any tier under the
         CONTRACT shall be and remain the exclusive property of the CONTRACTOR or its
         SUBCONTRACTORS.

         For all Work Products delivered to the CITY that originated or is prepared, or
         improved upon by CONTRACTOR or its SUBCONTRACTORS of any tier under this
         CONTRACT and not at the express request of CITY, CONTRACTOR hereby grants a
         non-exclusive perpetual, irrevocable, royalty-free, paid-up license to use such Work
         Products for any CITY purposes. CONTRACTOR shall not provide or disclose any
         Work Product originated and prepared under this CONTRACT at the express request
         of CITY to any third party without prior written consent of the CITY.

         Any subcontract entered into by CONTRACTOR relating to this CONTRACT, to the
         extent allowed hereunder, shall to the extent necessary include a like provision for
         work to be performed under this CONTRACT to contractually bind or otherwise




         Page 104


                                                                                      Exhibit 8
                                                                                         8-106
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 108 of 221 Page ID
                                   #:453




        oblige its SUBCONTRACTORS performing work under this CONTRACT such that the
        CITY'S ownership and license rights of all Work Products are preserved and
        protected as intended herein. Failure of CONTRACTOR to comply with this
        requirement or to obtain the compliance of its SUBCONTRACTORS with such
        obligations shall subject CONTRACTOR to the imposition of any and all sanctions
        allowed by law, including but not limited to termination of CONTRACTOR'S
        CONTRACT with the CITY.




       Page 105


                                                                                  Exhibit 8
                                                                                     8-107
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 109 of 221 Page ID
                                   #:454




          ARTICLE 23: SUCCESSORS AND ASSIGNS
         All of the terms, conditions, and provisions hereof shall inure to the benefit of and
         be binding upon the parties hereto and their respective successors and assigns
         provided, however, that no assignment of the AGREEMENT shall be made without
         written consent of the parties to this AGREEMENT as required under Article 32.

         The CITY must authorize any changes in the ownership of this AGREEMENT,
         including the acquisition of the CONTRACTOR'S organization, or sale of this
         AGREEMENT shall be done solely with the approval of the CITY.




         Page 106


                                                                                       Exhibit 8
                                                                                          8-108
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 110 of 221 Page ID
                                   #:455




         ARTICLE 24: CONTACT PERSONS - PROPER ADDRESSES -
           NOTIFICATION___________ ;_______________________________________
        All notices shall be made in writing and may be given by personal delivery, regular
        mail, facsimile transmission or electronic mail. Notices sent by regular mail should be
        registered or certified and sent to the designated contact person for each party and
        addressed as follows:

        To The CITY:

        Contact Person: Daniel Meyers

        Address: 1149 S Broadway, 5th Floor, Los Angeles, CA 90015

       Telephone: (213) 485-3774       Facsimile: (213) 485-3774

        Email: daniel.meyers@lacity.org

       To CONTRACTOR:

       Contact Person: Tomas Ochoa

       Address: 1100 S. Maple Ave., Montebello, CA 90640

       Telephone: (213) 840-0002; (562) 254-0287           Facsimile: 888) 888-0398

       Email;Tomas@nasaservices.com

       Secondary Contact: Jack Topalian

       Address: 1100 S. Maple Ave., Montebello, CA 90640

       Telephone: (888) 888-0388; (213) 305-0999           Facsimile: (888) 888-0398

       Email: Jack@nasaservices.com




      Page 107


                                                                                         Exhibit 8
                                                                                            8-109
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 111 of 221 Page ID
                                   #:456




          ARTICLE 25: FORCE MAJEURE
         In the event that performance on the part of any party hereto is delayed or
         suspended as a result of circumstances beyond the reasonable control and without
         the fault and negligence of said party, none of the parties shall incur any liability to
         the other parties as a result of such delay or suspension. Circumstances deemed to
         be beyond the control of the parties hereunder include, but are not limited to, acts
         of God or of the public enemy; insurrection; acts of the Federal Government or any
         unit of State or Local Government in either sovereign or contractual capacity; fires;
         floods; earthquakes; epidemics; quarantine restrictions; strikes; freight embargoes
         or delays in transportation, to the extent that they are not caused by the party's
         willful or negligent acts or omissions, and to the extent that they are beyond the
         party's reasonable control.




         Page 108


                                                                                          Exhibit 8
                                                                                             8-110
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 112 of 221 Page ID
                                   #:457




         ARTICLE 26: SEVERABILITY
        Should any portion of this AGREEMENT be determined to be void or unenforceable,
        such shall be severed from the whole and the AGREEMENT will continue as
        modified.




      Page 109


                                                                                  Exhibit 8
                                                                                     8-111
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 113 of 221 Page ID
                                   #:458




          ARTICLE 27: DISPUTES
         Should a dispute or controversy arise concerning provisions of this AGREEMENT or
         the performance of work hereunder, the parties may elect to submit such to a court
         of competent jurisdiction.




         Page HO


                                                                                     Exhibit 8
                                                                                        8-112
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 114 of 221 Page ID
                                   #:459




         ARTICLE 28; ENTIRE AGREEMENT
        This AGREEMENT contains all of the agreements, representations, and
        understandings of the parties hereto and supersedes and/or incorporates any
        previous understandings, proposals, commitments, or agreements, whether oral or
        written, and may be modified or amended only as herein provided.




       Page 111


                                                                                 Exhibit 8
                                                                                    8-113
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 115 of 221 Page ID
                                   #:460




          ARTICLE 29: APPLICABLE LAW, INTERPRETATION, AND ENFORCEMENT
         Each party's performance hereunder shall comply with all applicable laws of the
         United States of America, the State of California, and the CITY including but not
         limited to laws regarding health and safety, labor and employment, wage and hours
         and licensing laws which affect employees. This AGREEMENT and its performance
         shall be enforced and interpreted under the laws of the State of California. All
         causes of action arising directly or indirectly from the business relationship
         evidenced by this AGREEMENT must be filed in the appropriate state or federal court
          located in Los Angeles County, California, and each party agrees to be subject to the
         jurisdiction of the State of California regardless of their residence. CONTRACTOR
         shall comply with new, amended, or revised laws, regulations, and/or procedures
         that apply to the performance of this AGREEMENT.

         If any part, term or provision of this AGREEMENT is held void, illegal, unenforceable,
         or in conflict with any law of a federal, state, or local government having jurisdiction
         over this AGREEMENT, the validity of the remaining parts, terms or provisions of the
         AGREEMENT shall not be affected thereby.




         Page 112


                                                                                          Exhibit 8
                                                                                             8-114
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 116 of 221 Page ID
                                   #:461




         ARTICLE 30: CURRENT LOS ANGELES CITY BUSINESS TAX
           REGISTRATION CERTIFICATE REQUIRED___________________________
         If applicable, CONTRACTOR represents that it has obtained and presently holds the
         Business Tax Registration Certification(s) required by the CITY'S Business Tax
        Ordinance, section 21.00 et seq. of the Los Angeles Municipal Code. For the term
        covered by this AGREEMENT, the CONTRACTOR shall maintain, or obtain as
        necessary, all such Certificates required of it under Business Tax Ordinance and shall
        not allow any such Certificate to be revoked or suspended. Should any such
        certificate(s) become suspended or revoked, it is the CONTRACTOR'S responsibility
        to report the matter immediately to the CITY PROJECT MANAGER.




      Page 113


                                                                                        Exhibit 8
                                                                                           8-115
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 117 of 221 Page ID
                                   #:462




          ARTICLE 31: WAIVER
         A waiver of a default of any part, term or provision of this AGREEMENT shall not be
         construed as a waiver of any succeeding default or as a waiver of the part, term or
         provision itself, A party's performance after the other party's default shall not be
         construed as a waiver of that default.




         Page 114


                                                                                      Exhibit 8
                                                                                         8-116
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 118 of 221 Page ID
                                   #:463




        ARTICLE 32: PROHIBITION AGAINST ASSIGNMENT OR DELEGATION
        The CONTRACTOR may not, unless it has first obtained the written permission of the
        CITY:

           a. Assign or otherwise alienate any of its rights hereunder this AGREEMENT,
              including the right of payment; or
           b. Delegate, subcontract, or otherwise transfer any of its duties hereunder.




      Page 115


                                                                                     Exhibit 8
                                                                                        8-117
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 119 of 221 Page ID
                                   #:464




          ARTICLE 33: PERMITS
         The CONTRACTOR and its directors, officers, partners, agents, employees, and
         SUBCONTRACTORS, to the extent allowed hereunder, shall obtain and maintain all
         permits, licenses, certifications, and other documents necessary for the
         CONTRACTOR'S performance of the services hereunder and shall pay any fees
         required therefore. CONTRACTOR certifies to immediately notify within two (2)
         business days, the CITY of any suspension, termination, lapses, non-renewals, or
         restrictions of licenses, permits, certificates, or other documents.




         Page 116


                                                                                   Exhibit 8
                                                                                      8-118
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 120 of 221 Page ID
                                   #:465




         ARTICLE 34: DISCOUNTS
        CONTRACTOR agrees to offer the CITY any discount terms that are offered to any
        non-affiliate customer for the goods and services to be provided hereunder and
        apply such discounts to payments made by the CITY TO CONTRACTOR under this
        AGREEMENT which meet the discount terms.




                                                                                 Exhibit 8
                                                                                    8-119
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 121 of 221 Page ID
                                   #:466




          ARTICLE 35: CLAIMS FOR LABOR AND MATERIALS
         The CONTRACTOR shall promptly pay when due all amounts payable for labor and
         materials furnished in the performance of this AGREEMENT, so as to prevent any
         lien or other claim under any provision of law from arising against any CITY property
         (including reports, documents, and other tangible or intangible matter produced by
         the CONTRACTOR hereunder), against the CONTRACTOR'S rights to payments
         hereunder, or against the CITY, and shall pay all amounts due under the
         Unemployment Insurance Act with respect to such labor.




         Page 118


                                                                                       Exhibit 8
                                                                                          8-120
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 122 of 221 Page ID
                                   #:467




         ARTICLE 36: BREACH
         Except for Force Majeure, if any party fails to perform, in whole or in part, any
        promise, covenant, or agreement set forth herein, or should any representation
        made by it be untrue, any aggrieved party may avail itself of all rights and remedies,
        at law or equity, in the courts of law. Said rights and remedies are cumulative of
        those provided for herein except that in no event shall any party recover more than
        once, suffer a penalty or forfeiture, or be unjustly compensated.




       Page 119


                                                                                        Exhibit 8
                                                                                           8-121
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 123 of 221 Page ID
                                   #:468




          ARTICLE 37: NON-DISCRIMINATION________________________________
         Unless otherwise exempt, this CONTRACT is subject to the non-discrimination
         provisions in Sections 10.8 through 10,8.2 of the Los Angeles Administrative Code,
         as amended from time to time. The CONTRACTOR shall comply with the applicable
         non-discrimination and affirmative action provisions of the laws of the United States
         of America, the State of California, and the CITY. In performing this CONTRACT,
         CONTRACTOR shall not discriminate in its employment practices against any
         employee or applicant for employment because of such person’s race, color, religion,
         national origin, ancestry, sex, sexual orientation, age, disability, domestic partner
         status, marital status or medical condition. Any subcontract entered into by
         CONTRACTOR, to the extent allowed hereunder, shall include a like provision for
         work to be performed under this CONTRACT.

         Failure of CONTRACTOR to comply with this requirement or to obtain the
         compliance of its SUBCONTRACTORS with such obligations shall subject
         CONTRACTOR to the imposition of any and all sanctions allowed by law, including
         but not limited to, termination of CONTRACTOR'S CONTRACT with the CITY.
         Nothing contained in this CONTRACT shall be construed in any manner so as to
         require or permit any act which is prohibited by law.




         Page 120


                                                                                       Exhibit 8
                                                                                          8-122
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 124 of 221 Page ID
                                   #:469




            ARTICLE 38; EQUAL EMPLOYMENT PRACTICES
           Unless otherwise exempt, this CONTRACT is subject to the equal employment
           practices provisions in Section 10.8.3 of the Los Angeles Administrative Code, as
           amended from time to time.

      A.      During the performance of this CONTRACT, CONTRACTOR agrees and represents
              that it will provide Equal Employment Practices and CONTRACTOR and each
              SUBCONTRACTOR hereunder will ensure that in his or her Employment Practices
              persons are employed and employees are treated equally and without regard to
              or because of, race, color, religion, ancestry, national origin, sex, sexual
              orientation, age, disability, marital status or medical condition.

              1. This provision applies to work or service performed or materials manufactured
              or assembled in the United States.

              2. Nothing in this section shall require or prohibit the establishment of new
              classifications of employees in any given craft, work or service category.

             3. CONTRACTOR agrees to post a copy of Paragraph A hereof in conspicuous
             places at its place of business available to employees and applicants for
             employment.

     B.      CONTRACTOR will, in all solicitations or advertisements for employees placed by
             or on behalf of CONTRACTOR, state that all qualified applicants will receive
             consideration for employment without regard to their race, color, religion,
             ancestry, national origin, sex, sexual orientation, age, disability, marital status or
             medical condition.

     C.      At the request of the Awarding Authority or the Designated Administrative
             Agency (DAA - The Department of Public Works Office of Contract Compliance is
             the DAA.), CONTRACTOR shall certify in the specified format that he or she has
             not discriminated in the performance of CITY contracts against any employee or
             applicant for employment on the basis or because of race, color, religion,
             national origin, ancestry, sex, sexual orientation, age, disability, marital status or
             medical condition,

    D.       CONTRACTOR shall permit access to and may be required to provide certified
             copies of, all of his or her records pertaining to employment and to employment
             practices by the awarding authority or the DAA for the purpose of investigation
             to ascertain compliance with the Equal Employment Practices provisions of CITY
             contracts. Upon request, CONTRACTOR shall provide evidence that he or she has
             or will comply therewith,

    E.       The failure of any CONTRACTOR to comply with the Equal Employment Practices
             provisions of this CONTRACT may be deemed to be a material breach of CITY




          Page 121


                                                                                              Exhibit 8
                                                                                                 8-123
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 125 of 221 Page ID
                                   #:470




              contracts. The failure shall only be established upon a finding to that effect by
              the Awarding Authority, on the basis of its own investigation or that of the DAA.
              No such finding shall be made or penalties assessed except upon a full and fair
              hearing after notice and an opportunity to be heard have been given to
              CONTRACTOR.

       F.     Upon a finding duly made that CONTRACTOR has failed to comply with the Equal
              Employment Practices provisions of a CITY contract, the CONTRACT may be
              forthwith canceled, terminated or suspended, in whole or in part, by the
              Awarding Authority, and all monies due or to become due hereunder may be
              forwarded to, and retained by, the CITY. In addition thereto, the failure to
              comply may be the basis for a determination by the Awarding Authority or the
              DAA that said CONTRACTOR is an non-responsible bidder or proposer pursuant
              to the provisions of Section 10.40 of the City of Los Angeles Administrative Code,
              et seq. In the event of such a determination, CONTRACTOR shall be disqualified
              from being awarded a contract with the CITY for a period of two (2) years, or
              until CONTRACTOR shall establish and carry out a program in conformance with
              the provisions hereof.

       G.      Notwithstanding any other provision of this CONTRACT, the CITY shall have any
               and all other remedies at law or in equity for any breach hereof.

       H.     The Board of Public Works shall promulgate rules and regulations through the
              DAA, and provide necessary forms and require language to the Awarding
              Authorities to be included in City Request for Bids or Requests for Proposal
              packages or in supplier registration requirements for the implementation of the
              Equal Employment Practices provisions of this CONTRACT, and such rules and
              regulations and forms shall, so far as practicable, be similar to those adopted in
              applicable Federal Executive Orders. No other rules, regulations or forms may be
              used by an Awarding Authority of the CITY to accomplish the contract
              compliance program.

       I.      Nothing contained in this CONTRACT shall be construed in any manner so as to
               require or permit any act which is prohibited by law.

       j.      By affixing its signature on a Contract that is subject to this article, the
               CONTRACTOR shall agree to adhere to the Equal Employment Practices specified
               herein during the performance or conduct of CITY Contracts.

       K.     Equal Employment Practices shall, without limitation as to the subject or nature
              of employment activity, be concerned with such employment practices, including,
              but not limited to:

               1. Hiring practices;

              2. Apprenticeships where such approved programs are functioning and other on-
              the-job training for non-apprenticeable occupations;




            Page 122


                                                                                         Exhibit 8
                                                                                            8-124
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 126 of 221 Page ID
                                   #:471




           3. Training and promotional opportunities; and

          4. Reasonable accommodations for persons with disabilities.

     L.   All Contractors subject to the provisions of this section shall include a similar
          provision in all subcontracts awarded for work to be performed under the
          CONTRACT with the CITY, and shall impose the same obligations, including, but
          not limited to, filing and reporting obligations, on the SUBCONTRACTORS as are
          applicable to the CONTRACTOR. Subcontracts shall follow the same thresholds
          specified in Section 10.8.1.1. Failure of the CONTRACTOR to comply with this
          requirement or to obtain the compliance of its SUBCONTRACTORS with all such
          obligations shall subject the CONTRACTOR to the imposition of any and all
          sanctions allowed by law, including, but not limited to, termination of the
          CONTRACTOR'S CONTRACT with the CITY.




      Page 123


                                                                                      Exhibit 8
                                                                                         8-125
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 127 of 221 Page ID
                                   #:472




            ARTICLE 39: AFFIRMATIVE ACTION PROGRAM
            Unless otherwise exempt, this CONTRACT is subject to the affirmative action
            program provisions in Section 10.8,4 of the Los Angeles Administrative Code, as
            amended from time to time.

       A.      During the performance of a CITY contract, CONTRACTOR certifies and
               represents that CONTRACTOR and each SUBCONTRACTOR hereunder will adhere
               to an Affirmative Action Program to ensure that in its employment practices,
               persons are employed and employees are treated equally and without regard to
               or because of race, color, religion, ancestry, national origin, sex, sexual
               orientation, age, disability, marital status, domestic partner status or medical
               condition.

               1. This section applies to work or services performed or materials manufactured
               or assembled in the United States.

               2. Nothing in this section shall require or prohibit the establishment of new
               classifications of employees in any given craft, work or service category.

               3. CONTRACTOR shall post a copy of Paragraph A hereof in conspicuous places
               at its place of business available to employees and applicants for employment.

       B.      CONTRACTOR will, in all solicitations or advertisements for employees placed, by
               or on behalf of, CONTRACTOR, state that all qualified applicants will receive
               consideration for employment without regard to their race, color, religion,
               ancestry, national origin, sex, sexual orientation, age, disability, marital status,
               domestic partner status or medical condition.

       C.      At the request of the Awarding Authority or the DAA, CONTRACTOR shall certify
               on an electronic or hard copy form to be supplied, that CONTRACTOR has not
               discriminated in the performance of CITY contracts against any employee or
               applicant for employment on the basis or because of race, color, religion,
               ancestry, national origin, sex, sexual orientation, age, disability, marital status,
               domestic partner status or medical condition.

       D.      CONTRACTOR shall permit access to and may be required to provide certified
               copies of all of its records pertaining to employment and to its employment
               practices by the Awarding Authority or the DAA, for the purpose of investigation
               to ascertain compliance with the Affirmative Action Program provisions of CITY
               contracts, and upon request, to provide evidence that it has or will comply
               therewith.

       E.      The failure of any CONTRACTOR to comply with the Affirmative Action Program
               provisions of CITY contracts may be deemed to be a material breach of a CITY
               contract. The failure shall only be established upon a finding to that effect by the




            Page 124

                                                                                            Exhibit 8
                                                                                               8-126
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 128 of 221 Page ID
                                   #:473




                 Awarding Authority, on the basis of its own investigation or that of the DAA. No
                 such finding shall be made except upon a full and fair hearing after notice and an
                 opportunity to be heard has been given to CONTRACTOR.

          F.     Upon a finding duly made that CONTRACTOR has breached the Affirmative
                Action Program provisions of a CITY contract, the CONTRACT may be forthwith
                cancelled, terminated or suspended, in whole or in part, by the Awarding
                Authority, and all monies due or to become due hereunder may be forwarded to
                and retained by the CITY. In addition thereto, the breach may be the basis for a
                determination by the Awarding Authority or the Board of Public Works that the
                CONTRACTOR is a non-responsible bidder or proposer pursuant to the provisions
                of Section 10.40 of the City of Los Angeles Administrative Code, et seq. In the
                event of such determination, the CONTRACTOR shall be disqualified from being
                awarded a contract with the CITY for a period of two (2) years, or until he or she
                shall establish and carry out a program in conformance with the provisions
                hereof.                .      :       , ,

     G.          In the event of a finding by the Fair Employment and Housing Commission of the
                State of California, or the Board of Public Works of the City of Los Angeles, or
                any court of competent jurisdiction, that CONTRACTOR has been guilty of willful
                violation of the California Fair Employment and Housing Act, or the Affirmative
                Action Program provisions of a CITY contract, there may be deducted from the
                amount payable to CONTRACTOR by the CITY under the contract, a penalty of
                ten dollars ($10.00) for each person for each calendar day on which the person
                was discriminated against in violation of the provisions of a CITY contract.

     H.        Notwithstanding any other provisions of a CITY contract, the CITY shall have any
               and all other remedies at law or in equity for any breach hereof.

     I.        The Public Works Board of Commissioners shall promulgate rules and regulations
               through the DAA and provide to the Awarding Authority electronic and hard copy
               forms for the implementation of the Affirmative Action Program provisions of
               CITY contracts, and rules and regulations and forms shall, so far as practicable,
               be similar to those adopted in applicable Federal Executive Orders. No other
               rules, regulations or forms may be used by an Awarding Authority of the CITY to
               accomplish this contract compliance program.                 :

    J.         Nothing contained in CITY contracts shall be construed in any manner so as to
               require or permit any act which is prohibited by law.

    K.         By affixing its signature to a CONTRACT that is subject to this article, the
               CONTRACTOR shall agree to adhere to the provisions in this article for the
               duration of the CONTRACT.          The Awarding Authority may also require
               contractors and suppliers to take part in a pre-registration, pre-bid, pre-proposal,
               or pre-award conference in order to develop, improve or implement a qualifying
               Affirmative Action Plan.




           Page 125


                                                                                               Exhibit 8
                                                                                                  8-127
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 129 of 221 Page ID
                                   #:474




            1. The CONTRACTOR certifies and agrees to immediately implement good faith
               effort measures to recruit and employ minority, women and other potential
               employees in a non-discriminatory manner including, but not limited to, the
               following actions as appropriate and available to the CONTRACTOR'S field of
               work. The CONTRACTOR shall:

               (a) Recruit and make efforts to obtain employees through:

                    (i)    Advertising employment opportunities in          minority   and   other
                           community news media or other publications.

                    (ii)   Notifying minority, women and other community organizations of
                           employment opportunities.

                    (iii) Maintaining contact with schools with diverse populations of students
                          to notify them of employment opportunities.

                    (iv) Encouraging existing employees, including minorities and women, to
                         refer their friends and relatives.

                    (v)    Promoting after school and vacation employment opportunities for
                           minority, women and other youth.

                    (vi) Validating all job specifications, selection requirements, tests, etc.

                    (vii) Maintaining a file of the names and addresses of each worker
                          referred to the CONTRACTOR and what action was taken concerning
                          the worker.

                    (viii) Notifying the appropriate Awarding Authority and the DAA in writing
                           when a union, with whom the CONTRACTOR has a collective
                           bargaining agreement, has failed to refer a minority, woman or other
                           worker.

               (b) Continually evaluate personnel practices to assure that hiring, upgrading,
                   promotions, transfers, demotions and layoffs are made in a non-
                   discriminatory manner so as to achieve and maintain a diverse work force.

               (c) Utilize training programs and assist minority, women and other employees
                   in locating, qualifying for and engaging in the training programs to
                   enhance their skills and advancement.




         Page 126


                                                                                             Exhibit 8
                                                                                                8-128
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 130 of 221 Page ID
                                   #:475




                 (d) Secure cooperation or compliance from the labor referral agency to the
                     CONTRACTOR'S contractual Affirmative Action Program obligations,

                 (e) Establish a person at the management level of the CONTRACTOR to be
                     the Equal Employment Practices officer. Such individual shall have the
                     authority to disseminate and enforce the CONTRACTOR'S Equal
                     Employment and Affirmative Action Program policies.

                (f) Maintain records as are necessary to determine compliance with Equal
                    Employment Practices and Affirmative Action Program obligations and
                    make the records available to City, State and Federal authorities upon
                    request.

                (g) Establish written company policies, rules and procedures which shall be
                    encompassed in a company-wide Affirmative Action Program for all its
                    operations and Contracts. The policies shall be provided to all employees,
                    Subcontractors, vendors, unions and all others with whom the
                    CONTRACTOR may become involved in fulfilling any of its Contracts.

                (h) Document its good faith efforts to correct any deficiencies when problems
                    are experienced by the CONTRACTOR in complying with its obligations
                    pursuant to this article. The CONTRACTOR shall state:

                    (i)    What steps were taken, how and on what date.

                    (ii)   To whom those efforts were directed.

                    (iii) The responses received, from whom and when.

                    (iv) What other steps were taken or will be taken to comply and when.

                    (v)    Why the CONTRACTOR has been or will be unable to comply.

            2. Every contract of $25,000 or more which may provide construction,
               demolition, renovation, conservation or major maintenance of any kind shall
               also comply with the requirements of Section 10.13 of the Los Angeles
               Administrative Code.

    L.      The Affirmative Action Program required to be submitted hereunder and the pre­
            registration, pre-bid, pre-proposal or pre-award conference which may be
            required by the Awarding Authority shall, without limitation as to the subject or
            nature of employment activity, be concerned with such employment practices as:

            1. Apprenticeship where approved programs are functioning, and other on-the-
               job training for non-apprenticeable occupations;



         Page 127


                                                                                         Exhibit 8
                                                                                            8-129
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 131 of 221 Page ID
                                   #:476




              2. Classroom preparation for the job when not apprenticeable;

              3. Pre-apprenticeship education and preparation;

              4. Upgrading training and opportunities;

              5. Encouraging the use of Contractors, Subcontractors and suppliers of all racial
                 and ethnic groups; provided, however, that any contract subject to this
                 ordinance shall require the CONTRACTOR, SUBCONTRACTOR or supplier to
                 provide not less than the prevailing wage, working conditions and practices
                 generally observed in private industries in the CONTRACTOR'S,
                 SUBCONTRACTOR’S or supplier's geographical area for such work;

              6. The entry of qualified women, minority and ail other journeymen into the
                 industry; and

              7. The provision of needed supplies or job conditions to permit persons with
                 disabilities to be employed, and minimize the impact of any disability.

       M.     Any adjustments which may be made in the CONTRACTOR'S work force to
              achieve the requirements of the CITY'S Affirmative Action Program in purchasing
              and construction shall be accomplished by either an increase in the size of the
              work force or replacement of those employees who leave the work force by
              reason of resignation, retirement or death and not by termination, layoff,
              demotion or change in grade.

       N.     This ordinance shall not confer upon the City of Los Angeles or any Agency,
              Board or Commission thereof any power not otherwise provided by law to
              determine the legality of any existing collective bargaining agreement and shall
              have application only to discriminatory employment practices by CONTRACTORS
              engaged in the performance of CITY Contracts.

       O.     All CONTRACTORS subject to the provisions of this article shall include a similar
              provision in all subcontracts awarded for work to be performed under the
              CONTRACT with the CITY and shall impose the same obligations, including, but
              not limited to, filing and reporting obligations, on the SUBCONTRACTORS as are
              applicable to the CONTRACTOR. Failure of the CONTRACTOR to comply with this
              requirement or to obtain the compliance of its SUBCONTRACTORS with all such
              obligations shall subject the CONTRACTOR to the imposition of any and all
              sanctions allowed by law, including, but not limited to, termination of the
              CONTRACTOR'S CONTRACT with the CITY.




            Page 128


                                                                                        Exhibit 8
                                                                                           8-130
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 132 of 221 Page ID
                                   #:477




         ARTICLE 40: CHILD SUPPORT ASSIGNMENT ORDERS
        This CONTRACT is subject to the Child Support Assignment Orders Ordinance,
        Section 10.10 of the Los Angeles Administrative Code, as amended from time to
        time. Pursuant to the Child Support Assignment Orders Ordinance, CONTRACTOR
        will fully comply with all applicable State and Federal employment reporting
        requirements for CONTRACTOR'S employees. CONTRACTOR shall also certify (1)
        that the Principal Owner(s) of CONTRACTOR are in compliance with any Wage and
        Earnings Assignment Orders and Notices of Assignment applicable to them
        personally; (2) that CONTRACTOR will fully comply with all lawfully served Wage
        and Earnings Assignment Orders and Notices of Assignment in accordance with
        Section 5230, et seq. of the California Family Code; and (3) that CONTRACTOR will
        maintain such compliance throughout the term of this CONTRACT.

        Pursuant to Section 10.10(b) of the Los Angeles Administrative Code, the failure of
       CONTRACTOR to comply with all applicable reporting requirements or to implement
        lawfully served Wage and Earnings Assignment Orders or Notices of Assignment, or
       the failure of any Principal Owner(s) of CONTRACTOR to comply with any Wage and
       Earnings Assignment Orders or Notices of Assignment applicable to them personally,
       shall constitute a default by the CONTRACTOR under this CONTRACT, subjecting
       this CONTRACT to termination if such default shall continue for more than ninety
       (90) days after notice of such default to CONTRACTOR by the CITY.

       Any subcontract entered into by CONTRACTOR, to the extent allowed hereunder,
       shall include a like provision for work to be performed under this CONTRACT. Failure
       of CONTRACTOR to obtain compliance of its SUBCONTRACTORS shall constitute a
       default by CONTRACTOR under this CONTRACT, subjecting this CONTRACT to
       termination where such default shall continue for more than ninety (90) days after
       notice of such default to CONTRACTOR by the CITY.

       CONTRACTOR certifies that, to the best of its knowledge, it is fully complying with
       the Earnings Assignment Orders of all employees, and is providing the names of all
       new employees to the New Hire Registry maintained by the Employment
       Development Department as set forth in Section 7110(b) of the California Public
       Contract Code.




       Page 129


                                                                                       Exhibit 8
                                                                                          8-131
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 133 of 221 Page ID
                                   #:478




            ARTICLE 41: LIVING WAGE ORDINANCE AND SERVICE CONTRACTOR
              WORKER RETENTION ORDINANCE      ________ ____________________
       A,     Unless otherwise exempt in accordance with the provisions of this Ordinance,
              this AGREEMENT is subject to the applicable provisions of the Living Wage
              Ordinance (LWO), Section 10.37 et seq. of the Los Angeles Administrative Code,
              as amended from time to time, which is attached hereto as Exhibit G and
              incorporated herein by this reference, and the Service Contractor Worker
              Retention Ordinance (SCWRO), Section 10,36 et seq., of the Los Angeles
              Administrative Code, as amended from time to time. These Ordinances require
              the following;

              1. The CONTRACTOR assures payment of a minimum initial wage rate to
              employees as defined in the LWO and as may be adjusted each July 1 and
              provision of benefits of compensated and uncompensated days off and health
              benefits, as defined in the LWO,

              2. The CONTRACTOR further pledges that it will comply with federal law
              proscribing retaliation for union organizing and will not retaliate for activities
              related to the LWO. CONTRACTOR shall require each of its SUBCONTRACTORS
              within the meaning of the LWO to pledge to comply with the terms of federal law
              proscribing retaliation for union organizing. CONTRACTOR shall receive and
              retain on file the executed pledges from each such SUBCONTRACTOR within
              ninety (90) days of the execution of the Subcontract. CONTRACTOR'S evidence
              of executed pledges from each such SUBCONTRACTOR shall fully discharge the
              obligation of the CONTRACTOR to comply with the provision in the LWO
              contained in Section 10.37.6(c) concerning compliance with such federal law.

              3. The CONTRACTOR, whether an employer, as defined in the LWO, or any other
              person employing individuals, shall not discharge, reduce in compensation, or
              otherwise discriminate against any employee for complaining to the CITY with
              regard to the employer's compliance or anticipated compliance with the LWO, for
              opposing any practice proscribed by the LWO, for participating in proceedings
              related to the LWO, for seeking to enforce his or her rights under the LWO by
              any lawful means, or otherwise asserting rights under the LWO. CONTRACTOR
              shall post the Notice of Prohibition Against Retaliation provided by the CITY.

              4. Any Subcontract entered into by the CONTRACTOR relating to this
              AGREEMENT, to the extent allowed hereunder, shall be subject to the provisions
              of LWO and the SCWRO, and shall incorporate the LWO and the SCWRO.

              5. The CONTRACTOR shall comply with all rules, regulations and policies
              promulgated by the CITY'S Designated Administrative Agency, which may be
              amended from time to time.




            Page 130

                                                                                         Exhibit 8
                                                                                            8-132
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 134 of 221 Page ID
                                   #:479




      B.      Under the provisions of Section 10.36.3(c) and Section 10.37.6(c) of the Los
              Angeles Administrative Code, the CITY shall have the authority, under
              appropriate circumstances, to terminate this AGREEMENT and otherwise pursue
              legal remedies that may be available if the CITY determines that the subject
              CONTRACTOR has violated provisions of the LWO and the SCWRO or both,

     C.         Where under the LWO Section 10.37.6(d), the CITY'S Designated Administrative
               Agency has determined (a) that the CONTRACTOR is in violation of the LWO in
               having failed to pay some or all of the living wage, and (b) that such violation
               has gone uncured, the CITY in such circumstances may impound monies
               otherwise due the CONTRACTOR in accordance with the following procedures.
               Impoundment shall mean that from monies due the CONTRACTOR, the CITY
               may deduct the amount determined to be due and owing by the CONTRACTOR
               to its employees. Such monies shall be placed in the holding account referred to
               in LWO Section 10.37.6(d) (3) and disposed of under procedures there described
              through final and binding arbitration. Whether the CONTRACTOR is to continue
              work following an impoundment shall remain in the sole discretion of the CITY.
              The CONTRACTOR may not elect to discontinue work either because there has
              been an impoundment or because of the ultimate disposition of the
              impoundment by the arbitrator.

     D.      The CONTRACTOR shall inform employees making less than Twelve Dollars
             ($12.00) per hour of their possible right to the federal Earned Income Credit
             (EIC). CONTRACTOR shall also make available to employees the forms informing
             them about the EIC and forms required to secure advance EIC payments from
             CONTRACTOR.




          Page 131


                                                                                          Exhibit 8
                                                                                             8-133
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 135 of 221 Page ID
                                   #:480




          ARTICLE 42: AMERICANS WITH DISABILITIES ACT_________ ;_________
         The CONTRACTOR hereby certifies that it will comply with the Americans with
         Disabilities Act 42 U.S.C. Section 12101 et seq, and its implementing regulations.
         The CONTRACTOR will provide reasonable accommodations to allow qualified
         individuals with disabilities to have access to and to participate in its programs,
         services and activities in accordance with the provisions of the Americans with
         Disabilities Act. The CONTRACTOR will not discriminate against persons with
         disabilities nor against persons due to their relationship to or association with a
         person with a disability. Any subcontract entered into by the CONTRACTOR, relating
         to this AGREEMENT, to the extent allowed hereunder, shall be subject to the
         provisions of this paragraph.




         Page 132


                                                                                      Exhibit 8
                                                                                         8-134
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 136 of 221 Page ID
                                   #:481




         ARTICLE 43: CONTRACTOR RESPONSIBILITY ORDINANCE
        Unless otherwise exempt, this CONTRACT is subject to the provisions of the
        Contractor Responsibility Ordinance, Section 10.40 et seq., of the Los Angeles
        Administrative Code, as amended from time to time, which requires CONTRACTOR
        to update its responses to the responsibility questionnaire within thirty (30) calendar
        days after any change to the responses previously provided if such change would
        affect CONTRACTOR'S fitness and ability to continue performing this CONTRACT.

        In accordance with the provisions of the Contractor Responsibility Ordinance, by
        signing this CONTRACT, CONTRACTOR pledges, under penalty of perjury, to comply
        with all applicable federal, state and local laws in the performance of this
        CONTRACT, including but not limited to, laws regarding health and safety, labor and
        employment, wages and hours, and licensing laws which affect employees.
        CONTRACTOR further agrees to: (1) notify the CITY within thirty (30) calendar days
        after receiving notification that any government agency has initiated an investigation
       which may result in a finding that CONTRACTOR is not in compliance with all
       applicable federal, state and local laws in performance of this CONTRACT; (2) notify
       the CITY within thirty (30) calendar days of ail findings by a government agency or
       court of competent jurisdiction that CONTRACTOR has violated the provisions of
       Section 10.40.3(a) of the Contractor Responsibility Ordinance; (3) unless exempt,
       ensure that its SUBCONTRACTOR(S), as defined in the Contractor Responsibility
       Ordinance, submit a Pledge of Compliance to the CITY; and (4) unless exempt,
       ensure that its SUBCONTRACTOR(S), as defined in the Contractor Responsibility
       Ordinance, comply with the requirements of the Pledge of Compliance and the
       requirement to notify the CITY within thirty (30) calendar days after any
       government agency or court of competent jurisdiction has initiated an investigation
       or has found that the subcontractor has violated Section 10.40.3(a) of the
       Contractor Responsibility Ordinance in performance of the subcontract.




       Page 133


                                                                                         Exhibit 8
                                                                                            8-135
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 137 of 221 Page ID
                                   #:482




          ARTICLE 44: LOS ANGELES BUSINESS INCLUSION PROGRAM
         CONTRACTOR agrees and obligates itself to utilize the services of Minority, Women,
         Small,   Emerging,     Disabled   Veteran     and    Other Business      Enterprise
         (MBE/WBE/SBE/EBE/DVBE/OBE) firms on a level so designated in its proposal, if
         any. CONTRACTOR certifies that it has complied with Mayoral Executive Directive 14
         regarding the Outreach Program for Personal Services Contracts. CONTRACTOR
         shall not change any of these designated SUBCONTRACTORS, nor shall
         CONTRACTOR reduce their level of effort, without prior written approval of the
         CITY, provided that such approval shall not be unreasonably withheld.

         CONTRACTOR     agrees   and obligates    itself   to    submit    a     signed
         MBE/WBE/SBE/EBE/DVBE/OBE Utilization Profile, provided herein as Exhibit B, for
         each payment as described in Section 7.6 of this AGREEMENT, listing current
         MBE/WBE/SBE/EBE/DVBE/OBE amounts paid as part of the payment procedures.




         Page 134


                                                                                      Exhibit 8
                                                                                         8-136
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 138 of 221 Page ID
                                   #:483




            ARTICLE 45: EQUAL BENEFITS ORDINANCE
           Unless otherwise exempt, this CONTRACT is subject to the provisions of the Equal
           Benefits Ordinance (EBO), Section 10.8.2.1 of the Los Angeles Administrative Code,
           as amended from time to time.

     A.       During the performance of the CONTRACT, the CONTRACTOR certifies and
              represents that the CONTRACTOR will comply with the EBO.

     B.       The failure of the CONTRACTOR to comply with the EBO will be deemed to be a
              material breach of this CONTRACT by the CITY.

     C.       if the CONTRACTOR fails to comply with the EBO, the CITY may cancel,
              terminate or suspend this CONTRACT, in whole or in part, and all monies due or
              to become due under this CONTRACT may be retained by the CITY. The CITY
              may also pursue any and all other remedies at law or in equity for any breach.

     D.       Failure to comply with the EBO may be used as evidence against CONTRACTOR
              in actions taken pursuant to the provisions of Los Angeles Administrative Code
              Section 10.40 et seq., Contractor Responsibility Ordinance.

     E.      If the CITY'S Designated Administrative Agency determines that a CONTRACTOR
             has set up or used its contracting entity for the purpose of evading the intent of
             the EBO, the CITY may terminate the CONTRACT. Violation of this provision may
             be used as evidence against CONTRACTOR in actions taken pursuant to the
             provisions of Los Angeles Administrative Code Section 10.40 et seq., Contractor
             Responsibility Ordinance.

          The CONTRACTOR shall post the following statement in conspicuous places at its
          place of business available to employees and applicants for employment:

             "During the performance of a Contract with the City of Los Angeles, the
             Contractor will provide equal benefits to its employees with spouses and its
             employees with domestic partners. Additional information about the City of Los
             Angeles' Equal Benefits Ordinance may be obtained from the Department of
             Public Works, Office of Contract Compliance at (213) 847-2625."




          Page 135


                                                                                          Exhibit 8
                                                                                             8-137
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 139 of 221 Page ID
                                   #:484




          ARTICLE 46: SLAVERY DISCLOSURE ORDINANCE
         Unless otherwise exempt in accordance with the provisions of this Ordinance, this
         AGREEMENT is subject to the Slavery Disclosure Ordinance, Section 10.41 of the Los
         Angeles Administrative Code, as may be amended from time to time, which is
         attached hereto as Exhibit E and incorporated herein by this reference.
         CONTRACTOR certifies that it has complied with the applicable provisions of this
         Ordinance. Failure to fully and accurately complete the affidavit may result in
         termination of this AGREEMENT.




          Page 136


                                                                                    Exhibit 8
                                                                                       8-138
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 140 of 221 Page ID
                                   #:485




        ARTICLE 47; CONTRACTOR PERFORMANCE EVALUATION ORDINANCE
        At the end of this AGREEMENT, the CITY will conduct an evaluation of the
        CONTRACTOR'S performance. The CITY may also conduct evaluations of the
        CONTRACTOR'S performance during the term of the AGREEMENT. As required by
       Section 10.39.2 of the Los Angeles Administrative Code, evaluations will be based on
       a number of criteria, including the quality of the work product or service performed,
       the timeliness of performance, financial issues, and the expertise of personnel that
       the CONTRACTOR assigns to the AGREEMENT. A Contractor who receives a
       "Marginal" or "Unsatisfactory" rating will be provided with a copy of the final CITY
       evaluation and allowed fourteen (14) calendar days to respond. The CITY will use
       the final CITY evaluation, and any response from the CONTRACTOR, to evaluate
       proposals and to conduct reference checks when awarding other service contracts.




      Page 137


                                                                                       Exhibit 8
                                                                                          8-139
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 141 of 221 Page ID
                                   #:486




          ARTICLE 48: MUNICIPAL LOBBYING ORDINANCE
         Any Contractor for the CITY shall submit a certification, on a form prescribed by the
         City Ethics Commission, that the CONTRACTOR acknowledges and agrees to comply
         with the disclosure requirements and prohibitions established in the Los Angeles
         Municipal Lobbying Ordinance, Exhibit M, if the CONTRACTOR qualifies as a lobbying
         entity under the Ordinance. The exemptions contained in Los Angeles Administrative
         Code Section 10.40.4 shall not apply to this subsection.




          Page 138


                                                                                       Exhibit 8
                                                                                          8-140
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 142 of 221 Page ID
                                   #:487




         ARTICLE 49: FIRST SOURCE HIRING ORDINANCE
        Unless otherwise exempt in accordance with the provisions of this Ordinance, this
        CONTRACT is subject to the applicable provisions of the First Source Hiring
        Ordinance (FSHO), Section 10.44 et seq. of the Los Angeles Administrative Code, as
        amended from time to time.

        CONTRACTOR shall, prior to the execution of the CONTRACT, provide to the
        Designated Administrative Agency (DAA) a list of anticipated employment
        opportunities that CONTRACTOR estimate they will need to fill in order to perform
        the services under the CONTRACT. The Department of Public Works Office of
        Contract Compliance is the DAA.

       CONTRACTOR further pledges that it will, during the term of the CONTRACT, shall
       a) At least seven (7) business days prior to making an announcement of a specific
       employment opportunity, provide notifications of that employment opportunity to
       the Community Development Department (CDD), which will refer individuals for
       interview; b) Interview qualified individuals referred by CDD; and c) Prior to filling
       any employment opportunity, the CONTRACTOR shall inform the DAA of the names
       of the Referral Resources used, the names of the individuals they referred, the
       names of the referred individuals who the CONTRACTOR interviewed and the
       reasons why referred individuals were not hired.

       Any Subcontract entered into by the CONTRACTOR relating to this AGREEMENT, to
       the extent allowed hereunder, shall be subject to the provisions of FSHO, and shall
       incorporate the FSHO.

       CONTRACTOR shall comply with all rules, regulations and policies promulgated by
       the designated administrative agency, which may be amended from time to time.

        Where under the provisions of Section 10.44.13 of the Los Angeles Administrative
        Code the Designated Administrative Agency has determined that the CONTRACTOR
        intentionally violated or used hiring practices for the purpose of avoiding the article,
       the determination must be documented in the Awarding Authority's Contractor
       Evaluation, required under Los Angeles Administrative Code Section 10.39 et seq.,
       and must be documented in each of the CONTRACTOR'S subsequent Contractor
       Responsibility Questionnaires submitted under Los Angeles Administrative Code
       Section 10.40 et seq. This measure does not limit the CITY'S authority to act under
       this article.

      Under the provisions of Section 10.44.8 of the Los Angeles Administrative Code, the
      Awarding Authority shall, under appropriate circumstances, terminate this
      CONTRACT and otherwise pursue legal remedies that may be available if the
      Designated Administrative Agency determines that the subject CONTRACTOR has
      violated provisions of the FSHO.                                                  :




      Page 139


                                                                                            Exhibit 8
                                                                                               8-141
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 143 of 221 Page ID
                                   #:488




          ARTICLE 50: COMPLIANCE WITH LOS ANGELES CITY CHARTER SECTION
            470(C)(12) FOR MEASURE H/CONTRACTOR
            CONTRIBUTIONS/FUNDRAISING__________________________________
         The CONTRACTOR, Subcontractors, and their Principals are obligated to fully comply
         with City of Los Angeles Charter Section 470(c)(12) and related ordinances,
         regarding limitations on campaign contributions and fundraising for certain elected
         CITY officials or candidates for elected CITY office if the contract is valued at
         $100,000 or more and requires approval of a CITY elected official. Additionally,
         CONTRACTOR is required to provide and update certain information to the CITY as
         specified by law. Any CONTRACTOR subject to Charter Section 470(c)(12), shall
         include the following notice in any contract with a subcontractor expected to receive
         at least $100,000 for performance under this CONTRACT:

         Notice Regarding Los Angeles Campaign Contribution and Fundraising Restrictions

         As provided in Charter Section 470(c)(12) and related ordinances, you are
         subcontractor on City of Los Angeles contract #________ . Pursuant to City Charter
         Section 470(c)(12), subcontractor and its principals are prohibited from making
         campaign contributions and fundraising for certain elected City officials or
         candidates for elected City office for 12 months after the City contract is signed.
         Subcontractor is required to provide to contractor names and addresses of the
         subcontractor's principals and contact information and shall update that information
         if it changes during the 12 month time period. Subcontractor's information included
         must be provided to contractor within 5 business days. Failure to comply may result
         in termination of contract or any other available legal remedies includes fines.
         Information about the restrictions may be found at the City Ethics Commission's
         website at http://ethics.lacity.org or by calling 213/978-1960.

         CONTRACTOR, Subcontractors, and their Principals shall comply with these
         requirements and limitations. Violation of this provision shall entitle the CITY to
         terminate this AGREEMENT and pursue any and all legal remedies that may be
         available.




         Page 140


                                                                                       Exhibit 8
                                                                                          8-142
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 144 of 221 Page ID
                                   #:489




         ARTICLE 51: IRAN CONTRACTING ACT OF 2010
        In accordance with California Public Contract Code Sections 2200-2208, all bidders
        submitting proposals for, entering into, or renewing contracts with the City of Los
        Angeles for goods and services estimated at $1,000,000 or more are required to
        complete, sign, and submit the Iran Contracting Act of 2010 Compliance Affidavit.




      Page 141


                                                                                     Exhibit 8
                                                                                        8-143
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 145 of 221 Page ID
                                   #:490




         IN WITNESS WHEREOF, the parties hereto have executed this AGREEMENT on the
         day and year written below.

         CITY                                         NASA SERV:

         By: £

         Title: Commissioner/ Board of Public Works

         Date:               1^)~(7



         By:____________________________

         Title: Commissioner. Board of Public Works

         Date:_______________________________

         APPROVED AS TO FORM

         MICHA£UY. FEUER, City Attorney

         Bv:
                           .      /
                 Adena Hopenstand

         Title: Deputy City Attorney

         Date:       /f 5 //4?




         Title: Deputy City Clerk

         Date:        Z/\ nl




         Page 142


                                                                              Exhibit 8
                                                                                 8-144
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 146 of 221 Page ID
                                   #:491




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      Page 143



                                                                   Exhibit 8
                                                                      8-145
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 147 of 221 Page ID
                                   #:492




                               Appendix A: Diversion Plan
         The following Diversion Plan describes the strategies the CONTRACTOR will
         implement to achieve its Disposal Targets, as included. The Diversion Plan shall
         include initial and ongoing Outreach Plan, and Programmatic Goals. This plan shall
         define Disposal Targets by how they are impacted by each Diversion Program and
         related to facility development and outreach and education timelines. Diversion
         Programs will be defined at a minimum by:

         •   COMMINGLED RECYCLABLES
         •   REUSE AND RECOVERY
         •   ORGANICS




         Page 144


                                                                                    Exhibit 8
                                                                                       8-146
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 148 of 221 Page ID
                                   #:493




                                  Diversion Summary:!                   DT- Downtown                     I




                                                                                                                                                                           g

      projected Disposal (tons)                                     33,616         30,296       28,613       27,368          25,992        24,778      23,583     22,367       21,132
      projected Diversion (tons)                                    27,200         30,989,      33,142       34,857          36,702        38,386      40,051     41,737       43,442
       ComminRled RecvciinR Diversion (tons)                        12,163         16,547       17,909       19,290          20,689        22,107       22,749    23,398       24,054
       Food Waste (tons)                                             3,(Ml         4,290         6,176        7,467           8,777         9,790       10,818    11,859       12,915
       Yard Waste (tons)                                               791         1,103         1,451        1,680           1,912         2.116        2,323     2,532        2.744
       Other Diversion (tons)                                       11,205         9,049         7,606        6,420           5,324         4,373       4,162      3,947        3,729
     *Tbese ere the projected vel ues, to be assumed for the purpose of this pla n.

     **By 2025, each or*anization will have reached the Gty’s goa? of 90% diversion. This level will be maintained through the remainder of the AGREEMENT.



                                   Zone DT - Program Name:[Multifamily Recycling Buddy Campaign


                                                                                                                                                                 •2024    ^' • 2025* V

     Diversion due to this program (tons!
                                                                ’    4,56n    1f    5,056     r 5,558    f   6,067       r   6,583    f   7,106    \   7,636




    (Targeted Number of Accounts (% of total accounts)      j          100%           100%        100%          100%           100%         10W           100%     100%         100%
    jActuaf Participating Accounts (% of targeted accounts} |           50%            55%,        60%           65% j          70%          75%           80%      85%          90%

     Brief Program Description {Program strategy including but not limited to outreach, waste audits, on-site inspections, community engagement etc.):
     Door-to-door outreach to multifamily complexes. Distribution of Recycling Buddy container to ail households. Targeted education and outreach. Posters and
    Isignage at Jaundrymats, elevators.


    Diversion theme, implementing strategy and/or methodology:




    Target Audience
    Muitifamily residents




    Staff Required and functions (including tracking, reporting, feedback and follow-up procedures):
   Zero Waste Associates and community outreach specialist. Go door to door to provide materials and offer assistance. Work with Zero Waste Team, and
   ^Communications Team. Metrics will be in place toevalute program success




           Page 145


                                                                                                                                                                                Exhibit 8
                                                                                                                                                                                   8-147
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 149 of 221 Page ID
                                   #:494




                                      Zone DT - Program Name:             Commercial Commingled Recycling                   j


                                                                    20V     ' 20W                     .-,2020      2021         202}       2023 V

      Diversion due to this program (tons)




      E-waste, bulky and special materials                      i   2,241 r 1,967    [   1,811    I     1,689    f 1.566 [      1,458    [ 1,387    [   1,316 L 1,243

      Targeted Number of Accounts (%of total accounts)               100%       100% 1     100%           100%       100%         100%       100%        100%     100%
      Actual Participating Accounts (% of targeted accounts)          10%        25% j      50%            75%        90%         100%       100%        100%     100%

      Brief Program Description (Description of program strategy including but not limited to outreach, waste audits, on-site inspections, community
      Commercial Recycling Campaign targeted at commercial generators. Distribution of educational and outreach materials and performance of waste
      audtis. Provide businesses with recycling containers, signage, posters and stickers. Create online training programs



      Diversion theme, implementingstrategy and/or methodology:




      Target Audience_____
      Commercial businesses




      Staff Required and Functions (including tracking, reporting, feedback and follow-up procedures):___________________________________ .
      Zero Waste Associates. Work with Zero Waste Team to create educational materials, audit forms and other materials. Visit generators starting with the
      largest generators first.




              Page 146


                                                                                                                                                                Exhibit 8
                                                                                                                                                                   8-148
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 150 of 221 Page ID
                                   #:495




                                     Zone DT ■ Program Name!                 Commercial Organics                ]


     Diversron due to this program (tons)
      Diverted Commingled Recyclables (tons)                    1                          T                   T          1         |         |
      Diverted Organics (tons)
        Food Waste (tons)                                       13^04]     4,290    1      T       T
                                                                                             6 223 (6*8% (aSo[s!272 [ S 975          9,686
       Yard Waste (tonsl                                        F 760    ' 1,072   " 1,389 f 1,556 \ 1.724 J 1,895 [ 2,068 f 2,244 [ 2,422
      Other Diversion (tons) (Please specify)                   |^g2Sll^§Ss|^3B85BiB9E36wSB&§£SSS3B5iSSE

                                                            1       Si                                  -iil ~3                 3         itSl
    Brief Program Description (Description of program strategy including but not limited to outreach, waste audits, on-site inspections, community______
    Commercial Organics Collection Program at targeted commercial accounts generating food, green waste or food soiied paper, Distribution of education
    and outreach materials and performance of waste audits. Provide businesses with recycling containers, signage, posters and stickers. Create online
    training programs._____________________________________ ____________________________________________________________

    Diversion theme, implementing strategy and/or methodology;




    Target Audience_____
    Commercial businesses




   Staff Required and Functions (including tracking, reporting, feedback and foliow-up procedures!:________________________________________
   Zero Waste Associates. Workwith Zero Waste Team to create educational materials, audit forms and other materials. Visit generators starting with the
   largest generators first.




         Page 147


                                                                                                                                                    Exhibit 8
                                                                                                                                                       8-149
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 151 of 221 Page ID
                                   #:496




                                      Zone DT - program Namc:|             Multifamily QrganicsCollections              |




     iDiversionduetothis program (tons)
       Diverted Commingled Recyclables (tons)
       Diverted Organics (tors)
         Food Waste (tons)
        Yard Waste Itons)



     i$£tier)nfd reflation;^                                                                                                      ;t         ,/ /
     Targeted Number of Accounts (%of total accounts)                 100%!     100%       100%       100%       ioo%|      ioo%!      ioo%l        100%   100%
     Actual Participating Accounts (% of targeted accounts)             5%        5%        10%        20%        30%       35%        40%          45%     50%


      Brief Program Description (Description of program strategy including but not limited to outreach, waste audits, on-site inspections, community_____
     UVIultifamily Organics Collection Program targeted at ALL multifamily complexes starting with largest com pi exes first and then eventually roil ingout to
     jail size complexes. Provides multifamiiy complexes with bins or carts for organics cole lotions of food andgreenwaste. Will provide education and
     loutreach and bins for collection of organics given out during special events to encourage participation___________________________________

      Diversion theme, implementing strategy and/or methodology:




     TargetAudience_____
     Multifamily complexes




      Staff Required and Functions (including tracking, reporting, feedback andfoilow-up procedures);_________________
      Zero Waste Associates and community outreach specialists will perform door-to-door outreach of educational materials.


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              Page 148


                                                                                                                                                           Exhibit 8
                                                                                                                                                              8-150
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 152 of 221 Page ID
                                   #:497




                            Appendix B: Facility Utilization Plan

                                              ZONE: Downtown

                                     SOLID WASTE Disposal/Transfer
                                                     -




        Facility Name      Facility Address         SWISNo.     Primary or Secondary     Date To Be
                                                                                          Utilized
          CLARTS         2201E Washington          19-AR-1182    Primary Transload         7/1/17
                          Bivd., Los Angeles
                                 90021
       Puente Hills       2808 S. Workman         19-AA-1043        Secondary              7/1/17
     Materia! Recovery   Mill Rd., Whittier CA
         Facility               90601
                                              ZONE: Downtown
                                        SOLID WASTE ~ Processing
       Facility Name       Facility Address        SWISNo.         Primary or          Date To Be
                                                                   Secondary            Utilized
       Puente HUis      2808 S. Workman           19-AA-1043        Primary              7/1/17
     Material Recovery Mill Rd., Whittier CA
         Facility             90601
       Downey Area      9770 Washburn Rd.,       19-AA-0801       Secondary              7/1/17
       Recycling and Downey, CA 90241
      Transfer Facility




                                              ZONE: Downtown
                           SOURCE SEPARA TED RECYCLABLES - Processing
                                    -




      Facility Name       Facility Address        SWISNo.         Primary or           Date To Be
                                                                  Secondary             Utilized
      Puente Hills     2808 S. Workman           19-AA-1043        Primary              1/1/17
    Material Recovery Mill Rd., Whittier CA
        Facility             90601




       Page 149


                                                                                                 Exhibit 8
                                                                                                    8-151
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 153 of 221 Page ID
                                   #:498




                                                ZONE: Downtown
        Downey Area        9770 Washburn Rd.,     19-AA-0801     Secondary         7/1/17
        Recycling and      Downey, CA 90241
       Transfer Facility




                                                ZONE: Downtown
                                         ORGANICS - Pre-Processing
         Facility Name       Facility Address       SWISNo.          Primary or   Date To Be
                                                                     Secondary     Utilized
         Puente Hills     2808 S. Workman          19-AA-1043         Primary       7/1/17
       Material Recovery Mill Rd., Whittier CA
           Facility             90601
           Waste           804 S. Mission Road,                      Secondary      7/1/17
         Management          Los Angeles, CA
                                  900023
                                                ZONE: Downtown


                                           ORGANICS - Processing
         Facility Name       Facility Address       SWISNo.          Primary or   Date To Be
                                                                     Secondary     Utilized
       Puente Hills MRF     2808 Workman Mill      19-AA-1043         Primary       7/1/17
                             Rd., Whittier CA
                                  90601
           Waste           804 S. Mission Road,    19-AR-1183        Secondary      7/1/17
         Management          Los Angeles, CA
                                  900023




          Page 150


                                                                                       Exhibit 8
                                                                                          8-152
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 154 of 221 Page ID
                                   #:499




                                                Appendix C: Rates
                                                                                                       '       ••           '       '        •                 --I,



                            BASE RATE - Solid Waste + Recycling Rates for Non Compacted Containers,
                     ,                        96      '■     ....                                                           ■■■.,                ■       .

                 32 Gal   64 Gal              Gal            2 Yd           1.5 Yd            2 Yd                   3 Yd                4 Yd                  6 Yd
                                                                                                           i

                                       I     $90.90         $185.16          $193.05          $200.94                5216.72             $232.51               $264.08                  $29664


                                             $77.07          $95.68   |     $104.61          $113.93                 $133.76             $155.16               $189.20                  $22638


                                       I    $158.70         $343.28   ,     $359.07    |     $374.85                 $406.42             $437.98               $501.12                 $56435    j
                                           $134.96         $177.53          $194.70          $212.65                 $250.93            $29236                 $359.03           '     $432.09



                                           $226.51         $501.42          $525.09          $548.77                $596.12             $643.47               $738.17                  $83237

                                                                                                                                I        "           1                   1
                                           $192.86         $259.39          $284.79          $311.37                $36609              $429.55      \        $52687                   $637.67


                                           $294.32         $659.55          $691.12          $722.69                $785.82             $848.95 .             $975.22        !       $1,10149


                                           $250.75         $341.26          $37439           $410.10                $485,27             $566.74               $69672                   $843.33


                                           $362.13         $817.69         $857.15          $896.61                 $975.52.        &0S434                   $1312-27                $137011


                                           $308.65         $423.11         $46437           $508.82                 $602.43             $70932                $96656                 $1,04898


                                           $429.94     $975.82            $1,023.17        $1,070.52           $1,165-23            5l.2S9.93            $1,449.33                   $1,638.73
                                                                                                       T

                                           $366.54     $504.97             $555.07          $607.55 j               5719.60             $841.11          $1,03640                    $1,254.62
                                   1
                                   ___________ i.




      Page 151


                                                                                                                                                                                          Exhibit 8
                                                                                                                                                                                             8-153
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 155 of 221 Page ID
                                   #:500




                                            Additional Recycling Container Frequency

                                                          '   '-d                                                           6 Yd           8v
                                                                                                                                                  1
                              $34.26 ■       $68.51 ; $68.51            1    $68.51      $68.51          $68.51                            $68.51 j
                              ______ 1              i....... .      J                                                  L““

                                                                no charge


                               $65.08 ! $130.16 j $130.16 ■ $130.16                     $130.16      $130.16               $130.16        $130.16
                                      '         !____    .1 L ____ .                                                                  i


                                                                no charge

                                        ;             r                                           r............... :
                                                                                                                       !              i             !
                               $95.91 I $191.82 | $191.82                   $191.82     $191.82      $191.82           i   $131.82        $191.82 j
                                                                                                                       I
                                                                                                  .. .             i       .................   _


                                                                no charge


                              $126.74   J   $253.48   \   $253.48       j
                              _______ _________ L_______ _J.................
                                                                            $2S3.48     $253.48      $253.48 | $253.48 ] $253.48


                                                                no charge
                                                                                              .....
                                                                        I
                                                                                                                                                    }
                                        !“■

                              $157.57       $315.14       $315.14           $315.14 .   $315.14 : $315.14 j $315.14                       $315.14


                                                                no charge
                                                                                                                                                    '
                              $188.40       $376.80 I $376.80               $376.80     $376.80 i $376.80 ;                $376.80        $376.80


                                                                no charge




         Page 152


                                                                                                                                          Exhibit 8
                                                                                                                                             8-154
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 156 of 221 Page ID
                                   #:501




                                    Food Waste and Green Waste Rates for Non Compacted Containers


     1
                                      «*» 1
          Days/week    Bin
         One /
                                                                             | $185.16         $193.05      $200.94      $216.72
         Week


                      iAddt‘i
                       Bins
                                    J j77Q7
                                   $57.33
                                                i
                                                      $7331
                                                              j
                                                                             f

                                                                                   $95.68     $104.61      $113.93      $133,76

         Two /
         Week           »rai' SBMkj'                                              $343.28     $359.07      $374.85      $406.42


                      Mdt'1       sxoo.40       : $128.38          $134.96       $177.53      $194.70      $212,65      $250.93
                      Sins                      :


         Three/
         Week         2~»                                         **"            $501.42      $525.09      $548.77      $596.12



                      Addt'i
                      Bins       i |
                                 $143.47 : $183.45                $192,86        $259.39      $284.79      $311.37      $368.09

         Four /
         Week         rary 181811111«•«                                          $659.55      $691.12      $722.69      $785.82




         Five/
                      Addt'!
                      Bins     ;'$186.53            $238.51       $250.75        $341.26      $374.89      $410.10      $485,27


                                                                                 $817.69     $857.15      $896.61      $975.52
         Week




                                i '•<;;**' 4
                      Addtl      $229.60            $293.58       $308.65        $423.11     $464.97      $508.82      $602.43
                      Bins

                      Primary   *1                            $429.94            $975.82    $1,023.17    $1,070.52    $1,165.23
     Six/Week         Bin

                      Addtf      $272.67    1       $348.65       $366.54        $504.97     $555.07      $607.55      $719.60
                      Bins                  i




          Page 153


                                                                                                                                   Exhibit 8
                                                                                                                                      8-155
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 157 of 221 Page ID
                                   #:502




                             Recycling Not Provided Fee - As Determined from Base Level of Service
       ! Days/wee
       ! k          Bln                          1 Ycl       1.5 Yd            ; V                                    ;                ■ ■ Y i:
                                                                        i          •

                                  $34.26 !    $68.51          $68.51 j         $68.51             $68.51         $68.51 .             $G&S1            SGS.S1
                                                         !              !.     .        . .


                                                                   no charge
                                                                                                                               _              ~                 i
                                  $65.08 j $130.16           $130.16          $130.16 [ $130.16 1               $130.16 ' $130.16 ; SlSO.ieJ
                                                                                              L            J


                                                                   no charge

                                                                                                                                                  1

        Three/      Prlmar        $95.91     $191.82 j $191.82                $191.82         $191.82           $191.82               $191.82 i $191.82
        Week        y Bin                    _           J_                        ■■

                                                                   no charge
                                                                 ...... r -
        Four/                    $126.74     $253.48              48
                                                             $253.48          $
                                                                              $253.48         $253.48           $253.48 I $253.48                     $253.48
        Week                                                                                                   .... ......L......                 .
                                                                  no charge

                                                                                                                               !
        Five/       Primar       $157.S7     $315.14         $315.14          $315.14         $315.14           $315.14               $315.14         $315.14
        Week        V Bm                                                                                         --       _____i. ,


                    Addt'l                                         no charge
                    Bins
                                         i         ]
                                 $188.40 | $376.80 j $376.80                  $376.80 j $376,80 I $376.80 : $376.80                                   $376.80
        Six/week

                                                                  no charge
                    Bins




           Page 154


                                                                                                                                                      Exhibit 8
                                                                                                                                                         8-156
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 158 of 221 Page ID
                                   #:503




       Permanent Rolloff and Compactor Pull Charge
       (Rolloffs and Compactors Over 8 cubic yards)
                                                                                                               I Cost
       Material                                                                        Type of Service           Element        Rate
                                                                                                                 Delivery
                                                                                       Rolloff, Compactor,       and
         Solid Waste3,6'"                                                              per pull                  Collection     $270.00
                                                                                       Rolloff, Compactor,
         Recycling8'"'d                                                                pef pull                 Collection      $270.00
                                                                                       Rolloff, Compactor,
         Organicsa,c,d                                                                 per pull                 Collection      $270.00
                                                                                                                Tip fee per
         Solid Waste6                                                                  Disposal/Processing      ton             $72.00
                                                                                                                Tip fee per     No
         Recycling1*                                                                   Processing               ton            Charge
                                                                                                                Tip fee per
         Organics'*                                                                    Processing               ton            $93.50     [


      disposal and Processing will be charged on the basis of the actual net weight and associated tip fee .
      b Rates charged customers (on non C&D solid waste}.

      c Puli charge includes delivery, rent (Excluding Compactors), and disconnect.

      d Rates charged customers.


      Temporary Rolloff Pull Charge
      (Non-permanent service of no more than 30 consecutive days at customer's site)
      (Rolloffs/Drop Boxes Over 8 cubic yards)_________________________________
                                                                                                               Cost
      Material                                                                        Type of Service          Element        Rate
        Solid Wastee,f                                                                Rolloff, per puli        Collection      $270.00
        Recycling8,6                                                                  Rolloff, per pull        Collection     $270.00
        Organics8,6                                                                   Rolloff, per pull        Collection     $270.00
        Solid Waste*                                                                  Rolloff, Daily rental    Rent           $7.00
        Recycling and Organics6                                                       Rolloff, Daily rental    Rent           $7.00
        Solid Waste*'E                                                                Rolloff Delivery         Delivery       $70.00
        Recycling and Organics6,1                                                     Rolloff Delivery         Delivery       $70.00
                                                                                                               Tip fee per
       Solid Waste*                                                                   Disposal/Processing      ton            $72.00
                                                                                                              Tip fee per     No
       Recycling6                                                                     Processing              ton             charge
                                                                                                              Tip fee per
       Organics6                                                                  Processing                  ton             $93.50
     "Disposal and Processing will be charged on the basis of the actual net weight and tip fee for non-C&D solid
     waste.

     * Rates charged customers (on non C&D solid waste),

     includes seven calendar days of Rolloff rental.

     h Rates charged customers.




        Page 155


                                                                                                                                   Exhibit 8
                                                                                                                                      8-157
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 159 of 221 Page ID
                                   #:504




       Temporary 3 Cubic Yard Bin Service
       (Non-permanent service of no more than 30 consecutive days at customer's site)


                                                                                                      Cost
       Material                                                                Type of Service        Element      Rate
                                                                                                      Delivery
                                                                                                      and
         Solid Wastei,J,k                                                      Temporary Container    Collection   $125.00
                                                                                                      Delivery
                                                                                                      and
         Recycling5'*'"1                                                       Temporary Container    Collection   $90.00
                                                                                                      Delivery
                                                                                                      and
         Organics i,k'm                                                        Temporary Container    Collection   $130.00
                                                                               Temporary Container,
         Solid Waste5,1                                                        Daily rental           Rent         $5.00
                                                                               Temporary Container,
         Recycling and Organics"1,1                                            Daily rental           Rent         $5.00
                                                                               Temporary Container,
         Solid Waste5                                                          Extra Pick-Up          Collection   $45.00
                                                                               Temporary Container,
         Recycling"1                                                           Extra Pick-Up          Collection   $35.00
                                                                               Temporary Container,
         Organics"1                                                            Extra Pick-Up          Collection   $75.00
       'includes seven calendar days of bin rental, (1) delivery charge, (1)
       collection, processing and disposal.

       J Rates charged customers (on non-C&D solid waste),

       includes seven calendar days of bin rental.

       LAfter the initial seven days
       m Rates charged customers.




          Page 156


                                                                                                                   Exhibit 8
                                                                                                                      8-158
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 160 of 221 Page ID
                                   #:505




                   Appendix D: Zone Description and Map
                            (Transmitted Electronically)




      Page 157


                                                                   Exhibit 8
                                                                      8-159
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 161 of 221 Page ID
                                   #:506




          Appendix E: MultiFamily Customers Receiving Valet Services
                              (Transmitted Electronically)




         Page 158


                                                                   Exhibit 8
                                                                      8-160
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 162 of 221 Page ID
                                   #:507




                    Exhibits: City Contracting Requirements
        Exhibit A    Schedule A, list of MBE/WBE/OBE SUBCONTRACTORS

        Exhibit B    Schedule B, MBE/WBE/OBE Utilization Profile

        Exhibit C    Insurance and Bond Requirements

        Exhibit D    Certification  Regarding     Compliance    with   Equal    Benefits
                     Ordinance/First Source Hiring Ordinance

        Exhibit E    Slavery Disclosure Ordinance

        Exhibit F    Declaration of Compliance with Living Wage Ordinance

        Exhibit G    Contractor Responsibility Ordinance

        Exhibit H    Business Tax Registration Certificate

        Exhibit I    Los Angeles Residence Information

        Exhibit J    Non-Collusion Affidavit

        Exhibit K    Contract History

       Exhibit L     Municipal Lobbying Ordinance

       Exhibit M     Contract Bidder Campaign Contribution and Fundraising Restrictions

       Exhibit N     Iran Contracting Act Of 2010




       Page 159


                                                                                   Exhibit 8
                                                                                      8-161
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 163 of 221 Page ID
                                   #:508




          Exhibit A: Schedule A, list of MBE/WBE/SBE/EBE/DVBE/OBE
                               SUBCONTRACTORS




                                                                    Exhibit 8
                                                                       8-162
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 164 of 221 Page ID
                                   #:509




                                     SCHEDULE A
                                 CITY OF LOS ANGELES
             MBE/WBE/SBE/EBE/DVBE/OBE SUBCONTRACTORS INFORMATION FORM

                         (NOTE: COPY THIS PAGE AND ADD ADDITIONAL SHEETS AS NECESSARY, SIGN ALL SHEETS)


      Project Title: Franchise for Solid Waste Collection and Handling




      Proposer: NASA Services, Inc.                             Address: 1100 S Maple Ave., Montebello, CA 90640




      Contact Person: JackTopalian                              Phone/Fax: 323-888-0388 / 323-888-0398




                                      LIST OF ALL SUBCONSULTANTS (SERVICE PROVIDERS/SUPPLIERS/ETC.)

           NAME, ADDRESS, TELEPHONE NO. OF                    DESCRIPTION OF WORK OR                   MBE/WBE/         CALTRANS/             DOLLAR VALUE
                   SUBCONSULTANT                                      SUPPLY                           SBE/EBE/          C1TY/MTA            OF SUBCONTRACT
                                                                                                       DVBE/OBE         CERT. NO.

      Distributors Unlimited                                Repair and manufacture bins and           OBE                                               $500,000
      1205 Date Street, Montebello, CA 90640                roll-off containers
      323-721-0636
      Go2Zero Strategies
                                                            Project management, recycling and          WBE/ SBE                                        $3,000,000
      339 Kelsey Rd., San Dimas, CA 91773
                                                            Zero Waste programs, customer
      626-840-1850
                                                            education and outreach

      Isidore Electronics Recycling                         Electronic Recycling                      OBE                                                100,000
      525 S Hewitt St, Los Angeles, A 90013
      323-222-3322
      Schaefer Systems International, Inc
                                                            Plastic cart manufacturing                OBE                                               $961,625
      10021 Westlake Dr., Charlotte, NC 28273
      704-944-4500
      S. Groner Associates, Inc.
                                                            Marketing, social media, graphic          SBE                                               $250,000
      100 W Broadway, Suite 290, Long Beach, CA
                                                            design
      90802
      562-597-0205



            PERCENTAGE OF MBE/WBE/SBE/EBE/DVBE/OBE
                        PARTICIPATION

                                           DOLLARS            PERCENT
                                                                                   **          k*" Slghjitffrp of Person Completing this Form
         TOTAL MBE AMOUNT             3765,345                   0-41    %

         TOTAL WBE AMOUNT             33,010,000                 1.63    %
                                                                                               Arsen Sarkisian
          TOTAL SBE AMOUNT            33,250,000                 1.76    %
                                                                                                 Printed Name of Person Completing this Form
          TOTAL EBE AMOUNT            SO                         0.00    %
                                                                                               President                                   8/25/2016
         TOTAL DVBE AMOUNT            SO                         0.00    %
                                                                                                     Title                            Date
          TOTAL OBE AMOUNT            32,651,220                 1.43    %

           BASE BID AMOUNT            31*5,000,000



                                           MUST BE SUBMITTED WITH PROPOSAL
     Rev. 07/01/11 (Citywide RFP - BAVN BIP)




                                                                         1




                                                                                                                                                       Exhibit 8
                                                                                                                                                          8-163
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 165 of 221 Page ID
                                   #:510




                                     SCHEDULE A
                                 CITY OF LOS ANGELES
             MBE/WBE/SBE/EBE/DVBE/OBE SUBCONTRACTORS INFORMATION FORM

                        (NOTE; COPY THIS PAGE AND ADD ADDITIONAL SHEETS AS NECESSARY, SIGN ALL SHEETS)


     Project Title: Franchise for Solid Waste Collection and Handling




     Proposer: NASA Services, lac.                             Address: 1100 S Maple Ave., Montebello, CA 90640




    Contact Person: Jack Topalian                              Phone/Fax: 323-888-0388 / 323-8884)398




                                     LIST OF ALL SUBCONSULTANTS (SERVICE PROVIDERS/SUPPHERS/ETC.)

         NAME, ADDRESS, TELEPHONE NO. OF                     DESCRIPTION OF WORK OR                 MBE/WBE/      CAL,TRANS/            DOLLAR VALUE
                 Sl/BCONSULTANT                                      SUPPLY                         SBE/EBE/      CITY/MTA             OFSUBCONTRACT
                                                                                                    DVBE/OBE      CERT. NO.

    Impact EcoVision Environmental Inc.                   Recycling containcis for commercial       OBE                                          Si 00,000
    12-1064 Salk Rd., Suite 250, Pickering Ontario        and multi-family
    L1W4B5,289-987-4567

    Container Management Group, LLC.                      Container maintenance                     MBE                                          1765,345
    14617 Arminta St., Van Nays, CA 91402
    949-289-0305
   Fleetmlnd Solutions, LLC
                                                          Onboard vehicle tracking and             OBE                                           $481,092
   1751 Richardson, State 7200 Montreal QC H3K1G6
                                                          routeware
   888-639-1666
   Consolidated Fabricators Corp
                                                          Steel bins and containcis                OBE                                           $100,000
   14620 Arminta St., Van Nuys, CA 91402
   S18-901-1005
   Wasteqnip Manufacturing LLC
                                                         Steel bins and containers and plastic     OBE                                           $100,000
   814 Arion Pkwy, Ste 111, San Antonio, TX 78216
                                                         bins for food collections
   210-787-3244



         PERCENTAGE OF MBE/WBE/SBE/EBE/DVBE/OBE
                     PARTICIPATION

                                          DOLLARS          PERCENT
                                                                                                                Completing this Form                        ;
      TOTAL MBE AMOUNT               5765,345                 0.41   %

      TOTAL WBE AMOUNT               53,018,8(10              1.63   %
                                                                                          Arsen Sarkisian
      TOTAL SBE AMOUNT               53,250,000               1.76   %
                                                                                            Printed Name of Person Completing this Form
      TOTAL EBE AMOUNT               $0                       0.00   %
                                                                                          President                                  8/2S/20I6
     TOTAL DVBE AMOUNT             50                         0.00   %
                                                                                                 Title                        Date
      TOTAL OBE AMOUNT             52,651,220                 1.43   %


       BASE BID AMOUNT             5185,080,000


                                          MUST BE SUBMITTED WITH PROPOSAL


 Rev. 07/01/11 (Citywide RFP - BAVN BIP)




                                                                     2




                                                                                                                                                 Exhibit 8
                                                                                                                                                    8-164
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 166 of 221 Page ID
                                   #:511




                                     SCHEDULE A
                                 CITY OF LOS ANGELES
             MBE/WBE/SBE/EBE/DVBE/OBE SUBCONTRACTORS INFORMATION FORM

                         (note.- copy this       page and add additional sheets as       NECESSARY, SIGN ALL SHEETS)


      Project Title: Franchise for Solid Waste Collection and Handling




      Proposer: NASA Services, Inc.                             Address: 1100 S Maple Ave., Montebello, CA 90640




      Contact Person: Jack Topalian                             Phone/Fax: 323-888-0388 / 323-888-A398




                                      LIST OF ALL SUBCONSULTANTS (SERVICE PROVIDERS/SUPPLIERS/ETC.)

           NAME, ADDRESS, TELEPHONE NO. OF                     DESCRIPTION OF WORK OR           mbe/wbe/          CALTRANS/            DOLLAR VALUE
                   SUBCONSULTANT                                       SUPPLY                   SBE/EBE/           OTV/MTA            OF SUBCONTRACT
                                                                                                DVBE/OBE          CERT. NO.

      Knba & Associates, Inc                                Community Outreach                  MBE                                                     SO
      SIS S Figueroa St,, Ste 1280, Los Angeles, CA
      213-453-4658
      Clean-up America
                                                            Disposal and recycling of           MBE/ SBE                                                $0
      2900 E Lugo St., Los Angeles, CA 90023
                                                            construction materials
      323-980-9930
      Adapt Consulting Inc dba Adapt Ad Specialty
                                                            Promotional products                OBE                                                 $99,998
      13618 Lcmay St., Van Nuys, CA 91401
      818-782-6974
      MHI Global (Impact Learning Solutions)
                                                            Customer service training           OBE                                                 $20,000
      10901 W Toller Dr, Ste 202, Littleton, Jefferson,
      CO 80127
      Kambrian Corporation
                                                            Telecommunications                  WBE                                                 $10,000
      2707 E Valley Bl, Ste312, West Covina, CA 91792
      626-374-3933



            PERCENTAGE OF MBE/WBE/SBE/EBE/DVBE/OBE
                        PARTICIPATION

                                           DOLLARS            PERCENT                                                               __ _
                                                                                             Signature of Person Completing this Form
         TOTAL MBE AMOUNT             *765,345                   0.41    %

         TOTAL WBE AMOUNT             *3,910,800                 1.63    %
                                                                                         Arsen Sarkisian
          TOTAL SBE AMOUNT            *3,250,000                 1.76    %
                                                                                           Printed Name uf Person Completing this Form
          TOTAL EBE AMOUNT            *0                         0,00    %
                                                                                         President                                    8/25/2016
         TOTAL DVBE AMOUNT            SO                         0.00    %
                                                                                              Title                            Date
          TOTAL OBE AMOUNT            *2,651,220                 1.43    %

           BASE BID AMOUNT            *185,000)8)0



                                           MUST BE SUBMITTED WITH PROPOSAL


     Rev, 07/01/11 (Citywide RFP - 8AVN BIP)




                                                                         3




                                                                                                                                                  Exhibit 8
                                                                                                                                                     8-165
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 167 of 221 Page ID
                                   #:512




                                      SCHEDULE A
                                  CITY OF LOS ANGELES
              MBE/WBE/SBE/EBE/DVBE/OBE SUBCONTRACTORS INFORMATION FORM

                         (note: copy this page and add additional sheets as NECESSARY, SIGN ALL SHEETS)


      Project Title; Franchise for Solid Waste Collection and Handling




      Proposer; NASA Services, Inc.                             Address: 1100 S Maple Ave., Montebello, CA 90640




      Contact Person: Jack Topalian                             Phone/Fax: 323-888-0388 / 323-888-0398




                                      LIST OF ALL SUBCONSULTANTS (SERVICE PROVIDERS/SUPPLIERS/ETC.)

           NAME, ADDRESS, TELEPHONE NO. OF                    DESCRIPTION OF WORK OR               MBE/WBE/ J      CALTRANS/          I    DOLLAR VALUE
                   SUBCONSULTANT                                      SUPPLY                        SBE/EBE/       CITY/MTA               OFSUBCONTRACT
                                                                                                   DVBE/OBE        CERT. NO.

     The Prinling Connection                               Prinling and mailing services           OBE                                             $30,305
     682S Valjean Ave., Van Nuys, CA 91406
     818-782-5490
     True Track, LLC
                                                           GPS Equipment                           OBE                                             $58,200
     3156 Foothill BL, Ste D, La Crescenta, CA 91214
     818-279-2179
     The V Group
                                                           Database systems management             OBE                                            $100,000
     11856 Balboa Bl.,#322, Granada Hills, CA 91344
     818-621-2251




          PERCENTAGE OF MBE/WBE/SBE/EBE/DVBE/OBE
                      PARTICIPATION

                                           DOLLARS          PERCENT
                                                                                  S'          Signature oT-Befton Completing this Form
        TOTAL MBE AMOUNT              $765,345                0.41    %

       TOTAL WBE AMOUNT               $3,010,000               1.63   %
                                                                            .              Arsen Sarkisian
        TOTAL SBE AMOUNT              $3,250,000              1.76    %
                                                                                             Printed Ntme of Person Completing this Form
       TOTAL EBE AMOUNT             SO                        0DO     %
                                                                                           President                                  8/25/2016
      TOTAL DVBE AMOUNT             so                        0.00    %
                                                                                                Title                          Date
        TOTAL OBE AMOUNT            $2,651,220                i.43    %

         base bid amount           $185,000,000



                                         MUST BE SUBMITTED WITH PROPOSAL

  Rev. 07/01/11 (Citywide RFP - BAVN BIP)




                                                                      4




                                                                                                                                                  Exhibit 8
                                                                                                                                                     8-166
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 168 of 221 Page ID
                                   #:513




        Explanation for $0 allocation under Schedule A

        Kuba & Associates, Inc. - It was determined that most of the proposed activities were not required.


        Clean-up America, Inc. - Construction material is not a part of the contract, so services are not needed.




                                                                                                             Exhibit 8
                                                                                                                8-167
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 169 of 221 Page ID
                                   #:514




        Exhibit B: Schedule B, MBE/WBE/SBE/EBE/DVBE/OBE Utilization
                                    Profile




                                                                   Exhibit 8
                                                                      8-168
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 170 of 221 Page ID
                                   #:515




                                           SCHEDULE B
                                       CITY OF LOS ANGELES
                           MBE/WBE/SBE/EBE/DVBE/OBE UTILIZATION PROFILE

      Project Title                                                                                     Contract No.




      Consultant                                         Address



      Contact Person                                     Phone/Fax



                 CONTRACT AMOUNT                          THIS INVOICE AMOUNT                            INVOICED TO DATE AMOUNT
              (INCLUDING AMENDMENTS)                                                                       (INCLUDE THIS INVOICE)




                                         MBE/WBE/SBE/EBE/DVBE/OBE SUBCONTRACTORS (LIST ALL SUBS)

              NAME OF                   MBE/WBE/       ORIGINAL             THIS INVOICE            INVOICED TO DATE     SCHEDULED
           SUBCONTRACTOR                 SBE/EBE/    SUBCONTRACT           (AMOUNT NOW                (INCLUDE THIS     PARTICIPATION
                                        DVBE/OBE       AMOUNT                   DUE)                     INVOICE)          TO DATE




           CURRENT PERCENTAGE OF MBE/WBE/SBE/EBE/DVBE/OBE                Signature of Person Completing this Form:
                       PARTICIPATION TO DATE

                                    DOLLARS                PERCENT

      TOTAL MBE PARTICIPATION       $                                %   Printed Name of Person Completing this Form:

      TOTAL WBE PARTICIPATION       $                                %

      TOTAL SBE PARTICIPATION       $                                %

      TOTAL EBE PARTICIPATON        $                                %   Title:                                         Date:

      TOTAL DVBE PARTICIPATION      $                                %

      TOTAL OBE PARTICIPATION       5                                %




     Rev, 07/01/11 (Citywide RFP-BAVN BIP)




                                                              1




                                                                                                                            Exhibit 8
                                                                                                                               8-169
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 171 of 221 Page ID
                                   #:516




                 Exhibit O. Insurance and Bond Requirements




                                                                   Exhibit 8
                                                                      8-170
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 172 of 221 Page ID
                                   #:517

   Form Gen, 146 (Rev. 6/12)



                                       Required Insurance and Minimum Limits
   Name:____________________________________________________________                                            Date:__________________
   Agreement/Reference'           Collection, Transfer, Processing and Disposal of Solid Waste, Commingled Recyclables and Organics

   Evidence of coverages checked below, with the specified minimum limits, must be submitted and approved prior to
   occupancy/start of operations. Amounts shown are Combined Single Limits ("CSLs"). For Automobile Liability, split
   limits may be substituted for a CSL if the total per occurrence equals or exceeds the CSL amount.
                                                                                                                                     Limits

          Workers' Compensation (WC) and Employer's Liability (EL)
                                                                                                                            WC       Statutory



                                                                                                                            EL          1,000,000
          [•]Waiver of Subrogation in favor of City                                I   [Longshore & Harbor Workers
                                                                                   d]jones Act


    /                              City of Los Angeles must be named as an additional insured                                           2,000,000
              General Liability


          [•jProducts/Completed Operations                                         1~1 Sexual Misconduct^
          riidrc Legal Liability
          □_______________




   J/L—    Automobile Liability (for any and all vehicles used for this contract, other than commuting to/from work)                    5,000,000




   ___ Professional Liability (Errors and Omissions)


               Discovery Period_____________________




   ___ Property Insurance (to cover replacement cost of building - as determined by insurance company)


          I    I Ail Risk Coverage                                                 PI Boiler and Machinery
          □ Flood___________                                                       I   1 Builder's Risk
          j    I Earthquake______                                                  □



                                                                                                                                        1,000,000
   jL-    Pollution Liability

          |~>] Contractor’s Pollution Liability




     ,
   ____Surety Bonds - Performance and Payment (Labor and Materials) Bonds
          „
   -T. Crime Insurance
                                                                                                              ____________ (See Note 1 below)
                                                                                                                                        1,000,000
                                                                                                                                 ----------------------


   Other: 1)     Performance      Rnnri requirement to be determined hy Public Works - Sanitation




                                                                                                                                 Exhibit 8
                                                                                                                                    8-171
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 173 of 221 Page ID
                                   #:518



                                                                                                                           Bond #.


                                                 Contractor's Performance Bond

         KNOW ALL MEN BY THESE PRESENTS:

                  That 1/we__________________________________________________________________ _____________
         as PRINCIPALS), and___________________________________________________________________________ _ a
        corporation organized under the laws of the State of______________________________ and duly authorized to
        transact business under the laws of the State of California, as SURETY, arc held and firmly bound unto the city of
        Los    Angeles,     a   municipal     corporation,    as    OBLIGEE,    in   the   just   and    full   sum     of

        Dollars, ($.............. .............................. ), lawful money of the United States of America, for the payment whereof well
        and truly to be made said PRINCIPAL and SURETY bind themselves, their heirs, executors, administrators,
        successors, and assigns Jointly and severally firmly by these presents.

                 THE CONDITION of the forgoing obligation is such that, whereas the above bounden PRINCIPAL is
        about to enter into a contract, attached hereto, with said OBLIGEE to do and perform the following, 10-wit:




       as will more fully appear from said contract, reference to which is hereby made, and which said contract and all
       documents incorporated therein by reference are expressly made a part hereof.

                 Hie said SURETY, for value received, hereby stipulates and agrees that no change, extension of time,
       alteration or addition to the terms of the contract, or to the work to be performed hereunder shall in any way affect
       its obligations on this bond, and it does hereby waive notice of any such change, extension of time, alteration or
       addition to the terms of the contract of the work.

               NOW, THEREFORE, if the above bounden PRINCIPAL shall well and truly perform the work contracted
      to be done under said contract, and shall fully and faithfully carry out and perform all of the terms, covenants and
      conditions of said contract upon its or his part to be performed, then this obligation to be null and void, otherwise to
      remain in full force and effect.

                 No right of action shall accrue under this bond to or for the use any person other than the OBLIGEE named
      herein.

                          Signed and sealed the______                      day of                                             _____ A.D. 20____


                                                            ---------------------------------------------------------------------------------- (Principal)



                                                           ----------------------------------------------------------------------------------- (Principal)



                                                           -----------------------------------------------------------------------------------(Principal)



                                                           -----------------------------------------------------------------------------------(Principal)



                                                       By------------------------------------------------------------------------(Attomey-in-Fact)



                                                         —----------------                                                                   (Surety)




      1. Garperate or Inihridnii principal must bo on Corporate Acknowledgement form.
      2. corporate Seal must Do impressed hereon fn case ot corporation.


     Form 163a




                                                                                                                                                             Exhibit 8
                                                                                                                                                                8-172
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 174 of 221 Page ID
                                   #:519




        Exhibit D: Certification Regarding Compliance with Equal Benefits
        __________ Ordinance/First Source Hiring Ordinance__________




                                                                      Exhibit 8
                                                                         8-173
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 175 of 221 Page ID
                                   #:520



                                                                                               EBO COMPLIANCE

                                                     City of Los Angeles
                                                     Department of Public Works
                                                  Bureau of Contract Administration
                                                   Office of Contract Compliance
                                        1149 S. Broadway, Suite 300, Los Angeles, CA 90015
                                        Phone: (213) 847-2625    E-mail: bca.eeoe@lacitv.ora


                        EQUAL BENEFITS ORDINANCE COMPLIANCE AFFIDAVIT

           Prime contractors must certify compliance with Los Angeles Administrative Code (LAAC) Section
           10.8.2.1 et seq. prior to the execution of a City agreement subject to the Equal Benefits Ordinance (EBO).

           SECTION 1. CONTACT INFORMATION

           Company Name:         NASA Services,             Xnc                                        46860
                                                                            JBAVN Company ID ft

           Company Address:        1100 S MaPle Ave •
                    Montebello                                                                90640
           City:                                                State:                Zip:
                                                                                             jack@nasaservices.com
           Contact Person: Jack Topalian phone; 888-888-03 |8majl.


           Approximate Number of Employees in the United States;

           Approximate Number of Employees in the City of Los Angeles;

          SECTION 2. EBO REQUIREMENTS

          The EBO requires City Contractors who provide benefits to employees with spouses to provide the same
          benefits to employees with domestic partners. Domestic Partner means any two adults, of the same or
          different sex, who have registered as domestic partners with a governmental entity pursuant to state or local
          law authorizing this registration, or with an internal registiy maintained by the employer of at least one of
          the domestic partners.

          Unless otherwise exempt, the contractor is subject to and shall comply with the EBO as follow's:

              A.        The contractor’s operations located within the City limits, regardless of whether there are
                        employees at those locations performing work on the City Contract; and
              B.        The contractor’s operations located outside of the City limits if the property is owned by the
                        City or Ihe City has a right to occupy the property, and if the contractor’s presence at or on the
                        property is connected to a Contract with the City; and
              C.        The Contractor’s employees located elsewhere in the United States, but outside of the City
                        Limits, if those employees are performing work on the City Contract.

          A Contractor must post a copy of the following statement in conspicuous places at its place of business
          available to employees and applicants for employment:

         “During the performance of a Contract with the City of Los Angeles, the Contractor will provide equal
         benefits to its employees with spouses and its employees with domestic partners.”




         Form OCC/EBO-Affidavit (Rev 6/21/12)                                                                          1




                                                                                                                             Exhibit 8
                                                                                                                                8-174
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 176 of 221 Page ID
                                   #:521



                                                                                                 EBO COMPLIANCE

            SECTION 3. COMPLIANCE OPTIONS

            I have read and understand the provisions of the Equal Benefits Ordinance and have determined that this
            company will comply as indicated below:
            □ .....1 have no employees.

            □ .....1 provide no benefits.

            □ ..... I provide benefits to employees only. Employees are prohibited from enrolling their spouse or
                       domestic partner.

            3\.......I provide equal benefits as required by the City of Los Angeles EBO.

            □ ..... I provide employees with a “Cash Equivalent.” Note: The “Cash Equivalent” is the amount of
                     money equivalent to what your company pays for spousal benefits that are unavailable for
                     domestic partners, or vice versa.
            □ ..... All or some employees are covered by a collective bargaining agreement (CBA) or union trust
                     fund. Consequently, 1 will provide Equal Benefits to all non-union represented employees, subject
                     to the EBO, and will propose to the affected unions that they incorporate the requirements of the
                     EBO into their CBA upon amendment, extension, or other modification of the CBA.
            □ ..... Health benefits currently provided do not comply with the EBO. However, I will make the
                    necessary changes to provide Equal Benefits upon my next Open Enrollment period which begins
                    on (Date)                         .
            □ ......Our current company policies, i.e„ family leave, bereavement leave, etc,, do not comply with the
                    provisions of the EBO. However, 1 will make the necessary modifications within three (3) months
                    from the date of this affidavit.

            SECTION 4. DECLARATION UNDER PENALTY OF PERJURY

            1 understand that I am required to permit the City of Los Angeles access to and upon request, must provide
            certified copies of all company records pertaining to benefits, policies and practices for the purpose of
            investigation or to ascertain compliance with the Equal Benefits Ordinance. Furthermore, 1 understand that
            failure to comply with LA AC Section 10.8,2.1 et seq., Equal Benefits Ordinance may be deemed a material
            breach of any City contract by the Awarding Authority. The Awarding Authority may cancel, terminate or
            suspend in whole or in part, the contract; monies due or to become due under a contract may be retained by
            the City until compliance is achieved. The City may also pursue any and all other remedies at law or in
            equity for any breach. The City may use the failure to comply with the Equal Benefits Ordinance as
            evidence against the Contractor in actions taken pursuant to the provisions of the LA AC Section 10.40, et
            seq., Contractor Responsibility Ordinance.
              NASA Services,                   Inc.
                                                      will comply with the Equal Benefits Ordinance requirements
                      Company Name
            as indicated above prior to executing a contract with the City of Los Angeles and will comply for the entire
            duration of the contract(s).

            I declare under penalty of perjury under the laws of the State of California that the foregoing is true and
            correct, and that I am authorized to bind this entity contractually.

                                                                in the year 20 16, at Montebello                   ,
                                                                                                 (City)                (State)
                                                                                1100    S Maple Ave.______
                                                                                       Mailing Address
                                                                                Montebello,               CA 90640
              Arsen Sarkisian
            Name of Si^natosy (please print)                                           City. State, Zip Code
               President                                                         XX-XXXXXXX
            Title                                                                      EIN/TIN



            Font! OCC/EBO- Affidavit (Rev 6/21/12)                                                                               2




                                                                                                                                     Exhibit 8
                                                                                                                                        8-175
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 177 of 221 Page ID
                                   #:522



                                                                                                           FSHO COMPLIANCE

                                                           City of Los Angeles
                                                          Department of Public Works
                                                       Bureau of Contract Administration
                                                        Office of Contract Compliance
                                             1149 S. Broadway, Suite 300, Los Angeles, CA 90015
                                             Phone: (213) 847-2625    E-mail: bca.eeoe@lacitv.ore


                          FIRST SOURCE HIRING ORDINANCE COMPLIANCE AFFIDAVIT

            Contractors (including loan or grant recipients) participating on a City contract that is subject to the First
            Source Hiring Ordinance (FSHO) are required to certify their compliance prior to contract execution.

           As part of their obligations under the FSHO, Contractors must provide the Awarding Department a list of
           anticipated employment opportunities that they and their subcontractors expect to fill in order to perform the
           services under the contract. The FSHO-! form (available at http://bca.lachv.cirE) should be utilized to inform
           the Awarding Authority of any such opportunities. If no opportunities are anticipated, contractors do not need
           to submit the FSHO-1 form prior to contract award, but must report any subsequent employment opportunities
           on the FSHO-3 form (available at http://bca.iacitv.oi-g) as described below.

           During the term of the contract, the contractor and their subcontractors shall;

                         3.   At least seven business days prior to making an announcement of a specific employment
                              opportunity, provide notification of that employment opportunity by submitting the FSHO-3 form
                              to the Community Development Department;
                     2.       Interview qualified individuals referred by the City’s referral resources; and
                     3.       Prior to filling any employment opportunity, inform the Office of Contract Compliance of the
                              names of the referral resources used, the names of the individuals referred, and the names of the
                              referred individuals who were interviewed. If the referred individuals were not hired, the
                              contractor should also provide the reasons they were not hired.

          DECLARATION UNDER PENALTY OF PERJURY

          I am aware of my obligations under Los Angeles Administrative Code (LAAC) Section 10.44 et seq., First
          Source Hiring Ordinance, and understand that failure to comply may result in contract termination. The City
          may also pursue any and all other remedies at law or in equity for any breach. The City may use the failure to
          comply with the First Source Hiring Ordinance as evidence against the contractor in actions taken pursuant to
          the provisions of the LAAC Section 10.39 et seq. and 10.40 et seq., Contractor Responsibility Ordinance.

          NASA Services,                    Inc.    wjp f^jiy comply with the First Source Hiring Ordinance requirements.
                     Company Name


         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and
         correct, and that I am authorized to bind this entity contractually.

         Execujpdijits ^           &Sdof ^January            , in the year 20 16, at Montebello                       ^    CA
                     '                                                                                (City)              (State)
                                      yf/At• A——                                1100       S Maple Ave.
         Signature                                                            Mailing Address
           Arsen Sarkisian                                                      Montebello,                    CA 90640
         Name of Signatory (Please Print)                                     City, State, Zip Code
            President                                                            XX-XXXXXXX

         Title                                                               ElN/TfN
             46860                                                               info@nasaservices,com
         BAVN ID No.                                                         E-Mail




         Form OCC/FSHO-Affidavit (Rev 7/3/12)                                                                                   1




                                                                                                                                    Exhibit 8
                                                                                                                                       8-176
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 178 of 221 Page ID
                                   #:523




                     Exhibit E: Slavery Disclosure Ordinance




                                                                   Exhibit 8
                                                                      8-177
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 179 of 221 Page ID
                                   #:524



                                      CITY OF LOS ANGELES - SLAVERY DISCLOSURE ORDINANCE

     Unless otherwise exempt from the Slavery Disclosure Ordinance (SDO), a Company entering into a Contract with the City
     must complete an Affidavit disclosing any and all records of Participation or Investment in, or Profits derived from Slaveiy,
     including Slaveholder Insurance Policies, during the Slavery Era. The Company must complete and submit the Affidavit and
    any attachments on LABAVN fwww.iabavn.orql before a Contract or Contract Amendment can be executed. The- Affidavit
    must only be submitted once on LABAVN, buf contractors are responsible for updating their Affidavit if changes occ. ur to any
    information contained therein.

    Questions regarding the Affidavit may be directed to the Department of Public Works, Bureau of Contract Administration,
    Office of Contract Compliance. Website: http://bca.lacfty.org/lndex.cffn: Phone: (213) 847-2625; E-mail: bca.eeoe@laoily.orQ.

                  AFFIDAVIT DISCLOSING SLAVERY ERA PARTICIPATION, INVESTMENTS, OR PROFITS

    1. i,     Arsen Sarkisian_____ , am authorized to bind contractually the Company identified betow.
    2. Information about the Company entering into a Contract with the City is as follows:
            NASA Services, Inc                          888-888-0388                        XX-XXXXXXX                             46860
            Company Name                                                    Phone                       Federal ID H              BAVN Company ID//
            1701 Gage Rd., Montebello, CA 90640
            Street Address                                                           City                              State                     Zip

   3. The Company came into existence in_1956_______ (year).
   4. The Company has searched its records and those of any Predecessor Companies for information relating to Participation
      or Investments in, or Profits derived from, Slavery or Slaveholder Insurance Policies, Based on that research, the
      Company represents that (mark oniy the option(s) that apply):
                 x   The Company found no records that the Company or any of its Predecessor Companies had any Participation
            or Investments in, or derived Profits from, Slavery or Slaveholder Insurance Policies during the Slavery Era.
            _____ The Company found records that the Company or its Predecessor Companies Participated or Invested in, or
            derived Profits from Slavery during the Slavery Era, The nature of that Participation, investment, or Profit is described
            on the attachment to this Affidavit and incorporated herein.
          _______ The Company found records that the Company or its Predecessor Companies bought, sold, or derived Profits
          from Slaveholder Insurance Policies during the Slavery Era. The names of any Enslaved Persons or Slaveholders under
          the Policies are listed on the attachment to this Affidavit and incorporated herein.
  6,   I declare under penalty of perjury under the laws of the State of California that the representations made herein are true
       and coirect to the best of my knowledge.
  Executed on         October 17, _^.pl2                                     at     Montebello                                                  CA
                       ^7               {Safe)                                                              (City)                       ’      (State)
  Signature                      ■■                     n.-..                          Title:      President________________________
                                                                            DEFINITIONS
  Affidavit means the form developed by the DAA and may be updated                   Predecessor Company means an entity whose ownership, tide and
  from time to time. The Affidavit need not be notarized but must be signed          interest, including ail rights, benefits, duties and liabilities were acquired
  under penalty of perjury.                                                          in an uninterrupted chain of succession by the Company.
 Company means any           person,   firm,   corporation,   partnership   or       Profits means any economic advantage or financial benefit derived from
 combination of these.                                                               the use of Enslaved Persons.
 Contract means any agreement, franchise, lease or concession including              Slavery means the practice of owning Enslaved Persons.
 an agreement for any occasional professional or technical persona!
                                                                                     Slavery Era means that period of time in the United States of America
 services, the performance of any work or service, the provision of any
                                                                                     prior to 1665.
 materials or supplies or rendering of any service to the City of Los
 Angeles or the public, which is let, awarded or entered into with or on             Slaveholder means holders of Enslaved Persons, owners of business
 behalf of the City of Los Angeles or any Awarding Authority of the City.            enterprises using Enslaved Persons, owners of vessels carrying
                                                                                     Enslaved Persons or other means of transporting Enstaved Persons,
 Enslaved Parson means any person who was wholly subject to the will
                                                                                     merchants or financiers dealing in the purchase, sate or financing of fhe
 of another and whose person and services were wholly under the conlrol
                                                                                     business of Enslaved Persons.
 of another and who was tn a state of enforced compulsory service to
 another during the Slavery Era,                                                     Slaveholder insurance Policies means policies issued to or for the
                                                                                     benefit of Slaveholders to insure them against the death of, or injury to,
 investment means to make use of an Enslaved Person for future
                                                                                     Enslaved Persons.
 benefits or advantages.
 Participation means having been a Slaveholder during the Slavery Era.

 OCC/SDO-1 Affidavit (Rev. 08/12)




                                                                                                                                                          Exhibit 8
                                                                                                                                                             8-178
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 180 of 221 Page ID
                                   #:525




         Exhibit F: Declaration of Compliance with Living Wage Ordinance




                                                                     Exhibit 8
                                                                        8-179
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 181 of 221 Page ID
                                   #:526


                                                                                                                         LW-6


                                LWO - EMPLOYEE INFORMATION FORM
                     REQUIRED DOCUMENTATION FOR ALL CONTRACTS SUBJECT TO LWO
    This form must be submitted to the AWARDING DEPARTMENT within 30 DAYS of contract
    execution. INCOMPLETE SUBMISSIONS WILL BE RETURNED.
    THE LIVING WAGE ORDINANCE fLWO) REQUIRES THAT SUBJECT EMPLOYERS PROVIDE TO
    EMPLOYEES:
    ■     As of July T 2015 a wage of at least $11.17 per hour with health benefits of $1,25 per hour, or $12.42 per hour
          without health benefits (to be adjusted annually on July 1) (Regulation #4);
    *     At least 12 compensated days off per year for sick leave, vacation or personal necessity at the employee's request
          (pro-rated for part-time employees) (Regulation #4); and
   K      At least 10 additional days off per year of uncompensated time off for personal or immediate illness only (pro-rated
          for part-time employees) (Regulation #4). Refer to the LWO Rules and Regulations, available from the Department
          of Public Works, Bureau of Contract Administration, Office of Contract Compliance (OCC) website, for details
          regarding the wage and benefit requirements of the Ordinance.
   ■    Making less than $12.00 per hour information of their possible right tc the federal Earned Income Tax Credit (EIT'C)
        and make available the forms required to secure advance EITC payments from the employer (Regulation #4),

   THE LIVING WAGE ORDINANCE (LWO) ALSO REQUIRES EMPLOYERS:

   ■    Not to retaliate against any employee claiming non-compliance with the provisions of these Ordinances and to
        comply with federal law prohibiting retaliation for union organizing (Regulation #4).

                                             TO BE FILLED OUT BY THE CONTRACTOR:


    1. Company Name:___________________________                           Email Address;______________________
   2. STATE the number of employees working ON THIS CITY CONTRACT;____________
   3. ATTACH a copy of your company’s 1 stPAYRQLL under THIS CITY CONTRACT.
   4. INDICATE (highlight, underline) on the payroll which employees are working ON THIS CITY CONTRACT.
   5. Do you provide health benefits (such as medical, dental, vision, mental health, and disability insurance)
          to your employees?!!] Yes □ No
            If YES, STATE how much, if any, employees pay for co-premiums: $________________


   FAILURE TO COMPLY WITH THESE REQUIREMENTS WILL RESULT IN WITHHOLDING OF PAYMENTS BY THE
   CITY CONTROLLER, OR A RECOMMENDATION TO THE AWARDING AUTHORITY FOR CONTRACT TERMINATION.
   ALL INFORMATION SUBMITTED IS SUBJECT TO VERIFICATION, AND FALSE INFORMATION MAY RESULT IN
   CONTRACT TERMINATION.

   I understand that the employee information provided herein is confidential and will be used by the City of Los Angeles,
   Office of Contract Compliance for the purpose of monitoring the Living Wage Ordinance.



    Print Name of Person Completing This Form               .      Signature of Person Completing This Form



   Title                           Phone #                         Date


                                             AWARDING DEPARTMENT USE ONLY:

  Dent:                  Deot Contact:                           Contact Phone:                     Contract #:



 Form OCC/LW-6, Rev. 6/16                                        OFFICE OF CONTRACT COMPLIANCE, EEOE SECTION; (213) 847-2625




                                                                                                                    Exhibit 8
                                                                                                                       8-180
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 182 of 221 Page ID
                                   #:527


                                                                                                                                              LW-18

                          LWO - SUBCONTRACTOR INFORMATION FORM
                    REQUIRED DOCUMENTATION FOR ALL CONTRACTS SUBJECT TO LWO
    This form must be submitted to the AWARDING DEPARTMENT within 30 DAYS of contract
    execution. INCOMPLETE SUBMISSIONS WILL BE RETURNED.
    ______________________________              SECTION I: CONTRACTOR INFORMATION________________________________ _
     1)   Company Name:______________ __                   Contact Person:____________ ;_______ Phone Number:______ _________
     2)   Do you have subcontractors working on this City contract? LlYes □ No
          If NO, This form is now complete - SiGN THE BOTTOM OF PAGE 2 AND SUBMIT TO THE AWARDING DEPARTMENT
          If YES, a) STATE the number of your subcontractors ON THIS CITY CONTRACT:                   .          .
                  b) Fill in PART A for EACH subcontractor in Section II, continue to Section III & IV (if applicable), AND SIGN Section V.

                                              SECTION II: SUBCONTRACTOR INFORMATION
                                                                                                               PART B
                                        PART A                                         CHECK OFF ONLY ONE BOX (l-VI) FOR EACH
                                                                                       SUBCONTRACTOR (IF APPLICABLE) THEN CONTINUE
                                                                                       ONTO SECTION HI:
                                                                                          I         II       II!       IV            V         V!
                                                                                        SOI       One-      CBA3   Occupational    Small       Gov.
                                                                                       (e)(3)’   Person             License       Business5   entity8
                                                                                                 Conb.cU?

    1. Subcontractor Name:
    2. Contact Person:                             Phone#:
    3. Address:
    4. Purpose of Subcontract:                                                         □                    □       □             □           □
    5. Amount of Subcontract: $
    6. Term: Start Date         /     /         Bid Date        /    /                           D
    7. Does the subcontract exceed $25,000? □ Yes □ No
    8. Is the length of the subcontract at least three (3) months? □ Yes □ No
    If you checked off YES for Questions 7 AND 8, this subcontract IS SUBJECT
    TO THE LWO. Continue onto Part B.
    If you checked off NO for any questions 7 OR 8, this subcontract IS NOT
    SUBJECT TO THE LWO. Continue to fill in Part A for additional subs below.
    1. Subcontractor Name:
    2. Contact Person;                              Phone #:
    3. Address:
    4. Purpose of Subcontract:                                                        □          □          □      □              □           □
    5. Amount of Subcontract: $
    6. Term: Start Date         l     )         End Date        /    /
    7. Does the subcontract exceed $25,000? Q Yes □ No
    8. is the length of the subcontract at least three (3) months? O Yes □ No
    If you checked off YES for Questions 7 AND 8, this subcontract IS SUBJECT
    TO THE LWO. Continue onto Part B.
    If you checked off NO for any questions 7 OR 8, this subcontract is NOT
    SUBJECT TO THE LWO. Continue to fill in Part A for additional subs below.
    1. Subcontractor Name:
    2. Contact Person:                             Phone #:
    3. Address:
    4. Purpose of Subcontract:                                                        —                     —                     □           □
    5. Amount of Subcontract: $
    6. Term: Start Date         /     /         End Date        /    /                           D                 D
    7. Does the subcontract exceed $25,000? D Yes □ No
    8. Is the length of the subcontract at least three (3) months? □ Yes □ No
    If you checked off YES for Questions 7 AND 8, this subcontract IS SUBJECT
    TO THE LWO. Continue onto Part B.
    If you checked off NO for any questions 7 OR 8, this subcontract is NOT
    SUBJECT TO THE LWO. Continue to fill in Part A for additional subs below.



    Form OCC/LW-18, Rev, 8/09                                             OFFICE OF CONTRACT COMPLIANCE, EEOE SECTION: (213) 847-2626

                                                                      1




                                                                                                                                      Exhibit 8
                                                                                                                                         8-181
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 183 of 221 Page ID
                                   #:528


                                                                                                                                                                 LW-18

                                            SECTION II: SUBCONTRACTOR INFORMATION (continued)
                                                                                                                                PART B
                                           PART A                                                   CHECK OFF ONLY ONE BOX (l-VI) FOR EACH
                                                                                                    SUBCONTRACTOR (IF APPLICABLE) THEN CONTINUE
                                                                                                    ONTO SECTION III:
                                                                                                     I            II         hi           IV               V       VI
                                                                                                    501        One-         CBA3      Occupational    Small       Gov.
                                                                                                 ' <CX3>!     Person                   License4      Business5   entity5
                                                                                                              Contractor

     1. Subcontractor Name:
    2. Contact Person:                              Phone#:
    3. Address:
    4. Purpose of Subcontract:                                                                     □          □            □                                     □
    5. Amount of Subcontract: $
    6. Term: Start Date         /     /         End Date        /    /                                                                                 D
    7. Does the subcontract exceed $25,000? □ Yes □ No
    8. Is the length of the subcontract at least three (3) months? □ Yes □ No
    If you checked off YES for Questions 7 AND 8, this subcontract IS SUBJECT
    TO THE LWO. Continue onto Part B.
    If you checked off NO for any questions 7 OR 8, this subcontract is NOT
    SUBJECT TO THE LWO, Continue to fill in Part A for additional subs below.
   1. Subcontractor Name:
   2. Contact Person:                             Phone #:
   3. Address:                                                                                                                                       n           n




                                                                                                □
                                                                                                                                     □




                                                                                                □
                                                                                                □
   4. Purpose of Subcontract:
   5. Amount of Subcontract: $
   8. Term: Start Date         /     /         End Date        /     /
   7. Does the subcontract exceed $25,000? □ Yes □ No
   8. Is the length of the subcontract at least three (3) months? □ Yes □ No
    If you checked off YES for Questions 7 AND 8, this subcontract IS SUBJECT
   TO THE LWO. Continue onto Part B.
   if you checked off NO for any questions 7 OR 8, this subcontract is NOT
   SUBJECT TO THE LWO.
                  SECTION ill: SUBCONTRACTS SUBJECT TO THE LWO (AND MAY BE ELIGIBLE FOR EXEMPTIONS)
                                                                                                              L
   1} If you checked off any boxes in Part B, your Subcontractor(s) is subject to the LWO, but may qualify for an LWO exemption.
         Review the exemptions below, and have your subcontractor fill out the form in the corresponding right-hand column.
        Continue to Section V, and submit this form and all supportinq documentation to the Awarding Department for approval.
   2) If you did NOT check any boxes in Part B or your subs DO NOT qualify for an exemption, Continue to Section IV.
                            EXEMPTION                                                    SUPPORTING DOCUMENTATION REQUIRED
  One-person contractors, lessee, licensee                                LW13 - Departmental Exemption Form
  501 (c}(3) non-profit organization            .                         hf1pi//bCf5.ladtv.ofQ/index.cf{r)?nxt=ee&nxi bodv=div occ Iwo f^rrns.cfm
  Occupational license required      ■                  ■                 LW 10 - OCC Exemption Form
  Collective bargaining agreement w/supersesslon language                 httn7/bcaiacitvom/iDdftx.r.fm'^nxt=ce&nx1 bodv=riiv ac.r. Iwo fpprr^.cfrr)
  Small Business                                                          LW 26 - Small Business Exemption Form (English & Spanish)

  Governmental Entity                                NONE REQUIRED.
                SECTION IV: SUBCONTRACTS SUBJECT TO THE LWO (AND NOT ELIGIBLE FOR EXEMPTIONS)
  Please have EACH of your Subcontractors that ARE SUBJECT to the LWO fill out the three forms below. Submit LW-6 and LW-18
  ONLY to the Awarding Department (and supporting documentation, where applicable) and RETAIN LW-5 in vour office.
  1) Employee Information Form                                LW 6 - htioV/bca.IsciSv Dro/index.cfm?nxl=esS-nxt bodv=div non Iwo forms.cfm
  2) Subcontractor Information Form                           LW 18 - htto;t'bca.laritv.ara/index.cfm?nxt=ee&nxt bodv=dtv ncc Iwo forms.cfm
  3) Subcontractor Declaration of Compliance Form (retain)
                                                    SECTION V: SIGNATURE
  I understand that the Subcontractor Information provided herein is confidential and will be used by the City of Los Angeles, Office of Contract
  Compliance for the purpose of monitoring the Living Wage Ordinance.


   Print Name of Person Completing This Form                                   Signature of Person Completing This Form                                .


   Title                               Phone #                     Date
                                                   AWARDING DEPARTMENT USE ONLY:

 Dept:                     Dept Contact:                                    Contact Phone:                                     Contract#:


 Form OCC/LW-18, Rev. 8/08                                                     OFFICE OF CONTRACT COMPLIANCE, EEOE SECTION: (213) 847-2626
                                                                      2




                                                                                                                                                           Exhibit 8
                                                                                                                                                              8-182
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 184 of 221 Page ID
                                   #:529



     ENDNOTES FOR LWO SUBCONTRACTOR INFORMATION FORM
     \
      Non-Profit 501(c)(3) Organizations: A corporation claiming exemption under Section 10.37.1(g) of the LWO as a
    corporation organized under Section 501 (c)(3) of the United States Internal Revenue Code must provide the foliowing
    additional documents in support of the application for exemption:
    (A) A copy of the most recent IRS letter indicating that the contractor has been recognized as a non-profit corporation
    organized under section 501 (c)(3) of the United States internal Revenue Code.
    (B) An application for non-coverage or exemption, including the non-profit salary certification on the form referred to in
    Appendix A. The salary certification must list the salary of the corporation's chief executive officer (CEO), computed on an
    hourly basis, and the hourly wage rate of the lowest paid worker in the corporation. The salary of the CEO, when computed
    on an hourly basis, must be less than 8 times what the lowest paid worker is paid on an hourly basis. For purposes of this
    exemption, the ’’chief executive officer (CEO)" means the CEO of the 501 (c)(3) corporation that entered into the agreement
    2 One-Person Contractor: A contractor may apply for exemption under Section 10.37.1 (f) of the LWO if that contractor has
    no employees. The one-person contractor shall submit an application for non-coverage or exemption to the awarding
    authority on the form referred to in Appendix A with the appropriate one-person contractor certification. If, subsequent to the
    approval of the exemption application, the contractor hires any employees, the exemption is no longer valid. Any employee
    the contractor hires becomes covered by the LWO to the extent that the employee performs work on the City agreement. In
    such cases, the contractor shall notify the awarding authority of the change in circumstances and submit to the awarding
    authority all the necessary forms to comply with the LWO reporting requirements, including the employee and subcontractor
    information forms.
    3 Exemption by Collective Bargaining Agreement - LAAC10.37.12: An employer subject to provisions of the LWO
    may, by collective bargaining agreement (CBA), provide that the CBA, during its term, shall supersede the requirements of
    the LWO for those employees covered by the CBA. The provisions of the LWO should not be interpreted to require an
    employer to reduce the wages and benefits required by a collective bargaining agreement. All parties to the CBA must
    specifically waive in full or in part the benefits required by the LWO. An employer applying for this exemption shall submit a
    copy of the CBA, If the CBA does not specifically indicate that the LWO has been superseded, the employer shall submit
    written confirmation from the union representing the employees working on the agreement that the union and the employer
    have agreed to let the CBA supersede the LWO.
    (A) Provisional Exemption from LWO during negotiation of CBA: An employer subject to the LWO may apply for Provisional
    Exemption from the LWO if the employer can document that: (1) the union and the employer are currently engaged in
    negotiations regarding the terms of the CBA; and (2) the issue of allowing the CBA to supersede the LWO has been
    proposed as an issue to be addressed during the negotiations. If granted, Provisional Exemption status is valid until the end
    of the negotiation process, including, if applicable, impasse resolution proceedings. During the negotiation process, the
    employer shall provide, upon request from the OCC, status reports on the progress of negotiations. At the end of the
    negotiation process, the employer shall provide the OCC with a copy of the final CBA to verify whether the LWO has been
    superseded, and the effective dates of the CBA.                   .
    (i) If the final CBA signed by the employer and the union supersedes the LWO, the employer shall be considered to be
    exempt from the LWQ’s wage and benefits provisions for the time period covered by the effective dates of the superseding
    CBA. The employer remains subject to all applicable provisions of the LWO for the time period not covered by the
    superseding CBA. If the employer has not complied with the LWO requirements during the time period not covered by the
    superseding CBA, the employer shall be required to make retroactive corrections for any period of non-compliance, which
    may include making retroactive payments to affected employees for the relevant periods of non compliance.
    (ii) If the final CBA signed by the employer and the union does not supersede the LWO, the employer shall be required to
    comply with all applicable LWO requirements, including the wage and benefits provisions. Compliance shall also be
    required retroactively to the date that the employer first became subject to the LWO. If necessary, the employer shall
    provide retroactive payments to affected employees for any time period during which the employer did not comply with the
    LWO,
    4 Occupational license - LAAC 10.37.1(f); Exemptions for Employees Requiring Occupational Licenses: If an
    employer claims that the LWO does not apply to an employee pursuant to section 10.37.1 (f) because an occupational
    license is required of the employee to perform the work, the employer shall submit to the awarding authority, along with the
    application for non-coverage or exemption, a list of the employees required to possess an occupational license, the type of
    occupational license required, and a copy of the occupational license itself. An exemption granted under this provision
    exempts only the employee who must possess an occupational license to perform work on the City agreement. If an
    occupational license is not required of an employee to perform the work, the employee remains covered by the LWO.5

    5 Small Business Exemptions for Public Lessees and Licensees - LAAC 10.37.1(i): A public lessee or licensee
    claiming exemption from the LWO under section 10.37.1 (i) shall submit the small business application for exemption form
    referred to in Appendix A along with supporting documentation to verify that it meets both of the following requirements:




                                                                                                                      Exhibit 8
                                                                                                                         8-183
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 185 of 221 Page ID
                                   #:530



     (A) The lessee’s or licensee’s gross revenues from all business(es) conducted on the City premises for the calendar year
    prior to the date of the application for exemption do not exceed the gross annual revenue amount set by the LWO in
    Section 10.37.1 (i). That gross revenue amount shall be adjusted annually according to the requirements of the LWO. The
    gross revenue amount used in evaluating whether the lessee or licensee qualifies for this exemption shall be
    the gross revenue amount in effect at the time the OCC receives the application for exemption.
   A public lessee or licensee beginning its first year of operation on a specific City property wili have no records of gross
   annual revenue on the City property. Under such circumstances, the lessee or licensee may qualify for a small business
   exemption by submitting proof of its annual gross revenues for the last tax year prior to application no matter where the
   business was located, and by satisfying all other requirements pursuant to these regulations and the LWO.

   A lessee or licensee beginning its first year of operation as a business will have no records of gross annual revenue. Under
   such circumstances, the lessee or licensee may qualify for a small business exemption by satisfying ail other requirements
   pursuant to these regulations and the LWO.
   (S) The lessee or licensee employs no more than seven (7) employees.
   (i) For purposes of this exemption, a lessee or licensee shall be deemed to employ a worker if the worker is an employee of
   a company or entity that is owned or controlled by the lessee or licensee, regardless of where the company or entity is
   located; or if the worker is an employee of a company or entity that owns or controls the lessee or licensee, regardless of
   where the company or entity is located.
  Whether the lessee or licensee meets the seven (7) employee limit provided for in Section 10.37.1(1) of the LWO shall be
  determined using the total number of workers employed by all companies or businesses which the lessee or licensee owns
  or controls, or which own or control the lessee or licensee. Control means that one company owns a controlling interest in
  another company.
  (ii) If a business operated by the lessee or licensee is part of a chain of businesses, the total number of employees shall
  include all workers employed by the entire chain of businesses unless the business operated by the lessee or licensee is an
  independently owned and operated franchise.
  (iii) A public lessee or licensee shall be deemed to employ no more than seven (7) employees if its entire workforce
  (inclusive of those employees falling within the guidelines stated in subsections (i) and (ii) immediately above) worked an
  average of no more than 1,214 hours per month for af least three-fourths of the time period that the revenue limitation
  provided for in section 10.37.1 (i) is measured.
  Until the OCC approves the application for exemption, the lessee or licensee shall be subject to the LWO and shall comply
  with its requirements. If the OCC approves the application, the lessee or licensee shall be exempt from the requirements of
  the LWO for a period of two years from the date of the approval. The exemption will expire two years from the date of
  approval, but may be renewable in two-year increments upon meeting the requirements.

  6 Governmental Entities - LAAC 10.37.1(g): Agreements with governmental entities are exempt from the requirements
  of the LWO. If an agreement is exempt from the LWO because the contractor is a governmental entity, subcontractors
  performing work for the governmental entity on the agreement are also exempt.




                                                                                                                       Exhibit 8
                                                                                                                          8-184
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 186 of 221 Page ID
                                   #:531



                                     City of Los Angeles
                                                      CALIFORNIA




                                                   ERIC GARCETTI
                                                       MAYOR

                                          NOTICE TO EMPLOYEES
                                         LIVING WAGE ORDINANCE
       This employer is a contractor with the City of Los Angeles. This contract is subject to the
       Living Wage Ordinance (LWO).

       THESE ARE YOUR RIGHTS...
       1. Minimum hourly compensation:
          s $11.17/hour plus at least $1.25 an hour in health benefits, OR
          s $ 12.42/hour without health benefits.

           Airport Employees:
           S $11.17/hour plus at least $4.87 an hour in health benefits, OR
           ■/ $ 16.04/hour without health benefits

       2. Minimum days off:
          v' 12 compensated days off per year (including holidays) for sick leave, vacation or
             personal necessity at the employee’s request.
               •    A full-time employee should accrue one day per month.
               •    Unused compensated time off must be carried over for at least one year.
               AND
           s 10 additional uncompensated days off per year for family or personal illness.
             * Time off must be available to employees after 6 months of employment.

       3. Tax Credit:
          y Employees earning less than $12/hour may be eligible to apply for the Federal
               Earned income Tax Credit (EITC).
               *    Application forms are available from your employer. For additional information about the
                    EITC and obtaining forms, contact the Earned Income Tax Credit Hotline: 1-800-829-1040.
                                    FOR ADDITIONAL INFORMATION OR ASSISTANCE, CALL.:
                                                          City Of Los Angeles
                                                     Department of Public Works
                                                    Office of Contract Compliance
                                                 1149 S. Broadway Street, Suite 300
                                                       Los Angeles, CA 90015
                                             Phone: {213) 847-2625 - Fax: (213) 847-2777




       Form OCC/LW-11, Rev. 06/15




                                                                                                      Exhibit 8
                                                                                                         8-185
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 187 of 221 Page ID
                                   #:532



                                    City of Los Angeles
                                                  CALIFORNIA




                                                ERIC GARCETTf
                                                    MAYOR

                                     AVISO PARA EMPLEADOS
                                  ORDENANZA DEL SUELDO DIGNO
       Este empleador tiene contrato con la Ciudad de Los Angeles. Este contrato esta sujeto a ia
       Ordenanza del Sueldo Digno (Living Wage Ordinance) de la Cuidad de Los Angeles.

      ESTOS SON SUS DERECHOS...
      1. Una compensacion minima, por hora de:
         s $11.17/hora mas un minimo de $1.25/hora para el pago de beneficios medicos, O
         s $12.42/hora sin beneficios medicos.

          Empleados trabajando en contractos otorgardos por el Departamento del
          Aeropuerto:
          s $11.17/hora mas un minimo de $4.87/hora para el pago de beneficios medicos, O
          v' $16.04/hora sin beneficios medicos.

      2. Dias libres, al minimo:
         S 12 dias pagados cada aho (dias de fiesta incfuidos) por razones personates, la
            enfermedad, o vacacion,
              • Los empleados Tull-time" deben acumularse un dfa cada mes.
              • Dias acumulados y no utilizados deben coniinuar adelante al menos un aho.
              Y TAMB1EN
          S 10 dias fibres adicionaies cada aho, no pagados, por la enfermedad de Ud. o
              algun miembro de su familia.
              •   Despues de 6 meses de empleo, Ud. puede hacer uso de sus dias libres.

     3. Credlto sobre ingresos del trabajo:
          s Si Ud. gana menos de $12 por hora posiblemente ser& eligible para el "Credito por Ingreso del
            Trabajo” (Earned Income Tax Credit, EITC). Puede pedir un formulario de su empleador.
            Para mas informacidn sobre ef EITC y pedir formularios, llame a la linea informativa del EITC:
            1-800-829-1040.
                                   PARA MAS INFORMACION, PUEDE LLAMAR:
                                                    City of Los Angeles
                                               Department of Public Works
                                              Office of Contract Compliance
                                           1149 S. Broadway Street, Suite 300
                                                 Los Angeles, CA 90016
                                     Tetefono: (213) 847-2625 -Fax: (213) 847-2777




     Form OCC/LW-11, Rev. 06/15




                                                                                                       Exhibit 8
                                                                                                          8-186
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 188 of 221 Page ID
                                   #:533




                                     City      of Los Angeles
                                                CALIFORNIA




                                                  ERIC GARCETTI
                                                       MAYOR


                                  NOTICE TO EMPLOYEES
                             WORKING ON CITY CONTRACTS
                            RE: LIVING WAGE ORDINANCE AND
                           PROHIBITION AGAINST RETALIATION
           “Section 10.37.5 Retaliation Prohibited" of the Living Wage Ordinance (LWO) provides that
           any employer that has a contractual relationship with the City may not discharge,'reduce
           the pay of, or discriminate against his or her employees working under the City contract for
           any of the following reasons:

           1.       Complaining to the City if your employer is not complying with the Ordinance.

           2.       Opposing any practice prohibited by the Ordinance.

           3.     Participating in proceedings related to the Ordinance, such as serving as a witness
           and testifying in a hearing.

           4.       Seeking to enforce your rights under this Ordinance by any lawful means.

           5.       Asserting your rights under the Ordinance.

           Also, you may not be fired, lose pay or be discriminated against for asking your employer
           questions about the Living Wage Ordinance, or asking the City about whether your
           employer is doing what is required under the LWO.         If you are fired, lose pay, or
           discriminated against, you have the right to file a complaint with the City’s Equal
           Employment Opportunity Enforcement Section, as well as file a claim in court.

           For more information, or to obtain a complaint form, please cali the Equal Employment
           Opportunity Enforcement Section at (213) 847-2625.

                                            CITY OF LOS ANGELES
                                          Department of Public Works
                                       Bureau of Contract Administration
                                         Office of Contract Compliance
                                       1149 S. Broadway Street, Suite 300
                                             Los Angeles, CA 90015
                                   Phone: (213) 847-2625 - Fax: (213) 847-2777

           Rev. 07/13




                                                                                                          Exhibit 8
                                                                                                             8-187
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 189 of 221 Page ID
                                   #:534




                                    City        of     Los Angeles
                                                  CALIFORNIA




                                                 ERIC GARCETTI
                                                      ALCALDE


                      AVISO A EMPLEADOS TRABAJANDO
                       BAJO CONTRATOS DE LA CIUDAD
              CON RESPECTO A: LA ORDENANZA DE SUELDOS DIGNOS
                      Y LA PROHIBICION A REPRESALIAS
          “La seccion 10.37.5 prohibe las represalias" bajo la Ordenanza de Sueldos Dignos.
          Esta seccion provee que cualquier empleador que tiene un contrato con fa ciudad no
          puede despedir, reducir el pago, o discriminar a sus empfeados (as) que trabajan bajo
          un contrato de la Ciudad por ninguna de ias siguientes razones:

          1.         Por quejarse a la ciudad si su empleador no esta cumpliendo con la Ordenanza.

         2.          Por oponerse a cualquier practica que sea prohibida por la Ordenanza.

         3.          Por participar en cualquier proceso relacionado a la Ordenanza, como por
                     ejemplo servtr de testigo y testificar en una audtencia.

         4.          Por buscar procesos legales para hacer cumplir sus derechos bajo la
                     Ordenanza.

         5.          Por afirmar sus derechos bajo ia Ordenanza.

        Tambien, usted no puede ser despedido(a), perder su sueldo, o ser discriminado por
        hacer preguntas a su empleador sobre la Ordenanza de Sueldos Dignos, o por
        preguntarle a la Ciudad si su empleador esta cumpliendo con los requerimientos de la
        Ordenanza. Si usted es despedido(a), pierde su sueldo, o es discriminado, usted tiene
        el derecho de presentar una queja a la Oficina de la Seccion de Sueldos Dignos de la
        Ciudad, asi como tambien presentar una demanda legal en corte.

        Para mas informacion, o para obtener un formulario de quejas, por favor ilame a la
        Oficina de la Seccion de Sueldos Dignos de la Ciudad al (213) 847-2625.

                                                 City of Los Angeles
                                             Department of Public Works
                                         Bureau of Contract Administration
                                           Office of Contract Compliance
                             1149 S. Broadway Street, Suite 300, Los Angeles, CA 90015
                                    Phone: (213) 847-2625 - Fax: (213) 847-2777
        Rev. 07/13




                                                                                                     Exhibit 8
                                                                                                        8-188
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 190 of 221 Page ID
                                   #:535




                 Exhibit G: Contractor Responsibility Ordinance




                                                                   Exhibit 8
                                                                      8-189
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 191 of 221 Page ID
                                   #:536


                                                                                                                           SERVICE

                                                     CITY OF LOS ANGELES
                                                RESPONSIBILITY QUESTIONNAIRE
        RESPONSES TO THE QUESTIONS CONTAINED IN THIS QUESTIONNAIRE MUST BE SUBMITTED ON THIS FORM.
        In responding to the Questionnaire, neither the City form, nor any of the questions contained therein,
        may be retyped, recreated, modified, altered, or changed in any way, in whole or in part. Bidders or
        Proposers that submit responses on a form that has been retyped, recreated, modified, altered, or
        changed in any way shall be deemed non-responsive.

        The signatory of this Questionnaire guarantees the truth and accuracy of all statements and answers to the
        questions herein. Failure to compiete and return this questionnaire, any false statements, or failure to answer
        (a) question(s) when required, may render the bid/proposai non-responsive. Aj! responses must be typewritten
        or printed in ink. Where an explanation is required or where additional space Is needed to explain an answer,
        use the Responsibility Questionnaire Attachments. Submit the completed form and all attachments to the
       awarding authority. Retain a copy of this completed form for future reference. Contractors must submit
       updated information to the awarding authority if changes have occurred that would render any of the responses
       inaccurate in any way. Updates must be submitted to the awarding authority within 30 days of the chartgefsj.

      A.    CONTACT INFORMATION


      CITY DEPARTMENT INFORMATION
     Pi/Jolfc- Works / feurerux. ok Sa/vM-Ufcpn                              U’gc\ CfUrWn                     2l3-4^S-22AO
      City Department/Division Awarding Contract .                            City Contact Person               Phone

     R.TP                    E>(elusive T-ro/indvise St\£>Wv\ fuv UxAvuctp^Ji, -SbUci vjolte. CcilpcViDA                         om.A
      City Sid or Contract Number (If applicable) and Project Title
                                                                                                                 HdvwAU’wg.


     BIDDER/CONTRACTOR INFORMATION
       NASA Services,             Inc
     Sidder/Proposer Business Name

       1100     S.    Maple Ave-                                      Montebello                     CA           9064 0
     Street Address                                                   City                          State        Zip
       Jack Topslian                                                      888-888-0388                      323-888-0398

     Contact Person, Title                                                            Phone                      Fax


    TYPE OF SUBMISSION;

    The Questionnaire being submitted is:

    □ An initial submission of a completed Questionnaire.
                                                      11         25        2013
    53 An update of a prior Questionnaire dated            /          /           .

    □ No change, i certify under penalty of perjury under the laws of the State of California that there has been no
      change to any of the responses since the last Responsibility Questionnaire dated              /       /
      was submitted by the firm. Attach a copy of that Questionnaire and sign below.

         Jack Topalian,General Manager                     Cfe*-           lc>
         Print Name, Title                           Signature                                       Date



   TOTAL NUMBER OF PAGES SUBMITTED, INCLUDING ALL ATTACHMENTS:



   RespBSQiliil&’fcSQfiM&re (Rev. 01/20/12)                                                                    Page 19       i




                                                                                                                         Exhibit 8
                                                                                                                            8-190
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 192 of 221 Page ID
                                   #:537



                                                                                                                    SERVICE
      B, BUSINESS ORGANIZATION/STRUCTURE
      Indicate the organizational structure of your firm. "Firm" includes a sole proprietorship, corporation, joint
      venture, consortium, association, or any combination thereof,


      13 Corporation: Date incorporated: ^2 / 07 /                       State of incorporation:   CA._______ _
          List the corporations current officers.
                  President:        Arsen Sarkisian               _____ __                                   _
                  'VicePresident    Nick Sarkisian                                                   ______ _______
                  Secretary:   _ _ Mick Sarkisian ,                      __________                     ____
                 Treasurer:____     HxcR Sarkisian
            □ Check the box only if your firm is a publicly traded corporation,
            List those who own 5% or more of the corporation's stocks. Use Attachment A if more space is needed.
            Publicly traded corporations need not list the owners of 5% or more of the corporation’s stocks.




      □ Limited Liability Company: Date of formation:     /    /       State of formation:________
          List members who own 5% or more of the company. Use Attachment A if more space Is needed.




      □ Partnership: Date formed:                 /       /        State of formation:____
           List all partners in your firm. Lise Attachment A if more space is needed.




      □ Sole Proprietorship: Date started:        /      /.
         List any ftrm(s) that you have been associated with as an owner, partner, or officer for the last five years.
         Use Attachment A if more space is needed. Do not include ownership of stock in a publicly traded
         company in your response to this question.




     □ Joint Venture:          Date formed:           /       /
           List: (i) each firm that is a member of the joint venture and (2) the percentage of ownership the firm wii!
           have Iri the joint venture. Use Attachment A if more space is needed, Each member of the Joint
           Venture must complete a separate Questionnaire for the Joint Venture’s submission to be
           considered as responsive to the invitation.




             POLICY FORMS                                                                                         Page 20

     Responsibility Questfcmnare (Rev 01/20/12)




                                                                                                                      Exhibit 8
                                                                                                                         8-191
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 193 of 221 Page ID
                                   #:538


                                                                                                                         SERVICE

          C.      OWNERSHIP AND NAME CHANGES

          1     Is your firm a subsidiary, parent, holding company, or affiliate of another firm?

                □ Yes       3 No

                 If Yes, explain on Attachment A the relationship between your firm and the associated firms. Include
                information about an affiliated firm only if one firm owns 50% or more of another firm, or if an owner,
                partner or officer of your firm holds a similar position in another firm.

      2.       Has any of the firm's owners, partners, or officers operated a similar business in the past five years?

               □ Yes       3 No

               If Yes, list on Attachment A the names and addresses of all such businesses, and the person who
               operated the business. Include information about a similar business only if an owner, partner or officer of
               your firm holds a similar position in another firm.

     3.        Has the firm changed names in the past five years?
              □ Yes       3 No

              if Yes, list on Attachment A all prior names, addresses, and the dates they were used. Explain the reason
              for each name change in the last five years,

     4.       Are any of your firm’s licenses held in the name of a corporation or partnership?

              □ Yes      0 No

              ff Yes, list on Attachment A the name of the corporation or partnership that actually holds the license.




    Blcfders/Contractors must continue on to Section D and answer ail remaining questions
    contained in this Questionnaire,

    The responses in this Questionnaire will not be made available to the public for review. This is not a
    public document [ CPCC §201G1(a) ]




                             (Rev. 01/ZO/12)                                                               Page 21         3




                                                                                                                         Exhibit 8
                                                                                                                            8-192
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 194 of 221 Page ID
                                   #:539



                                                                                                                  SERVICE


       D. FINANCIAL RESOURCES AND RESPONSIBILITY

       5.   is your firm now, or has it ever been at any time in the last five years, the debtor in a bankruptcy case?

            □ Yes         3 No

            if Yes, explain on Attachment B the circumstances surrounding each instance.

      6.    is your company in the process of, or in negotiations toward, being sold?

            □ Yea         0 No

            if Yes, explain the circumstances on Attachment B.


      E. PERFORMANCE HISTORY

      7.    How many years has your firm been in business?             56     Years.

      8     Has your firm ever held any contracts with the City of Los Angeles or any of its departments?

            & Yes         □ No

            if, Yes, list on an Attachment B al! contracts your firm has had with the City of Los Angeles for the last 10
            years. For each contract fisted in response to this question, indude: (a) entity name; (b) purpose of
            contract; (c) total cost; (cf) starting date; and (e) ending date.

      9.    List on Attachment B ail contracts your firm has had with any private or governmental entity {other than the
            City of Lcs Angeles) over the last five years that are similar to the work to be performed on the contract for
            which you are bidding or proposing. For each contract listed in response to this question, include: {a) entity
            name; (b) purpose of contract; {c) totai cost; (d) sterling date; and (e) ending date,

            □ Check the box if you have not had any similar contracts in the last five years

      10. In the past five years, has a governmental or private entity or individual terminated your firm’s contract prior
          to completion of the contract?                                                         .

            □ Yes         m   No

            if Yes, explain on Attachment B the circumstances surrounding each instance.

      11. tn the past five years, has your firm used any subcontractor to perform work on a government contract
          when you knew that the subcontractor had been debarred by a governmental entity?

            □ Yes         &   No

            if Yes, explain on Attachment B the circumstances surrounding each instance.

      12. In the past five years, has your firm been debarred or determined to be a non-responsibie bidder or
          contractor?

            □ Yes        S Nc

            if Yes, explain on Attachment B the circumstances surrounding each instance.




              POLICY FORMS                                                                                    Page 22
      R&sponsibiSty Questionnaire (Rev 0^ f%0/12}                                                                        4




                                                                                                                   Exhibit 8
                                                                                                                      8-193
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 195 of 221 Page ID
                                   #:540



                                                                                                                        SERVICE
           F.       DISPUTES

           13.        fn the past five years, has your firm been the defendant in court on a matter related to any of the following
                  issues? For parts (a) and (b) below, check Yes even if the matter proceeded to arbitration without court
                  litigation. For part (c), check Yes only if the matter proceeded to court litigation. If you answer Yes to any of
                  the questions below, explain the circumstances surrounding each instance on Attachment B. You must
                 include the following in vcur response: the name of the plaintiffs in each court case, the specific causes of
                 action in each case: the date each case was filed: and the disnosition/current status of each case.

                 (a) Payment to subcontractors?                                                                              '

                □ Yes        @ No

                (b) Work performance on a contract?

                □ Yes        ® No

                (c) Emp/oymenf-reiated litigation brought by an employee?
                □ Yes       @3 No

       14. Does your firm have any outstanding judgements pending against it?

              □ Yes         S No

              If Yes, explain on Attachment B the circumstances surrounding each instance.

      15. In the past five years, has your firm been assessed liquidated damages on a contract?

            □ Yes          0 No •

            If Yes, explain on Attachment fi the circumstances surrounding each Instance and identify all such
            projects, the amount assessed and paid, and the name and address of the project owner.

     G. COMPLIANCE

     16.     fn the past five years, has your firm or any of Its owners, partners or officers, ever been investigated, cited,
           assessed any penalties, or been found to have violated any laws, rules, or regulations enforced or
           administered, by any of the governmental entities fisted on Attachment C {Page 9)? For this question, the
           term “owner" does not include owners of stock in your firm if your firm is a publicly traded corporation.

           □ Yes          0 No

           If Yes, explain on Attachment B the circumstances surrounding each instance, including the entity that was
           involved, the dates of such instances, and the outcome.

    17,     If a license is required to perform any services provided by your firm, in the past five years, has your firm,
          or any person employed by your firm, been investigated, cited, assessed any penalties, subject to any
          disciplinary action by a licensing agency, or found to have violated any licensing laws?

          □ Yes          0 No

          If Yes, explain on Attachment B the circumstances surrounding each instance in the last five years.




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                                                                                                             Page 23
   Responsi




                                                                                                                        Exhibit 8
                                                                                                                           8-194
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 196 of 221 Page ID
                                   #:541



                                                                                                                  SERVICE
      18. In the pest five years, has your firm, any of its owners, partners, or officers, ever been penalized or given a
          letter of warning by the City of Los Angeles for failing to obtain authorization from the City for the
          substitution of a Minority-owned (MBE), Women-owned (WBE), or Other (OBE) business enterprise?

           □ Yes          § No

           If Yes, explain on Attachment 8 the circumstances surrounding each instance in the last five years.

      H, BUSINESS INTEGRITY

      19. For questions (a), (b), and (c) below, check Yes tf the situation applies to your firm. For these questions,
          the term ‘firm" includes any owners, partners, or officers in the firm. The term “owner" does not include
          owners of stock in your firm if the firm is a pubiiciy traded corporation. If vou check Yes to any of the
          questions beiow. explain on Attachment B the circumstances surrounding each instance.

           (a) Is & governmental entity or public utility currently investigating your firm for making (a) false ciaim(s} or
               material misrepresentation(s)?
                □ Yes        @ No

           (b) In the past five years, has a governmental entity or public utility alleged or determined that your firm
               made (a) false ciaim(s) or material misrepresentation^)?
                □ Yes       £ No

          (c) In the past five years, has your firm been convicted or found liable in a civil suit for, making (a) false
              claim(s) or material misrepresentation(s) to any governmental entity or public utility?

                □ Yes       £ No

     20. in the past five years, has your firm or any of its owners or officers been convicted of a crime involving the
         bidding of a government contract, the awarding of a government contract, the performance of a
         government contract, or the crime of fraud, theft, embezzlement, perjury, bribery? For this question, the
         term "owner" does not include those who own stock in a publicly traded corporation.

          □ Yes          £ No

          If Yes, explain on Attachment B the circumstances surrounding each instance.




                                            certification under penalty of perjury


     i certify under penalty of perjury under the laws of the State of California that t have read and understand the
     questions contained in this questionnaire and the responses contained on ali Attachments, i further certify that
     i have provided foil and complete answers to each question, and that at! information provided in response to


                                                                                                          IMS-If
                                                                                                           Date




              POLICY FORMS                                                                                     Page 24
     Responsibility Questionnaire (Rev, 01/20/12}                                                                         6




                                                                                                                    Exhibit 8
                                                                                                                       8-195
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 197 of 221 Page ID
                                   #:542



                                                                                                             SERVICE
                                       ATTACHMENT A FOR SECTIONS A THROUGH C

        Where additional information or an explanation is required, use the space below to provide the information or
        explanation, information submitted on this sheet must be typewritten or printed in ink. include the number of
        the question for which you are submitting additional information. Make copies of this Attachment if additional
        pages are needed.
        Page____




                                                                                                                    I




   RespB9&i6'VSft8MtSire (Rev, 01/20/12)                                                           Page 25      '




                                                                                                             Exhibit 8
                                                                                                                8-196
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 198 of 221 Page ID
                                   #:543



                                                                                                          SERVICE
                                            ATTACHMENT 8 FOR SECTIONS D THROUGH H

      Where additional information or an explanation Is required, use the space below to provide the information or
      explanation. Information submitted on this sheet must be typewritten or printed in Ink. Include file number of
      the question for whicn you are submitting additional information. Make copies of this Attachment if additional
      pages are needed.
      Pago___ _



            Eeld prior contracts with: City of Loa Angeles for Commercial Recycling
            Pilot Program
            Currently have an exclusive solid waste management contract for
            residential, commercial and C&D collection with the City of Pico
            Rivera. The contract commenced July 1, 2012
            Currently have a contract with the City of Los Angeles for the
            collection of multifamily recycling containers.




                                                                                                         S9SSS!
              POLICY FORMS                                                                             Page 26
     Responsibility Questionnaire (Re\i 0! /ZGI! 2)                                                               8




                                                                                                            Exhibit 8
                                                                                                               8-197
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 199 of 221 Page ID
                                   #:544



                                                                                                                               SERVICE
                                          ATTACHMENT C: GOVERNMENTAL ENTITIES FOR QUESTION NO. 16

               Check Yes fn response to Question No. 16 if your firm or any of its owners, partners or officers, have ever
               been investigated, cited, assessed any penalties, or found to have violated any faws, rufes, or regulations
               enforced or administered, by any of the governmental entities listed below (or &ny of its subdivisions), including
               but not limited to those examples specified below. The term “owner" does not include owners of stock in your
              firm if your firm is a pubiiciy traded corporation. If you answered Yes, provide an expianation on Attachment B
              of the circumstances surrounding each instance, including the entity involved, the dates of such instances, and
              the outcome.

                     FEDERAL ENTITIES                                           STATE ENTITIES

                   Federal Department of Labor                                  California's Department of industrial Relations
                 *       American with Disabilities Act                         * wage and labor standards, and licensing and
                 *       immigration Reform and ControlAct                         registration     _
                 *       Family Medical Leave Act                              * occupational safety and health standards
                 *      Fair Labor Standards Act                               * workers’ compensation self insurance plans
                 »      Davis-Bacon and laws covering wage requirements        * Workers' Compensation Act
                        for federal government contract workers                * wage, hour, and working standards for apprentices
                 *     Migrant and Seasonal Agricultural Workers               « any provision of the California Labor Code
                       Protection Act
              *        Immigration and Naturalization Act                   California’s Department of Fair Employment and
              «■       Occupational Safety and Health Act                   Housing
              *        anti-discrimination provisions applicable to         *     California Fair Employment and Housing Act
                       government contractors and subcontractors            *     Unruh Civil Rights Act
              *        whistleblower protection laws                        *     Ralph Civil Rights Act

              Federal Department of Justice                                 California Department of Consumer Affairs
             *        Civil Rights Act                                      *    licensing, registration, and certification
             *        American with Disabilities Act                             requirements
             *        Immigration Reform and Control Act of 1986           *     occupational licensing requirements administered
             *        bankruptcy fraud and abuse                                 and/or enforced by any of the Department’s
                                                                                 boards. Including the Contractors' State Licensing
          Federal Department of Housing and Urban                                Board
          Development (HUD)
          -           anti-discrimination provisions in federally          California’s Department of Justice
                      subsidized/assisted/sponsored housing programs
         •>           prevailing wage requirements applicable to HUD       LOCAL ENTITIES
                      related programs
                                                                           City of Los Angeles or any of its subdivisions For
         Federal Environmental Protection Agency                           violations of any law, ordinance, code, rule, or
         *            Environmental Protection Act                        regulation administered and/or enforced by the City,
                                                                          including any letters of warning or sanctions issued by
      National Labor Relations Board                                      the City of Los Angeles for an unauthorized substitution
      *              National Labor Relations Act                         of subcontractors, or unauthorized reductions in dollar
                                                                          amounts subcontracted.
     Federal Equal Employment Opportunity
     Commission                                                           OTHERS
     *               Civil Rights Act
                                                                          Any other federal, state, focal governmental entity
     *               Equal Pay Act
                                                                          for violation of any other federal, state, or local law or
     «               Age Discrimination in Employment Act
                                                                          regulation relating to wages, labor, or other terms and
     *               Rehabilitation Act                                   conditions of employment.
     *               Americans with Disabilities Act




   Rest                               (Rev 0V20/12)                                                                Page 27         9




                                                                                                                               Exhibit 8
                                                                                                                                  8-198
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 200 of 221 Page ID
                                   #:545




                                               CITY OF LOS ANGELES
                                       CONTRACTOR RESPONSIBILITY ORDINANCE


                                CRO QUESTIONNAIRE RECEIPT VERIFICATION FORM

        To verify the Contractor Responsibility Ordinance’s (CRO) compliance, this form must be completed by the
        Awarding Authority and submitted to the appropriate Designated Administrative Agency (DAA) along with the
        Responsibility Questionnaires, Upon receipt of the Questionnaires, the DAA will return this signed form to the
        Awarding Authority. The Awarding Authority must attach the certified form to each draft contract for
        review by the Office of the City Attorney. No contract may be executed unless a certified Receipt
        Verification Form indicates that the CRO requirement has been met

        1.   Information Regarding Proposed Contract

        Project Name/Description: City-Wide Exclusive Franchise System for Municipal Solid Waste
                                  Collection and Handling
       RFB/RFQ/RFP # (if any):                                    Date RFB/RFQ/RFP Released; 06/12/2014
       Procuring Dept.:   Sanitation Bureau, Public Works                      Mail Stop #:  944
       Name of Dept. Contact:   Lisa Carlson                                   Phone: (213)485-2260

       2. Questionnaires Are Submitted for the Following Bidders/Proposers/Proposed Contractors:

       Company Name:    NASA Services, Inc.
       Company Address: 1100 S. Maple Ave.
       City: Montebello                                                State: CA                   Zip: 90640

       Company Name:
       Company Address:
       City:                                                           State:                      Zip:

       Company Name:___________________________ ______________________________
       Company Address:        _______________________________________________
       City:   _____________________ ___________ ,_______ State:_______________ Zip:

       Company Name:                    ...................... ...._...................................
       Company Address:_______ _________________________________________________
       City:________________________________ _____________ State:_______________ Zip:

                                 FOR DAA USE ONLY - VERIFICATION REGARDING RECEIPT

       The Responsibility Questionnaires for the bidders/proposers/prooosed contractors listed above were received
       on (date) 10/29/2014       ,

       The Questionnaires were processed by:

                 X    Dept, of Public Works for Construction Contracts and Service Contracts
               _____ Dept, of General Services for Procurement Contracts

       Authorized DAA Representative (Print Name)________ Marc Wright                                     Phone   1213) 847-2408

       DAA Representative Signature                                                                          Date        fEB 1 0 2.01&




       CRO Receipt Verification (Rev. 01/20/12)




                                                                                                                             Exhibit 8
                                                                                                                                8-199
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 201 of 221 Page ID
                                   #:546




                                       CITY OF LOS ANGELES
                  PLEDGE OF COMPLIANCE WITH CONTRACTOR RESPONSIBILITY ORDINANCE

           Los Angeles Administrative Code (LAAC) Section 10.40 et seq. (Contractor Responsibility Ordinance)
           provides that, unless specifically exempt, City contractors working under service contracts of at least
          $25,000 and three months, contracts for services and for purchasing goods and products that involve a
          value in excess of twenty-five thousand dollars ($25,000) and a term in excess of three months are
          covered by this Article; and construction contracts of any amount; public lessees; public licensees; and
          certain recipients of City financial assistance or City grant funds, shall comply with all applicable
          provisions of the Ordinance. Upon award of a City contract, public lease, public license, financial
          assistance or grant, the contractor, public lessee, public licensee, City financial assistance recipient, or
          grant recipient, and any its subcontractor(s), shall submit this Pledge of Compliance to the awarding
          authority.

          The contractor agrees to comply with the Contractor Responsibility Ordinance and the following
          provisions:

            (a) To comply with ail federal, state, and local laws in the performance of the contract, including but not
                 limited to laws regarding health and safety, labor and employment, wage and hours, and licensing
                laws, which affect employees.
           (b) To notify the awarding authority within 30 calendar days after receiving notification that any
                governmental agency has initiated an investigation which may result in a finding that the contractor
                did not comply with any federal, state, or local iaw in the performance of the contract, including but
                not limited to laws regarding health and safety, labor and empioyment, wage and hours, and licensing
                laws, which affect employees.
           (c) To notify the awarding authority within 30 calendar days of all findings by a governmental agency or
                court of competent jurisdiction.that the contractor has violated any federal, state, or local law in the
                performance of the contract, including but not limited to laws regarding health and safety, labor and
                employment, wage and hours, and licensing laws which affect employees.
          (d) If applicable, to provide the awarding authority, within 30 calendar days, updated responses to the
                Responsibility Questionnaire if any change occurs which would change any response contained
                within the Responsibility Questionnaire and such change would affect the contractor's fitness and
                ability to continue the contract.
          (e) To ensure that subcontractors working on the City agreement (including contractors or subcontractors
               of a public lessee, licensee, sublessee, or sublicensee that perform or assist in performing services
               on the leased or licensed premises) shall comply with all federal, state, and iocaf laws in the
               performance of the contract, including but not limited to laws regarding health and safety, labor and
               employment, wage and hours, and licensing laws, which affect employees.
         (f) To ensure that subcontractors working on the City agreement (including contractors or subcontractors
               of a public lessee, licensee, sublessee, sublicensee that perform or assist in performing services on
               the leased or licensed premises) submit a Pledge of Compliance.
         (g) To ensure that subcontractors working on the City agreement (including contractors or subcontractors
               of a public lessee, licensee, sublessee, or sublicensee that perform or assist in performing services
               on the leased or licensed premises) shall comply with paragraphs (b) and (c).

        Failure to complete and submit this form to the Awarding Authority may result in withholding of
        payments by the City Controller, or contract termination.



        Company Name, Address and Phone Number



        Signature of Officer or Authorized Representative                                   Date



        Print Name and Title of Officer or Authorized Representative



        Awarding City Department                                                            Contract Number

        SRIS/CRO-3, Pledge of Compliance (Rev. 5/07/2014)




                                                                                                                           Exhibit 8
                                                                                                                              8-200
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 202 of 221 Page ID
                                   #:547




                 Exhibit H: Business Tax Registration Certificate




                                                                    Exhibit 8
                                                                       8-201
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 203 of 221 Page ID
                                   #:548




                                                       THIS CERTIFICATE MUST BE POSTED AT PUCE OF BUSINESS



                                CITY OF LOS ANGELES TAX REGISTRATION CERTIFICATE
                                                     THIS CERTIFICATE £ GOOD UNTILSUSPENDEO OR CANCELLED
                                                                             BUSINESS TAX                          eeuED 9/2/20C7
                              ACCOUNT NO          T FUMC/CLASf           '          PEGCRlPnON              |        STARTED        STATUS
                        0002118773*000)-4               L048         Miscellaneous Services                 | 08101/1986           Active




                        NASA SERVICES INC
                        NASA SERVICES
                        ARSEN SARKISIAN
             0 i        1701 GAGE ROAD
             w 0        MONTEBELLO. CA 90640-6503
            l|S    ^    1701 GAGE ROAD            -                                                             ISSue D BY*.
            /■!         MONTEBELLO, CA 90640^6503
                                                                                                                         .P-• C\spi£)S*j*U2'
                                                                                                                         OmECTOR OF FINANCE


                  NOTIFY THE OFFICE OF FINANCE IN WVUTMG OF ANY CHANGE IN OWNERSHIP OR ADDRESS       r-Cv MX 33200, UJ9 AN0CLC9 CA MCAS-OMO
                  FORM 2000   (r«v.6/0l)                           IMPORTANT - R« AD REVERSE SI D£




    POLICY FORMS                                                                                                               Page 33




                                                                                                                                              Exhibit 8
                                                                                                                                                 8-202
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 204 of 221 Page ID
                                   #:549




                  Exhibit I: Los Angeles Residence Information




                                                                   Exhibit 8
                                                                      8-203
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 205 of 221 Page ID
                                   #:550




                                        Los Angeles Residence Information



         The City Council in consideration of the importance of preserving and enhancing the economic
         base and well-being of the city encourages businesses to locate or remain within the City of Los
         Angeles, This is important because of the jobs businesses generate and for the business taxes
         they remit. The City Council, on January 7, 1992, adopted a motion that requires proposers to
         state their headquarters address as well as the percentage of their workforce residing in the City
         of Los Angeles.



        Organization:_____________________ NASA Services, Inc.

        I.          Corporate or Main Office Address:

                    11 QOS MapleAv__________

                    Montebello, CA 90640




        II        Total Number of Employees in Organization:       90

                   Number and Percentage of Employees in Organization who are Los Angeles City
                   Residents:

                                                   17      and       19       %




                                                                                                              Exhibit 8
                                                                                                                 8-204
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 206 of 221 Page ID
                                   #:551




                        Exhibit J: Non-Collusion Affidavit




                                                                   Exhibit 8
                                                                      8-205
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 207 of 221 Page ID
                                   #:552




                                             Non-Collusion Affidavit

           The appropriate, authorized operator's designate must sign and affix the corporate seal
           (see space befow).



           I,      Arsen Sarkisian                     __________________ depose and say
           that i am

                President                               of            Services,     Inc.
           ("President”, "Vice President”, etc.)   '         (Name and Address of Organization)


          who submits this proposal to the City of Los Angeles, Department of Public Works,
          Bureau of Sanitation, and hereby declare that this proposal is genuine, and not sham or
          collusive, nor made in the interest or in behalf of any person not herein named and the
          proposer had not directly induced or solicited any other proposer to put in a sham
          proposal, or any other person, firm, or corporation to refrain from submitting a proposal,
          and that the proposer has not in any manner sought by collusion to secure for
          him/herseif an advantage over any other proposer.



          Date:   2/i//6
                  (l^onth, Cay, Year)
                                                       at    Montebello, CA
                                                             (City, State)




          (Corporate Seal)                                   i certify or declare under penalty of
                                                             perjury that the foregoing is correct




                                                             (Signature)




                                                                                                       Exhibit 8
                                                                                                          8-206
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 208 of 221 Page ID
                                   #:553



  ALL-PURPOSE ACKNOWLEDGMENT
                                                              «<X)OOOCOOOCOCOOC>SC<XX>OCOCKXXX>C>C


        A notary public or other officer completing this
        certificate verifies only the identity of the individual
        who signed the document to which this Certificate is
        attached, and not the truthfulness, accuracy, or
        validity of that document.

       State of California
                                                                                                  SS.
       County of__Lof                                                    _____________

       On                                            y        7-^Z   b       . before me,                           /fYif                _________ , Notary Public,
                                            DATE



       personally appeared.                                                                 k 1   s   ;'ce «                               who proved to me on the

       basis of satisfactory evidence to be the person^ whose named?/ is/a^ subscribed to the within instrument
                                                          and acknowledged to me that he/s]?d/tfe6y executed the
                                                          same in his/hgf/th^ir authorized capacity^), and that
                                                          by his/lj/r/fheir signature^ on *he instrument the
                                                          person^, or the entity upon behalf of which the
                                                          person^ acted, executed the instrument.

                                                                                                  I certify under PENALTY OF PERJURY under the
                                                ROBERT ALVARADO               P                   laws of the State of California that the foregoing
                                                   Com# 2124804               ,2                  paragraph is true and correct.
            If] bytf. JMz)pJ NOTARY PUBLIC-CALIFORNIA
            S \ \ ,CTr 7        Los Angela County      w                                          WITNESS my hand and official seal.
                            My Comm. Exp, Sep. 23,2019 f
                JN     9    IIJl jj ■ j.y   y   VH, .yug             j 0lf,V¥^l




                           PLACE NOTARY SEAL IN ABOVE SPACE                                              ~~          s'      NOTARY'S SSCTnATURE

                                                                           OPTIONAL INFORMATION
        The information below is optional. However, it may prove valuable and could prevent fraudulent attachment
        of this form to an unauthorized document.
         CAPACITY CLAIMED BY SIGNER (PRINCIPAL)                                                                  DESCRIPTION OF ATTACHED DOCUMENT
         Ff INDIVIDUAL
                                                                                                               /lA1 ■- &//j) 5~ •                        r______
         □           CORPORATE OFFICER____________________                                                                TITLE OR TYPE OF DOCUMENT
                                                                             TITLE(S)
                     PARTNER(S)
                                                                                                                                    /
                     ATTORNEY-IN-FACT                                                                                          NUMBER OF PAGES
                     GUARDIAN/CONSERVATOR
                                                                                                                                          , 2zy g,
                     SUBSCRIBING WITNESS
                                                                                                                              date of Document
                     OTHER: _                              ____________
                                                                                                                             A)/*
                                                                                                                                        OTHER

                                                                                                                   RIGHT
       SIGNER (PRINCIPAL) IS REPRESENTING:
       NAME OF PERSON! S) OR ENTITY UBS)
                                                                                                                THUMBPRINT
                                                                                                                     OF
                 ,‘w//'______________________                                                                     SIGNER



  APA01 21)15                                                   NOTARY BONDS. SUPPLIES AND FORMS AT HTTP: WWW.VALLEY.S1FR.RA.COM          £2005-2015 VALLEY-SIERRA INSURANCE




                                                                                                                                                              Exhibit 8
                                                                                                                                                                 8-207
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 209 of 221 Page ID
                                   #:554




                         Exhibit K: Contract History




                                                                   Exhibit 8
                                                                      8-208
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 210 of 221 Page ID
                                   #:555




                       CITY OF LG.S ANGELES CONTRACT HISTORY

                  Tin; City Council passed a resolution on Jufy 21. 199% requiring that all proposed vendors
                  Supply in their proposal' or bid, a list of all City of Los Angeles contracts held by the
                  bidder or any affiliated entity during die preceding 10 years. Use the space below to list
                  ail such- contracts. Include the dales of the contract, the services or goods provided, the
                  amount of the contract, and the contract number- If the’bidder or any affiliated entity has
                  held no City of Los Angeles contracts daring the preceding iO years, state so in the space
                  below, Use the back' of the pugs and additional pages as needed.


                  City of Los Angeles
                  Multifamily Recycling Program
                  Contract #C0111835
                  Collection of recycling from multifamily complexes in West
                  Los Angeles and North Central districts. Value of contract
                  $2 0M+
                  NASA also participated in two pilot projects for the
                  collection of recyclables from multifamily and commercial
                  accounts in 2005.




                 NASA Services,            Inc
                Name of Orgmiirairnfi


                 Arsen Sarkisian                                      President
                Prittr Name                                         fiete.. ....

                ____i,0:-§Y:T/.... ....
                fJnse




        POLICY FORMS                                                                                            Page 161




                                                                                                                      Exhibit 8
                                                                                                                         8-209
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 211 of 221 Page ID
                                   #:556




                   Exhibit L: Municipal Lobbying Ordinance




                                                                   Exhibit 8
                                                                      8-210
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 212 of 221 Page ID
                                   #:557




                        ^mategmm6:M^^o
                                      This form must be submitted to the a warding authority with your bid
                                        or proposeI for the contract noted below. Please write legibly.


         PI Original filing 13 Amended fifing (original signed on.                     j last amendment signed on    H/25/13


          1 Bid/Contraet/BAVN Number:              Awarding Authority (Department):
                BAVN 4G860
                                                      Bureau of Sanitation
           Nsirne of Brdder;                                                             Phone:
              NASA     Services, Inc.                                                     888-888-0388

          i Address:
               1100 S.      Maple      Ave.,      Montebello,          CA 9064Q

          Email:
                   j ack@nasaservices.com

          CERTIFICATION

          I certify the following on my own behalf or on behalf of the entity named above, which I am authorized to represent

          A.     1 am a person or entity that is applying for a contract with the City of Los Angeles.

          B.   The contract for which I am applying is an agreement for one of the following:
               1. The performance of work or service to the City or the public;
               2. The provision of goods, equipment, materials, or supplies;
               3. Receipt of a grant of City financial assistance for economic development or job growth, as further described
                  in Los Angeies Administrative Code § 10.40.1 (h); or
               4. A public lease or license of City property where both of the following apply, as further described in Los
                  Angeles Administrative Code § 10.37.1(1):
                  a. I provide services on the City property through employees, sublessees, sublicensees, contractors, or
                     subcontractors, and those services:
                     i. Are provided on premises that are visited frequently by substantial numbers of the public; or
                     ii. Could be provided by City employees if the awarding authority had the resources; or
                     iii. Further the proprietary interests of the City, as determined in writing by the awarding authority.
                  b. I am not eligible for exemption from the City's living wage ordinance, as eligibility is described in Los
                     Angeres Administrative Code § 10.37,1 (l)(b).

         C.    The value and duration of the contract for which I am applying is one of the following:
               1. For goods or services confracts—a value of mors than $25,000 and a term of at least three months;
               2. For financial assistance contracts-—a value of at least $100,000 and a term of any duration; or
               3. For construction contracts, public (eases, or licenses—any value and duration,

         D.    I acknowledge and agree to comply with the disclosure requirements and prohibitions established in the Los
               Angeles Municipal Lobbying Ordinance if I qualify as a lobbying entity under Los Angeles Municipal Code §
               48.02.

         I certify under penalty of perjury under the laws of the City of Los                                [fomia that the
         information in this form is true and complete.

         Date:         /O'JS'l't                             Signature:
                                                             Name:      Arsen Sarkisian

                                                             Title:     President


        POLICY FORMS                                                                                                   Page 123




                                                                                                                               Exhibit 8
                                                                                                                                  8-211
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 213 of 221 Page ID
                                   #:558




            Exhibit M: Contract Bidder Campaign Contribution and
            _______________ Fundraising Restrictions_______________




                                                                      Exhibit 8
                                                                         8-212
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 214 of 221 Page ID
                                   #:559




                                City Elbtcg Commission



                 Ill            200 N Spring Sirsot
                                City Halt —Wth Floor
                                Co9 Angeies, CA 90812
                                Mall Stop 129
                                {213) 978-1960 ■ ' '
                                                                 Prohibited Contributors (Bidders)
                                                                           CEC Form 55
                           This form must 6e completed in its entirety and -submitted to the awarding authority with your bid
                          or proposal for ttm cor.bout noted below. A bid or proposal that does not include a completed
                          form will be deemed nonresponsiva. Please write iegibly.


                □ Original filing   13 Amended filing {original signed on       10/17/1 glast amendment signed on 12/4/13)


                Bid/Contmct/BAYN Number {orolher idantllyfng irtfarmaiiafi if no numbar):             j   Date Bid Submitted:
                   BAVN 46860                                                                         j      10/29/14

                Description of Contract:
                    Solid waste and recycling collections
               Awarding Authority (Department):
                      Bureau of Sanitation

               BIDDER
               Name: NASA Services, Inc.
               Address:        1100 s- Maple Ave., Montebello,                                            CA 90640

               Email (optional):                                                                             Phone:     888-888-0388

               State Contractor ID:
                                        Slate ID must be   tfisc/osmi for identification purposes, even ft not performing work on this contract
                                        under that license. If the bidder does not have a state contractor ID, Indicate ‘not applicable".


              PRINCIPALS
              Please identify the names and titles of all principals {attach additional sheets if necessary). Principals
              include a bidder’s board chair, president, chief executive officer, chief operating officer, and individuals
              who serve in the functional equivalent of one or more of those positions. Principals gJso include
              individuals who hold an ownership interest in the bidder of at least 20 percent and employees of the
              bidder who are authorized by the bid or proposal to represent the bidder before the City.

              Name:
                         Arsen Sarkisian                                         Title-      President
                      Address-       330     GeorNiai;i           RcL /      La Canada Flintridge, CA 91011
                         Nick Sarkisian                                                   Vice President
              Name:                                                             Title:
                     Address:       52 04 Castle Rd. , La Canada Flintridge, CA 91011

              Name:                                                             Title:

                     Address*

             Name:                                                              Title:

                     Address:_________ ,_____________

                □ _____ additional sheets are attached.                      Q Bidder is an Individual and no other principals exist,


            Ravteerf October 2013                             Los Angeles City Charter § 4?(Kc)(12)                                      Page 1 of 3



       POLICY FORMS                                                                                                                         Page 191




                                                                                                                                                       Exhibit 8
                                                                                                                                                          8-213
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 215 of 221 Page ID
                                   #:560




                              City Ethic* Commission
                              20 C N Spring Street
                              City Hall —24th Ptosrr                 Prohibited Contributors (Bidders)
                              Los Angelas, CA 30612
             in               Mall Stop 125
                              (213) *73-1960
                                                ’                              CECPormSS
           [SUBCONTRACTORS
            Please Identify all subcontractors whose subcontracts are worth $100,000 or more (attach additional
           sheets if necessary). If the subcontractor has a state contractor license, the ID must be disclosed for
           identification purposes, even rf the subcontractor is not performing wort on this contract under that
           license,
                                         Judi Gregory dba Go2Zero Strategies
           Subcontractor:
                    Address:            339 Kelsey Hd.,                             San Dimas,                     CA 91773

                    State Contractor ID (for kienttfmstion putnd$as; If none, indicate ’'not appOcetr.le’')'. ,                  N/A
                                       Kuba & Associates,                                    Inc-
           Subcontractor: _
                                        515        5     Figueroa St,,                          Ste        1280,             Los Angeles    90071
                   Address:
                   S(3tS Contractor ID (hr /tfenftffcadcvi purposes; if non#, Indicate ‘bo/ appticdbte')', m                     N/A

                                    True Track,                      LLC
           Subcontractor;,
                                    11458 Garret                        PI.,          Tujunga,                  CA 91042
                  Address:
                  State Contractor iD (for identification purposes; if none, IniStiate “net appllcable'i-,                       N/A

          Subcontractor:            Distributors Unlimited
                  Address;           1205          Date St-,                  Montebello,                        CA t
                  State Contractor ID {/<x ide/tfificatlQnpurpo&ss; if norta, indicate “hot &ppllcablc% m                     N/A
          Subcontractor;            Isidore Electronics Recycling

                 Address;,           411 S Hewitt                        St.-,         LA,        CA 90013

                 State Contractor ID [lei ideniiGcetivn perpimPP; if none, indicate “net sppSssbls“)'.                       ^
                                    Schaefer Systems                               International,                             Inc
         Subcontractor:
                              T002T"Westlake~Dr” ,.... Chariotte/
                 Address;.................................................. ....... . ............ .......................
                                                                                                                             NC '2 8 2 7T

                 State Contractor ID (/e.r IdcptlftCDtianpurposed; d/icne, indicate “not applicable")! r                      N/A

         Subcontractor:                     kroner Associates,                                    Inc.

                 Address:
                                     10 0 W Broadway, Suite"290, Long" Beach,.CA 908 02
                 State Contractor ID (foddentlftcation ptirpes&e; if none, IndiGBte “not applicable"i;
         . ^   4   4              impact EcoVision Environmental DBA EcoVision Env
         Subcontractor;             r    _____ ______________ „__________ ________________________ _____
              Address'            12-1064 Salk Road Suite 250, Pickering ON L1W4B5

              S!at0 Contractor ID {/brkivnitflcafloi}purposes; ifnona, indicate *not applicable*)* m                         MIA.
         Subcontractor:           Clean-up America,                                  Inc
              Address;              2900          East Lugo St - f                          Los Angeles,                         CA 90023
                                                                                                                             N/A
              State Contractor ID {ter fdmtScsilan purposes; If nnnp, Indicate ItdtAfpSest/ei:.


            ££               additional sheets are attached.                             □ Bidder has no subcontractors on this bid or proposal
                                                                                           whose subcontracts are worth $100,000 or more.



                                                               -■"CSS'ATrgSKs City dinner s               ,
     POLICY FORMS                                           Lea Angeles Municipal Code §§ <SB.7.JS(5)(3), (9                                FB^%gel93




                                                                                                                                                        Exhibit 8
                                                                                                                                                           8-214
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 216 of 221 Page ID
                                   #:561




                           City Ethics Cgmmlsslon
                           too N Spring Strest
                           City Hall ■— 24th Floor          Prohibited Contributors (Bidders)
                           Los Angelos, CA 90012
                           Mall Stop 129
                           (213) 97M960
                                                 '                    CECFotmSS
            SUBCONTRACTORS                                  ,
            Please identify all subcontractors whose subcontracts are worth $100,000 or more (attach additional
            sheets if necessary). If the subcontractor has a state contractor license, the ID must be disclosed for
            identification purposes, even if the subcontractor is not performing work on this contract under that
            license.
                                   Container Management Group, LLC
            Subcontractor_____________r____________________ ____________________ ,_____                                     ______       _
                Address' 840 W Grove Ave. , Orange, CA 92 685

                  Slate Contractor ID {forldentlTibatimpurposas: if none, bdhate “not applicable*): _             N/A
            Subcontractor.       FleetMind Solutions, Inc
                  Address:        1751 Richardson, Ste 720Q, Montreal QC H3K1G6
                  State Contractor ID i/of irinntlRcuticn purposes; if none, Indicate hot applicable1): ____ N/A_____________
           Subcontractor: __       ConFab
                 Address:
                                  1462 0~Arminta St.                              van Nuys CA 91402
                 State Contractor ID (for fcentlfieatfen puqseses; jf nans, indicate teat applicable): _              N/A
           Subcontractor  Wastequip Manufacturing Company, LLC    _____
                 Address' 6525 Morrison Bl, Ste 300, Charlotte, NC 28211
                              ■ -............                                        '       '                   n/a        ........ '
                 State Contractor tD (/or idar/ti/cnricri purposes; if r.onci, indicate hci nppi/cabte      _


           Subcontractor:„
                 Address;
                 Stats Contractor ID (for jdrjntiildntinnpurposed; i! none, indicate ‘mi npplicsbln%
                                                                                                                 N/A

           Subcontractor, _
                 Address:
                 State Contractor ID (rorltfanffcsffiifipi/ijjos®.!,' If none, indicate teat applicable):        N/A

           Subcontractor, _
                 Address:
                 State Contractor ID i/or identification purposes? if none, indicate 'not applicable")'         Hi/


          Subcontractor. _
                 Address:
                State Contractor ID (for idenWcetlon purposes; if none, tndleate 'not applicable’):             N/A

          Subcontractor:.
                Address:
                State Contractor ID (for idanlflfcaffon purposes: if none, indicate ‘net app/eatnc1'):
                                                                                                            ~n7a7



                            additional sheets are attached.                     □ Bidder has no subcontractors on this bid or proposal
                                                                                  whose subcontracts are worth $100,000 or more.



                                                             Lae Angelas City Charter § 470{c){12)                                Page 2 af%|ge 195
       poLfm?fi«3                                       Los Angolas Municipal Cods $§ 49.7,35(B)(3t, (4)




                                                                                                                                                 Exhibit 8
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Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 217 of 221 Page ID
                                   #:562




                                 City Ethic? Commission
                                                              Prohibited Contributors (Bidders)
                  If
                                 2D0 M Spring Street
                                 City Halt — 24th floor
                                 Luc Aflselae, CA 90012
                                 Mall Stop 129
                                 (213} 979-1880
                                                                       CEO Porn 55
                 PRINCIPALS OF SUBCONTRACTORS
                Please Identify the names and titles of all principals for each subcontractor identified on page 2 (attach
                additional sheets if necessary). Principals include a subcontractor's board chair, president, chief
                executive officer, chief operating officer, and individuals who serve In the functional equivalent of one
                or more of those positions. Principals also Include Individuals who hold an ownership interest in the
                subcontractor of at least 2D percent and employees of the subcontractor who are authorized by the bid
                or proposal to represent the subcontractor before the City.

               Name: John beliakoff                 Title: Partner
                    Address- 1701 El Travesrm Dr.
                    Subcontractor: Distributors Unlimited
              Name:     Morris Beliakoff           Title: Partner
                   Address- 1841 Turnbull Canyon
            ■      Subcontractor:   Distributors Unlimited
            1 Name: David Beliakoff                Title:  Partner
                   Address: 15212 Hollis Ave                                                                   _
                      Subcontractor:
              Name: Kabita Stokes Hochberg         Title:
                                                          CEO
                   Address: 411 S Hewitt St., LA CA 90 013
                  Subcontractor:  Isidore Electronics Recycling
              Name.    Donnie Potter              Title:  President
                  Address-     2900 E Lugo St., LA CA 90023
                  Subcontractor; Clean-up America

             H Of the subcontractors identified on page 2, the following are individuals and no other principals
               exist (attach additional sheets if necessary):

                 Subcontractor:       _   Judi Gregory dba Go2gero Strategies_______
                Subcontractor:            Darlene Kuba dba Kuba & Associates
               QC     ^      additional sheets are attached.                   □ Bidder has-no subcontractors on this bid or proposal
                                                                                 whose subcontracts are worth $100,000 or more.


            CERTIFICATION
             I certify that I understand, will comply with, and have notified my principals and subcontractors of the
             requirements and restrictions in Los Angeles City Charter section 470(c)(12) and any related ordinances. I
            understand that i must amend this form within ten business days if the information above changes, i certify
             under penalty of perjury under the laws of the City of Los Angeles and the sj&tpof California that the
            information provided above is true and complete.

            Date;     fQ                                    Signature;^

                                                            Name:

                                                            Title;

            Under Los Angeles City Charter § 4 70(c)(1 £), this form must he submitted to the awarding authority with your bid or propose/.
                          A bid or proposal that does not include s complete d Form SS will be deemed nonresponslva.


          Revised October 2013                              Los Angeles C% Charter § 470(c)(12)                                     Pegs 3 of 3

     POLICY FORMS                                                                                                                     Page 197




                                                                                                                                                  Exhibit 8
                                                                                                                                                     8-216
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 218 of 221 Page ID
                                   #:563




                               City Ethics Comrnl&ston
                               200 H Spring Street           Prohibited Contributors (Bidders)
                               City Hall — 24th floor
                               Lot AngeJes, CA 30012
                               Mall Stop 123
                               (213) ST8-19S0
                                                                       CECForm55
                PRINCIPALS OF SUBCONTRACTORS
                Please Identify the names and titles of all principals for each subcontractor idersttfied on page 2 (attach
                additional sheets if necessary). Principals include a subcontractor’s board chair, president, chief
                executive officer, chief operating officer, and individuals who serve in the functional equivalent of one
                or more of those positions. Principals also include individuals who hold an ownership interest in the
                subcontractor of at least 20 percent and employees of the subcontractor who are authorized by the bid
                or proposal to represent the subcontractor before the City.

                Name; Warty Bryant___________________                              Title:      CE°                          .
                       Address-       6525 Morrison Blvd,                          Ste 3 00            Charlotte,          ISIC 28211


               Name:     Stephen Svetik              Title: CF0
                       Address: 6525 Morrison Blvd, Ste 300 Charlotte, NC 28211
                     Subcontractor: Wastequip Manufacturing Compnay, LLC

               Name: Rob Vezina                      7i5ie; Regional Sales Director
                     Address: H900 E Locke Rd. , Lockeford, CA 95237
                     Subcontractor: Wastequip Manufacturing Company LLC

               Name: Scott Wink                      Title- ReSJional Sales Manager
                    Address; H900 E Locke Rd.       Lockeford, CA 95237
                    Subcontractor- Wastequip Manufacturing Company LLC
               Narns. Michael Melideo                Title: President
                    Address: 14620 Arminta St., Van Nuys, CA 91402
                      Subcontractor        ConFab
              12 Of the subcontractors identified on page 2, ihe following are individuals and no other principals
                 exist {attach additional sheets if neegssary):
                  Subcontractor:        Denise Ever dba True Track
                  Subcontractor            Groner Associates, Xnc

                              addiflona! sheets are attached.                    □ Bidder has no subcontractors on this Old or proposal
                                                                                   whose subcontracts are worth $100,000 or more.

              CERTIFICATION
             I certify that t understand, will comply with, and have notified my principals and subcontractors of the
             requirements and restrictions in Los Angeles City Charter section 470(c)(1Z) and any related ordinances. I
             understand that I must amend this form within ten business days if the information above changes, I certify
             under penalty of perjury under the taws of the City of Los Angeles and the stat&pf Cajjfoma that the
             information provided shove is true and complete.

             Date;                                            Signature:

                                                              Name:
                                                                                                      z-isLsfn
                                                              Title:

              tender Los Angeies   City Chsrt&r §470(c)(12), this form must be submitted to the awarding authority with your bid or propose!,
                               A bid or proposal that doss not include a completed Form     55 wii! be deemed rtonresponsive.

            Revised October 2013                              Los Angeles CHy Charter § <I70(cX".2)                                   Page 3 of 3
                                                             SVs
       POLICY FORMS                                                                                                                      Page 199




                                                                                                                                                    Exhibit 8
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Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 219 of 221 Page ID
                                   #:564




                  ft] gsSKT                                  Prohibited Contributors (Bidders)
               lie”                                                                      CECFormSS
                 PRINCIPALS OF SUBCONTRACTORS
                  Please Identify the names and titles of alt principals for each subcontractor identified on page 2 (attach
                 additional sheets if necessary). Principals include a subcontractor's board chair, president, chief
                 executive officer, chief operating officer, and individuals who serve in the functional equivalent of one
                 or more of those positions. Principals aiso include individuals who hold an ownership interest in the
                 subcontractor of at least 20 percent and employees of the subcontractor who are authorized by the bid
                 or proposal to represent the subcontractor before the City.

               I Name: Martin Demers                 Title- CEO
                     Address- 47 Av Alsace, Candia, QC Canada J5R 5R7
                     Subcontractor: FleetMind Solutions Inc
               Name:      Kerry Holmes             yjt|e; vice President Sales
                              14^20 Arminta St., Van Nuys, CA 91402
                       Address'

                       Subcontractor ConFa]:)
               Name; Brian Atwater               Titie: COO
                    Address' l4520 Arminta St., Van Nuys,                                           CA 91402
                      Subcontractor:               ConFab
              Name:    Martin Lord                   Tif[e; COO
                      Address- 276 Av de 11 Epee Montreal, QC Canada H2V 3T3

                      Subcontractor

              Name:                                                            Title:
                     Address:
                     Subcontractor:

             a   Of the subcontractors identified on page 2, the following are individuals and no other principals
                 exist (attach additional sheets if necessary):
                 Subcontractor: Doug             Hil1 ^ EcoVision Environmental
                 Subcontractor:      Maria Chacon Ferrante / Container Mamt Group                                                          i
               □             additional sheets are attached.                  □ Bidder has no subcontractors on this bid or Drooosa!
                                                                                Whose subcontracts are worth $100,000 or more.

            CERTIFICATION
             i certify that! understand, wilt comply with, and have notified my principals and subcontractors of the
            requirements end restrictions in Los Angelas City Chanter secffon 4 70(c)(12) and any related ordinances. !
            understand that i must amend this form within ten business days if the information above changes, t certify
            under penalty of perjury under the laws of the City of Los Angelas and thestate ofCaiffomia that the
            information provided above is true and complete,              y 37                 /
            Date:        )0 - 3f'l Y1                       Signatureny^5^^.

                                                            Name:                                              „

                                                           Title;         President

                                             §
             Under Los Angelas City Charter 4?0{c){121 this form must b& submitted to \h& svtottffng authority with your bin or proposal
                                                                                            5
                           A bid or propose! that does not include a completed Form 5 wffl be deemed nonresponsfi/e.


          Revised October 2013                             Los Angeles CHy Charter g   470(o}(12)                               Paga3or3

     POLICY FORMS                                                                                                                  Page 201




                                                                                                                                               Exhibit 8
                                                                                                                                                  8-218
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 220 of 221 Page ID
                                   #:565




                     Exhibit N: Iran Contracting Act Of 2010




                                                                   Exhibit 8
                                                                      8-219
Case 2:18-cv-03681-SVW-E Document 21-6 Filed 07/23/18 Page 221 of 221 Page ID
                                   #:566




                       IRAN CONTRACTING ACT OF 2010 COMPLIANCE AFFIDAVIT
                                               (California Pubiic Contract Code Sections 2200-2208)

        The Caiifornia Legislature adopted the Iran Contracting Act of 2010 to respond to policies of Iran in a uniform fashion (PCC §
        22Q1(q)}. The Iran Contracting Act prohibits bidders engaged in investment activities in Iran from bidding on, submitting
        proposals for, or entering into or renewing contracts with public entities for goods and services of one million dollars
        ($1,000,000) or more {PCC § 2203(a)). A bidder who "engages in investment activities in Iran'1 is defined as either:
          1.   A bidder providing goods or services of twenty million dollars ($20,000,000) or more in the energy sector of Iran,
               including provision of oii or liquefied natural gas tankers, or products used to construct or maintain pipelines used to
               transport oil or liquefied natural gas, for the energy sector of Iran; or
          2.   A bidder that is a financial institution (as that term is defined in 50 U.S.C. § 1701) that extends twenty million dollars
               ($20,000,000) or more in credit to another person, for 45 days or more, if that person will use the credit to provide goods
               or services in the energy sector in Iran and is identified on a fist created by the California Department of General
               Services (DGS) pursuant to PCC § 2203(b) as a person engaging in the investment activities in Iran.
       The bidder ehait certify that at the time of submitting a bid for new contract or rertewaf of an existing contract, the bidder is not
       identified on the DGS list of ineligible businesses or persons and that the bidder is not engaged in investment activities in Iran
       in violation of the Iran Contracting Act of 2010.
               California Saw establishes penalties for providing falsa certifications, including civil penalties equal
               to the greater of $250,000 or twice the amount of the contract for which the false certification
               was made; contract termination; and three-year ineligibility to bid on contracts (PCC § 2205).
      To comply with the (ran Contracting Act of 2010, the bidder shall provide its vendor or financial institution name, and City
      Business Tax Registration Certificate (BRTC) if available, in completing ONE of the options shown below,

       OPTION m: CERTIFICATION
       I, the official named below, certify that I am duly authorized to execute this certification on behalf of the bidder or financial
       institution identified below, and that the bidder or financial institution identified below is not on the current DGS list of persons
      engaged in investment activities in ban and is not a financial institution extending twenty million dollars ($20,000,000) or more
      in credit to another person or vendor, for 45 days or more, if that other person or vendor wifi use the credit to provide goods or
      services in the energy sector in Iran and is identified on the current DSG list of persons engaged in investment activities in
      Iran.

                   Vendor Name/Financial Institution (printed1                             BTRCIcrn/a)
                    NASA Services, Ktc.                                             ——H     000^Ajl8773 -0001-4
                  By (AutaGrigiStSignature}        s'                         . ,              (
                 ^Prjni fl&me aftdjlflb of F.Wsp/i Signfaa          .   £^'
                    Arsen Sarkisian; President
                  Date Executed   t       £Xj^Apftcovyj$ignaUir$)
                    To
     OPTION #2: EXEMPTION
     Pursuant to PCC § 2203(c) and (d), a public entity may permit a bidder or financial institution engaged in investment activities
     in Iran, on a sase-by-case basis, to be eligible for, or to bid on, submit a proposal for, or enter Into, or renew, a contract for
     goods and services. If the bidder or financial institution identified below has obtained an exemption from the certification
     requirement under the Iran Contracting Act of 2010, the bidder or financial institution shall complete and sign below and attach
     documentation demonstrating the exemption approval.

                 Vendor Nama/Financiat Institution (printed}                              BTRCforn/a}                                          j
                 By (Authorized Signature}                                                                                             j
                      . . __________ _______________________________________________________ _____________________________________             |
                 Print Name and Tide of Person Signing                                                                                     j
                 Date Executed        \ City Approval (Signature)                     (Print Name)                                         j
                                      f




    POLICY FORMS                                                                                                                     Page 223




                                                                                                                                                   Exhibit 8
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